Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 1 of 167 Page ID #:8




                              EXHIBIT A
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 2 of 167 Page ID #:9



                                     SUMMONS                                                                              SUM-100
                             (Cn-ACION JUDICIAL)
NO'nCE TO DEFENDANT: HEALTH NET OF CALIFOJ\NIA, INC. a
(AVISOALDEMANDADO): California corporation; HEAL1'H                                             CONFORMED COPY
NET LIFE INSURANCE COMPANY, a California corporation,                                              ORIGINAL FILED
MANAGED HEALTH NETWORK, INC., a Delavare corporation;                                          Superior Court of California
HEALTH NET, INC., a Delaware coxporation; and                                                    County of Los Anoeles
CENTENE CORPORATION, a Delaware corporation, and DOES
1 through 100, inclusive                                                                               JUN 24l20f8
YOU ARE BEING SUED BY PLAINTIFF: OBAO BARKAN,                                                      LC.-C!? Oftice/Cie~
                                                                                           arrl R:~-'
{LO ESTA DEMANDANDO EL DEMANDANTE): individually and on                                    •     ~                     ,OepUl\'
behalf of all others similarly situated                                                             B      y Smith




  enema                               :
(El nombm ydhect:l6n de Ia c:orfG es):
SUPERIOR COURT OF CALIFORNIA
111 N. Sill Street                                                                                                                            I
Los Angeles, CA 90012
The name. address. and telephone numbw of pfaJnmt's &Uomey. cr p!alntilf without an attmnay.ls: ·
                                                                                                                                              !
(B nambt8. Is dlrsr:ddn y el m1motD de telMono del elnJgado del demandante. o del demandanls qw no t1ane Bbogado. 68):                        I
Richard T. Collins (166577)                                                         714-241-4444               714-241-4445
Damon D. Eisenbrey (215927)                                                                                                                   I
CALIJ\BAN ' BLAINE
Santa Ana         CA 92707
DA~J JUN 2 9 2018 SHERRI R. CARTER ~~
                                                                                         {;
                                                                                            VI
                                                                                               '-fu,
                                                                                                       1
                                                                                                           ~j-\(...,
                                                                                                                          ,bapu~y
                                                                                                                              (At!}untoj
                                                                                                                                              II
12Ppmof0fS91VIce otihls arJrJlliDM, use Proof of Sarvfee or SUmmons (folm POS.010)J                                                           I
(PBra pruBba de enlrega de esta dlBII6n use eJ #'orrnl.daliD Proof of Sarvlce of Summons, (POB-010)}.

 ~
                                NonCE TO THE PERSON SERVED: You em S8lV8'd
                                1. 0 as an lndlvfdual defendan1.
                                                                                                       ·                                      I
                                .. Drp .,..,"'.,-
                                2.        as the person sued under!¥ II~ name of(~:
                                                              1.   tf(~tf1Vl N#,J/Ylt, 11 r::e Ia Wt:l re .
                                     Under:   f~ CCP418.10~cmparatlon)                         QCCP416.60(mlnor)       C.bY~_;ftt"Y\._
                                              D   CCP 416.20 (dsfuncl corporaUon}              0  CCP 416.70 (consmvatee)
                                              D   CCP 418.40 (associa11on or partmushfp)       0  CCP 416.80 (eulbortzsd person)
                                              D   oltUI1 (spedfyJ:
                                4.                    d       on   cram.                                                        l'll,gltaf1
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 3 of 167 Page ID #:10
                                                                                COPY
  ]\TlORHEYCIAPAM'YwtrKOUT ATTORHel' ~ Sl.QS.V~ &lXI~
 ~ichard T. Collins (166577)                                                ·
  Damon D. Bisenbrey (215927)                                                                                           CONFORMED COPY
  CALLAHAN & BLAINE                                                                                                           ORIGINAL FILED
   3 Hutton Centre Drive, Ninth Fl.                                                                                  Su~erlor Court of California
   Santa Ana, CA 92707                                                                                                   ounry o! LC'~ A""'9'es

   A
          TEtE.PKCIJI!NO.:
                  tm.m.t.
                             714-241-4444
                             P_lau\ti££
                                                              FAXHO.:
                                                    Ohan D..,;.,.~.;....
                                                                        714-241-4445                                           JUN     •JD   ?Of8
                                                                                                                                       c. 11 c.
   SUP£RIOR COURT OF CAUFORNIA. COUNTY OFLOS ANGBLBS                                                        ~It        • ft
        = = = 1 1 1 N. Hill Street                                                                          ;:•rr~Avir.ic~/eCie:
       crrtANIU'JPCCDE:Los Angeles, CA 90012                                                                                  ~Y
                                                                                                                               Sm'rth-                     Put)
 r---~~~~~;~~·~S~TANL~=EY~~M~O~S~K-~~UR~~7B~JO~U~S=E~~~~--~----~
  CASENAME: Barkan v. Health Net of California, Inc.
       CIVIL CASE COVER SHEET                                    Complex Case Designation
  00 Unlimited               D     Umlted                    D     Counter        D Joinder
         lAmmouanntded             tAmount                   Fned wftb first appearanco by defendllnt           .lliiXIE:
         =~$25.000) Br'oBo~ l:u)                                (Cal Rules of Court. rula 3.402)                 DEPr:

 1. Chec:IC one box below for lhe case type that best describes thiS case:
    Auto Toll                                                Contmct                                    Provlafonallr Complex Civil UUgatfon
                                                             D
     B   Avto (22)
         UninJUred molollst (46)                             D
                                                             D
                                                                   Bfeadl of CCifl!raclfMIJr(06)
                                                                   Ride 3.740 colfecllons (09)
                                                                                                        (Cal. Rutes of~ rutn UONAU)
                                                                                                        D
                                                                                                        D
                                                                                                              AnlltMt/Trade regulation (03)
    Other PUPDIWD (PenlonallnjuryiProperty
     DamaaeNironsful Death) Tort
     D    AsbeStOS (04)
                                                             E3    Olher r:ollediona (09)
                                                                   rnswanao c:ovorage (18)
                                                          ouw contract (37)
                                                                                                        0
                                                                                                        D
                                                                                                              Ccmstrudlon defect (10)
                                                                                                              Mass tort (40)
                                                                                                              SecuJftles lillgalkm (28)
     D
     D
          Proctuct liability (24)
          Medlcat malptadloe C4S>
                                                  Real Pro,l*ty
                                                             D
                                                          Eminent domalnllnver9o
                                                                                                        D
                                                                                              EnvtronmenfaJITax~c: to~t (31:1>
                                                                                        [K) Insurance coverage claims arttlng from lhe                                ;:·,
     D    Other PUPDNJD (23)                             condemnatlon (1•>                    aboVe liSted provJs!onallyc:cmpleX casa                                 •..      .J
                                                                                                                                                                             '"l
    NOJtoPIIPDMID (Other) Tort                    CJ WmnaftJJ eviction {33)                   lypeS(41)
    D Business tcltlwlfalr business practice (07) D OSher rea1 property (26)            Enfon:emenl of Judgment
                                                                                                                                                                     •..D""•\'!'

                                                                                                                                                                            '• u'
    D CJvU rfgbla (08)                            Unlawful Detainer                     D Enfolcement ot Judsment (20)                                               t.,.••
                                                                                                                                                                     •: :.il
    D Defamation c1s>                             D Ccmmerclal (31)                     MJscellanROUS ClviJ Complaint                                                ::. .... .. #
    CJ Fraud (t8)                                            0
                                                          Reakfential (32)              0RJC0(27)                                                                    .r·~
    0 lnteiBctual property <1&>                   D Drugs (38)                                          0
                                                                                              Other COII1J)Ialnl (not sped1led Elbow} (42) .
     D   Profetafonst nesllpncO (25)              Jltll)cfal R8vi8W                     MIScellaneous Clvtl Patltlon
     0   Other noMtiiPDJWD tort C35)                         0
                                                         Aaaet f'orfellure (05)                         D
                                                                                              Pmtnamhfp and COJpOiate sovemanao (21)
    Employment                                    D Petilfon re: adlllratfon award (11) D Ollar ll8tillon (ttOI $pfldlied above} (43)
    D Wrongful termlnaUon (36)                    D Wilt otmarntato (02)
     D   Other employment <t&>                               D
                                                         Oltlar Judlc:lal ravtsw C39>
 2. This case IX] Is 0 Ia not complex under rule 3.400 of the Cellfomta Rule& of Courl. If the case Is compl11111, mark the
    fa,ors
    a.
              rwrmg     exceptional judldal management
             Lerge number of separately n!ptel8nted paJtJes d. [)[] Large number of witnesses
    b.   00 Extensive moUon practice raising dlfflcull or novel
                                                             e. 0 Coordinallon with related 8dfons pondlng In ono or mom cowto
            Issues that will be tkne-consumfng tD rasolve            rn other counties, states. or countrlas. or In a federa1 court
    c. []() Substantial amount of docume~cfence               f. 00 Substantial postjudgment)ucftdal BUpetVIslon
 3. Remedies sought (chBck all that apply): a. []() monetary b. [[] nonmonetmyo decfaratory or ln}undive reiJef c. fXJ punitive
 4. Numbercfcsuses of eCtlon (~): Five
 6. This case [i] Ia D Ia not a c:tasa action su!L
 e. If theta are any known rufnted cases. file and aeJV8 a notice
 Date: June 29, 2018
                                                                            ofreJatm.               msyn~
 Biehard T. Collins                                                                                                                    - ·
                                 (TYPE OR PRtiii' NAME)                                            IBIOHATUR£                  li.   ORNl!Y fOR PARTY)
                                                                           Nonce
  • Plafntlff must fife this cover 6heet wllh the ftrst papar filed In the action or proceeding (11111cept small c:fafma cases or cases filed
    under the PRibato Code, Family Code. or Welfar8 and Institutions Code). (Cat. Rules of CoUrt. IU!e 3.220.) Failure to file may raa
    In sanctions.
  • File this cover sheet In atfdlticn to any cover aheel required by loeal court rule.
  • If thla case Is complex under rule 3.400 et seq. of the Callfomla Rulea of Court. you muat serve a copy of Uti& cover sheet on all
    other partfea to Ute ac:t1on or proceeding.
  • UnlesalhJa Is a collections case under rute 3.740 or a complex cese, thla cover sheet will be used for statlstlcaJ purposes                          eoor. 1dl
     Case<2:18-cv-06691-MWF-AS
            ,. ·?,.                   Document 1-1 Filed 08/03/18 Page 4 of 167 Page ID #:11
          r:
          pWntfffit and Others FIJI~;:ucn:s ~N HOW TO COMPLETE THE COVER SHEET              CM.010

          :~=:!.~S::sm:l:'~:':!~
                       best
                                 =fraC:::h:=:J:.~=~: ~~~:,~:_:::"'CO::!
        one box for the case type lhat        desclfbea the c=aM. ~,Uu:'st CO:~Items 1 through 8 on lhe sheet. In Item i, you must check
       d'leck lhe more sll&dfic one. If lhe case has muftlple ca         case
                                                                              :a.       a general and a more Speclflc type of case listed fn Item 1
       To assist you fn compJeUng_ the aheet. eumptoo ct tho uses e.t::tmn, c:heclc the box that beat Indicates the prfmaJY cause of
                                                                     fi&:'                                                                            acncr:.
       ---._ow nn::u omy WlUJ yourlniliaJ paper. Fallunt t
                                                                   g
       counsel, or both lo sanctions under rules 2.30 ·and 322 of th~
         !
         0
                                                                              ::;:,:=:::;,
                                                                              belong under each c:aselype fn Hem 1 are P10'11fdad balow A cover
                                                                                                    C:.,
                                                                                            ~ paper filed Jn a c:1v11 case may subJect 8party, 11s
           Parties In Rule 3.740 Collections Casee. AacoUectfons case• under rule 3.74018 defined as an action for f'eClOV8I)' or monay owed
       m a sum stated to be c::ertaln lha11s not more than $25,000, exclusive of Interest and attomeis rees. arfsfng from a transadfon 1n which
       property, services,, OT money was acqufred on cradlt. A collections case doss not include an action seeking the following: (I) tort
      damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (6) a preJudgment writ of etlachment.
      The ldentiffCSUon of a case as a rule 3.74Q COllections case on thJs form means that 11 wm be exempt from th9 oenemt lime-for-service
--requirements and case management ruJes. unless a defamfant files a rcsponstvo ptccding. A rule 3.740 colledions case wfD be subject
      to the requirements fer service and obtaining a judgment In ru!e 3.740.
      To Parties In Complex Cases. ·In complex cases only, pmtlea must al&o use the Civil esse covor S~t to dectgnate whether tho
      case Js complex. If a plaintiff believes the case Ia c:omp!ax under rule 3AOO or the Ca!ifomfa Rules of Court. this must bo Indicated by
      completfng the appropriate boxes In Items 1 and 2. If a plaintiff designates a case as complex, the covor sheet must be S8M!d with the
      comp!nlnt on aD pmtfoo to the action. A defondmtt may file and GOI\'O no rotor thmllho limo of Ito fiml oppeoranco o jotnder In tho
      plalntitrs de8Jgnotlon, a c:ounter-cfesfgnatlon that the case Ia not compl&x. or, If the plaintiff hal made no daafgnalfon. a d&algnalfan that
         the easels complex.                                    CASE TYPES AND EXAMPLES
         AutoTOJt                                      Con1raet                                            ProvlalonaiiJ Complex Civil Utfgatlon (Cel.
            Auto (22H'trSOnBfln,lul)'IPropelty           BR!ach of ContradM'arranty (CIS)                  Ruin afCowtRuln~)
                Damage.Wrongful DBI1h                       Breach of Rentalll.ease                             AntilrusiiTrade Regulation (03)
            Uninsured Motolf&t (46) (lflht                      Contract (IIDt rmtawful delslntr                Construc:tlon Defect (10)
                esse lnvotvaa en unlns1118d                       orwrongful evt:t/OriJ                         Claims Involving Malia TOI't (40)
                moiOIIsl dMin subjad lO                       COntmcUWarranty Breach-Seller                     Seauftle& UllplfDn (28)
                amifmlton, dledt lhls Item
                                                                 PlaJntiff (nol fraud or negllgstrceJ
                                                              Negligent Breach of Cantmdl                       EnWanmentali'ToxJc Tort (30}
                tnslead ol Aulo)                                 W8JTaJity                                      Insurance Coverage Claims
         Other PUPDMID (PensonallnJUIYI                      Other Bmach of ContJactM'ananty                        (Bifslng fi'um protllsfonaJ1y oomp/aJt
         Pnlperty DamagaiWnmsftd Death)                    Cclledlons (e.g., manov owed, opan                       case (ype li$d llbtNB) (41)
         Tolt                                                book accounts) (09)                           Enforcement of Julfgment
            AsiHisto$ (04)                                    COIIedfon Cesl Se!lef Plal.n1lll                   Enforcement of Judgmenl (20)
                As!lesloa Property Damase                     Ollllt Ptomissory NataiCollec:llons                   AbstrBC& of Judgment (Out of
                AslleStos PeraonaJ Injury#                           case                                             County)
                      Wrongful Dealb                       lnsunmce Coverage (not provlsfOnBI1y
                                                              oomplex) (18)                                         Confealon of Julfgment (non-
            Prodlld UabiiJty (nolaSbS.StOS or                                                                           domesllc relaflonl)
                tl»rlt:lenvtronmentaJ) (24)                   Auto Subrog8llon
                                                              OUter Covetage                                        Sls1er Slate Judgm8nt
            Medical Marpradlce (45)                                                                                 Admlnbtr111Ne Agency Award
                Medical Malprad!CO-                        Oltler Contmt (37)
                                                              Contractual Fraud                                         (not unpBld tares)
                      Physlclans & Swgeons                                                                          Petl\IOniCertlfonofEntryof
                Other Profonlonal Hoallh Care                 Olhar Con1ract Dispute
                                                        Real PIOperty                                                  Jlldament on Unpaid Taxes
                      Malpractlcs                                                                                   Other Enforcement of Judgment
             Other PIIPDNIID (23)                         Eminent Dcmalnltnverse
                Premises IJabllily (e.g., s!Jp                Condemnatfan (1")                                         caae
                                                          wrongful Evfdlon (33)                            Mlsc:ellanoous CIYIJ Complaint
                      and fall}                           Olher Real Property {e.g., qufet tllle) (26)           RIC0(27)
                 Intentional Bodily lnJuryJPDIWD              Witt of Possesstln of Real Property                Other Complafnl (not :rpeCfft8d
                     (e.g., assault. vandaDsm)                Mortga;a Foreclosure                                  abov9J(42)
                fnt8ntlonaJ lnfl!dlon of                      Quiet Tllfe •                                         Declaratory Rthf Only
                     Emallonal DlsbeSa                        Other Real PropeJty (not emlnsnt                      lnJuncUvo Relief Onty (ncn-
                Negllaent lnflldlon of                        cfomatn.~ GT                                              trnssmenl)
                     Emotlcnal Dlstnm                         fll'edoiii18J                                         Mecbanlcs Uen
                Olhar PIJPDM'D                          Unlawful DetalnDr                                           othar Ccnunen:lal Complaint
         Ncm-PIIPDNID (Other) Tmt                         Commerc:la1 (31)                                              Cue(~)
           BusineSs ToltiUn1alt Buslnasa                  Raslden1181 (32)                                          OIJicr CMI Complaint
                Pracllca (07)                             Dluga (38) (111119 esse lnYohtes i11egal                      (~}
           Civil RightS (e.g., dlscffmlnatlon,                dro9S. dJeCfC this Rem; otbetWise,           Miacananaoua Civil PttHion
                 false~) (nol cMl                             reptJif as C4mmetr:IBl DT ResldsnllsiJ             Partnerobfp and Corporate
                 hsrassmenf) (08)                       Judtclal Rntew                                              Governance (21)
             Dafamatlon (e.g., sfandar,libe1)             Aaa8t Fotl'eftw9 (05)                                  Olher Petillon (noiiPfiC[Tled
                 (13)                                     Petllfon Rt: AlbltmtiDn Award (11)                        ab:wa}(43)
             Fraud (16)                                   Wl1t of Mandate (02)                                      Ctvll Harassment
             lnlelledual Property (19)                       Wlfi..Admlnl&trativa Mandamus                          WOdcplace VIolence
             Professional Negllgence (25)                    WJit-Marlctamus on Limited Court                       EllferiDependant Mull
                 Legal Malpmcllce                                Case Matter                                            Ab1me
               Other Professional MalpradiCB                 Wtft..Oiher Um!lad Court case                          Bedlon Contest
                   (nDf I7I1Hik:8l orlegBI)                      Revfew                                             PetHion for Nama Change
           Other Non-PUPDJWD Tort (35)                    08ler JvdJclal RevfaW (39)                                Pe1111on for Relief from Late
         Emptowmant                                           RevlewofHoaiU! otlicerOrder                              CIBlrn
             Wl'ongfut Temlfn8tlon (36)                       NDtlce of Appeal-labor                                Other Civil Petition
             Other Emptoymall1 (15)                              CommissiOner Appeals
                                                                                                                                                    PqeloU
                                                              CML CASE COVER SHEET
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 5 of 167 Page ID #:12
                                                                        COPY
 SHORTTTTLE:   Barkan v. Health Net of California, Inc.


                               CML CASE COVER SHEET ADDENDUM AND
                                     STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
              this fonn Is rvqulred pwuuant to Local Rule 2.3 In aD new eMf case filings In the Los Angeles Superior Court.


     Step 1: After completing the Civil Case Cover Sheet (Judlf:iaJ CouncD form CM-010), find the exact case type In
                   Column A that corresponds to the case type Indicated In the Civil Case Cover Sheet

     Step 2: In Column B, check the box tor the type of action that best describes the nature of the case.

     Step 3: In Cotumn C, circle the number which explains the reason fer the court fiiJng lacation you have
                   chosen.
                                       Appllcab!a Reasons for ChOosing Court Filing LocaUon (COlumn C)

t. crau ac:tiona muat be filed lAthe Stantey Most COIUUiouse, Centnll District.     7. Loc:atlon wt1ere patftloner reslcfes.   .
                                                                                                                                                           ..   : i.



2. Permissive filing In central district.                                           8. Location wtlereln defamlaJIIffespDnlfent funetillna Wboll'/.
3. Locatlcm Wllare cause of action arose.                                          9. Location w11ere one or more of the parties reaJd8.
4. Mandaloly ,ersonaJinJuJY flRng In Nor1h Dlstrfd.                               10. Location of Labar Commlssfonsr Office.
s. Location Where perfonnanca RSQulrud or crafendant resldas.                     11. Mandaloly filing location (Hub Cases- unlawM detalnar,llmlled
                                                                                  nOJH:OIIection.llmlted collec:llon. or personallnJuJY).
e. Lccatlon of property or parmanenUy garaged vehicle.




     1:
     {!                                               A710D Motor Vehfde - PenlonallnJuryJPropefty DamageJWroftgfld Death

     I              Uninsured Motodsl (46)            A7110 PelBOIUII tnjwyiPioporty DamagaM'rorqJful Death- Unlnswed

                                                      AS070 Asbeslos ProPertY DamBQS                                                      t.11
                        ~los{04)
                                                      A7221 Aslleitos • PessonallnjuryJWrongful Death                                     1,11
    ~~
    .l:j             PIOduCI Uablllty (24)                                                                                                t,4, 11
    ~Q
                                                      A7210 Medical Malpracflc:e- Phya!Ciana & Surgeoll9                                 1, 4,11
    ~~
    'Cic
                   Medical Malpractice (45)
                                                      A7240 othor Pmmlonal Heallb care MalpraCIJce                                       1, 4,11

    J~                                         D      A7250 Pnlmlsea Uablllty (e.g., 5flp and faD)                                       1,4, 11

    al
                       other Personal
                       ln,lwy PI'OJ)BI1y       D      A7230 ln!ent!DJJBI eOdny I$1Jy./ProJietiY DamageiWrongful Dea!h (e.g.,             1,4,11
                      Damaaa Wtcngful                     858Dult. vandalism. etc.)
                         Death (23)                   Amo lnlentll'mallnfllcHon of EmoUonal Distress                                     1,-4,11

                                               0      ATrJ.O Other PeraonallnjuryfPropsJty DamagiiiWron!Jful Dmtl                        1, 4,11




  LACIV 101 (Rev 2118)                        CIVIL CASE COV-=R SHEET ADDENDUM                                                       Local Rule 2.3
  LASC~03-04                                          AND STATEMENT OF LOCATION                                                        Page 1 of4
                                                                                                                                                      I.M:VIIm
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 6 of 167 Page ID #:13




  ~nneBarkan             v. Health Net of california, Inc.




   f:"'l:
                  Bustneas Tcrt (07)        0   A6029 OUie1 CcmunerdafJBualness Tort (not fraudlllreat.b of conlr8cQ               1,2,3

   lt2             CMJ Rights (08)          0   A6005 Civil RlgJIIsiDlaatmlnatlon                                                  1,2, 3

   ~~
   :S"t
                   Defamatlcn (U)           0   A6010 Defamal!on (alancferllibel)                                                  1,2, 3


   ~~                 Fraud (16)            0   A8013 Fraud (no contract)                                                          1,2, 3



   II        PIOfeaalonaf Negligence (25)


                      0lher(35)
                                            D
                                            0
                                            D
                                                AS017 Legal M$Bctlce
                                                A6050 Oilier Pnlfaasfonal Mafpradlce (not medlcal cr regal)

                                                A6025 Other Non-PersonallnjvJyJPioperty Damage bill
                                                                                                                                   1,2, 3
                                                                                                                                   1,2, 3

                                                                                                                                   1, 2. 3

     i
     £
     a.        Olher Employment (15}
                                                                                                                                   1,2,3
                                                                                                                                   10
     .\1
                                                A6004 Breach of Rentatll.eaae Contract (not uniiMful detainer or wrongfuJ 2,5
                                                      evlctfon)
            BreaCh cf ConflacUWartanty                                                                                    2,5
                         (08)               D   A8G08 ContracWianuly Bntal:h .sener Plaintiff (no ltaudlneglfUem:e)
                   (not Insurance)          D   AS019 Negligent Breach of ContraGt.Wananty (no fraud)
                                                                                                                          1,2,5
                                                                                                                                   1,2,5
                                            D   AS028 Otltet Broach of ContradiWerranty (not fraud or negligence)

                                            D   AS002 Co!lecllona Case-Seller PlalnWf                                              5,6,11

     I             ColleCIIona (09)
                                            D
                                            D
                                                A6012 OUter PromlsscJy NateiColledlons ease
                                                A8034 Co!loctlcns Case-Purctlued                       Off Consumer Debt
                                                                                                                                   5,11
                                                                                                                                   5,6,11

              Insurance Covetage (18)       D   A6015 Insurance Coverage (nDI compleX)                                             1,2,6,8

                                            D   AS009 ConlractuafFraud                                                             1,2,3,5
                 Otllet Con!tacl (37)       0   AS031 Tcltlovs fnlarfererlce                                                       1.2, 3, 5
                                            D   A&lm other Ccnlnlct Dlapute(not breat:Mnsl11Bt1081fraudlnegtlgence)                1,2,3,8,9

                                            D   A7300 Ernlnanl DamalniCondemnallon              Numbercfparcelt_                  2,6


     J         Wrongful Evic:llon (33)      D   A8023 Wrongful Eviction case

                                            0A&018 MoJ1Uage F~
                                                                                                                                   2,6


     I        Othar Real Propmty (28)       D   AS032 Qul8t Tille
                                                                                                                                  2,6
                                                                                                                                  2,6
                                            D   A6060 001ar RNI Pl'clpen, (not eminent domain, llndloldlteftant. fclrlldosura)    2,6



     I                                      D
                                                        llnlawfu1 D&tafner-Ccmmerclal (net dJU9S 01~ evlctJon)

                                                A6020 Unlawful Delolner-Resllfentlal (nDt drusa or wrongful GYicllon)
                                                                                                                                  8,11

                                                                                                                                  6,11


     I      Unlawful Detefner-Drup (311)
                                            D
                                            0
                                                A6020F Unrawl'ul Datalner-Poat-Foredl*!re

                                                A6022 UnlawM Detalner-DIII9B
                                                                                                                                  2, 8,11

                                                                                                                                  2,8,11


  IACIV 109 (Rev 2116)                     CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
  tASC Approved 03-04                         ANDSTATEMENTOFLOCAnON                                                                Page2 of4
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 7 of 167 Page ID #:14




 a~nneBarkan              v. Health Net of california, lnc.




                  Aaaet Forfeiture (05)          D    A8108 Asset FCJfeHure C8se                                                2,3,8

                Potlllon re Alb!lratlon (t t)    D    A&t 15 Petition fD CoqJef/ConfirmNecate Arbllratlon

     J
                                                                                                                                2,6

                                                 0    AStst Wrft- AtfmJnbtrattlo MancramiiS                                     2,8
     it'!I        Writ of Mandste (02)           D    A6t52 Wlft • Mandarmla on Umlted Courl case Matter                        2
     ..,                                         D    AS153 Wril· Other Umlled Court case Revfew                                2

               Other Judicial Revfew (39)        D    A8150 OthorWril/JudldaJ Rev!aw                                            2,8

             Anlittu&tf1"racfa Regulatl#n             A6003 Antiru5tl1'rado Regulatlwl                                          1,2.8
     5
    IJ          Construction D8fect (1 0)
               Claims lnvoMtlll Mass TOJt
                           (40)
                                                 D
                                                 0
                                                      A8fJfT7 Constludion Defect

                                                      AS006 Claims lnvoMng Mass Tort
                                                                                                                                1,2,3

                                                                                                                                1,2,8
     t
    a           Securities Llllgatlon (28)       D    A8035 Securitio8     uuaat1on ease                                        1,2,8
    fc                 Toxic Tort                D    A8038 Toxtc TortiE!IVfRinmental                                           1,2, 3,8

    I
                   Environmental (30)
              Insurance Covaraga Claims
    G.         from Complex case (41)            (][] AB014 Insurance CovarageJSubrogallon (complex case cWh                    1,2,5,8

                                                      A8141 Sister State Judgment                                               2. &, 11




  u
                                                 D    A81BO Abstract af Judgment                                                2,8
                      Enforcement                0    AS107 Confeaalon of Judgment (noiHiomeatfc relatlana)                     2.9
                    of Judgment (20)             0    Atl140 Admmlltrdw Aaency Award (not unpaid taxes)                         2.8
                                                 0    Atl1 t4   PetftlonfCel\lllca1a for En!Jy of Judgment an UI!Jiald Tax      2,8
                                                 0    A61 t2 Other Enforcement of JudQment Case                                 2,8,9

                        RIC0(27)                     A6033 Racketeelfng (RICO) case                                             1,2.8

  II
  ~~
                                                 D
                                                 D
                                                     A6030 Declamtcry Retlat' 01111
                                                     A6040 lnjunttiW Rellaf Only (not dorna&UcRiarassment)
                                                                                                                                1,2, 8
                                                                                                                                2.1
                    Other CorrrJIIOOits
  I; u
               (Nat Specified Above) (42)        0
                                                 D
                                                     Af!01 t othDrCcm!n!ft:talContplalnt C9se (~plex)
                                                     A6COO Other CMJ Complall)t (non.tcutmon-compm)
                                                                                                                                1,2,8

                                                                                                                                '· 2,8

                                                 0   AB113 PaJtnerstlip and CGJponate Governance         cas.                   2,8

                                                 0   A612t ClwD Hamssment                                                       2,3,9
  !«Z~                                           D   A6123 Wotkptace Harassment                                                 2,3. 9

  ~~              Other PeWona (Not
                                                 D
                                                 D
                                                     A8t24 ElderiDepencfent Adull Abuse        ease                             2,3,9

  ~~
                 Spedflecl Above) (43)               A8190      EJedfan Contes1                                                 2
  :liiU
                                                 D   AB110      PetWon for Chans& of Name!Ctmnge of Gender                      2,7
                                                 D   AB170      PeWon rot ReiJef from l.at8 Claim Law                           2,3,8
                                                 D   A6100      Other CMJ Petlllon                                              2,9




 LACJV 109 (Rev 2118)                           CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
 LASC Approvuct 03-04                              ANDSTATEMENTOFLOCATION                                                      Paga 3af4
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 8 of 167 Page ID #:15



 ~nneBarkan             v. Health Net of California, Inc.


Step 4:   statement of Reason and Address Check the appropriate boxes far the numbam shown under Column C for the
          type of actfon that you have selected. Enter the address whfch Is the basis tor the filing location, Including zip code.
          (No address requJred for class action cases).
                                                                  AllDRfSS:
   REASON:
  r.x:J1.02.03.04.05.D6.07.D809.01D.D11


   CRY:                                    STATE:   ZIP CODE:


   Los Ancreles                            CA       90012
Step 5: Certification of Assignment: I certify that this case Is property filed In the Loa  lmgeles                   Distrfct of
          the Superior COurt ofCsllfomla, County of Los Angeles [Code Clv. Proc., §392 et seq., and local Rule 2.3(a)(1 )(E)].




 Dated:June 29, 2018                                                          0:4CW.
                                                                                ISIGHATURE Of AlTORNEYI1'1UifO PAR'I"t)
                                                                               Richard T. Collins

 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:
      1. Origtnal Complaint or Petition.
     2. If fifing a Complaint, a completed Summons form for Issuance by the Cleltc.
     3. Civil Case Cover Sheet, JudJcJal Council form CM.010.
     4. Civil  case Cover Sheet Addendum and Statement of Location form, LACJV 109, LASC Approved 03-04 (Rev.
        02116).
     5. Payment In full of the filing fee, unless there Is court order for waiver, partial or scheduled payments.
     6. A signed order appolnUng the Guardian ad Utem, Jud"!Cfal Council form CJV-D10, if the plaintiff or petitioner Is a
        minor under 18 years of age wiU be required by Court In order to Issue a summons.
     7. AddJtional copies of documents to be conformed by the Cleltc. Copies of the oover sheet and this addendum
        must be served along wtth the summons and complaint, or other fnltfatlng pteadlng In the case.




 LACIV 109 (Rev 2116)                 CIVIL CASE COVER SHEET ADDENDUM                                               Lccal Rule 2.3
 LASC Approved 03-04                     AND STATEMENT OF LOCATION                                                        Page4of4
 Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 9 of 167 Page ID #:16


                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
           NOTICE OF CASE ASSIGNMENT· UNLIMITED CIVIL- CLASS ACTION/COMPLEX
                            312 N. SPRING STREET COURTHOUSE
                                          CascNumbcr            BC 71198 7
                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

   Yourcnse is assigned for nil purposes to the judicial officer indicated below•

                 ASSIGNED JUDGE              DEPT     ROOM .·.;,:              ASSIGNED JUDGE              DEPT   ROOM
           lion. Elihu M. Berte               6         211
                                                                    ..
           lion. William F. Highberger        10        10
                                                               :
           Hon. John Shepard Wiley. lr.        9         9

    tt..   Hon. Kenneth Fn:cm:m               14        14     '•


                                                                ...
           Hon. Ann Jones                     II        II

           lion. MIU'Cfl E. Nelson            17        17

           Hon. Corol)'ll B. Kuhl             12        12
                                                               ...
                                                               ..

                                                               ..
                                                               ...
                                                                .·-
                                                                '*


                                                                ...
                                                                    ..




                                                               ....
                                                               -·
                                                                ..


                                                               ......
                                                               ;~:J
                                                               ~~~~

                                                               .....
                                                                 ..
                                                               ..
                                                                  ..                                        IS
                                                               ..••···
                                                               ~·:
                                                                         •lon. Brian S. Cum:y
                                                                                                     '                "
                                                               .....
                                                                         •Provisional complex (non-clnss
                                                                -
                                                               ·~·
                                                                         m:lion) case ossignment pending
                                                                         complex determination
                                                                                                            14
                                                                                                                  SupervisiiiiJ
                                                                                                                     lwlgc
                                                                                                                       14
                                                                ..
   Given to the PlalnliWCross..ComplainantiAUomey of Record on _ _J;:;..U;:;..N;..._2_9=Z~0_\8
                                                                                            _ _ __
                                                                              (Date)

   SHERR( R. CARTER, Execulive Officer/Clerk of Court

   B~ ~                                       ,DeputyCierk
LAetV 1 : 0 : : :       ~E OF. CASE ASSIGNMENT- UNLIMITED CIVIL CASE
LASC Approved 05lll6
 Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 10 of 167 Page ID #:17


                                   INSTRUcriONS FOR IIANDLING UNLIMITED CIVIL CASES

The following critiQl1 provisions ofthc California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summnrized
for your assistance.
APPLICATION
The Division 7 Rules were effective January I, 2007. They apply to all general c:ivil c:ases.
PRIORITY OVER OTHER RULF.S
The Division 7 Rules shall have priority over all other Loall Rules to the extent the others are inconsistent.
CHALLENGE TQ ASSIGNED JUDGE
A challenge undcrCodeofCivil Procedure Section 170.6 must be made within IS days after notice of assignment for all purposes to
a judge, or if a party has not yet appeared, within IS days of the first appearance.
TIME STANDARDS
Cases assigned to the Independent Calendnring Courts will be subject to processing under the following time standards:
COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave ofcourt fust being obtained, no c:ross-complaint may be filed by any party after their answer is filed. Cross-complaints
shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
STATUS CONFERENCE
A status conference will be scheduled by the ass~gned Independent Colendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fUlly prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,bial
date. and expert witnesses.
FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All parties
shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested fonn jury
instructions, special jury instructions, and special jwy verdicts timely filed and served prior to the conference. These matters may be
heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged lists of exhibits
and witnesses. and have submitted to the court a brief statement of the case to be read to lbe jury panel os required by Chapter Three
of the Los Angeles Superior Court Rules.
SANCJ'IONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules. orders made by the Court,
and time standards or deadlines established by the Court or by the Chapter Three Rules. Sucb sanctions may be on a party, or if
appropriate, on counsel for a party.
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions Is
therefore not o guarantee against llle Imposition       or
                                                      sanctions under Trial Court Delay Reduction. Cardul reading and
compliance with the actual Chapter Rules Is Imperative.

Clns.s Actions
Pursuant to Local Rule 2.3. all class at~ ions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex coUJthousc. lfthe case is found not to be a class action it will be returned to an Independent calendar
Courtroom for all purposes.
*Provls!onol!y Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge ofcomplex Utlgatlon for determination ofcomplex
status. lrthe case is deemed to be complex within the menning ofCalifornia Rules of Court 3.400 ct seq., it will be rondomly assigned
to a complex judge at the designated eomplex counhouse. If the case is found not to be complex. it will be returned to an Independent
Calendar Courtroom for all purposes.




LACIV 190 (Rev 12/17)        NOTICE OF CASE ASSIGNMENT- UNLIMITED CIVIL CASE
LASC Approved 05106
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 11 of 167 Page ID #:18




                                         VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                            The Early Organizational Meeting Stipulation, Discovery
                                         Resolution Stipulation, and Motions in Limine Stipulation are
    suporlorcaurtorcnllfornla            voluntary stipulations entered into by the parties. The parties
    County of Los Angolcs
                                         may enter into one, two, or all three of the stipulations;
                                         however, they may not alter the stipulations as written,
     LAesA
      ..   . --... ,.
       ... ......
      --~-~...-.... ~ ·...:              because the Court wants to ensure uniformity of application.
    los Anoolos County
    Bar Association                      These stipulations are meant to encourage cooperation
    lltlg;ltlon Section

    los Angelos County
                                         between. the parties and to assist in resolving issues in a
    Bnr Association Lnbor anr;t
    Employmont Lnw Soct!on               manner that promotes economic case resolution and judicial
                                         efficiency.

     Giiii"'llll     ~-~
                      ....
                     A'~,     ~~.•.•?-
                     aH•1 .ll-<•111         The    following    organizations endorse      the   goal of
    Consumer Attorneys
    Assoclnllon of Los Angolos           promoting efficiency in litigation and ask that counsel
                                         consider using these stipulations as a voluntary way to
                                         promote communications and procedures among counsel
                                         and with the court to fairly resolve issues in their cases.

                                         •Los Angeles County Bar Association Litigation Section+
    Southam Callfornln
    Oofonso Counsel
                                                       + Los Angeles County Bar Association
                                                       Labor and Employment Law Section+

    Association of
    Business Trial Lawyers                   +Consumer Attorneys Association of Los Angeles+


                                                   +Southern California Defense Counsel+


                                                  +Association of Business Trial Lawyers+

    Cnllfomla Employment
    Lnwyors Assacll!tion                      +California Employment Lawyers Association+


           lACIV 230 (NEW)
           LASC Approved 4·11
           For OpUonal Usc
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 12 of 167 Page ID #:19




  ---SSOFAnQI!!CEfOIIIWirtllllltOUI'AnORNIY.               ifAi£   -I<IACi!OI                  ~~-.   .....   o..r.,.~




              TELEPHONE NO.:                     FAX NO.(~}:
  E·MAIL ADDRESS (Opticnal);
     ATTORNEY F<m iNomui:
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINnFF:

  DEFENDANT:

                                                                                       CASE~

          STIPULAnON- EARLY ORGANIZAnONAL MEETING

       This stipulation Is Intended to encourage cooperation among the parties at an early stage In
       the litigation and to assist the parties In efficient case resolution.

       The parties agree that:

       1. The parties commit to conduct an Initial conference (in-person or via teleconference or via
          vldeoconference) within 15 days from the date this stipulation Is signed, to discuss and consider
          whether there can be agreement on the following:
              a. Are motions to challenge the pleadings necessary? If the Issue can be resolved by
                 amendment as of right, or if the Court would allow leave to amend, could an amended
                 complaint resolve most or all of the Issues a demurrer might otherwise raise? If so, the parties
                 agree to work through pleading Issues so that a demurrer need only raise issues they cannot
                 resolve. Is the Issue· that the defendant seeks to raise amenable to resolutfon on demurrer, or
                 would some other type of motion be preferable? Could a voluntary targeted exchange of
                 documents or information by any party cure an uncertainty In the pleadings?
              b. Initial mutual exchanges of documents at the •core" of the litigation. (For example, in an
                 employment case, the employment records, personnel file and documents relating to the
                 conduct fn question could be considered "core: In a personal Injury case, an Incident or
                 police report, medical records, and repair or maintenance records could be considered
                 ucore.");

              c. Exchange of names and contact information of witnesses;
              d. Any insurance agreement that may be available to satisfy part or all of a Judgment. or to
                 Indemnify or reimburse for payments made to saUsfy a judgment;
              e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                 or resolution of the case In a manner that preserves objections or privileges by agreement:

              f.   Controlling issues of law that, if resolved early, will promote efficiency and economy In other
                   phases of the case. Also, when and how such issues can be presented to the Court;
              g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                 court ruling on legal Issues Is reasonably required to make settlement discussions meaningful,
                 and whether the parties wish to use a sitting judge or a private mediator or other options as

      ~:;:::~:)                 STIPULAnON- EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                            Pagahf2
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 13 of 167 Page ID #:20




               di!)cussed in the •Alternative Dispute Resolution (AOR) Information Package" served with the
               complaint;

          h. Computation of damages, including documents. not privileged or protected from disclosure, on
             which such computation is based;

          i.   Whether the case Is suitable for the Expedited· Jury TriaJ procedures (see Information at
               www.lacourt.om under "Civif and then under oGenerallnformatlonj.

     2.        The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                            for the cross-
                            IINSERr DATEI                                   (INSERT DATE)
               complaint. which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.ora under "Civlr,
               click on ·General Information", then click on "Voluntary Effie/ant Ullgstlon Stipulations•.
     3.        The parties will prepare a joint report titled "Joint Status Report Pursuant to lnHJal Conference
               and Early Organizational Meeting Stipulation, and If desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement Is due.
     4.        References to "days• mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day
     The following parties stipulate:
     Date:
                                                                ,.
                  {JYPE OR PRINT NAME)                                      (ATI"ORNEY FOR PlAINllFF)
     Date:

                  (TYPE OR PRINT NAME)                                     (ATTORNEY FOR OEFENDANl)
     Date:
                                                                >
                  (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
     Date:                                                      .,
                  (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
     Date:
                                                                >
                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR
     Date:
                                                                >
                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR
     Date:
                                                                ;.
                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR



     LACIV 229 (Rav02lts)        STIPULATION- EARLY ORGANIZATIONAL MEETING                              Page2of2
     LASC Approved 0411 t
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 14 of 167 Page ID #:21



  HMIE AND -!18111 AlllllUin CJi P.AAIYWIIICOIII 4nii!IH&'I'.                 8f4JE IWIIIIJII8tR              ~I!I!Cio:llo•FIIIIila""




               TELEPHONY; NO~                                   FAX NO. (OpliGnnl}:
   E-MAil ADDR£SS (?r::~
      ATTORNEY FOR
  SUPERIOR COURT OF CALIFORNIA COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:

  DEFENDANT:

                                                                                                   «;AS£ tM.IBER:
                        STIPULATION -DISCOVERY RESOLUTION

         This stipulation Is Intended to provide a fast and Informal resolution of discovery issues
         through limited paperwork and an informal conference with the Court to aid In the
         resolution of the issues.

         The parties agree that:

         1. Prior to the discovery cut-off In this action, no discovery motion shall be filed or heard unless
            the moving party first makes a written request for an Informal Discovery Conference pursuant
            to the tenns of this stipulation.

         2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
            and determine whether it can be resolved Informally. Nothing set forth herein will preclude a
            party from making a record at the conclusion of an Informal Discovery Conference, either
            orally or in writing.

         3. Following a reasonable and good faith attempt at an Informal resolution of each Issue to be
            presented, a party may request an Informal Discovery Conference pursuant to the following
            procedures;

                     a. The party requesting lhe Informal Discovery Conference will:

                         i.       File a Request for Informal Discovery Conference with the clerk•s office on the
                                  approved form (copy attached) and deliver a courtesy, conformed copy to the
                                 .assigned department;

                        li.      Include a brief summary of the dispute and specify the relief requested; and

                       Iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                                 that ensures that the opposing party receives the Request for Informal Discovery
                                 Conference no later than the next court day following the filing. ·

                     b. Any Answer to a Request for Informal Discovery Conference must

                         i.      Also be filed on the approved form (copy attached);

                        ii.      Include a brief summary of why the requested relief should be denJed;
        lACfV 036 (new)
        lASC Approved 04/t 1                        STIPULATION -DISCOVERY RESOLUTION
         For Opllonal USe                                                                                                     Page1ot3
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 15 of 167 Page ID #:22




                iii.   Be filed within two (2) court days of receipt of the Request; and
                                                                                                         J
                iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       later than the next court day following the filing.

         c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
            be accepted.

         d. If the Court has not granted or denied the Request for Informal Discovery Conference
            within len (10) days following the filing of the Request, then it shall be deemed to have
            been denied. If the Court acts on the Request, the parties will be notified whether the
            Request for Informal Discovery Conference has been granted or denied and, if granted,
            the date and time of the Informal Discovery Conference, which must be within twenty (20)
            days of the filing of the Request for Informal Discovery Conference.

         e. If the conference Is not held within twenty (20) days of the filing of the Request for
            lnfonnal Discovery Conference, unless extended by agreement of the parties and the
            Court, then the Request for the Informal Discovery Conference shall be deemed to have
            been denied at that time.

     4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
        without the Court having acted or (c) the lnfonnaf Discovery Conference is concluded without
        resolving the dispute, then a party may file a discovery motion to address unresolved issues.

     5. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of the Request for Informal Discovery
        Conference unUI (a) the request Is denied or deemed denJed or (b) twenty (20) days after the
        filing of the Request for Informal Oiscovery Conference, whichever Is earlier, unless extended
        by Order of the Court.

         It is the understanding and intent of the parties that this stipulation shall, for each discovery
         dispute to which it applies. constitute a writing memorializing a aspeciflc later date to which
         the propounding [or demanding or requesUng] party and the responding party have agreed In
         writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
         2033.290(c).

     6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
        an order shortening time for a motion to be heard concerning discovery.

     7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

     8. References to "days• mean calendar days, unress otherwise noted. If the date for performing
        any act pursuant to this stipulation falls on a Saturday. Sunday or Court holiday, then the time
        for performing that act shall be extended to the next Court day.



     LACIV 036 (new)
     LASC Apploved 04111         STIPULATION -DISCOVERY RESOLUTION
     For OpUonal Use                                                                             Page2of3
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 16 of 167 Page ID #:23




     The following parties stipulate:

     Date:
                    (TYPS OR PRINT HAMEl                          (ATTORNEY FOR PLAINTIFF!
     Date:
                                                                 (AnoRNEY FOR DEFENDANT)



                                                                 (ATTORNEY FOR DSFCNDANTJ



                                                                 (ATTORNEY FOR DEFENDANT)

                                                      >    (ATTORNEY FOR _ _ _ _ _ _ _ __,



                                                           (ATTORNEY FOR _ _ _ _ _ _ _ _.-~



                                                           (ATTORNJ:Y FOR _ _ _ _ _ _ _ __,




     LACIV 0311 (new)
     LASC Approved 04111           STIPULATION- DISCOVERY RESOLUTION
     For Opl!cmal Use                                                                        Page3af3
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 17 of 167 Page ID #:24




  -   - - s s cv "~"OAI<£\'OfliWirY'MlliCUl ""CIIbl£\'                  ato\fl!.DASI-                        -r:..Cb\'SJII<t&IOI!o




               Ta.EPHONE NO.:                             FAX NO. (Opligna!):
  E-NAIL ADDRESS~~~
      ATTORNEYFO           mna
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COl.IRTHOUSE ADORES$:

  PLAINTIFF:

  DEFENDANT:

                                                                                                     ~NUWIER:
                          INFORMAL DISCOVERY CONFERENCE
                 (IDJrsuant to the Olsco~ry Resolution StlpylaUon of the_partlas)
       1. This document relates to:
             0. Request for Informal Discovery Conference
             0       Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request:                     crnsert date so ca!emlar days ro~to¥Mg lillng of
               the Request).
       3. Deadflne for Court to hold Informal Discovery Conference:                                           (Insert date 20   calandar
               days following liling of lhB Request).
       4. For a Request for Informal Discovery Conference, brleflv describe the nature of the
          discovery dispute, Including the facts and legal arguments at Issue. For an Answer to
          Request for Informal Discovery Conference, brfeftx describe why the Court should deny
          -~-~~-~-~~~~~-~-dlsc~fi!~·· ~~c~~di!'J the facts ~~-lev~~--~~~.!~~ at J~ue._ __ ___ . .. . i

                                                                                                                                       I!
                                                                                                                                       iI
                                                                                                                                       I
                                                                                                                                       '
                                                                                                                                       'i
                                                                                                                                      I!
                                                                                                                                      'I
                                                                                                                                       I
                                                                                                                                       !
                                                                                                                                       '


                                                                                                                                       .

                                                                                                        - - - - - - --- - -- .I
       LACIV 094 (newJ                           INFORMAL DISCOVERY CONFERENCE
       LASC Approved 04/U
       Fer Optional Use                  (pursuant to the Discovery Resolution Stipula1Ion of the parties)
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 18 of 167 Page ID #:25




  IIAMS AAD Alllli!USC1 AnlllliliYCAAAim'wmiDUIIItfCIII<E~                 IITAf8IWINUiollllll           Jr-llrCiall'o flz>$1o!q>




               TELEPHONE NO.:                                FAX NO.(Opllotlal):
  E-MAIL ADDRESS '?:'N~I):
      ATTORNEY FOR         amel:
  SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PlAINTIFF:

  DEFENDANT:

                                                                                                 CASENUWIER:
                STIPULATION AND ORDER- MOTIONS IN LIMINE


        This stipulation is intended to provide fast and informal resolution of •videntlary
        Issues through diligent efforts to define and discuss such Issues and limit paperwork.


        The parties agree that:

        1. At least _     days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motfon In
           limine. Each one paragraph explanation must Identify the substance of a single proposed
           motion In limine and the grounds for the proposed motion.

        2. The parties thereafter will meet and confer. either In person or vla teleconference or
               vldeoconference, concerning all proposed motions In limine. In that meet and confer, the
               parties will determine:

               a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                  stipulate. they may file a stipulation and proposed order with the Court.

               b. Whether any of the proposed motions can be briefed and submitted by means of a
                  short joint statement of issues. For each motion which can be addressed by a short
                  joint statement of Issues, a short joint statement of Issues must be filed with the Court
                  10 days prior to the final status conference. Each side's portion of the short joint
                  statement of issues may not exceed three pages. The parties will meet and confer to
                  agree on a date and manner for exchanging the parties' respective portions of the
                  short joint statement of Issues and the process for filing the short joint statement of
                  issues.

        3. All proposed motions In limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.




        lACIV 075 (new)
        LASC Approved 04111               STIPULATION AND ORDER- MOTIONS IN LIMINE
        For OpllonaJ Use                                                                                                  Page 1 of2
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 19 of 167 Page ID #:26



    ,-.   ~                                                  ,--
     The following parties stipulate:
     Date:
                                                ;.
               (TYPE OR PRINT NAME) ·                     (ATTORNEY FOR PLAINTIFF)
     Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
     Date:
                                                ~
              {TYPE OR PRINT NAME)                       (ATTORNEY FOR DEFENDANT)
     Date:
                                                }>

              (TYPE OR PRINT NAME)                       (ATTORNEY FOR DEFENDANT)
     Date:
                                                ~
              (TYPE OR PRINT NAME)                   (ATTORNEY FOR
     Date:
                                                >
              (TYPE OR PRINT NAME)                   {ATTORNEY FOR
     Date:
                                                >
              (TYPE OR PRINT NAME)                   (ATTORNEY FOR



     THE COURT SO ORDERS.

      Date:
                                                              JUDICIAL OFFICER




     LACIV 075 (new)
     LASC ~d 04/11
                         STIPULATION AND ORDER- MOTIONS IN LIMINE                Paga2 of2
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 20 of 167 Page ID #:27




                           Superior Court of California
                             County of los Angeles




               ALTERNATIVE DISPUTE RESOLUTION (ADR)
                       INFORMATION PACKET


                The person who files a civil lawsuit (plaintiff) must Include the AOR information
                Packet with the complaint when serving the defendant. Cross-complainants must
                serve the AOR Information Packet on any new parties named to the action
                together with the cross·complaint.
               There are a number of ways to resolve civil disputes without having to sue
               someone. These alternatives to a rawsult are known as alternative dispute
               resolution (AOR).
                In AOR, trained, Impartial persons decide disputes or help parties dedde disputes
                themselves. These persons are called neutrals. For example, fn mediations, the
                neutral Is the mediator. Neutrals normally are chosen by the disputing parties Qr by
                the court. Neutrals can help resolv~ disputes without having to go to court.




 LAAOR ODS (Rev. 03/17)
 LASC Adopted 10..03
 cal. Rules of Court rule 3.221
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 21 of 167 Page ID #:28




 Advantages of ADR
    • Often faster than going to trial
    • Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
    • May permit more participation, allowing parties to have more control over the outcome.
    • Allows for flexibility in choice of ADR processes and resolution of the dispute.
    • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
       mutually agree to remedy.
    • There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
       stress.

 Disadvantages of ADR - ADR may not be suitable for every dispute.
    • If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
       jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
    • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
       dispute.
    • The neutral may charge a fee for his or her services.
    • If the dispute Is not resolved through ADR, the parties may then have to face the usual and traditional
       costs of trial, such as attorney's fees and expert fees.


 The Most Common Types of ADR

     •   Mediation

         In mediation, a neutral (the mediator) assists the parties In reaching a mutually acceptable resolution
         of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
         decide how the dispute is to be resolved.

             •   Mediation Is particularly effective when the parties have a continuing relationship, like
                 neighbors or business people. Mediation Is also very effective where personal feelings are
                 getting in the way of a resolution. This Is because mediation normally gives the parties a chance
                 to express their feelings and find out how the other sees things.

             •   Mediation may not be effective when one party Is unwilling to cooperate or compromise or
                 when one of the parties has a significant advantage In power over the other. Therefore, It may
                 not be a good choice if the parties have a history of abuse or victimization.




 LAADR ODS (Rev. 03/17)
 lASC Adopted 10-03
 Cal. Rules of Court, rule 3.221
                                                      Page2or4
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 22 of 167 Page ID #:29




              •   Arbitration

                  In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                  side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                  trial, and the rules of evidence may be relaxed. Arbitration may be either ''binding" or "non-
                  binding." Binding arbitration means the parties waive their right to a trial and agree to accept
                  the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                  request a trial if they reject the arbitrator's decision.

                  Arbitration Is best for cases where the parties want another person to decide the outcome of
                  their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                  also be appropriate for complex matters where the parties want a dedslon-maker who has
                  training or experience In the subject matter of the dispute.


             •    Mandatory Settlement Conference (MSC)

                  Settlement Conferences are appropriate In any case where settlement fs an option.
                  Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                  a case is set for· trial. The parties and their attorneys meet with a judge who devotes his or her
                  time exclusively to preside over the MSC. The judge does not make a decision In the case but
                  assists the parties In evaluating the strengths and weaknesses of the case and In negotiating a
                  settlement.

                  The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                  charge and staffed by experienced sitting civil judges who devote their time exclusively to
                  presiding over MSCs. The judges participating In the judicial MSC program and their locations
                  are identified In the List of Settlement Officers found on the los Angeles Superior Court website
                  at http:l/www.lacourt.orgl. This program Is available In general jurisdiction cases with
                  represented parties from Independent calendar (IC) and Central Civil West (CCW) courtrooms.
                  In addition. on an ad hoc basis, personal injury cases may be referred to the program on the
                  eve of trial by the personal InJury master calendar courts In the Stanley Mosk Courthouse or the
                  asbestos calendar court In CCW.

                  In order to access the los Angeles Superior Court MSC Program the judge In the IC courtroom,
                  the CCW Courtroom or the personal Injury master calendar courtroom must refer the parties to
                  the program. Further, all parties must complete the Information requested In the Settlement
                  Conference Intake Form and email the completed form to mscdept18@lacourt.org.




 LAADR 005 (Rev. 03/17)
 LASC Adopted 10·03
 cal. Rules of Court, rule 3.221
                                                       Page 3of4
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 23 of 167 Page ID #:30




 Additional Information

 To locate a dispute resolution program or neutral in your community:

     •   Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
         Center toll free at 800-952-5210, or;
     •   Contact the local bar association (http://www.lacba.org/) or;
     •   Look in a telephone directory or search online for "mediators; or "arbitrators."

 There may be a charge for services provided by private arbitrators and mediators.


 A Jist of approved State Bar Approved Mandatory Fee Arbitration programs Is available at
 htte:Ucalbar.ca.gov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograms.aspxll19


 To request Information about, or assistance with, dispute resolution, call the number listed below. Or you may
 call a Contract Provider agency directly. A list of current Contract Provider agencies in los Angeles County is
 available at the link below.

 http:Ucss.lacounty.gov/erograms/dispute-resolution-program-dro/



                                   County of LOs Angeles Dispute Resolution Program
                                           3175 West 6th Street, Room 406
                                              los Angeles, CA 90020-1798
                                                  TEl: (213) 738-2621
                                                  FAX: (213) 386-3995




 LAAOR 005 (Rev. 03/17)
 LASC Adopted 10-03
 Cal. Rules of Court, rule 3.221
                                                       Page4of4
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 24 of 167 Page ID #:31



                                                           COPY
               CALLAHAN & BLAINE, APLC
               Daniel J. Callahan (BarNo. 91490)                             CONFORMED COPY
         2     Edward Susolik (Bar No. lSI 081)                                ORIGINAL FILED
                                                                            Superior Court of California
               Richard T. Collins (Bar No. 166577)                            County of los An,-•t:~res
         3     Damon D. Eisenbtey (Bar No. 215927)
               3 Hutton Centre Drive, Ninih Floor                                JUN 2~ 2018
         4     Santa Ana, California 92707
               Telephone: (714) 241-4444
         5    .Facsimile: (714) 241·4445
         6 Attorneys for Plaintiff Ohad Barkan,
           individually arid on behalf of all others similarly situated
         7

         8                                 SUPERIOR COURT OF CALIFORNIA

         9                                       COUNTY OF LOS ANGELES
        I()

        II    QHAD BARKAN, individually and on behalf                CASENo.BC      71198 7
              of all others similarly situated,
       12
                           I        Plaintiff,
                                                                     COMPLA-INT
                     v.
          HEALTH NET OF CALIFORNIA, INC., a
          California corporation;                                    CompJaint FiJed:
          HEALTH NET LIFE INSURANCE                                  Trial Date:
          COMPANY, a California corporation;
          MANAGED HEALTH NETWORK, INC., a
       17 Delaware corporation;
          HEALTHNET, INC., a Delaware
       18 corporation;· I
          CENTENE CORPORATION, a Delaware
       19 corporation; arid
          DOES I through.J003 inclusive,
       20
                                 Defendants.
       21~...............--_........._....______...............--~

       22
       23
       24

       25
       26
       27

       28


                                                          Complaint
     Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 25 of 167 Page ID #:32




                  1           Plaintiff Ohad Barkan, also known as Ady Barkan, brings this action for himself

                  2   individually and on behalf of all others similarly situated ("Class Members"), against defendants

                  3   Health Net of California, Inc., a California corporation, Health Net Life Insurance Company, a

                  4   California corporation, Managed Health Network, Inc., a Delaware corporation, Health Net, Inc., a

                  5   Delaware corporation, Centene Corporation, a Delaware corporation (collectively "Health Net"),

                  6   and Does 1 through 100, inclusive, and alleges on information and belief, except as to those

                  7   allegations pertaining to Mr. Barkan that are alleged on personal knowledge, as follows:

                  8                                             THE PARTIES

                  9           1.     Mr. Barkan is a citizen ofthe State of California and resides in Santa Barbara
                 10   County.

                 11          2.      Defendant Health Net of California, Inc. ("HNCI") is, and was at all times relevant
       a:
       0
UJ   zo          12 to this action, a corporation duly organized and existing under the laws of the State of California,
z    ~it:;..,
< :;::~
-l f!':<'l'~     13   with its principal place of business located in Woodland Hills, California. HNCI is ~uthorized to
Ill a:zi;;e
     8Wa::~~
ci:d :t~fi!:.c   14 conduct business as a health care service plan and health care insurer, and transacts, and is
z ~~~t::.~
< ~~~~~ 15            transacting, the business of providing health plans to consumers throughout California.
::c g!t:§:~~
<(lllUI<a.•
..J ::JU<UI3:
..J U..Zt--'~
                 16          3.      Defendant Health Net Life Insurance Company ("HNLIC") is, and was at all times
u< ~~~~lt
   ...... .,
   <:I
       .
       J:
                 17 relevant to this action, a corporation duly organized and existing under the laws of the State of
                 18   California, with* principal place ofbusiness located in Woodland Hills, California. HNLIC is

                 19   authorized to conduct business as a health care service plan and health care insurer, and transacts,

                 20 and is transacting, the business of providing health plans to consumers throughout California.
                 21          4.      Defendant Managed Health Network, Inc. ("MHNI") is, and was at all times

                 22 relevant to this action, a corporation duly organized and existing under the laws of the State of
                 23 Delaware, with its principal place of business located in Woodland Hills, California. MHNI is
                 24 authorized to conduct business as a health care service plan and health care insurer, and transacts,
                 25 and is transacting, the business of providing health plans to consumers throughout California.
                 26          5.      Defendant Health Net, Inc. ("HNP') is, and was at all times relevant to this action, a

                 27 corporation duly organized and existing under the laws of the State of Delaware, with its principal
                 28 place ofbusiness located in Woodland Hills, California. HNI is authorized to conduct business as

                                                                   -2-
                                                                 Complaint
       Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 26 of 167 Page ID #:33




                            1   a health care service plan and health care insurer, and transacts, and is transacting, the business of

                            2 providing health plans to consumers throughout California.
                            3           6.      Defendant Centene Corporation ("Centene") is, and was at all times relevant to this

                            4   action, a corporation duly organized and existing under the laws of the State of Delaware, with its

                            5 principal place of business located in St. Louis, Missouri. Centene is authorized to conduct
                            6   business as a health care service plan and health care insurer, and transacts, and is transacting, the

                            7 business of providing health plans to consumers throughout California.
                            8           7.     Centene acquired HNI, HNCI, HNLIC, and MHNI through merger in 2015, which

                            9 was approved by the California Department of Managed Health Care ("DMHC") and the
                           10   California Department of Insurance ("COl") in 2016, and is now the parent company or successor

                           11   in interest of, and thereby liable for the acts and omissions ofHNI, HNCI, HNLIC, and MHNI.
w :co    "'
          0
                           12           8.     Mr. Barkan does not know the true names and capacities of defendants sued as
;zg\t~v
< ~~S3~
..J ~!cY~                  13   Does 1 through 100, inclusive, and therefore sues such defendants with such fictitious names. Mr.
CO"'zi;;::
       8u.ia:~~
c::d   :::~~:%             14   Barkan will amend this complaint, if necessary, to allege their true names and capacities when
       :3~~~~
~      ;;!WUU,i!
       %0::.   • :ac. _.
:I: o~~o<                  15   they have been ascertained. Mr. Barkan is informed and believes that each of the named and
<C<i.iwc;::~
..J ::Ju<w:::
..J lLZ .. -'~
       fi!~:n~~            16   fictitiously named defendants are in some way involved in and responsible for the events,
u<     Q.,_.,
       c:l
         :J:
         ...               17   transactions, or occurrences alleged in the complaint, as well as the damages caused to Mr.

                           18   Barkan. Does 1 through 100 are included in the references throughout this complaint to HNI,

                           19   HNCI, HNLIC, MHNI, and Centene, as appropriate.

                           20          9.      Each of the defendants is, and was at all times relevant to this action, the agent,

                           21   servant, representative, or alter ego of each of the other defendants, and in doing the things

                           22   hereinafter alleged, each of the defendants was acting in the scope of its authority as such agent,

                           23   servant, representative, or alter ego, and with the permission and consent Of each of the other

                           24   defendants.

                           25          10.     Each of the defendants formed and operated a conspiracy with each of the other

                           26   defendants to perform the acts alleged herein, in furtherance of a common design and with

                           27   knowledge that the conduct alleged herein of each of the defendants constituted breaches of duty

                           28   and provided substantial assistance or encouragement to each other to so act.

                                                                               -3-
                                                                            Complaint
       Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 27 of 167 Page ID #:34




                    1            11.     Defendants HNI, HNCI, HNLIC, MHNI, Centene and Does 1 through 100,

                    2    inclusive, and each of them, are collectively referred to herein as "Health Net," unless referred to

                    3    in their individual capacities.

                    4                                       NATURE OF THE ACTION
                    .5           12 .   In California, regulation and oversight of consumer health care is split between two

                    6    public agencies- the CDI with regulatory oversight of health insurance companies, and the

                    7    DMHC with regulatory oversight of health care service plans, such as health maintenance

                    8    organizations ("HMOs"). Whereas health insurance policies generally embody a promise to pay

                    9    for health care, health care service plans embody a promise to deliver health care. In either event,

                   10    insurance companies have been entrusted with ensuring consumers have access to medically

                   11    necessary health care in a timely manner.
         a:
         0
w      2:0         12            13.    Mr. Barkan brings this action as a result of Health Net's breach of its promise to
z      ~~:;.
-<     ~t=~:~
...J
       oz"'-ru
       ~i~;~
                   13    deliver covered, medically necessary health care, and to challenge Health Net's bad faith,
Ill S.;a::~
~ ::2:~:z       14       deceptive and unfair administration of the Health Net Blue & Gold HMO pursuant to the Evidence
    5~~~~
    ~wu,;;~
z<C z«   .z ...
:c o .. <o< 15           of Coverage (EOC), including Health Net's prior authorization and utilization review process for
<C ;;;~~il:~
...J ::Ju<W:;:
...J lLZo- _,:;:
<      :i!~~~::    16    plan members seeking covered services, and Health Net's adjudication and administration of
(.)    ......
       <;:)
              .,
        X
                   17 claims for covered services made under such plans, which skews the determination of coverage for
        "'
                   18    medically necessary services toward denial.

                   19            14.    Mr. Barkan seeks damages and equitable injunctive and declaratory relief for

                   20    contract and tort claims arising out of Health Net's denial of prior authorization and refusal to

                   21    provide coverage for medically necessary durable medical equipment- Trilogy 100 non-invasive

                   22    ventilation machine- and for medically necessary prescription medication - Edaravone

                   23    (Radicava).

                   24           15.     Mr. Barkan and the Class Members seek to enjoin Health Net's continued statutory
                   25    violations, bad faith, deceptive and unfair claims practices and administration of health care

                   26    service plans, including:

                   27                   a.      The prior authorization and utilization review process for plan members

                   28    seeking covered services and the adjudication and administration of claims for covered services

                                                                        -4-
                                                                     Complaint
      Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 28 of 167 Page ID #:35




                        made under such plans, which skews the determination of coverage for services, supplies,

                    2   equipment and prescription medication toward denial, including upon the basis that such

                    3   medically necessary services, supplies, equipment or prescription medication is "Experimental or

                    4   Investigational," or not "Medically Necessary;"

                    5                    b.     The draconian procedures for grievances, appeals, independent medical

                    6   reviews and, ultimately mandatory binding arbitration, for those plan members who can survive

                    7   long enough, pursuant to an unconscionable and unenforceable arbitration provision in the 90-plus

                    8   page EOC; and

                    9                    c.     The coordination of benefits process that interferes with and delays the

                   10   delivery of plan members' pre-authorized, medically necessary health care while Health Net seeks

                   II   to shift fmancial responsibility for the member's care to another health care service plan or health
          a:
c.u   z   g        12   insurer.
z     Q~~
-     !ext-:~
j ~ ~: Y~ 13                       16.   Mr. Barkan and the Class Members seek restitution of all monies paid for Health
~     a:zz:;;;::
      3wa::~~
~ ~ ~ ~ E_~ 14          Net health care service plans and health insurance policies in an amount reflecting the difference·
<( ~UJUUj~
:z: ~ ~ :_ ~   5   15   in the value of the health plans with the broader coverages and benefits as misrepresented in
<     "'"'<o.. .
..J:3..,..:wil:
~ ~e~~~            16   Health Net's EOC issued at any time on or after October 1, 2013, and the value of the health p!ans
u     ~;;{/)
          :r       17   with the actual, limited coverages and benefits as the terms ofthe EOC are interpreted and applied

                   18   by Health Net in the administration and adjudication of claims, and other remedies as set forth

                   19   herein.

                   20              17.   Mr. Barkan and the Class Members seek declaratory relief as to the respective

                   21   rights and obligations of the parties to the EOC, with specific fmdings that:

                   22                    a.     The exclusion in the EOC for "Experimental or Investigational Services" is

                   23   ambiguous and unenforceable;

                   24                    b.     The mandatory binding arbitration provision in the EOC does not comply

                   25   with the Knox-Keene Act and is unenforceable; and

                   26                    c.
                                                                      .
                                                The mandatory binding arbitration provision in the EOC is unconscionable

                   27   and unenforceable.

                   28             18.    Mr. Barkan was covered under Health Net's Blue & Gold HMO as a covered

                                                                          - 5-
                                                                    Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 29 of 167 Page ID #:36




           family member under the plan provided by the University of California, his wife Rachel King's

       2   employer. A true and correct copy of Mr. Barkan's EOC is attached as Exhibit A and

       3   incorporated by reference as though set forth in full in this complaint.

       4           19.       The Class Members were covered under Health Net's Blue & Gold HMO, or

       5 Health Net's private individual and family HMO health care service plans and PPO insurance
       6   policies, compliant with the mandates of the Patient Protection and Affordable Care Act ("ACA"),

       7   sold through the Covered California exchange, beginning with the 2014 Open Enrollment Period,

       8   October I, 2013 through March 31, 2014, and thereafter through the present.

       9           DMHC Regulation of Health Care Service Plans

      10           20.       Health Net's Blue & Gold HMO and those HMO plans sold through Covered

      11   California are subject to the requirements of California Health and Safety Code sections 1340

      12   through 1399.99 (the "Knox-Keene Act").

                   21.       In adopting the Knox-Keene Act, it was the "intent and purpose of the Legislature

      14   to promote the delivery and the quality of health and medical care to the people of the State of

           California" by:

                             a.     "Ensuring that subscribers and enrollees are educated and informed of the

      17   benefits and services available in order to enable a rational consumer choice in the marketplace."

      18   Health & Saf. Code§ 1342(b).

      19                     b.     "Prosecuting malefactors who make fraudulent solicitations or who use

      20   deceptive methods, misrepresentations, or practices which are inimical to the general purpose of

      21   enabling a rational choice for the consumer public." Id. at subd. (c).

      22                  c.        "Helping to ensure the best possible health care for the public at the lowest

      23   possible cost by transferring the financial risk of health care from patients to providers." Id. at

      24   subd. (d).

      25          22.     Health and Safety Code section 1367, subdivision (h)( I). provides that "contracts

      26   with subscribers and enrollees ... shall be fair, reasonable, and consistent with the objectives of

      27   [the Knox-Keene Act]."

      28          23.     To further the goals of ensuring that consumers are educated and informed about

                                                           - 6-
                                                         Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 30 of 167 Page ID #:37




       1   the coverage and benefits and enabling consumer choice in the market place, the Knox-Keene Act

       2   bars health care service plans from using "any advertising or solicitation which is untrue or

       3   misleading, or any form of evidence of coverage which is deceptive." Health & Saf. Code §

       4   I360(a). Under this statute, no health care service plan "shall use or permit the use of any verbal

       5 statement which is untrue, misleading, or deceptive or make any representations about coverage

       6   offered by the plan or its cost that does not conform to fact., ld. at subd. (b). For the purposes of

       7   this statute:

       8                   a.      "A written or printed statement or item of information shall be deemed
       9   untrue if it does not conform to fact in any respect which is, or may be significant to an enrollee or

      10   subscriber, or potential enrollee or subscriber in a plan." Id. at subd. (a)(l).

      11                   b.      "A written or printed statement or item of information shall be deemed
      12   misleading whether or not it may be literally true, if, in the total context in which the statement is

           made or such item of information is communicated, such statement or item of information may be

      14   understood by a person not possessing special knowledge regarding health care coverage, as

           indicating any benefit or advantage, or the absence of any exclusion, limitation, or disadvantage of

           possible significance to an enrollee, or potential enrollee or subscriber, in a plan, and such is not

      17   the case." Id. at subd. (a)(2).

      18           24.     Additionally, the Knox-Keene Act requires regulators to "develop and adopt

      19   regulations to ensure that enrollees have access to needed health care services in a timely manner."

      20   Health & Saf. Code§ 1367.03(a). Under these regulations (Title 28 of the California Code of

      21   Regulations ["28 CCR"] § 1300.67.2, et seq.):

      22                   a.      "Plans shall ensure that, during normal business hours, the waiting time for

      23   an enrollee to speak by telephone with a plan customer service representative knowledgeable and

      24   competent regarding the enrollee's questions and concerns shall not exceed ten minutes." 28 CCR

      25   § 1300.67.2.2(c)(IO).
      26                   b.      "Plans shall provide or arrange for the provision of covered health care

      27   services in a timely manner appropriate for the nature of the enrollee's condition consistent with

      28   good professional practice. Plans shall establish and maintain provider networks, policies,



                                                        Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 31 of 167 Page ID #:38




           procedures and quality assurance monitoring systems and processes sufficient to ensure

       2   compliance with this clinical appropriateness standard." 28 CCR § 1300.67.2.2(c)(l ).

       3                   c.      "[E]ach plan shall ensure that its contracted provider network has adequate

       4   capacity and availability of licensed health care providers to offer enrollees appointments that

       5 meet [certain] timeframes[.]" 28 CCR § 1300.67.2.2(c)(5).
       6           CDI Regulation of Health Insurance Companies
       7           25.     Health Net's PPO health insurance policies sold through Covered California are

       8   subject to the requirements of the California Insurance Code.

       9           26.     To further the goals of ensuring that consumers are educated and infonned about

      10   the coverage and benefits and enabling consumer choice in the market place, regulations

      11   promulgated pursuant to the Insurance Code require that advertisements for health plans "shall be

      12   truthful and not misleading in fact or in implication." Cal: Code Regs. Title lo ("10 CCR"] §

      13   2536.l(b).

                   27.    Insurance Code sections 10603 and 10604 require health insurers to "provide

           [infonnation], in easily understood language and in a uniform, clearly organized manner,"

      16   including the "principal benefits and coverage of the [health] insurance policy" and the

      17   "exceptions, reductions, and limitations that apply to such policy."

      18           28.    Insurance Code section 10133.5 provides "that insureds have opportunity to access

      19   needed health care services in a timely manner ... to assure accessibility of provider services in a

      20   timely manner to individuals ... pursuant to benefits covered under the policy or contract." Id. at

      21   subds. (a) and (b). The purpose of the statute is to ensure, among other things, that:

      22                  a.      "The policy or contract is not inconsistent with standards of good health

      23   care and clinically appropriate care." Ins. Code§ 10133.5{b)(3).

      24                  b.      "All contracts including contracts with providers, and other persons
      25   furnishing services, or facilities shall be fair and reasonable." Ins. Code § 10 l33.5(b)(4).

      26          29.     To ensure that enrollees have access to needed health care services in a timely

      27   manner, regulations promulgated pursuant to Insurance Code section I 0133.5 provide that

      28   "insurers shall ensure that ... [n]etwork providers are duly licensed or accredited and that they are

                                                           -8-
                                                       Complaint
       Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 32 of 167 Page ID #:39




                                    sufficient, in number or size, to be capable of furnishing the health care services covered by the

                                2   insurance contract, taking into account the number of covered persons, their characteristics and

                                3   medical needs including the frequency of accessing needed medical care within the prescribed

                                4   geographic distances outlined herein and the projected demand for services by type of services."

                                5   10 CCR § 2240.l(b){l).

                                6                                    JURISDICTION AND VENUE
                                7            30.   This Court has jurisdiction over this action under Article VI, section 10 of the

                                8 California Constitution and section 410.10 ofthe Code of Civil Procedure. Jurisdiction is also
                                9 proper under Business and Professions Code section 17200, et seq. and Civil Code section 1750,
                               10   etseq.

                               11            31.   This Court has jurisdiction over Health Net, a resident of the State ofCalifornia.
UJzo
           ""
           0
                               12            32.   Jurisdiction over Health Net is also proper because Health Net has purposely
Z ~~:iv
< ~~5:5
-J ~=~'Yt.!                    13   availed itself of the privilege of conducting business activities in California and because Health
00 ..:z:z;:::;:;:
       0       •a:;   N   <(
~ u~o-"'t
       ~ii!:~~                 14   Net currently maintains systematic and continuous business contacts with this State, and has many
z .... a~-x
<      fiUJUW~
       zte .. z_,
::t:   o"'""o..:               15   thousands of enrollees who are re~idents ofthis State and who do business with Health Net.
<      ~ffi~ ~~
..J wU..:w3:
..J"'%,_ .... ;:
   ~~~ ~3: 16                                33.   Venue is proper in this Court because Health Net's principle place ofbusiness is in
u< ...... .,
   ..:::>
           .
           X
                               17   the County of Los Angeles; because Health Net engages and performs business activities in the

                               18   County of Los Angeles; and because Health Net has also received substantial profits from

                               19   consumers who reside in the County of Los Angeles.

                               20                                     FACTUAL ALLEGATIONS
                               21            34.   Mr. Barkan is a 34-year old male who lives in Sarita Barbara with his wife Rachel
                               22   King and their son Carl. Mr. Barkan graduated from Columbia University and Yale Law School,

                               23   was admitted to the New York Bar in 2011, clerked for the Hon. Shira A. Scheindlin in the

                               24   Southern District ofNew York, and currently works for The Center for Popular Democracy. Ms.

                               25   King also graduated from Columbia University, obtained her Ph.D. in English and American

                               26   Literature at New York University, and is an English Literature professor at the University of

                               27   California, Santa Barbara.

                               28            35.   Mr. Barkan and Ms. King began dating during their senior year of college. In the

                                                                                   -9-
                                                                               Complaint
      Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 33 of 167 Page ID #:40




                        fall of2015, they celebrated 10 years together by getting married, and in May 2016, Carl was

                    2   born. Life was perfect.

                    3           36.     Then, in October 2016, Mr. Barkan was diagnosed with amyotrophic lateral

                    4   sclerosis ("ALS"), also known as Lou Gehrig's disease, a group of rare neurological diseases that

                    5 mainly involve the nerve cells (neurons) responsible for controlling voluntary muscle movement.
                    6   Voluntary muscles produce movements like chewing, walking, and talking. The disease is

                    7   progressive, meaning the symptoms get worse over time. Currently, there is no cure for ALS and

                    8   no effective treatment to halt, or reverse, the progression of the disease.

                    9           37.    Early symptoms of ALS usually include muscle weakness or stiffuess. Gradually

                   10   all muscles under voluntary control are affected, and individuals lose their strength and the ability

                   II   to speak, eat, move, and even breathe. Most people with ALS die from respiratory failure, usually
        ll<:
        0
~ ~~~              12   within three to five years from when the symptoms first appear.
-< o~~~:~
     z"' u     Y   13          38.     Mr. Barkan walks with a cane and needs a ventilator to breathe. He has been told
..J   ~i~;~
00
    8uia:~~
c!d :: ~ ~:! z 14       that he has three to four years to live. Death is something· that sits very close and omnipresent for
    s~~~~
 ~ ~uJO,;j~
:x: ~ ~ <~ ~ 15         Mr. Barkan and those who suffer with a life-threatening or seriously debilitating health condition,
<     iij~~i::~
        e
..J ::Ju..:wS:
~ ~ ~ ~ ~ 16            as they survive on a day-to-day basis with the fate of their medically necessary health care in the
u     ~!:;"'
        ~          17   hands of insurance companies like Health Net. .

                   18          39.     Mr. Barkan had been receiving his health care coverage through an employer-

                   19   provided plan with Cigna, and had been treating with Karen DaSilva, M.D., a neurologist in Santa

                   20   Barbara, a provider within Cigna's network. Mr. Barkan discontinued his Cigna plan January 1,

                   21   2018, and enrolled in the Health Net Blue & Gold HMO with his wife and son. Dr. DaSilva also

                   22   is a provider within Health Nefs network, which should have precluded any interference with Mr.

                   23   Barkan's continuity of care.

                   24          40.     When Dr. DaSilva determined it was medically necessary for Mr. Barkan to use a

                   25   ventilator and take the prescription medication, Edaravone (Radicava), Health Net's prior

                   26   authorization was required for the durable medical equipment and prescription medication to be

                   27   covered.

                   28          41.     Dr. DaSilva's office requested Health Net's ·authorization to proceed with the

                                                                      - 10-
                                                                    Complaint
    Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 34 of 167 Page ID #:41




                       prescribed plan of treatment on or about January i 0, 2018, to include Radicava injectable 30

                   2   mg/1 00 ml, and a Trilogy 100 non-invasive ventilation machine.

                   3           42.     Health Net denied authorization for the Radicava by letter, dated January 18, 2018,

                   4   signed by Jamie K., Pharm.D., Clinical Pharmacist for HNCI, on the grounds that it was not

                   5   medically necessary as determined by the Health Net's clinical policy.

                   6           43.     The provisions of the EOC bearing on medical necessity provide as follows:

                   7                  You are entitled to receive Medically Necessary services and
                                      supplies ... when they are authorized according to procedures
                   8                  Health Net and the contracting Physician Group have established.
                                      The fact that a Physician or other provider may perform, prescribe,
                   9                  order, recommend or approve a service, supply or hospitalization
                                      does not, in itself, make it Medically Necessary, or make it a
                  10                  covered service.
                  11           44.    The EOC defines ''Medically Necessary" in pertinent part as follows:
      0:
     0
Ul :1<0
z   Qit~
                  12                  Medically Necessary (or Medical Necessity) means health care
-        ::i
    ~:z: ...
<Ca:._:...,.o                         services that a Physician, exercising prudent clinical judgment,
...J 2!c'!'-!     13                  would provide to a patient for the purpose of preventing, evaluating,
oo "' 2 z;;=
    8w~r~:5                           diagnosing or treating an illness, injury, disease or its symptoms,
o(l ;:::!:~;!:C   14
z   :5~~~~
                                      and that are:
 < ~~~~; 15
:J:o>-<oc
 < o;ffi~iJ:'-!                               1. In accordance'with generally accepted standards of
 ..J ::Juc.,l:
 ..J lLZ 1- _.;:
                                              medical practice;
     ~~~ ~3: 16
u< ........
     <(:I                                     2. Clinically appropriate, in terms of type, frequency, extent,
       ..,X      17                           site and duration, and considered effective for the patient's
                                              illness, injury or disease; and
                  18
                                              3. Not primarily for the convenience of the patient,
                  19                          Physician, or other health care provider, and not more costly
                                              than an alternative service or sequence of services at least as
                  20                          likely to produce equivalent therapeutic or diagnostic results
                                              as to the diagnosis or treatment of that patient's illness,
                  21                          injury or disease ....
                  22          45.     Health Net also denied authorization for the ventilator on the grounds that it was

                  23   experimental or investigational as determined by the Health Net's clinical policy, though Health

                  24   Net never expressed this basis for denial in writing.

                  25          46.     The EOC contains the following exclusion:

                  26                  Experimental or Investigational Services
                  27                  Experimental or Investigational drugs, devices, procedures or other
                                      therapies are only covered except when:
                  28

                                                                     • 11-
                                                                   Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 35 of 167 Page ID #:42




                              •   Independent review deems them appropriate, please refer to
                                  the "Independent Medical Review oflnvestigational or
       2                          Experimental Therapies" portion of "General Provisions,"
                                  Section 7 for more infonnation; or
       3
                              •   Clinical trials for patients with cancer or life-threatening
       4                          diseases or conditions are deemed appropriate according to
                                  the "Clinical Trials" provision in the "Medical Services and
       5                          Supplies" portion of ''Covered Services and Supplies,"
                                  Section 5 ....
       6

       7         .47.     To challenge Health Net's denial, Mr. Barkan was required to first file a grievance

       g   or appeal with Health Net, or request an independent medical review with the DMHC. If

       9   dissatisfied with the grievance or appeal process, Health Net contends the tenns of the EOC

      10   mandate that binding arbitration is the sole and final process for resolution of disputes Mr. Barkan

      11   may have with Health Net. However, the mandatory binding arbitration provision is not properly

           disclosed on Health Net's enrollment form, in violation of the K.nox·Keene Act, and the disclosure

           conflicts with the arbitration provision in the EOC.

                  48.     The Knox-Keene Act has certain requirements re binding arbitration agreements in

           a health care service plan like an HMO.

                          Any health care service plan that includes tenns that require binding
                          arbitration to settle disputes and that restrict, or provide for a waiver
                          of, the right to a jury trial shall include, in clear and understandable
                          language, a disclosure that meets all of the following conditions:
      18
                          (a) The disclosure shall clearly state whether the plan uses binding
      19                  arbitration to settle disputes, including specifically whether the plan
                          uses binding arbitration to settle claims of medical malpractice.
      20
                          (b) The disclosure shall appear as a separate article in the agreement
      21                  issued to the employer group or individual subscriber and shall be
                          prominently displayed on the enrollment fonn signed by each
      22                  subscriber or enrollee.

      23                  (c) The disclosure shall clearly state whether the subscriber or
                          enrollee is waiving his or her right to a jury trial for medical
      24                  malpractice, other disputes relating to the delivery of service under
                          the plan, or both, and shall be substantially expressed in the wording
      25                  provided in subdivision (a) of Section 1295 of the Code of Civil
                          Procedure.
      26
                          (d) In any contract or enrollment agreement for a health care service
      27                  plan, the disclosure required by this section shall be displayed •••
                          immediately before the signature line provided for the
      28                  individual enrolling in the health care service plan.

                                                         - 12-
                                                       Complaint
     Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 36 of 167 Page ID #:43




                         Health & Saf. Code, 1363.1, emphasis added.

                    2           49.     There is no disclosure of mandatory binding arbitration immediately before

                    3    signature line on the enrollment form:

                    4           50.     The enrollment form does contain a disclosure of mandatory binding arbitration (on

                    5    a page after the enrollee's signature line), but the disclosure only states that medical malpractice

                   . 6   claims will be resolved by binding arbitration:

                    7                   UC-sponsored medical plans require resolution of disputes through
                                        arbitration. With regard to each plan, by your written or electronic
                    8                   signature, IT IS UNDERSTOOD AND YOU AGREE THAT ANY
                                        DISPUTE AS TO MEDICAL MALPRACTICE ... WILL BE
                    9                   DETERMINED BY SUBMISSION TO ARBITRATION AS
                                        PROVIDED BY CALIFORNIA LAW AND NOT BY A
                   10                   LAWSUIT OR RESORT TO COURT PROCESS, EXCEPT AS
                                        CALIFORNIA LAW PROVIDES FOR JUDICIAL REVIEW OF
                   11                   ARBITRATION PROCEEDINGS. BOTH PARTIES TO THE
         ll(
         0                              CONTRACT, BY ENTERING INTO IT, ARE GIVING UP THEIR
UJ   zo            12                   CONSTITUTIONAL RIGHT TO HAVE ANY SUCH DISPUTE
z    ~;t:;'l)
-< oz"'~u
   ~~::.::~
                   13
                                        DECIDED IN A COURT OF LAW BEFORE A JURY AND
~ ll:i~:;~                              INSTEAD ARE ACCEPTING THE USE OF ARBITRATION. For
     0·i!iN<
     uwo-J                              more information about each plan's arbitration provision please see
~ 3:~ ... ~ ..     14
:z :5~~!:..~                            the appropriate plan booklet or call the plan.
< ~~uw~
::C z._c•ZJ
    S;!z z ~ ;3    15           51.     In the EOC, the arbitration provision reads as follows:
<("'"'<a. •
..J :au<.,;:
..J .._ Z>- _,;:
<( li1~~~;:        16                   Binding Arbitration
u"'>-rn
   <=>
         ...z      17                   Sometimes disputes or disagreements may arise between you
                                        (including your enrolled Family Members ... ) and Health Net
                   18                   regarding the construction, interpretation, performance or
                                        breach of this Evidence of Coverage or regarding other matters
                   19                   relating to or arising out of your Health Net membership ....
                                        Health Net uses binding arbitration as the fmal method for resolving
                   20                   all such disputes, whether stated in tort, contract or otherwise and
                                        whether or not other parties such as employer groups, health care
                   21                   providers or their agents or employees, are also involved. In
                                        addition, disputes with Health Net involving alleged professional
                   22                   liability or medical malpractice ... also must be submitted to
                                        binding arbitration.
                   23
                                        As a condition to becoming a Health Net Member, you agree to
                   24                   submit all disputes you may have with Health Net, except those
                                        described below, to final and binding arbitration. Likewise, Health
                   25                   Net agrees to arbitrate all such disputes. This mutual agreement to
                                        arbitrate disputes means that both you and Health Net are bound to
                   26                   use binding arbitration as the fmal means of resolving disputes that
                                        may arise between the parties, and thereby the parties agree to
                   27                   forego any right they may have to a jury trial on such disputes....
                   28           52.    The mandatory binding arbitration provision further provides the following

                                                                      - 13-
                                                                    Complaint
       Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 37 of 167 Page ID #:44




                         1   unconscionable provisions:

                         2                   ... The arbitrator may interpret this Evidence of Coverage, but will
                                             not have any power to change, modify or refuse to enforce any
                         3                   of its terms, nor will the arbitrator have the authority to make any
                                             award that would not be available in a court of law ....
                         4

                         5           53.     In essence, Health Net seeks without disclosure not only to preclude the insured

                         6   member's right to a jury trial, but to also preclude the insured member from seeking equitable

                         7   relief, reformation, declaratory relief and injunctive relief, by stripping the arbitrator of"any

                         8   power to change, modify or refuse to enforce any of[the EOC's] terms."

                         9           54.    The mandatory binding arbitration provision also imposes an unconscionable

                        10   financial burden on insured members: "The parties will share equally the arbitrator's fees and

                        11   expenses of administration involved in the arbitration." This financial burden is intended to and
         a:
         0
w zo                    12   does discourage insured members from vindicating their rights.
z      ~~~~
<
-      <r:t:""":i:
      a: .. :;: ... o
.....d~!<'Y~            13           55.    Mr. Barkan appealed the denials. In a letter, dated January 27, 2018, signed by
o::l a;z:;::;;;;
       8uia:~j
a($ c~~~:;Z
        - ... -c        14   Jasmit B., Appeals and Grievances Case Coordinator for HNCI, Health Net approved
z ...-'wu
       o~-:r
               ··~
<
::r:
       ~0: .. ~:::
       o>-<o<           15   authorization for six months ofthe Radicava, overturning its denial after a review of Mr. Barkan's
<      c;;~~it'"!
.....l :3U<w3t
-I "-'>:1- .. ;=
<      ~~~ ~;;;         16   medical records by Health Net Medical Director Jacqueline Do, M.D.
u ""'""'
  <::>
         X
                        17          56.     Health Net also overturned its denial and authorized the ventilator, though again

                        18   Health Net did not express in writing its position on the ventilator.

                        19          57.     Health Net's Senior Director of Appeals and Grievances, Danielle Henderson, sent

                        20   a letter to Mr. Barkan, dated February 8, 2018, to express Health Net's position on coverage for

                        21   the Rubicava and ventilator. In the letter, Ms. Henderson acknowledged that the initial

                        22   information Health Net provided to Mr. Barkan and Dr. DaSilva- that coverage for the ventilator

                        23   was being denied pursuant to the "Experimental or Investigational" exclusion -was "not

                        24   accurate." In fact, Ms. Henderson admitted that, "Health Net does not consider this medical

                        25   equipment experimental in your situation."

                        26          58.     Ms. Henderson raised a new argument in her February 8, 2018, letter to justify

                        27   Health Net's bad faith denial of coverage: "At that time [when the request for authorization was

                        28   received], Health Net was not your primary insurer, and the request should have been directed to

                                                                           - 14-
                                                                         Complaint
    Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 38 of 167 Page ID #:45




                         1   your primary insurer, Cigna." Not only is this excuse factually inaccurate, but interfering with Mr.

                         2   Barkan's access to health care because of coordination of benefits activities is contrary to the law

                         3   and the express terms of the EOC.

                         4           59.    Mr. Barkan acknowledges that Health Net has overturned its denial of coverage for

                         5 both the ventilator and Rubicava medication. However, that does not erase the significant

                         6   emotional distress Mr. Barkan endured as he wondered how he was to live without the medically

                         7 necessary ventilator and medication prescribed by Dr. DaSilva. Furthermore, Health Net has not

                         8   authorized the ventilator indefinitely, and the Rubicava was only authorized for six months

                         9   (through June 30, 20 18). Mr. Barkan not only seeks damages but a declaration of rights under the

                        10   EOC to prevent further denials, delays and interference with his medically necessary health care.

                        11           60.    Moreover, Mr. Barkan is not alone. The Class Members have also suffered, and in
       a:
       0
UJ zo ·                 12   the future will suffer, wrongful denials of claims because of Health Net's ambiguous
Z ~it:;v
- <X,... "'t::
<C cr: ... :   'V   0
....Jf!oe";~            13   "Experimental or Investigational" and "Medically Necessary" exclusions; delays and interference
co":or:z;~
   8Wo::~~
cli:l o:~~:'?:i 14           with access to medically necessary health care because of Health Net's draconian procedures for
      Sa~!:.~
 ~ z~wu.;;:)
        a: . z _,
:t:o>-<o..:             15   grievances, appeals, independent medical reviews and mandatory binding arbitration pursuant to
< ~~~~~
..JwU..:w3:
..J"-%>--'3:
<   ~~~~3:              16   an unconscionable and unenforceable arbitration provision; and further delays and interference
UO..o-rn
  <t=>
       :r:
                        17   with access to medically necessary health care because of Health Net's coordination ofbenefits

                        18   process that focuses on shifting financial responsibility for the member's care as opposed to

                        19   ensuring continuity of care.

                        20                                        CLASS ALLEGATIONS

                        21          61.     Mr. Barkan brings this action for himself individually and on behalf of all others

                        22   similarly situated pursuant to Code of Civil Procedure section 382 and Civil Code section 1781.

                        23   Mr. Barkan seeks to represent the following class:

                        24          All California residents enrolled in Health Net's Blue & Gold HMO, or Health Net's

                        25          private individual and family HMO health care service plans and PPO insurance policies

                        26          sold through the Covered California exchange on or after October 1, 2013.

                        27          62.     Mr. Barkan reserves the right under Rule 3.765(b) of the California Rules of Court

                        28   to amend or modify the class description with greater specificity, by further division into

                                                                           - 15-
                                                                         Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 39 of 167 Page ID #:46




       I   subclasses or by limitation to particular issues.

       2           63.      The proposed Class is composed of thousands of persons dispersed throughout the

       3   State of California and joinder is impractical. The precise number and identity of Class Members

       4   are unknown to Mr. Barkan but can be obtained from Health Net's records.

       5           64.      There are questions of law and fact common to the Class Members that

       6   predominate over questions affecting only individual Class Members.

       7           65.      Mr. Barkan is a Class Member and his claims are typical of the other Class

       8   Members, claims.

       9           66.      Mr. Barkan is willing and prepared to serve the Court and the proposed Class in a

      10   representative capacity. Mr. Barkan will fairly and adequately protect the interests ofthe Class

      11   and have no interests adverse to or which conflict with the interests of the other Class Members.

                   67.      Mr. Barkan's self-interest is co-extensive with and not antagonistic to those of

           absent Class Members. Mr. Barkan will undertake to represent and protect the interests of absent

      14   Class Members.

                   68.     Mr. Barkan has engaged the services of counsel indicated below who are

      16   experienced in complex class litigation, will adequately prosecute this action, and will assert and

      17   protect the rights of and otherwise represent Mr. Barkan and absent Class Members.

      18           69.     The prosecution of separate actions by individual Class Members would create a

      19   risk of inconsistency and varying adjudications, establishing incompatible standards of conduct for

      20   Health Net.

      21           70.     Health Net has acted on grounds generally applicable to the Class, thereby making

      22   relief with respect to the Class Members as a whole appropriate.

      23           71.     A class action is superior to other available mea~s for the fair and efficient

      24   adjudication of this controversy. Prosecution of the complaint as a class action will provide

      25   redress for individual claims too small to support the expense of complex litigation and reduce the

      26   possibility of repetitious litigation.

      27           72.     Mr. Barkan does not anticipate any unusual or difficult management problems with

      28   the pursuit of this Complaint as a class action.

                                                          - 16-
                                                        Complaint
       Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 40 of 167 Page ID #:47




                                                                   FIRST CAUSE OF ACTION

                         2                                          Breach of Written Contract

                         3                                            Against All Defendants

                         4           73.       Mr. Barkan incorporates by reference each of the preceding paragraphs as though

                         5   fully set forth herein.

                         6           74.       Pursuant to the tenns and conditions of Mr. Barkan's Blue & Gold HMO EOC,

                         7   attached as Exhibit A, defendants and each of them had a duty to promptly provide access to

                         8   medically necessary health care services, supplies and medication.

                         9           75.       Defendants and each of them further had a duty to thoroughly investigate requests

                        10   for care and fully inquire into all possible bases that might support the request for care (see Egan

                        11   v. Mutual of Omaha Ins. Co. (1979) 24 Cal.3d 809, 819), and to evaluate a request for
            a:
            0
w zo                    12   authorization with a utilization review process conducted by a clinical professional only after all of
z      2it:;
-      ~x,_:::
<      a:o- :;: ... o
..J~!<e!~               13   the insured member's health records have been obtained and reviewed, and, if still necessary, after
CQ a:zz:~:!:
       3w~:.~
~ ~~!!:;~               14   speaking with the insured member or the member's treating physicians.
z ... c :;:-x
<C ~utUW~
   :ita:: •Z _,
X o>-<o«                15           76.       The duty of defendants and each of them included compliance with the National
<iii~~~~
  :flu« w;;::
...I
...I   "-lll:t--'!:
       ~~~~;;::         16   Committee for Quality Assurance (''NCQA") industry standards for HMOs titled, "Standards for
u<     a.
       «=>
            1-(1)

            X
                        17   the Accreditation of Managed Care Organizations" ("NCQA standards"), Standard UM 3,

                        18   requiring that "qualified health professionals assess the clinical information used to support

                        19   [utilization   revi~w]   decisions." Additionally, an HMO must have procedures for "using board-

                        20   certified physicians from appropriate specialty areas to assist in making determinations of medical

                        21   necessity." Health & Safety Code § 1367.0 I (e) provides that only a licensed physician or health

                        22   care provider "who is competent to evaluate the specific clinical issues involved in the health care

                        23   services requested" may deny a request for care based on medical necessity. HMOs must

                        24   communicate decisions to delay, deny or modify requests for care in writing and provide a clear

                        25   and concise explanation of the reasons for the HMO's decision, a description of the criteria or

                        26   guidelines used, and clinical reasons for decisions regarding medical necessity. Health & Safety

                        27   Code§ 1367.0l(h)(4).

                        28           77.      Defendants and each of them further had a duty to not allow their coordination of

                                                                             - 17-
                                                                           Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 41 of 167 Page ID #:48




           benefits activities to interfere with Mr. Barkan's access to medically necessary health care
       2 services, supplies and medication.
       3           78.      Defendants and each of them breached these contractual duties by the conduct
       4 alleged herein, including without limitation, by not engaging in a prompt, full and complete
       5   investigation of Mr. Barkan's claims; by denying coverage and refusing authorization for the
       6   medically necessary durable equipment and medication prescribed by Mr. Barkan's health care
       7 professional, based upon ambiguous and inapplicable exclusions interpreted by Health Net in an

       8 unduly restrictive manner so as to deny coverage and benefits when, in fact, coverage exists and

       9   ben~fits   are owed; by denying coverage without a utilization review process conducted by a
      10   clinical professional that had reviewed all of Mr. Barkan's health records have and, if still
      11   necessary, after speaking with Mr. Barkan or his treating physicians; and by imposing draconian
      12   procedures for grievances, appeals, independent medical reviews and, ultimately, for those plan
           members who can survive long enough to seek enforcement of their rights, mandatory binding
      14   arbitration pursuant to an unconscionable and unenforceable arbitration provision in the 90-plus
           pageEOC.
                  79.       There is no legally operative term in the EOC that would justify defendants' denial
...   17   of coverage for the medically necessary durable equipment and medication prescribed by Mr.
      18   Barkan's health care professional.
      19          80.       Mr. Barkan has performed all duties required of him under the EOC, except as

      20   excused by defendants' material breaches.
      21          81.       As a direct and proximate result of defendants' breach, Mr. Barkan has suffered
      22   general and incidental damages according to proof, and is entitled to pre-judgment interest.
      23          82.       As a direct and proximate result of defendants' breach, Mr. Barkan has incurred
      24   and continues to incur economic loss, including the out of pocket expenses relating to defendants'
      25   denial of coverage and Mr. Barkan's efforts to appeal that coverage determination, and other
      26   consequences, all according to proof.
      27          83.      As a direct and proximate result of defendants' breach, Mr. Barkan has sustained
      28   damages, and pre-judgment interest, in excess of the jurisdictional minimum of this court in an

                                                          - 18-
                                                       Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 42 of 167 Page ID #:49




       1   amount to be determined at trial.

       2                                     SECOND CAUSE OF ACTION
       3                      Breach of Implied Covenant of Good Faitb and Fair Dealing
       4                                          Against All Defendants
       5           84.     Mr. Barkan incorpomtes by reference each of the preceding paragraphs as though
       6   fully set forth herein.

       7           85.     Mr. Barkan's EOC contains an implied covenant of good faith and fair dealing that

       8   obligates each party to do nothing to injure the right of the other party to receive the benefits of the

       9   agreement.

      10           86.     Mr. Barkan has performed all duties required of him under the EOC, except as

      11   excused by defendants' material breaches.

      12           87.     Defendants and each of them, on the other hand, tortiously breached the EOC and

           the implied covenant of good faith and fair dealing by the conduct alleged herein, for which they

      14   had no reasonable or good faith basis.

                  88.      The conduct of defendants and each of them as alleged herein constitutes part of an

           institutional illegal pattern and practice of bad faith and unlawful insurance practices, and

      17   constitutes a continuing tort that is causing Mr. Barkan continued damages.

      18          89.      As a direct and proximate result of defendants' breach, Mr. Barkan has suffered

      19   general and incidental damages according to proof, and is entitled to pre-judgment interest.

      20          90.      As a direct and proximate result of defendants' breach, Mr. Barkan has incurred

      21   and continues to incur economic loss, including the out of pocket expenses relating to defendants'

      22   denial of coverage and Mr. Barkan's efforts to appeal that coverage determination, including

      23   attorney fees and costs in pursuing this action, and other consequences, all according to proof.

      24          91.      As a direct and proximate result of defendants' breach, Mr. Barkan has incurred

      25   attorney fees and costs as a result of efforts to secure the insurance benefits owed, in an amount

      26   according to proof.

      27

      28

                                                         - 19-
                                                       Complaint
        Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 43 of 167 Page ID #:50




                       1           92.      As a direct and proximate result of defendants' breach, Mr. Barkan has sustained

                       2   damages, and pre-judgment interest, in excess ofthejurisdictional minimum ofthis court in an

                       3   amount to be determined at trial.

                       4           93.      The conduct of defendants and each of them as alleged herein was fraudulent,

                       5   oppressive and malicious, was carried out with a conscious disregard of Mr. Barkan's rights, and

                       6   constitutes despicable conduct intended to vex, injure and annoy Mr. Barkan. Defendants and

                       7   each of them are guilty of oppression, fraud and malice under Civil Code section 3294, entitling

                       8   Mr. Barkan to punitive damages in an amount appropriate to punish defendants and deter others

                       9   from engaging in similar wrongful conduct.

                      10           94.      The conduct of defendants and each of them as alleged herein was undertaken by

                      11   defendants' officers, directors or managing agents, identified herein as Does 1 through 100, who
    a:
    0
 w zo                 12   were responsible for supervision, operation, reports, communication and decisions. The conduct
 Z ~Lt:;v
 < c2~::~
 .J 0!<":'~           13   of said officers, directors and managing agents, and of other employees, representatives and
        ~z--3:
ti:Io-~:..,
   uw _ .....
<ll:l 3:~2:2.
      < - ... -<
                      14   agents, was undertaken on behalf of defendants, which had advance knowledge of the action and
 Z      ..JO~-:r:
     ;tUJUti.i~
oct: %te  .z_,
::t: o>-<oc           15   conduct of said individuals whose conduct and actions were authorized, ratified and approved by
 <      u;ffi~~~
...J ~u..,w3:
...J .. %,_ ... ;;:
        ~~~:!!3:      16   officers, directors or managing agents of defendants, whose precise identities are unknown to Mr.
uoct:   G.>-<11
        "~
         X
                      17   Barkan at this time and are therefore identified and designated herein as Does 1 through 100.

                      18                                       THIRD CAUSE OF ACTION
                      19                 Unfair Competition Law Violations (Bus. & Prof. Code § 17200, et seq.)
                      20                                          Against All Defendants
                      21           95.      Mr. Barkan incorporates by reference each of the preceding paragraphs as though
                      22   fully set forth herein.

                      23           96.      The conduct of defendants and each of them as alleged herein not only constitutes

                      24   common law bad faith, but also violates state and federal law, regulations and policies, and thus

                      25   constitutes unlawful, unfair, and fraudulent business practices in violation of Business &

                      26   Professions Code Section 17200, et seq. (the "UCL").

                      27           97.      The conduct of defendants and each of them does not benefit consumers or

                      28   competition. Indeed the injury to consumers and competition is substantial.

                                                                          -20-
                                                                       Complaint
      Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 44 of 167 Page ID #:51




                                       98.       Mr. Barkan and the Class Members could not have reasonably avoided the injury
                           2   each of them suffered.

                           3           99.       The gravity of the consequences of defendants' conduct as described above

                           4   outweighs any justification, motive or reason, and is immoral, unethical, oppressive, unscrupulous

                           5 and offends established public policy delineated in California law, the Knox Keene Act, the
                           6   Insurance Code, and regulatory provisions as well as their underlying purposes.

                           7           I 00. . Mr. Barkan and the Class Members have suffered injury in fact and have lost

                           8   money or property as a result of acts of unfair competition by defendants and each of them as

                           9   alleged herein.

                          10           10 I.     Defendants and each of them, directly or indirectly, have engaged in substantially

                          11   similar conduct toward Mr. Barkan and each Class Member.
         a:
      0
LL1 ~ 0                   12           I 02.     Such wrongful actions and conduct are ongoing and continuing. Unless
z     git~'(t
-
<     ~~~:iJ
..J   o::r"'"'u           13   Defendants and each of them are enjoined from continuing to engage in such wrongful actions and
en    D..- C
      a:z;;:;:~=
                  I   •



      8Wa:~:1
c:d   ;=~~:z              14   conduct, the public will continue to be harmed by their conduct.
      :s~~t.~
~ zO:
    ~UIUw~
        .. z_,
::C o>-<o-c               15           103.      Mr. Barkan and the Class Members are entitled to injunctive relief under the UCL
<iii~~~~
  :u.,.wi=
..J
..J   ll.Z:t--'l=
      ~~~~==              16   and, as such, Mr. Barkan and Class Members seek a temporary restraining order, a preliminary
u<    ILt-tn
      <(:::>

         ...:.:           17   injunction, and a permanent injunction, all enjoining defendants and each of them from their

                          18   continued statutory violations, bad faith, deceptive and unfair claims practices and administration

                          19   of health care service plans, including:

                          20                     a.     The prior authorization and utilization review process for plan members

                          21   seeking covered services and the adjudication and administration of claims for covered services

                          22   made under such plans, which skews the determination of coverage for services, supplies,

                          23   equipment and prescription medication toward denial, including upon the basis that such

                          24   medically necessary services, supplies, equipment or prescription medication is "Experimental or

                          25   Investigational," or not "Medically Necessary;"

                          26                     b.     The draconian procedures for grievances, appeals, independent medical

                          27   reviews and, ultimately, for those plan members who can survive long enough to seek enforcement

                          28   of their rights, mandatory binding arbitration pursuant to an unconscionable and unenforceable

                                                                              -21 -
                                                                            Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 45 of 167 Page ID #:52




           arbitration provision in the 90-plus page EOC; and

       2                     c.     The coordination of benefits process that interferes with and delays the

       3   delivery of plan members' pre-authorized, medically necessary health care while Health Net seeks

       4   to shift financial responsibility for the member's care to another health care service plan or health

       5   insurer.

       6              104.   Mr. Barkan and the Class Members are further entitled to restitution of all monies
       7   paid for Health Net health care service plans and health insurance policies in an amount reflecting

       8   the difference in the value of the health plans with the broader coverages and benefits as

       9   misrepresented in Health Net's EOC issued at any time on or after October 1, 2013, and the value

      10   of the health plans with the actual coverages and benefits as the tenns ofthe EOC are interpreted

      11   and applied by Health Net in the administration and adjudication of claims, and other remedies as

      12   set forth herein.

                   105.      Mr. Barkan and the Class Members are further entitled to an order appointing a
      14   receiver over defendants and each of them, and restoring to Mr. Barkan any money or property

           that was acquired through the foregoing acts of unfair competition (Bus. & Prof. Code § 17203 ).

                   106.      The conduct of defendants and each of them as alleged herein was fraudulent,

      17   oppressive and malicious, was carried out with a conscious disregard of Mr. Barkan and the Class

      18   Members' rights, and constitutes despicable conduct intended to vex., injure and annoy Mr. Barkan

      19   and the Class Members. Defendants and each of them are guilty of oppression, fraud and malice

      20   under Civil Code section 3294, entitling Mr. Barkan and the Class Members to punitive damages

      21   in an amount appropriate to punish defendants and deter others from engaging in similar wrongful

      22   conduct.

      23           107.      The conduct of defendants and each of them as alleged herein was undertaken by

      24   defendants' officers, directors or managing agents, identified herein as Does 1 through 100, who

      25   were responsible for supervision, operation, reports, communication and decisions. The conduct

      26   of said officers, directors and managing agents, and of other employees, representatives and

      27   agents, was undertaken on behalf of defendants, which had advance knowledge of the action and

      28   conduct of said individuals whose conduct and actions were authorized, ratified and approved by

                                                          -22-
                                                        Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 46 of 167 Page ID #:53




            officers, directors or managing agents of defendants, whose precise identities are unknown to Mr.

        2   Barkan and the Class Members at this time and are therefore identified and designated herein as

        3   Does 1 through 100.

        4           108.     Mr. Barkan and the Class Members are also entitled to recover attorney fees

        5 pursuant to Code of Civil Procedure section 1021.5, as they are the catalyst for enforcement of
        6   important rights affecting the public interest that confer a significant benefit on the general public.

        7                                       FOURTH CAUSE OF ACTION

        8                  Consumers Legal Remedies Act Violations (Civ. Code § 1750, et seq.)

        9                                            Against All Defendants

       10           109.    Mr. Barkan incorporates by reference each of the preceding paragraphs as though

       11   fully set forth herein.

       12           llO.    Under the Consumers Legal Remedies Act ("CLRA;" Civ. Code § 1750, et seq.),
                                  .
            the following "unfair methods of competition and unfair or deceptive acts or practices undertaken

       14   by any person in a transaction intended to result or which results in the sale or lease of goods or

            services to any consumer are unlawful";

       16   •       "Representing that goods or services have sponsorship, approval, characteristics,
 ..,   17           ingredients, uses, benefits, or quantities which they do not have or that a person has a

       18           sponsorship, approval, status, affiliation, or connection which he or she does not have."

       19          Civ. Code § 1770(a)(5).

       20   •      "Advertising goods or services with intent not to sell them as advertised." Civ. Code§

       21           1770(a)(9).

       22   •      "Representing that a transaction confers or involves rights, remedies, or obligations which

       23          it does not have or involve, or which are prohibited by law.'' Civ. Code§ 1770(a)(l4).

       24   •      "Inserting an unconscionable provision in the contract." Civ. Code§ 1770(a)(19).

       25           111.    Defendants and each of them have violated the CLRA, including but not limited to,

       26   Civil Code section 1770(a) subparagraphs (5), (9), (14), and (19) when they:

       27                   a.        Advertised that their health plans would cover medically necessary services,

       28   supplies and medication, when in fact, the health plans as interpreted and applied by defendants

                                                            • 23-
                                                          Complaint
       Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 47 of 167 Page ID #:54




                         1   excludes coverage for such health care based upon ambiguous and inapplicable exclusions

                         2   interpreted by Health Net in an unduly restrictive manner, and based upon a utilization review

                         3   process that is not conducted by a clinical professional who has reviewed all of the insured

                         4   member's health records and, if still necessary, after speaking with the insured member or his

                         5 treating physicians, so as to deny coverage and benefits when, in fact, coverage exists and bene~ts
                         6   are owed;

                         7                   b.      Advertised that their coordination of benefits activities "will not interfere

                         8   with your medical care," when in fact defendants and each of them deny coverage for medically

                         9   necessary services, supplies and medication if the insured member has other insurance, and they

                        10   pursue efforts to transfer their liability to another insurer while depriving their insured member of

                        11   the health care they need and deserve; and
            0:
            0
w      :r:o             12                   c.     Advertised at the time of enrollment that their health plans include a
z      ~~~~
-< oz"'"'o
       ~~~:~
...J   lL   -<.:. . 13
lXl a:z;;: ... ::::
                             mandatory binding arbitration provision that applies only to medical malpractice claims, when in
       8uia:~~
~ ~~~:!:i               14   fact defendants and each of them include a mandatory binding arbitration provision that purports
z      :5~~!::.~
<      ~~~~j
:X:    o>-<o<           15   to apply to "all disputes" an insured member may have with Health Net, and purports to mandate
<      ;;;~~~'-!
...J   ::Jo.c:w>=
...J   ..,z,.....o3::
       ~~~~::::         16   that the insured member waive his right to seek equitable relief and his right to a jury trial.
u< ..... .,
   <=>
            .
            %
                        17           112.   Defendants and each of them violated the CLRA by committing unfair and

                        18   deceptive acts that directly undermined Mr. Barkan and the Class Members' ability to access

                        19   medically necessary health care services, supplies and medication.

                        20           113.   Mr. Barkan and the Class Members have suffered harm as a result of these

                        21   violations. Mr. Barkan and the Class Members purchased health plan contracts, and renewed

                        22   health plan contracts, reasonably relying on Health Net's material misrepresentations as alleged

                        23   herein. Mr. Barkan and the Class Members have also suffered transactional costs by expending

                        24   time and resources in an attempt to avoid the consequences of Health Net's unfair methods of

                        25   competition and unfair or deceptive acts. Mr. Barkan and the Class Members have also suffered

                        26   opportunity costs by foregoing the opportunity to switch to other coverage offered by other

                        27   companies during the open enrollment periods.

                        28          114.    The misrepresentations and omissions by defendants and each of them as described

                                                                            -24-
                                                                          Complaint
     Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 48 of 167 Page ID #:55




                        herein were intentional, or alternatively, made without the use of reasonable procedures adopted to

                    2   avoid such an error.

                    3           115.    Defendants and each of them, directly or indirectly, have engaged in substantially

                    4   similar conduct toward Mr. Barkan and each Class Member.

                    5           116.    Such wrongful actions and conduct are ongoing and continuing. Unless

                    6   Defendants and each ofthem are enjoined from continuing to engage in such wrongful actions and

                    7   conduct, the public will continue to be harmed by their conduct.

                    8           117.    Defendants, and each of them, aided and abetted, encouraged, and rendered

                    9   substantial assistance in accomplishing the wrongful conduct and their wrongful goals and other

                   10   wrongdoing complained of herein. In taking action, as particularized herein, to aid and abet and

                   11   substantially assist the commission of these wrongful acts and other wrongdoings complained of,
       Ill:
       0
UJ   zo            12   each of the Defendants acted with an awareness of his/her/its primary wrongdoing and realized
z~tt:;~
- ~~:;:li
:i ~!!::!f.! 13 that his/her/its conduct would substantially assist the accomplishment of the wrongful conduct,
mo:zz: ... 3:
     8.Jo:!!~
c:ld ;:: i ~ :! z 14    wrongful goals, and wrongdoing.
Z :5o~~~
<( iWUWj
x    ~ ~ .t. ~;:   15           118.   Mr. Barkan and the Class are entitled to an injunction, pursuant to Civil Code
<(   ii~~~~
....1 IIJU~w"it
~ ~~ ~~       5    16   section 1780, prohibiting Health Net from continuing to engage in the above-described violations
u    ~~ . .
       J:          17   of the CLRA.

                   18           119.   Mr. Barkan and the Class Members are entitled to recover attorney fees and costs

                   19   pursuant to Civil Code section 1780(d).

                   20           120.   Mr. Barkan and the Class Members are also entitled to recover attorney fees

                   21   pursuant to Code of Civil Procedure section 1021.5, as they are the catalyst for enforcement of

                   22   important rights affecting the public interest that confer a significant benefit on the general public.

                   23           121.   The conduct of defendants and each of them as alleged herein was fraudulent,

                   24   oppressive and malicious, was carried out with a conscious disregard of Mr. Barkan and the Class

                   25   Members' rights, and constitutes despicable conduct intended to vex, injure and annoy Mr. Barkan

                   26   and the Class Members. Defendants and each of them are guilty of oppression, fraud and malice

                   27   under Civil Code section 3294, entitling Mr. Barkan and the Class Members to punitive damages

                   28   in an amount appropriate to punish defendants and deter others from engaging in similar wrongful

                                                                       -25-
                                                                    Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 49 of 167 Page ID #:56




           conduct.

       2           122.    The conduct of defendants and each of them as alleged herein was undertaken by

       3   defendants' officers, directors or managing agents, identified herein as Does 1 through 100, who

       4   were responsible for supervision, operation, reports, communication and decisions. The conduct

       5   of said officers, directors and managing agents, and of other employees, representatives and

       6   agents, was undertaken on behalf of defendants, which had advance knowledge of the action and

       7   conduct of said individuals whose conduct and actions were authorized, ratified and approved by

       8   officers, directors or managing agents of defendants, whose precise identities are unknown to Mr.

       9   Barkan and the Class Members at this time and are therefore identified and designated herein as

      I0   Does I through 100.

      1I                                        FIFTH CAUSE OF ACTION

      12                                              Declaratory Relief

                                                   Against All Defendants

                   123.    Mr. Barkan incorporates by reference each of the preceding paragraphs as though

           fully set forth herein.

                   124.    California Code of Civil Procedure section 1060 provides ~at any person

      17   "interested under ... a contract ... may, in cases of actual controversy relating to the legal rights

      18 and duties of respective parties" bring an action in Superior Court for a declaration of his or her
      19   rights and that "the court may make a binding declaration of these rights or duties, whether or not

      20   further relief is or could be claimed at the time."

      21           125.    An actual controversy has arisen between Mr. Barkan and the Class Members he

      22   represents on the one hand, and defendants and each of them on the other hand, as to their

      23   respective rights and obligations under the health plan contracts between them. Specifically, Mr.

      24   Barkan and the Class Members seek a declaration, among other things, that:

      25                   a.        The exclusion in the EOC for "Experimental or Investigational Services" is

      26   ambiguous and unenforceable;

      27                   b.        The mandatory binding arbitration provision in the EOC does not comply

      28   with the Knox-Keene Act and is unenforceable; and


                                                         Complaint
      Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 50 of 167 Page ID #:57




                          1                      c.      The mandatory binding arbitration provision in the EOC is unconscionable

                          2   and unenforceable.

                          3               126.   Mr. Barkan and the Class Members are also entitled to recover attorney fees

                          4   pursuant to Code of Civil Procedure section 1021.5, as they are the catalyst for enforcement of

                          5 important rights affecting the public interest that confer a significant benefit on the general public.
                          6                                             PRAYER FOR RELIEF
                          7               Mr. Barkan, individually and on behalf of the Class Members, prays for judgment against

                          8 defendants and each of them, and that the Court award the following relief:

                          9               1.     An award for compensatory, general and special damages in amounts to be proven

                         10   at trial;

                         11               2.     For costs incurred in connection with this lawsuit;
          a:
          0
U.l z 0                  12               3.     For punitive damages;
z     2lt~~
-     .c:x,..~:ii
<     a: ... :;: .. o
                                          4.     For prejudgment interest;
-l ~!c'l'~               13
lXI a:zz;3
      0       ·a:::;NC

ctj ~~~:i 14                              5.     For a~omey's fees;
    :s~~ ~~
~ za::
    ~wut.ij~
        ·::C...a
:I: !2~~~~
                 15                       6.     For equitable, injunctive and declaratory relief; and
< .,w,..._.
-l
-l
      :::u ..... ;:
      u..z,__.;:
<     g~~~;:             16               7.     For all other relief the Court deems just and proper.
u
          ,.
      G.t-11)
      <:::J
          ..,                                                              JURY DEMAND
                         17

                         18               Mr. Barkan ~emands a trial by jury on all issues so triable.

                         19

                         20   Dated: June 29, 2018                             CALLAHAN & BLAINE, APLC
                         21

                         22                                                    By:
                                                                                     Daniel J. Callahan
                         23                                                          Edward Susolik
                                                                                     RichardT. Collins
                         24                                                          Damon D. Eisenbrey
                                                                                     Attorneys for Plaintiff Chad Barkan,
                         25                                                          individually and on behalf of all others similarly
                                                                                     situated
                         26

                         27

                         28

                                                                                -27-
                                                                              Complaint
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 51 of 167 Page ID #:58




                            Exhibit "A"




                                Exhibit"A"
  Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 52 of 167 Page ID #:59




       "
   HealthNef



  A COMPLETE

        explanation
        of yoUr plan

For University of California non-Medicare members
Effective 11112018




                                                              Evidence of Coverage
                                                              Health Net Blue & Gold
                                                              HMO
                                                              Plan DW7
                                                              EOCID:
  Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 53 of 167 Page ID #:60




Dear Health Net Member:
Thank you for choosing Health Net to provide your health care benefits. We look forward to ensuring a
positive experience and your continued satisfaction with the services we pro'1de.


This is your new Health Net £vidence of Coverage.
If your Group has requested that we make it available, you can access this document online through
Health Net's secure website at www.healthnet.com/uc. You can also elect to have a hard copy of this
Evidence of Coverage mailed to you. Please call the telephone number on the back of your Member
identification card to request a copy.
If you've got a web-enabled smartphone, you've got everything you need to track your health plan
details. Take the time to download Health Net Mobile. You'll be able to carry your ID card with you, easily
find details about your plan, store provider information for easy access, search for doctors and hospitals,
or contact us at any time. It's everything you need to track your health plan details -no matter where you
are as long as you have your smartphone handy.
We look forward to serving you. Contact us at www.healthnet.com/uc 24 hours a day, seven days a
week for information about our plans, your benefits and more. You can even submit questions to us
through the website, or contact us at one of the numbers below. Our Customer Contact Center is
available from 7:00a.m. to 6:00p.m., Monday through Friday, except holidays. You'll find the number to
call on the back of your Member ID card.
This document is the most up-to-date version. To avoid confusion, please discard any versions you may
have previously received.
Thank you for choosing Health Net.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 54 of 167 Page ID #:61




                                   Schedule changes in 20 18
         This page is not an official statement of benefits. Your benefits are described in detail
         in the Evidence ofCoverage. We have also edited and clarified language throughout
         the Evidence of Coverage in addition to the items listed below.

             1. Changes to this Plan

         )- Notice of Language Services -                    Updated to include more
             languages.

  Note:
  Once you enroll in Medicare, your behavioral health provider network will be different and you will
  need to obtain new authorizations/self referrals to behavioral health providers. Please review your
  Health Net ID card for the appropriate phone number for Mental Health and Substance' Abuse.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 55 of 167 Page ID #:62




  PLEASE READ TillS IMPORTANT NOTICE ABOUT THE HEALTH NET BLUE &
  GOLD HMO NETWORK HEALTH PLAN SERVICE AREA0 AND OBTAINING
  SERVICES FROM HEALTH NET BLUE & GOLD HMO NETWORK PHYSICIAN
  AND HOSPITAL PROVIDERS

  Except for emergency care, benefits for Physician and Hospital services under this Health Net HMO
  Network {"Health Net Blue & Gold HMO Network") plan are only available when you live or work in
  the Health Net Blue & Gold Network service area 0 and use a Health Net Blue & Gold HMO Network
  Physician or Hospital. When you enroll in this Health Net Blue & Gold HMO Network plan, you may
  only use a Physician or Hospital who is in the Health Net Blue & Gold HMO Network and you must
  choose a Health Net Blue & Gold HMO Network Primary Care Physician (PCP). You may obtain
  ancill~ or pharmacy covered services and supplies from any Health Net participating ancillary or
  pharmacy provider.

  The Health Net Blue & Gold HMO Network is designed to offer you a full array of providers that are
  available to meet your health care needs. Your designated Blue & Gold HMO Network Physician and
  his or her Medical Group helps manage the utilization of your benefits by ensuring that referrals are
  directed to specialists and hospitals who are contracted with the Blue & Gold Network. Your Blue &
  Gold HMO Network Physician Group may also have special arrangements with certain hospitals within
  the Blue & Gold Network and designate a specific hospital as "in network." Health Net refers to this
  collectively as your "Physician Group Network."

  A few Enrollees who, live or work in some remote or rural zip codes of the Health Net Blue & Gold
  Network service area, may need to travel up to or exceeding thirty miles for access to a Health Net Blue
  & Gold Network provider. You can confirm if the zip code where you live or work is affected by calling
  the telephone number on your Health Net identification card, or by logging on to
  www .healthnet.com/uc.

  OBTAINING COVERED SERVICES UNDER THE HEALTH NET BLUE & GOLD HMO NETWORK PLAN

  TYPE OF PROVIDER         HOSPITAL       PHYSICIAN               ANCILLARY               PHARMACY

  AVAILABLE FROM           •only Blue     •only Blue & Gold       All Health Net          All Health Net
                           &Gold          Network Physicians      contracting ancillary   participating
                           Network                                providers               pharmacies
                           Hospitals

  * '111e benefits ofthis plan for Physician and Hospital services are only available for covered
   services receivedfrom a Health Net Blue & Gold HMO Network Physician or Hospital, except
   for (1) urgemly needed care outside a 30-mile radius ofyour Physician Group and all
   emergency care; (2) referrals to non-Health Net Blue & Gold HMO Network providers are
   covered when the referral is issued by your Health Net Blue & Gold HMO Network Physician
   Group; and (3) covered services provided by a non-Health Net Blue & Gold HMO Network
   provider when authorized by Health Net. Please refer to "Specialists and referral care" in the
    ''How the plan works" section and "Emergencies" in the "Benefits and coverage" section for
   more biformation.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 56 of 167 Page ID #:63




  The coinsurance percentage you pay is based on the negotiated rate with the treating provider. Health
  Net Blue & Gold HMO Network providers may or may not have lower rates than Health Net's full
  network providers, to whom you may be referred by your PCP or your Physician Group for these
  specific services

  The service area and a list of Health Net Blue & Gold HMO Network Physician and Hospital providers
  are listed online at our website: www.healthnet.com/uc. A copy of the Health Net Blue & Gold HMO
  Network Provider listing may be ordered online or by calling Health Net Customer Contact Center at the
  phone number on the back cover.

  {Q:~ Not all Physicians and Hospitals who contract with Health Net are Health Net Blue & Gold HMO Network
      providers. Only those Physicians and Hospitals specifically identified as participating in the Health Net Blue
      & Gold HMO Network may provide services under this plan, except as described in the chart above.

  Unless specifically stated otherwise, use of the following terms in this Summary of benefits/disclosure
  form (SB/DF) solely refer to the Health Net Blue & Gold HMO Network as explained above.

  •   Health Net
  •   Health Net service area
  •   Hospital
  •   Member Physician, Participating Physician Group, Primary Care Physician, Physician, participating
      provider, contracting Physician Groups and contracting Providers
  •   Network

  If you have any questions about the Health Net Blue & Gold HMO Network Service Area, choosing
  your Health Net Blue & Gold HMO Network Primary Care Physician, how to access specialist care or
  your benefits, please call Health Net Customer Contact Center at the phone number on the back cover.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 57 of 167 Page ID #:64




  About This /Booklet
  Please read the following information so you will know from whom or what group
  of providers health care may be obtained.
  This Evidence of Coverage constitutes only a summary of the health Plan. The
  health Plan contract must be consulted to determine the exact terms and
  conditions of coverage.

  Method of Provider Reimbursement
  Health Net uses financial incentives and various risk sharing arrangements when
  paying providers. You may request more information about our payment methods
  by contacting the Customer Contact Center at the telephone number on your
  Health Net ID Card, your Physician Group or your Primary Care Physician.




                            This is not a Federally Qualified Plan

  "Not a Federally Qualified Plan due to the carve out of behavioral health services to Optum".




  01117                                                             EOC 1D: 00527980
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 58 of 167 Page ID #:65




  Use of Special Words
  Special words used in this Evidence of Coverage (EOC) to explain your Plan have their first letter capitalized and
  appear in "Definitions," Section 9.

  The following words are used frequently:

  .-"You" or "Your" refers to anyone in your family who is covered; that is, anyone who is eligible for coverage in
    this Plan and who has been enrolled.

  • "Employee" has the same meaning as the word "you" above.

  • "We" or "Our" refers to Health Net.

  • "Subscriber" means the primary covered person, generally an Employee of a Group.

  • "Physician Group" or "Participating Physician Group (PPG)" means the medical group the individual Member
    selected as the source of all covered medical care.

  • "Primary Care Physician" is the individual Physician each Member selected who will provide or authorize all
   covered medical care.

  • "Group" is the business entity (usually an employer or Trust) that contracts with Health Net to provide thi!)
   coverage to you.

  • "Plan" and "Evidence of Coverage" "EOC" have similar meanings. You may think of these as meaning your
   Health Net benefits.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 59 of 167 Page ID #:66




                                                                Table of Contents
  University of California Eligibility, Enrollment, Termination and Plan Administration Provisions ......... A
  2. Introduction to Health Net ....................................................................................................................... 1
     Timely Access to Non-Emergency Health Care Services ...................................................................... 3
  3. Schedule of Benefits and Copa)'Jllents ........................................:.................................................. :: ....... 9
  4. Out-of-Pocket Maximum ....................................................................................................................... 19
  5. Covered Services and Supplies .............................................................................................................. 21
     Chiropractic Services and Supplies ..................................................................... :................................ 38
     Acupuncture Services ........................................................................................................................... 40
  6. Exclusions and Limitations .................................................................................................................... 42
     General Exclusions and Limitations ..................................................................................................... 42
     Chiropractic Services and Supplies ...................................................................................................... 51
     Acupuncture Services ........................................................................................................................... 52
  7. General Provisions ................................................................................................................................. 55
     Recovery of Benefits Paid by Health Net.. ........................................ :.................................................. 61
  8. Miscellaneous Provisions....................................................................................................................... 70
  9. Defmitions.............................................................................................................................................. 77
  Notice of Language Services ..................................................................................................................... 86
  Notice ofNondiscrimination...................................................................................................................... 90
  Index .......................................................................................................................................................... 92
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 60 of 167 Page ID #:67


  Section 1   University o(Cali(Omia E/igibifitv. Enrollment. Termination and Plan Administration Provisions   Page A



          UNIVERSITY OF CALIFORNIA ELIGIBILITY, ENROLLMENT,
          TERMINATION AND PLAN ADMINISTRATION PROVISIONS
                                                January 1, 2018

  The University establishes its own medical plan eligibility. enrollment and termination criteria
  based on the University of California Group Insurance Regulations and any corresponding
  Administrative Supplements.

  Employees
  Information pertaining to your eligibility, enrollment. cancellation or termination of coverage
  and conversion options can be found in the "Complete Guide to Your UC Health Benefits". A
  copy of this booklet is available in the HR Forms & Publications section of UCnet
  (ucnet.universityofcalifornia.edu}. Additional resources are also available in the Compensation
  and Benefits section of UCnet to help you with your health and welfare plan decisions.

  Retirees
  Information pertaining to your eligibility, enrollment, cancellation or termination of coverage
  and conversion options can be found in the "Group Insurance Eligibility Fact Sheet for
  Retirees". A copy of this fact sheet is available in the HR Forms & Publications section of UCnet
  (ucnet.universityofcalifornia.edu). Additional resources are also available in the Compensation
  and Benefits section of UCnet to help you with your health and welfare plan decisions.


                                           Miscellaneous Provisions

  Extension of Benefits
  When Benefits May Be Extended
  Benefits may be extended beyond the date coverage would ordinarily end if you lose your
  Health Net coverage because the UC Standardized Contract is discontinued and you are
  totally disabled at that time. When benefits are extended, you will not be required to pay
  subscription charges. However, the Copayments shown in "Schedule of Benefits and
  Copayments," Section 3, will continue to apply.
  Benefits will only be extended for the condition that caused you to become totally disabled.
  Benefits will not be extended for other medical conditions.
  Benefits will not be extended if coverage was terminated for cause. ''Totally disabled" has a
  different meaning for different Family Members.
  •   For the Subscriber it means that because of an illness or injury, the Subscriber is unable to
      engage in employment or occupation for which he or she is or becomes qualified by
      reason of education. training or experience; furthermore. the Subscriber must not be
      employed for wage or profit.
  •   For a Family Member it means that because of an illness or injury, that person is prevented
      from performing substantially all regular and customary activities usual for a person of his or
      her age and family status.         ·

                                                           A
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 61 of 167 Page ID #:68


  Section 1   U11iversi& o[Califomia Eligibilitv. Enrollment, Temtination and Plan Administration Provisions   PageB


  •   No extension will be granted unless Health Net receives written certification of such total
      disability from the Member's Contracting Physician Group within 90 days of the date on
      which coverage was terminated, and thereafter at such reasonable intervals as
      determined by Health Net.                        ·
  ·How to Obtain an Extension
   If your coverage ended because the UC Standardized Contract between Health Net and the
   Group was terminated, and you are totally disabled and want to continue to have extended
   benefits. you must send a written request to Health Net within 90 days of the date the
   Agreement terminates. No extension will be granted unless Health Net receives written
   certification of such total disability from the Member's Contracting Physician Group within 90
   days of the date on which coverage was terminated. and thereafter at such reasonable
   intervals as determined by Health Net.
  When the Extension Ends
  The Extension of Benefits will end on the earliest of the following dates:
      •   On the date the Member is no longer totally disabled;
      •   On the date the Member becomes covered by a replacement health policy or plan
          obtained by the Group. and this coverage has no limitation for the disabling condition;
      •   On the date that available benefits are exhausted; or
      •   On the last day of the 12-month period following the date the extension began.

  Optional Continuation of Coverage
  As an enrollee in this Plan, you and/or your covered Family Members may be entitled to
  continue health care coverage if there is a loss of coverage under the plan as a result of a
  qualifying event under the terms of the federal COBRA continuation requirements under the
  Public Health Service Act, as amended. and. if that continued coverage ends, you may be
  eligible for further continuation under California law. You or your Family Members will have to
  pay for such coverage. You may direct questions about these provisions to the person who
  handles benefits for your location (or the UC Customer Service Center if you are a Retiree or
  Survivor) or visit the website
  http://ucnet.universityofcalifornia.edu/employees/health_welfare/cobra.html.

  Contract Termination
  Coverage under the Plan is terminated when the group contract between the University and
  the Plan Vendor is terminated. Benefits will cease to be provided as specified in the contract
  and you may have to pay for the cost of those benefits incurred after the contract terminates.
  You may be entitled to continued benefits under terms which are specified elsewhere in this
  document.

  Special Reinstatement Rule Under USERRA
  USERRA. a federal law, provides service members returning from a period of uniformed service
  who meet certain criteria with reemployment rights. including the right to reinstate their
  coverage without pre-existing exclusions or waiting periods. subject to certain restrictions.
  Please check with your Group to determine if you are eligible.



                                                          B
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 62 of 167 Page ID #:69


  Section 1   University of CalifOrnia Eligibilitv, Enrollment. Tem1ination and Plan Administration Provisions   PageC



  Effect of Medicare
  If you are covered under a UC retiree group medical plan and eligible for Medicare, you must
  enroll in Medicare according to UC's Medicare Rules. If you are a retiree becoming Medicare-
  eligible, you should contact the University's Customer Service Center to transfer to the
  Medicare version of your plan. Once you and/or a family member are transferred to the
  Medicare version of your plan, your prescription drug coverage will change to a Part D + UC
  Rx wrap plan. You will also be ineligible for mental health and chemical dependency benefits
  through Optum. Once you are enrolled in Medicare and transferred to the Medicare version
  of your plan. you should review your new Evidence of Coverage booklet for information on
  how to access behavioral health services and properly use your UC retiree Medicare plan
  benefits.

  Transferring to Another Contracting Medical Group
  As stated in the "Selecting a Contracting Physician Group" provision, each person must select
  a contracting Medical Group from our network. Each person must select a Contracting
  Medical Group close enough to his or her residence or place of work to allow reasonable
  access to care. Please call the Customer Contact Center at the telephone number on your
  Health Net ID Card if you have questions involving reasonable access to care.

  Any individual Member may change Medical Group that transfer from one to another:
  • When the Group's Open Enrollment Period occurs;
  • When the Member moves to a new address (notify Health Net within 30 days of the
    change);
  • When the Member's employment work-site changes (notify Health Net within 30 days of the
    change);
  • When determined necessary by Health Net; or
  • When the Member exercises the once-a-month transfer option.

  Newborn Child
  A child newly born to the Subscriber or his or her spouse is automatically covered from the
  moment of birth through the 30th day of life. In order for coverage to continue beyond the
  30th day of life. you must enroll the child by the 30th day.

  If the mother is the Subscriber's spouse and an enrolled Member, the child will be assigned to
  the mother's Contracting Physician Group. If the mother is not enrolled. the child will be
 ·automatically assigned to the Subscriber's Contracting Physician Group. If you want to choose
  another contracting Physician Group for that child. the transfer will take effect only as stated in
  'Transferring to Another Contracting Physician Group" portion of this section.




                                                           c
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 63 of 167 Page ID #:70


  Section 1   Universiry o(Cali{Omia EligihiUtv, Enrollment, Tem1ination and Plan Administratioll Provisions   PageD


  Exceptions
  Health Net will not permit a once-a-month transfer at the Member's option, if the Member is
  confined to a Hospital. However, if you believe you should be allowed to transfer to another
  Contracting Physician Group because of unusual or serious circumstances, and you would like
  Health Net to give special consideration to your needs, please contact the Customer Contact
  Center at the telephone number on your Health Net 10 Card for prompt review of your
  request.

  Effective Dale of Transfer
  Once we receive your request for a transfer, the transfer will occur on the first day of the
  following month. (Example: Request received March 12, transfer effective April 1.}
  If your request for a transfer is not allowed because of a hospitalization and you still wish to
  transfer after the medical condition or treatment for it has ended, please call the Customer
  Contact Center to process the transfer request. The transfer in a case like this will take effect
  on the first day of the calendar month following the date the treatment for the condition
  causing the delay ends.
  For a newly eligible child who has been automatically assigned to a Contracting Physician
  Group, the transfer will not take effect until the first day of the calendar month following the
  date the child first becomes eligible.
  In Hospital on Your Effective Dale
  If you ore confined in a Hospital or Skilled Nursing Facility on the Effective Date of coverage,
  this Plan will cover the remainder of that confinement only if you inform the Customer Contact
  Center upon your Effective Dote about the confinement.
  Health Net and your selected Contracting Physician Group will consult with your attending
  Physician, and may transfer you to a participating facility when medically appropriate.
  Totally Disabled on Your Effective Date
  Generally, under the federal Health Insurance Portability and Accountability Act, Health Net
  cannot deny You benefits due to the fact that You are totally disabled on your Effective Date.
  However, if upon your Effective Date you ore totally disabled and pursuant to state law you
  are entitled to an extension of benefits from your prior group health plan, benefits of this Plan
  will be coordinated with benefits payable by your prior group health plan, so that not more
  than 100% of covered expenses are provided for services rendered to treat the disabling
  condition under both plans.

  For the purposes of coordinating benefits under this Evidence of Coverage, if you are entitled
  to on extension of benefits from your prior group health plan, and state law permits such
  arrangements, your prior group health plan shall be considered the primary plan {paying
  benefits first) and benefits payable under this Evidence of Coverage shall be considered the
  secondary plan (paying any excess covered expenses}, up to 100% of total covered
  expenses.




                                                          D
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 64 of 167 Page ID #:71


  Section2                                        Introd11ction to Health Net                                   Pagel


  2. INTRODUCTION TO HEALTH NET

  How to Obtain Care                                                                               .
  When you enroll in this Plan, you must select a contracting Physician Group where you want to receive all of your
  medical care. That Physician Group will provide or authorize all medical care. Call your Physician Group directly
  to make an appointment. For contact information on your Physician Group, please call the Customer Contact
  Center at the telephone number on your Health Net ID card.
  Some Hospitals and other providers do not provide one or more of the following
  services that may be covered under your Evidence of Coverage and that you or your
  Family Member might need: family planning; contraceptive services, including
  emergency contraception; sterilization, including tubal ligation at the time of labor and
  delivery; Infertility treatments; or abortion. You should obtain more information before
  you enroll. Call your prospective doctor, medical group, independent practice
  association or clinic or the Customer Contact Center at 1-800-539-4072 to ensure that
  you can obtain the health care services that you need.
  Transition of Care For New Enrollees
  You may request continued care from a provider, including a Hospital, that does not contract with Health Net if, at
  the time of enrollment with Health Net, you were receiving care from such a provider for any of the following
  conditions:
  1.   An Acute Condition;
  2.   A Serious Chronic Condition not to exceed twelve months from your Effective Date of coverage under this
       Plan;
  3.   A pregnancy (including the duration of the pregnancy and immediate postpartum care);
  4.   A newborn up to 36 months of age not to exceed twelve months from your Effective Date of coverage under
       this Plan;
  5.   A Terminal Illness (for the duration of the Terminal Illness); or
  6.   A surgery or other procedure that has been authorized by your prior health plan as part of a documented
       course of treatment.
  In addition, You may request continued care from a provider, including a Hospital, if you have been enrolled in
  another Health Net HMO plan that included a larger network than this plan, Health Net will offer the same scope
  of continuity of care for completion of services. regardless of whether You had the opportunity to retain Your
  current provider by selecting either:

  7.   a Health Net product with an out of network benefit;
  8.   a different Health Net HMO network product that included Your current provider; or
  9.   another health plan or carrier product.
  For definitions of Acute Condition, Serious Chronic Condition and Terminal Illness see "Definitions" section 9.
  Health Net may provide coverage for completion of services from such a provider, subject to applicable
  Copayments and any exclusions and limitations of this Plan. You must request the coverage within 60 days of
  your Group's effective date unless you can show that it was not reasonably possible to make the request within
  60 days of your Group's effective date, and you make the request as soon as reasonably possible. The non-
  participating provider must be willing to accept the same contract terms applicable to providers currently
  contracted with Health Net. who are not capitated and who practice in the same or similar geographic region. If
  the provider does not accept such terms, Health Net is not obligated to provide coverage with that provider.
  To request continued care, you will need to complete a Continuity of Care Assistance Request Form. If you would
  like more information on how to request continued care, or request a copy of the Continuity of Care Assistance
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 65 of 167 Page ID #:72


  Section 2                                       Introduction to Health Net                                         Pagel

  Request Form or of our continuity of care policy, please contact the Customer Contact Center at the telephone
  number on your Health Net 10 Card.


  Selecting a Primary Care Physician
  Health Net requires the designation of a Primary Care Physician. A Primary Care Physician provides and
  coordinates your medical care. You have the right to designate any Primary Care Physician who participates in
  our network and who is available to accept you or your Family Members, subject to the requirements set out
  below under "Selecting a Contracting Physician Group."
  For children, a pediatrician may be designated as the Primary Care Physician. Until you make this Primary Care
  Physician designation, Health Net designates one for you. Information on how to select a Primary Care Physician
  and a list of the participating Primary Care Physicians in the Health Net Service Area are available on the Health
  Net website at www.heallhnet.com/uc. You can also call the Customer Contact Center at the number shown on
  your Health Net I. D. Card to request provider information.
  Self<!ting a Contracting Physician Group
  Each person must select a Primary Care Physician at a contracting Physician Group close enough to his or her
  residence or place of work to allow reasonable access to medical care. Family Members may select different
  contracting Physician Groups.
  Subscriber who resides outside the Health Net Service Area, may enroll based on the Subscriber's work address
  that is within the Health Net Service Area. Family Members who reside outside the Health Net Service Area may
  also enroll based on the Subscriber's work address that is within the Health Net Service Area. If you choose a
  Physician Group based on its proximity to the Subscriber's work address, you will need to travel to that Physician
  Group for any non-emergency or non-urgent care that you receive. Additionally, some Physician Groups may
  decline to accept assignment of a Member whose home or work address is not close enough to the Physician
  Group to allow reasonable access to care. Please call the Customer Contact Center at the number shown on your
  Health Net 1.0. Card if you need a provider directory or if you have questions involving reasonable access to care.
  The provider directory is also available on the Health Net website at www.healthnet.com/uc.
  Specialists and Referral Care
  Sometimes, you may need care that the Primary Care Physician cannot provide. At such times, you will be
  referred to a Specialist or other health care provider for that care.
  THE CONTINUED PARTICIPATION OF ANY ONE PHYSICIAN, HOSPITAL OR OTHER PROVIDER CANNOT
  BE GUARANTEED.
  THE FACT THAT A PHYSICIAN OR OTHER PROVIDER MAY PERFORM, PRESCRIBE, ORDER,
  RECOMMEND OR APPROVE A SERVICE, SUPPLY OR HOSPITALIZATION DOES NOT, IN ITSELF, MAKE IT
  MEDICALLY NECESSARY, OR MAKE IT A COVERED SERVICE.

  Standing Referral to Specialty Care for Medical and Surgical Services
  A standing referral is a referral to a participating Specialist for more than one visit without your Primary Care
  Physician having to provide a specific referral for each visit. You may receive a standing referral to a Specialist if
  your continuing care and recommended treatment plan is determined Medically Necessary by your Primary Care
  Physician, in consultation with the Specialist, Health Net's Medical Director and you. The treatment plan may limit
  the number of visits to the Specialist, the period of time that the visits are authorized, or require that the Specialist
  provide your Primary Care Physician with regular reports on the health care provided. Extended access to a
  participating Specialist is available to Members who have a life threatening, degenerative or disabling condition
  (for example, Members with HIV/AIDS). To request a standing referral ask your Primary Care Physician or
  Specialist.
  If you see a Specialist before you get a referral, you may have to pay for the cost of the treatment. If Health ·Net
  denies the request for a referral, Health Net will send you a letter explaining the reason. The letter will also tell you
  what to do if you don't agree with this decision. This notice does not give you all the information you need about
  Health Net's Specialist referral policy. To get a copy of our policy, please contact us at the number shown on your
  Health Net I.D. Card
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 66 of 167 Page ID #:73


  Section 2                                    Introduction to Health Net                                      Page3


  Changing Contracting Physician Groups
  As stated in Section "Using the plan's coverage for your medical services," each person must select a contracting
  Medical Group from our network. Each person must select a Contracting Medical Group close enough to his or
  her residence or place of work to allow reasonable access to care. Please call the Customer Contact Center at
  the telephone number on your Health Net 10 Card if you have questions involving reasonable access to care.

  Any individual Member may change Medical Groups that is, transfer from one to another:
  •    When the Group's Open Enrollment Period occurs;
  •    When the Member moves to a new address (notify Health Net within 30 days of the change);
  •    When the Member's employment work-site changes (notify Health Net within 30 days of the change);
  •    When determined necessary by Health Net; or
  •    When the Member exercises the once-a-month transfer option.

  You may transfer to another contracting Physician Group, but only according to the conditions explained in the
  "Transferring to Another Contracting Physician Group" portion of "Eligibility, Enrollment and Termination," Section
  1.
  Your Financial Responsibility
  Your Physician Group will authorize and coordinate all your care, providing you with medical services or supplies.
  You are financially responsible only for any required Copayment described in uschedule of Benefits and
  Copayments," Section 3.
  You are completely financially responsible for medical care that the contracting Physician Group does not provide
  or authorize except for Medically Necessary care provided in a legitimate emergency. However, if you receive
                       a
  Covered Services at contracted network health facility at which, or as a result of which, you receive services
  provided by a non-contracted provider, you will pay no more than the same cost sharing you would pay for the
  same Covered Services received from a contracted network provider. You are also financially responsible for care
  that this Plan does not cover.
  Questions
  Call the Customer Contact Center with questions about this Plan at the number shown on your Health Net 10
  Card.


  Timely Access to Care
  The California Department of Managed Health Care (DMHC) has new laws (California Code of Regulations, Title
  28, Section 1300.67.2.2) requiring health plans to provide timely access to non-emergency Health Care Services.
  Please contact Health Net at the number shown on your Health Net I. D. Card, 7 days per week, 24 hours per day
  to access triage or screening services. Health Net provides access to covered Health Care Services in a timely
  manner.
  Please see "Customer Contact Center Interpreter Services" in the "General Provisions" section, and the "Notice of
  language Services" section, for information regarding the availability of no cost interpreter services.
  Definitions Related to Timely Access to Care

  Triage or Screening is the evaluation of a Member's health concerns and symptoms by talking to a doctor,
  nurse, or other qualified health care professional to determine the Member's urgent need for care.

  Triage or Screening Waiting Time is the time it takes to speak by telephone with a doctor, nurse,     or other
  qualified health care professional who is trained to screen or triage a Member who may need care , and will not
  exceed 30 minutes.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 67 of 167 Page ID #:74


  Sectio112                                     llltroductimrlo Health Net                                        Page4


  Business Day is every official working day of the week. Typically, a business day is Monday through Friday, and
  does not include weekends or holidays.


  Scheduling Appointments
  When you need to see your Primary Care 'Physician (PCP), call his or her office for an appointment. The phone
  number is on your 10 card. Please call ahead as soon as possible. When you make an appointment, identify
  yourself as a Health Net Member, and tell the receptionist when you would like to see your doctor. The
  receptionist will make every effort to schedule an appointment at a time convenient for you. If you need to cancel
  an appointment, notify your Physician as soon as possible.

  This is a general idea of how many business days you may need to wait to see your doctor. Wait times depend on
  your condition and the type of care you need. You should get an appointment to see your PCP:

      •   PCP appointments: within 10 business days of request for an appointment.
      •   Urgent care appointment with PCP: within 48 hours of request for an appointment.
      •   Routine Check-up/Physical Exam: within 30 business days of request for an appointment.

  Your Physician may decide that it is okay to wait longer for an appointment as long as it doesn't harm your health.

  Canceling Appointments If you cannot go to your appointment, call the doctor's office right away. By canceling
  your appointment, you let someone else be seen by the doctor.

  Scheduling Appointments with a Specialist for Medical and Surgical Services
  Your Primary Care Physician is your main doctor who makes sure you get the care you need when you need it.
  Sometimes your Primary Care Physician will send you to a Specialist.

  Once you get approval to receive the Specialist services, call the Specialist's office to schedule an appointment.
  Please call ahead as soon as possible. When you make an appointment, identify yourself as a Health Net
  Member, and tell the receptionist when you would like to see the Specialist. The Specialist's office will do their
  best to make your appointment at a time that works best for you.
  This is a general idea of how many business days, as defined above, that you may need to wait to see the
  Specialist. Wait times for an appointment depend on your condition and the type of care you need. You should get
  an appointment to see the Specialist:
          •   Specialist appointments: within 15 business days of request for an appointment.
          •   Urgent care appointment; with a Specialist or other type of provider that needs approval in advance
              -within 96 hours of request for an appointment.


  Scheduling Appointments for Ancillary Services
  Sometimes your doctor will tell you that you need ancillary services such as lab, x-ray, therapy, and medical
  devices, for treatment or to find out more about your health condition.

  Here is a general idea of how many business days, as defined above, that you may need to wait for the
  appointment:

          •   Ancillary Service appointment: within 15 business days of request for an appointment.
          o   Urgent care appointment for services that need approval in advance: within 96 hours of request
              for an appointment.

  Canceling or Missed Your Appointment
  If you miss your appointment, call right away to make another appointment.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 68 of 167 Page ID #:75


  Section2                                     Introduction to Health Net                                         Page5

  Sometimes your doctor will tell you that you need ancillary services such as lab, x-ray, therapy, and medical
  devices. for treatment or to find out more about your health condition. Here is a general idea of how many
  business days you may need to wait for the appointment:

  Triage and/or Screening/24-Hour Nurse Advice Line
  As a Health Net Member, when you are sick and cannot reach your doctor, like on the weekend or when the office
  is closed, you can call Health Net's Customer Contact Center at the number shown on your Health Net 1.0. Card,
  and select the Triage and/or Screening option to these services. You'll be connected to a health care professional
  (doctor, nurse, or other providers depending on your needs) who will be able to help you and answer your
  questions. As a Health Net Member, you have access to triage or screening service, 24 hours per day, 7 days per
  week.

  If you have a life threatening emergency, call "911" or go immediately to the closest emergency
  room. Use "911" only for true emergencies.

  Emergency and Urgently Needed Care
          WHAT TO DO WHEN YOU NEED MEDICAL CARE IMMEDIATELY

          In serious emergency situations: Call "911" or go to the nearest Hospital.
          If your situation is not so severe: Call your Primary Care Physician or Physician Group or, if you cannot
          call them or you need medical care right away, go to the nearest medical center or Hospital.
  Your Physician Group and Behavioral Health Administrator are available 24 hours a day, seven days a week, to
  respond to your phone calls regarding care that you believe is needed immediately. They will evaluate your
  situation and give you directions about where to go for the care you need.
  Except in an emergency or other urgent medical circumstances, the covered services of this Plan must be
  performed by your Physician Group or authorized by them to be performed by others. You may use other
  providers outside your Physician Group only when you are referred to them by your Physician Group.
  If you are not sure whether you have an emergency or require urgent care please contact Health Net at the
  number shown on your Health Net 1.0. card. As a Health Net Member, you have access to triage or screening
  services, 24 hours per day, 7 days per week.
  Urgently Needed Care within a 30·mile radius of your Physician Group and all Non-Emergency Care must
  be performed by your Physician Group or authorized by them in order to be covered. These services, if performed
  by others outside your Physician Group, will not be covered unless they are authorized by your Physician Group.
  Urgently Needed Care outside a 30-mile radius of your Physician Group and all Emergency Care
  (including care outside of California)- may be performed by your Physician Group or another provider when
  your circumstances require it. Services by other providers will be covered if the facts demonstrate that you
  required Emergency or Urgently Needed Care. Authorization is not mandatory to secure coverage. See the
  "Definitions Related to Emergency and Urgently Needed Care" section below for the definition of Urgently Needed
  Care.
  It is critical that you contact your Physician Group as soon as you can after receiving emergency services from
  others outside your Physician Group. Your Physician Group will evaluate your circumstances and make all
  necessary arrangements to assume responsibility for your continuing care. They will also advise you about how to
  obtain reimbursement for charges you may have paid.
  Always present your Health Net ID Card to the health care provider regardless of where you are. It will help them
  understand the type of coverage you have and they may be able to assist you in contacting your Physician Group.
  After your medical problem no longer requires Urgently Needed Care or ceases to be an emergency and your
  condition is stable, any additional care you receive is considered Follow-Up Care.
  Follow-Up Care services must be performed or authorized by your Physician Group (medical) or     awill not be
  covered.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 69 of 167 Page ID #:76


  Section2                                     Introduction to Health Net                                       Page6

  Continuing or Follow-up Care after Emergency Care at a Hospital that is not affiliated with your Health Net
  Physician Group: If you are treated for Emergency Care at a Hospital that is not part of your Physician Group
  Network, once your Emergency medical condition is stabilized, and your treatitJg health care provider at the
  Hospital believes that you require additional Medically Necessary Hospital services, the Hospital must contact
  Health Net to obtain timely authorization. Follow-up Care must be authorized by Health Net or it will not be
  covered. If Health Net determines that you may be safely transferred to a Hospital that is part of your Health Net
  Physician Group Network and you refuse to consent to the transfer, the Hospital must provide you with written
  notice that you will be financially responsible for 100% of the cost for services provided to you once your
  Emergency condition is stable. Also, if the Hospital is unable to determine the contact information at Health Net in
  order to request prior authorization, the Hospital may bill you for such services. If you believe you are improperly
  billed for services you receive from a non-Plan hospital, you should contact Health Net at the telephone number
  on your identification card.
  Definitions Related To Emergency And Urgently Needed Care
  Please refer to "Definitions," Section 900, for definitions of Emergency Care, Emergency Medical Condition,
  Psychiatric Emergency Medical Condition and Urgently Needed Care.
  Prescription Drugs
  If you purchase a covered Prescription Drug for a medical Emergency or Urgently Needed Care from a
  Nonparticipating Pharmacy, this Plan will reimburse you for the retail cost of the drug less any required
  Copayment shown in "Schedule of Benefits and Copayments," Section 3. You will have to pay for the Prescription
  Drug when it is dispensed.
  To be reimbursed, you must file a claim with Health Net. Call the Customer Contact Center at the telephone
  number on your Health Net 10 Card or visit our website at www.healthnet.com/uc to obtain claim forms and
  information.
  Note
  The Prescription Drugs portion of OExclusions and Limitations," Section 6, and the requirements of the
  Commercial Formulary also apply when drugs are dispensed by a Nonparticipating Pharmacy.
  Chiropractic Services
  If you require Emergency Chiropractic Services, American Specialty Health Plans of California, Inc. (ASH Plans)
  will provide coverage for those services. Emergency Chiropractic Services are covered services provided for the
  sudden and unexpected onset of an injury or condition affecting the neuromusculoskeletal which manifests itself
  by acute symptoms of sufficient severity, including severe Pain, person could reasonably expect that a delay of
  immediate Chiropractic Services could result in any of the serious jeopardy to your health or body functions or
  organs. See also "Definitions; Section 900, "Emergency Chiropractic Services."
  ASH Plans shall determine whether Chiropractic Services constitute Emergency Chiropractic Services. ASH
  Plans' determination shall be subject to ASH Plans' grievance procedures and the Department of Managed Health
  Care's independent medical review process.
  You may receive Emergency Chiropractic Services from any chiropractor. ASH Plans will not cover any services
  as Emergency Chiropractic Services unless the chiropractor rendering the services can show that the services in
  fact were Emergency Chiropractic Services. You must receive all other covered Chiropractic Services from a
  chiropractor under contract with ASH Plans ("Contracted Chiropractor") or from a non-Contracted Chiropractor
  only upon a referral by ASH Plans.
  Because ASH Plans arranges only Chiropractic Services, if you require medical services in an emergency, ASH
  Plans recommends that you consider contacting your Primary Care Physician or another Physician or calling
  "911." You are encouraged to use appropriately the "911" emergency response system, in areas where the
  system is established and operating, when you have an Emergency Medical Condition that requires an
  emergency response.


  Acupuncture Services
  If you require Emergency Acupuncture Services, American Specialty Health Plans of California, Inc. (ASH Plans)
  will provide coverage for those services. Emergency Acupuncture Services are covered Acupuncture Services
  provided for the sudden and unexpected onset of an injury or condition affecting the neuromusculoskeletal
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 70 of 167 Page ID #:77


  Section2                                    flllroduction to Health Net                                   Page 7

  system, or causing Pain or Nausea which manifests itself by acute symptoms of sufficient severity, person, could
  reasonably expect that a delay of immediate Acupuncture Services could result in serious jeopardy to your health
  or body functions or organs. See also "Definitions," Section 900, UEmergency Acupuncture Services."
  ASH Plans shall determine whether Acupuncture Services constitute Emergency Acupuncture Services. ASH
  Plans' determination shall be subject to ASH Plans' grievance procedures and the Department of Managed Health
  Care's independent medical review process.
  You may receive Emergency Acupuncture Services from any acupuncturist. ASH Plans will not cover any
  services as Emergency Acupuncture Services unless the acupuncturist rendering the services can show that the
  services in fact were Emergency Acupuncture Services. You must receive all other covered Acupuncture Services
  from an acupuncturist under contract with ASH Plans (nContracted Acupuncturist") or from a non-Contracted
  Acupuncturist only upon a referral by ASH Plans.
  Because ASH Plans arranges only Acupuncture Services, if you require medical services in an emergency, ASH
  Plans recommends that you consider contacting your Primary Care Physician or another Physician or calling
  "911.n You are encouraged to use appropriately the "911" emergency response system, in areas where the
  system is established and operating, when you have an Emergency Medical Condition that requires an
  emergency response.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 71 of 167 Page ID #:78


  Section 3                                                    Schedule o(Benefits and Copav.ments                                                                    Page9


  3. SCHEDULE OF BENEFIT~ AND COPAYMENTS
  The following schedule shows the Copayments (fixed dollar and percentage amounts) that you must pay for this
  Plan's covered services and supplies.
  You must pay the stated fixed dollar Copayments at the time you receive services. Percentage Copayments are
  usually billed after services are received
  There is a limit to the amount of Copayments you must pay in a Calendar Year. Refer to aout-of-Pocket
  Maximum," Section 4, for more information.
  The University of California has independently contracted with Optum , a specialized health care service plan, to
  provide Mental Health and Substance Abuse services. Refer to aMental Health and Substance Abuse services"
  outlined in this Section 3.

  Emergency or Urgently Needed Care in an Emergency Room or Urgent Care
  Center
                                                                                                                                      Copayment
  Use of emergency room (facility and professional services) ..................................................................................$75
  Use of urgent care center (facility and professional services) .............................. : ................................................. $20
  Copayment Exceptions
            •     If you are admitted to a Hospital as an inpatient directly from the emergency room or urgent care center,
                  the emergency room or urgent care center Copayment will not apply.

  Office Visits
                                                                                                                                                            Copayment
  Visit to Physician, Physician Assistant, or Nurse Practitioner at a contracting Physician
       Group ...............................................................................................................................................................$20
  Specialist or specialty care consultation .................................................................................................................$20
  Physician visit to Member's home (at the discretion of the Physician in accordance with
      the rules and criteria established by Health Net) .............................................................................................$20
  Vision or hearing examination (for diagnosis or treatment) ....................................................................................$20
  Notes
    Self-referrals are allowed for obstetrician, gynecological services, and reproductive and sexual health care
    services. (Refer to "Obstetrician and Gynecologist (OB/GYN) Self-Referral" and "Self-Referral for Reproductive
    and Sexual Health Care Services" portions of"Covered Services and Supplies," Section 5.)
    Vision and hearing screenings, provided as part of a periodic health evaluation, are covered at no charge.
    Mental Health and Substance Abuse services are not included.

  Preventive Care Services
                                                                                                                                                   Copayment
  Preventive Care Services ........................................................................................................................................$0
  Notes
    Covered services include, but are not limited to, annual preventive physical examinations, immunizations, well-
    woman examinations, preventive services for pregnancy, other women's preventive services as supported by the
    Health Resources and Services Administration (HRSA), breast feeding support and supplies and preventive vision
    and hearing screening examinations. Refer to the "Preventive Care Services" portion of "Covered Services and
    Supplies," Section 5 for details.
    If you receive any other covered services in addition to Preventive Care Services during the same visit, you will
    also pay the applicable Copayment for those services.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 72 of 167 Page ID #:79


   Sectio11 3                                                 Schedule o[Benefits and Copavments                                                                  Page 10


   Hospital Visits by Physician
                                                                                                                                                           Copayment
   Physician visit to Hospital or Skilled Nursing Facility ...............................................................................................$0
   Note:
     The above Copayment applies to professional services only. Care that is rendered in a Hospital is also subject
     to the applicable facility Copayment. Look under the "Inpatient Hospital Servicesp heading to determine any
     additional Copayments that may apply.



  Allergy, Immunizations and Injections
                                                                                                                                                             Copavment
  Allergy testing .........................................................................................................................................................$20
  Allergy injection services ........................................................................................................................................$20
  Allergy serum ............................................................................................................................................................$0
  Immunizations for occupational purposes or foreign travel ......................................................................................$0
  Injections (except for Infertility) Office based injectable medications (per dose) ...................................................$20
  Notes
    Immunizations that are part of Preventive Care Services are covered under "Preventive Care Services" in this
    section.
      Injections for the treatment of Infertility are described below in the "Infertility Services" section.
      ••certain injectable drugs which are considered self-administered are covered on the Specialty Drug tier under
      the phannacy benefit. Specialty Drugs are not covered under the medical benefits even ifthey are administered in
      a Physician's office. If you need to have the provider administer the Specialty Drug, You will need to obtain the
      Specialty Drug through our contracted Specialty Pharmacy Vendor and bring it with you to the Physician's office.
      Alternatively, you can coordinate delivery of the Specialty Drug directly to the provider office through our
      contracted Specialty Pharmacy Vendor or University of California Phannacy. Please refer to the "Specialty
      Pharmacy Vendor" portion of this "Schedule of Benefits and Copayments" section for the applicable Copayment.

  Rehabilitation Therapy
                                                                                                                                                           Copayment
  Physical therapy ....................................................................................................................................................$20
  Occupational therapy ..............................................................................................................................................$20
  Speech therapy .......................................................................................................................................................$20
  Pulmonary rehabilitation therapy ............................................................................................................................$20
  Cardiac rehabilitation therapy .................................................................................................................................$20

  Notes
    These services will be covered when Medically Necessary.
    Coverage for physical, occupational and speech rehabilitation therapy services is subject to certain limitations as
    described under the heading "Rehabilitation Therapy" of "Exclusions and Limitations," Section 6.

  Care for Conditions of Pregnancy
                                                                                                                                                         Copayment
  Prenatal or postnatal office visit. ...........................................................................:...................................................$0
  Newborn care office visit (birth through 30 days) .....................................................................................................$0
  Physician visit to the mother or newborn at a Hospital... ..........................................................................................$0
  Normal delivery, including cesarean section ............................................................................................................ $0
  Complications of pregnancy, including Medically Necessary abortions** ........................................... See note below
  Elective abortion in Contracting Physician Group's office ........................................................................................$0
  Elective abortions in Hospital ...................................................................................................................................$0
  Genetic testing of fetus .............................................................................................................................................$0
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 73 of 167 Page ID #:80


  Section 3                                                     Schedule o(Benefils and Copavments                                                                     Page 11


  Circumcision of newborn (birth through 30 days)" ...................................................................................................$0
  Notes
      The above Copayments apply to professional services only. Services that are rendered in a Hospital are also subject to the
      Hospital services Copayment. Look under the "Inpatient Hospital Services" and "Outpatient Hospital Services" headings to
      detennine any additional Copayments that may apply.
      Prenatal, postnatal and newborn care that are Preventive Care Services are covered in full. See "Preventive Care Services"
      above. If other non-Preventive Care Services are received during the same office visit, the above Copayment will apply for
      the non-Preventive Care Services. Refer to "Preventive Care Services" and "Pregnancy" under "Covered Services and
      Supplies," Section 5.
      • Circumcisions for Members age 31 days and older are covered when Medically Necessary under outpatient
      surgery. Refer to "Other Professional Services" and ''Outpatient Hospital Services" for applicable Copayments.
      •• Applicable Copayment or coinsurance requirements apply to any services and supplies required for the treatment of an
      illness or condition, including but not limited to, complications of pregnancy. For example, if the complication requires an
      office visit, then the office visit Copayment or coinsurance will apply.

  Family Planning
                                                                                                                                                        Copavment
  Sterilization of females in Contracting Physician Group's office .............................................................................. $0
  Sterilization of females in Hospital. ...........................................................................................................................$0
  Sterilization of males in Contracting Physician Group's office ...............................................................................$20
  Sterilization of males in Hospital.. .............................................................................................................................$0
  Contraceptive devices {including but not limited to intrauterine devices (IUD) and Depo
      Provera injections) .............................................................................................................................................$0
  Injectable contraceptives (including but not limited to Depo Provera) ...................................................................$20
  Notes
   The diagnosis, evaluation and treatment oflnfertility are described below in the "Infertility Services" section.
    The above Copayments apply to professional services only. Services that are rendered in a Hospital are also subject to the
    Hospital services Copayment. Look under the "Inpatient Hospital Services" and "Outpatient Hospital Services" headings to
    determine any additional Copayments that may apply.
    Sterilization of females and women's contraception methods and counseling, as supported by HRSA guidelines, are
    covered under "Preventive Care Services" in this section.

  Infertility Services
                                                                                                                                                                Copayment
  Infertility services (all covered services that diagnose, evaluate or treat
      Infertility) ......................................................................................................................................................... 50°/o
  Notes
    Infertility services include Prescription Drugs, professional services, inpatient and outpatient care and treatment
    by injections.
     Infertility services (which include GIFf) and all covered services that prepare the Member to receive this
     procedure, a_re covered only for the Health Net Member.
     Injections for Infertility are covered only when provided in connection with services that are covered by this Plan.
    Refer to the "Family Planning" provision in "Covered Services and Supplies,'' Section 5 and the "Conception by Medical
    Procedures,'' provision of "Exclusions and Limitations,'' Section 6 for additional information.
    If one partner does not have Health Net coverage, Infertility services are covered only for the Health Net Member.

  Other Professional Services
                                                                                                                                 Copayment
  Surgery performed in a Contracting Physician Group's office ................................................................................$20
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 74 of 167 Page ID #:81


  Section 3                                                    Schedule o(Benefits and Copayments                                                                   Page 12


  Surgery ....................................................................................................................................................................$0
  Assistance at surgery perfonned in a Contracting Physician Group's office .......................................................... $20
  Assistance at surgery ...............................................................................................................................................$0
  Administration of anesthetics ....................................................................................................................................$0
  Chemotherapy ..........................................................................................................................................................$0
  Radiation therapy ......................................................................................................................................................$0
  Laboratory services .................................................................................................................................................$0
  Diagnostic imaging (including x-ray) services ................................................ :.........................................................$0
      CT, SPECT, MRI, MUGA and PET ....................................................................................................................$0
  Medical social services .............................................................................................................................................$0
  Patient education• .....................................................................................................................................................$0
  Nuclear medicine (use of radioactive materials) ..................................................................................................... $0
  Renal dialysis............................................................................................................................................................$0
  Organ, tissue, or stem cell transplants .....................................................................................................................$0
  Notes
     The above Copayments apply to professional services only. Care that is rendered in a Hospital
    or in an outpatient surgery setting is also subject to the applicable facility Copayment. Look
    under the "Inpatient Hospital Services•• and "Outpatient Facility Services" headings to
    detennine any additional Copayments that may apply.
      Surgery includes surgical reconstruction of a breast incident-to a mastectomy, including surgery to restore
      symmetry; also includes prosthesis and treatment of physical complications at all stages of mastectomy,
      including lymphedemas.
        *Covered health education counseling for diabetes, weight management and smoking cessation, including
        programs provided online and counseling over the phone, are covered as preventive care and have no cost-
        sharing; however, if other medical services are provided at the same time that are not solely for the purpose of
        covered health education counseling, the appropriate related Copayment will apply.

  Medical Supplies
                                                                                                                                                             Copayment
  Durable Medical Equipment, nebulizers (including face masks and tubing) ...........................................................$0
      Orthotics (such as bracing, supports and casts) ................................................................................................$0
  Diabetic equipment* .....................................................................'.............................................................................$0
      Diabetic footwear ..................................................................~ ............................................................................$0
  Corrective Footwear (for the treatment of conditions not related to diabetes)*" ......................................................$0
  Prostheses (internal or external) ..............................................................................................................................$0
  Blood or blood products except for drugs used to treat hemophilia, including blood
      factors*"* ............................................................................................................................................................$0
  Drugs for the treatment of hemophilia (up to a 30 day maximum per prescription)..................................................$20
  Hearing Aids) ........................................................................................................................................................ 50o/o

        Limitation
        The Hearing aids Copayment will apply toward the purchase of the hearing aid. Hearing aids are
        covered to a maximum payment of $2000 for 2 devices every 36 months. Coverage includes repair
       .and maintenance of the hearing aid at no additional charge. The initial hearing exam and fitting are
        also subject to the vision or hearing examination Copayment. Look under "Office Visits" heading in
        this "Schedule of Benefits and Copayments" section, to detennine any additional Copayment that
        may apply. Additional charges for batteries (including the first set) or other equipment related to the
        hearing aid, or replacement of the hearing aid are not covered
        Notes
       *For a complete list of covered diabetic equipment and supplies, please see "Diabetic Equipment" in
       "Covered Services and Supplies," Section 5
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 75 of 167 Page ID #:82


   Section 3                                                   Schedule o[Benefits and Copayments                                                                 Page13

        Breastfeeding devices and supplies, as supported by HRSA guidelines, are covered under "Preventive Care
        Services" in this section. For additional information, please refer to the "Preventive Care Services" provision
        in "Covered Services and Supplies," Section 5.

        ••corrective Footwear for the management and treatment of diabetes are covered under the "Diabetic
        Equipment" benefit as Medically Necessary.
        •••Drugs for the treatment of hemophilia are considered self-injectable drugs and covered as Specialty Drug under the
        Prescription Drug benefit.

  Home Health Care Services
                                                                                                                                                         Copayment
  Home health visits ........................•..•:.......................................................................................................................$0

  Hospice Services
                                                                                                                                                            Copayment
  Hospice care .............................................................................................................................................................$0

  Ambulance Services
                                                                                                                                                            Copayment
  Ground ambulance ...................................................................................................................................................$0
  Air: ambulance ...........................................................................................................................................................$0

  Inpatient Hospital Services
                                                                                                                                                     Copayment
  Room and board in a semi-private room or Special Care Unit including ancillary
     (additional) services ......................................................................................................................................$250
  Note
   The above Copayments apply to facility services only. Care that is rendered in a Hospital is also subject to the professional
   services Copayments. Look under the "Hospital Visits by Physician," "Care for Conditions of Pregnancy" and "Other
   Professional Services" headings to detennine any additional Copayments that may apply.
     Inpatient care for Infertility is described above in the "Infertility Services" section.
     The above Copayment is applicable for each admission of hospitalization for an adult, pediatric or newborn
     patient. If a newborn patient requires admission to a Special Care Unit, a separate Copayment for inpatient
     Hospital services for the newborn patient will apply.
     Mental Health and Substance Abuse services are not included.

  Outpatient Facility Services

  Outpatient facility services (other than surgery) .......................................................................................................$0
  Outpatient surgery (surgery performed in a Hospital or Outpatient Surgical Center only) ................................... $100
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 76 of 167 Page ID #:83


  Section]                                                     Schedule o{Benefits and Copaymellts                                                                   Page14

  Notes
     The above Copayments apply to facility services only. Care that is rendered in an outpatient surgery setting is also subject
     to the professional services Copayments. Look under the "Care for Conditions of Pregnancy," "Family Planning" and
     "Other Professional Services" headings to detennine any additional Copayments that may apply.
     Outpatient care for Infertility is described above in the "Infertility Services" section.
    Other professional services performed in the outpatient department of a Hospital, such as a visit to a Physician (office
    visit), laboratory and x.ray services, or physical therapy, are subject to the same Copayment which is required when these
    services are perfonned at your Physician's office.
    Look under the headings for the various services such as office visits, neuromuscular rehabilitation, and other professional
    services to detennine any additional Copayments that may apply.
    Screening colonoscopy and sigmoidoscopy procedures (for the purposes of colorectal cancer screening) will be covered
    under the "Preventive Care Services" section above. Diagnostic endoscopic procedures (except screening colonoscopy and
    sigmoidoscopy), perfonned in an outpatient facility require the Copayment applicable for outpatient facility services.
    Use of a Hospital emergency room appears in the first item at the beginning of this section.
    Mental Health and Substance Abuse services are not included.

  Skilled Nursing Facility Services
                                                                                                                        Copavment
  Room and board in a semi private room with ancillary (additional) services .......................................................... $0
  Limitation
     Skilled Nursing Facility services are covered for up to a maximum of 100 days a Calendar Year for each Member.

  Prescription Drug Benefits
                                                                                                                                                             Copayment
  Retail Pharmacy (up to a 30 day supply)
 Tier 1 include most Generic Drugs and some low..cost preferred Brand Name Drugs
     when listed in the Commercial Formulary ..........................................................................................................$5
 Tier 2 include non·preferred, Generic Drugs, preferred Brand Name Drugs, insulin and
     diabetic supplies and certain Brand Name Drugs with a generic equivalent when
     listed in the Commercial Formulary .................................................................................................................$25
 Tier 3 include non·preferred Brand Name Drugs, Brand Name Drugs with a generic
     equivalent (when Medically Necessary), drugs listed as Tier 3 in the Commercial
     Formulary, drugs indicated as PNF", if approved, or drugs not listed in the Commercial
     Formulary) ........................................................................................................................................................$40
 Lancets ....................................................................................................................................................................$0
 Sexual dysfunction drugs (including self-injectable drugs) .................................................................................. 50%
 Appetite Suppressants ......................................................................................................................................... 50o/o
 Oral Infertility drugs............................................................................................................................................... 50°/o
 Preventive drugs and women's contraceptives ........................................................................................................$0
 Insulin ............................................................;...................................................................................................... $25

 The Tier 2 Brand Name Drug Copayment will be applicable for all covered Diabetic Supplies.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 77 of 167 Page ID #:84


  Section 3                                                   Schedule o(Benefits and Copavments                                                                  PagelS

  Insulin needles and syringes will be dispensed in the amount required by your Physician for a 30-day period. You
  must pay one Copayment for the 30-day supply.
  Blood Glucose monitoring test strips and lancets will be dispensed in 50-unit, 100-unit or 200-unit packages for
  each 30-day period. You must pay one Copayment for each package.
  •Members are required to pay the difference between a brand-name and a generic drug plus the generic copay,
  when the generic is available. (Exceptions for medical necessity are available via prior authorization, if approved,
  the applicable brand co pay applies.)

  Specialty Drugs (up to a 30 day supply)
  Except as listed below, all Specialty Drugs are subject to the applicable Tier 1, 2 or 3 Copayment shown above
  under aRetail Pharma~.

  Self-injectable drugs and drugs for the treatment of hemophilia, including
      blood factors, per prescription for a. maximum of 30 days per
      prescription .......................................................................................................................................................$20


  UC Walk-Up Service through UC Medical Center Pharmacies
  Health Net and the UC Medical Center Pharmacies have partnered to offer UC members with the ability to fill up
  to a 90-day prescription for maintenance medications at any of the UC designated Medical Center Pharmacies.
  Just like Health Net's current Mail Order Program, members can now obtain up to a 90-day supply for only two
  copays, at one of the UC designated Medical Center pharmacies.
  Maintenance Drugs through the Mail Order Program (up to a 90 day supply)
  Tier 1 include most Generic Drugs and some low-cost preferred Brand Name Drugs
     when listed in the Commercial Formulary.......................................................................................................$10
  Tier 2 (include most Generic Drugs and some low-cost preferred Brand Name Drugs
     when listed in the Commercial Formulary ........................................................................................................$50
  Tier 3 include non-preferred Brand Name Drugs, Brand Name Drugs with a generic
     equivalent (when Medically Necessary), drugs listed as Tier 3 in the Commercial
      Formulary, drugs indicated as "NF", if approved, or drugs not listed in the Commercial
     Formulary ) .......................................................................................................................................................$80
  Preventive drugs and women's contraceptives ..................... :..................................................................................$0
  Notes:
   Orally administered anti-cancer drugs will have a Copayment maximum of $200 for an individual
   prescription of up to a 30-day supply.
     For information about Health Net's Commercial Formulary, please call the Customer Contact Center at the
     telephone number on your lD card.
    Percentage Copayments will be based on Health Net's contracted pharmacy rate or the pharmacy's retail price for
    covered Prescription Drugs.
    Maintenance Drugs on the Health Net Maintenance Drug List may be obtained at a CVS retail pharmacy or a UC
    Walk~Up pharmacy under the mail order program benefits.

    Generic Drugs will be dispensed when a Generic Drug equivalent is available unless a Brand Name Drug is
    specifically requested by the Physician or the Member, subject to the Copayment requirements specified in the
    "Copayment Exceptions" provision below.
    You will be charged a Copayment for eoch Prescription Drug Order.
    Your financial responsibility for covered Prescription Drugs varies by the type of drug dispensed. For a complete
    description of Prescription Drug benefits, exclusions and limitations, please refer to the "Prescription Drugs"
    portion of "Covered Services and Supplies" and the "Exclusions and Limitations" sections.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 78 of 167 Page ID #:85


                                               Schedule o{Bellelits olld Copavmellfs                                     Pagel6

    Prior Authorization
    Prior Authorization may be required. Refer to the "Prescription Drugs" portion of"Covered Services and
    Supplies" Section 500 for a description of Prior Authorization requirements or visit our website at
    www.healthnet.com/uc to obtain a list of drugs that require Prior Authorization.
  Copayment Exceptions:
   If the pharmacy's or mail order administrator's retail price is less than the applicable Copayment, you will only
   pay the pharmacy's retail price or the mail order administrator's retail price.
   If a Brand Name Drug is dispensed and its Generic Drug equivalent is covered as a Tier I or Tier 2 Drug, then
   you must pay the following:
     • The Tier 1 Drug Copayment, plus
     • The difference between the cost of the Generic Drug and the Brand Name Drug
    However, if a Brand Name Drug is Medically Necessary and the Physician obtains Prior Authorization from
    Health Net, then the Brand Name Drug will be dispensed subject to as required for Brand Name Drugs and the
    following:
         • The Tier 2 Drug Copayment for Tier 2 Drugs; or
         • The Tier 3 Drug Copayment, for Tier 3 drugs.
         • The difference between the cost ofthe Generic Drug and the Brand Name Drug
  Preventh·e Drugs and Women's Contraceptives:
    Preventive drugs, including smoking cessation drugs, and women's contraceptives that are approved by the Food
    and Drug Administration are covered at no cost to the Member. Please see the "Preventive Drugs and Women'
    Contraceptive" provision in the "Prescription Drugs" portion of"Covered Services and Supplies," Section 500, for
    additional details. No annual limits will be imposed on the number of days for the course of treatment for all
    FDA-approved smoking and tobacco cessation medications.
    If a Brand Name Drug is dispensed, and there is a generic equivalent commercially available, you will be required
    to pay the difference in cost between the Generic and Brand Name Drug. However, if a Brand Name Drug is
    Medically Necessary and the Physician obtains Prior Authorization from Health Net, then the Brand Name Drug
    will be dispensed at no charge.
    Up to a 12-consecutive-calendar-month supply of covered FDA-approved, self-administered hormonal
    contraceptives may be dispensed with a single Prescription Drug Order
  Mail Order:
   A 90-consecutive-calendar-day supply of covered Maintenance Drugs will be dispensed at the applicable mail
   order Copayment. However, when the retail Copayment is a percentage, the mail order Copayment is the same
   percentage of the cost to Health Net as the retail Copayment.
  Diabetic Supplies:
    Diabetic supplies (blood glucose testing strips, lancets, disposable needles and syringes) are packaged in SO, 100
    or 200 unit packages. Packages cannot be "broken" (i.e., opened in order to dispense the product in quantities
   other than those packaged).
    When a prescription is dispensed, you will receive the size of package and/or number of packages required for you
    to test the number of times your Physician has prescribed for up to a 30-day period.
  Sexual Dysfunction Drugs
    Drugs (including injectable medications) when Medically Necessary for treating sexual dysfunction are limited up
    to 8 doses per month as specified in the Health Net's Commercial Formulary.. For information about Health Net's
    Commercial Fonnulary after Health Net has provided the authorization, please call the Customer Contact Center
    at the telephone number on your 10 card. Sexual dysfunction drugs are not available through the mail order
    program.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 79 of 167 Page ID #:86


  Sec1io11 3                                                    Schedule o(Bene!its and Copaymellls                                                                   Page 17


  Chiropractic Services and Supplies
  Chiropractic services and supplies are provided by Health Net. Health Net contracts with American Specialty
  Health Plans of California, Inc. (ASH Plans) to offer quality and affordable chiropractic coverage. With this
  program, you may obtain chiropractic care by selecting a Contracted Chiropractor from our ASH Plans Contracted
  Chiropractor Directory.                             ·

  Office Visits                                                                                                                                                Copavment
  New patient examination ........................................................................................................................................$20
  Each subsequent visit. ............................................................................................................................................$20
  Re-examination visit ...............................................................................................................................................$20
  Second opinion ...................................................................................................................................................... $20
  Note
      If the re-examination occurs during a subsequent visit, only one Copayment will be required.
  Limitations
    Up to 24 Medically Necessary office visits to a Contracted C"iropractor during a Calendar Year are covered
    (combined with office visits to the Contracted Acupuncturist).
    A visit to a Contracted Chiropractor to obtain a second opinion generally will not count toward the Calendar Year
    visit limit if you were referred by another Contracted Chiropractor. However, the visit to the first Contracted
    Chiropractor will count toward the Calendar Year visit limit.

  Diagnostic Services                                                                                                                                           Cooavment
  X-rays .......................................................................................................................................................................$0
  laboratory test ..............................................................................................................; ........................................... $0

  Chiropractic Appliances                                                                                                            Calendar year maximum
  For appliances ........................................................................................................................................................$50
  Limitation
    Up to a maximum of$50 is covered for each Member during a Calendar Year for covered Chiropractic
    Appliances.

  Acupuncture Services
  Acupuncture Services are provided by Health Net. Health Net contracts with American Specialty Health Plans of
  California, Inc. {ASH Plans) to offer quality and affordable acupuncture coverage. With this program, you may
  obtain care by selecting a Contracted Acupuncturist from the ASH Plans Contracted Acupuncturist Directory.


  Office Visits                                                                                                                                         Copavment
  New patient examination ........................................................................................................................................$20
  Each subsequent visit ........................................................................................................................................; .... $20
  Re-examination visit ........................: ......................................................................................................................$20
  Second opinion .......................................................................................................................................................$20
  Note
     If the re-evaluation occurs during a subsequent visit, only one Copayment will be required.
  Limitations
    Up to 24 office visits to a Contracted Acupuncturist during a Calendar Year are covered (combined with office
    visits to the Contracted Chiropractor).
    A visit to a Contracted Acupuncturist to obtain a second opinion generally will not count toward the Calendar
    Year visit limit if you were referred by another Contracted Acupuncturist. However, the visit to the first
    Contracted Acupuncturist will count toward the Calendar Year visit limit.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 80 of 167 Page ID #:87


  Section 3                                   Schedule o(Benefits and Copaymems                                          Page 18


  Mental Health and Substance Abuse Services

  University of California has independently contracted with Optum, a specialized health care service plan, to provide
  Mental Health and Substance Abuse services. Covered Services may be obtained by receiving a referral through
  Optum ·at 1-888-440-UCAL(8225). Care must be provided by an Optum participating provider and approved by
  Optum. Special provisions apply in the event of an emergency, and are described in detail in the Optum Evidence of
  Coverage (EOC).
  Additional Benefits are provided for those Members having a diagnosis categorized as Severe Mental Illness. Please
  contact Optum at 1-888-440..UCAL (8225) for a complete schedule of your Mental Health and Substance Abuse
  services.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 81 of 167 Page ID #:88


  Section 4                                               Ottt-of:-Pocket Maxim11m                                   Page 19


  4. OUT-OF-POCKET MAxiMUM
  The Out-<>f-Pocket Maximum (OOPM) amounts below are the maximum amounts you must pay for covered
  services during a particular Calendar Year, except as described in "Exceptions to OOPM" below.
  Once the total amount of all Copayments you pay for covered services under this Evidence of Coverage,
  including covered services and supplies provided by Optum, American Specialty Health Plans of California, Inc.
  (ASH Plans) and Prescription Drug benefits, in any one Calendar Year, equals the "Out-of-Pocket Maximum"
  amount, no payment for covered services and benefits may be imposed on any Member, except as described in
  "Exceptions to OOPM" below.
  The OOPM amounts for this plan, including covered services and supplies provided by American Specialty Health
  Plans of California, Inc. (ASH Plans) and Prescription Drug benefits are:
              One Member ....................................... $1,000
              Two Members ..................................... $2,000
              Family (three or more Members) ........ $3,000

  Exceptions to OOPM
      Your payments for services or supplies that this Plan does not cover will not be applied to the OOPM amount.
  How the OOPM Works
  Keep a record of your payment for covered medical services and supplies. When the total in a Calendar Year
  reaches the OOPM amount shown above, contact the Customer Contact Center at the telephone number shown
  on your Health Net ID Card for instructions.
  •    If an individual Member pays amounts for covered services in a Calendar Year that equal the OOPM amount
       shown above for an individual Member, no further payment is required for that Member for the remainder of
       the Calendar Year.
  •    Once an individual Member in a Family satisfies the individual OOPM, the remaining enrolled Family
       Members must continue to pay the Copayments until either (a) the aggregate of such Copayments paid by
       the Family reaches the Family OOPM or (b) each enrolled Family Member individually satisfies the individual
       OOPM.
  •    If amounts for covered services paid for all enrolled Members equal the OOPM amount shown for a family, no
       further payment is required from any enrolled Member of that family for the remainder of the Calendar Year
       for those services.
  •    Only amounts that are applied to the individual Member's OOPM amount may be applied to the family's
       OOPM amount. Any amount you pay for covered services for yourself that would otherwise apply to your
       individual OOPM but exceeds the above stated OOPM amount for one Member will be refunded to you by
       Health Net, and will not apply toward your family's OOPM. Individual Members cannot contribute more than
       their individual OOPM amount to the Family OOPM
  You must notify Health Net when the OOPM amount has been reached. Please keep a copy ofall receipts and canceled
  checks for payments for Covered Sen•ices as proofof Copayments made.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 82 of 167 Page ID #:89


      Sectio11 5                                 Covered Services a11d Supplies                                    Pagel/


      5. COVERED
            .    SERVICES AND SUPPLIES
  You are entiUed to receive Medically Necessary services and supplies described below when they are authorized
  according to procedures Health Net and the contracting Physician Group have established. The fact that a
  Physician or other provider may perform, prescribe, order, recommend or approve a service, supply or
  hospitalization does not, in itself, make it Medically Necessary, or make it a covered service.
  Any covered service or supply may require a Copayment or have a benefit maximum. Please refer to "Schedule
  of Benefits and Copayments," Section 3, for details.
  Certain limitations may apply. Be sure you read tile section e11tided "Exclusions and Limitations," Section 6, before
  obtaining care.
  Medical Services and Supplies
  Office Visits
  Office visits for services by a Physician are covered. Also covered are office visits for services by other health
  care professionals when you are referred by your Primary Care Physician.
  Preventive Care Services s
  The coverage described below shall be consistent with the requirements of the Affordable Care Act (ACA)

  Preventive Care Services are covered for children and adults, as directed by your Physician, based on the
  guidelines from the following resources:
  •       U.S. Preventive Services Task Force (USPSTF) Grade A & 8 recommendations
          (www.uspreventiveservicestaskforce.org/Page/Name/uspstf-a-and-b-recommendations/)
  •       The Advisory Committee on Immunization Practices (ACIP) that have been adopted by the Center for
          Disease Control and Prevention (http://www.cdc.gov/vaccines/schedules/index.html)
  •       Guidelines for infants, children, adolescents and women's preventive health care as supported by the Health
          Resources and Services Administration (HRSA) (www.hrsa.gov/womensguidelines/)
  Your Physician will evaluate your health status (including, but not limited to, your risk factors, family history,
  gender and/or age) to determine the appropriate Preventive Care Services and frequency. The list of Preventive
  Care Services is available through www.healthcare.gov/news/factsheets/2010/07/preventive-services-list.html.
  Examples of Preventive Care Services include, but are not limited to:
  •       Periodic health evaluations
  •       Preventive vision and hearing screening
  •       Blood pressure, diabetes, and cholesterol tests
  •      U.S. Preventive Services Task Force (USPSTF and Health Resources and Services Administration (HRSA)
         recommended cancer screenings, including FDA-approved human papillomavirus (HPV) screening test, ,
         screening and diagnosis of prostate cancer (including prostate-specific antigen testing and digital rectal
         examinations), screening for breast, cervical and colorectal cancer, human immunodeficiency virus (HIV)
         screening, mammograms and colonoscopies
  •      Developmental screenings to diagnose and assess potential developmental delays
  •      Counseling on such topics as quitting smoking, lactation, losing weight, eating healthfully, treating depression,
         prevention of sexually transmitted diseases and reducing alcohol use
  •      Routine immunizations against diseases such as measles, polio, or meningitis
  •      Flu and pneumonia shots
  •      Vaccination for acquired immune deficiency disorder (AIDS) that is approved for marketing by the FDA and
         that is recommended by the United States Public Health Service
  •      Counseling, screening, and immunizations to ensure healthy pregnancies
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 83 of 167 Page ID #:90


  Section 5                                     Covered Sen•ices and Supplies                                  Pagell

  e   Regular well-baby and well-child visits
  •   Well-woman visits
  Preventive Care Services for women also include screening for gestational diabetes: sexually-transmitted
  infection counseling; human immunodeficiency virus (HIV) screening and counseling; FDA-approved
  contraception methods and contraceptive counseling; breastfeeding support, supplies and counseling; and
  domestic violence screening and counseling.                                                      •
  One breast pump and the necessary supplies to operate it (as prescribed by your Physician) will be covered for
  each pregnancy at no cost to the Member. This includes one retail-grade breast pump (either a manual pump or a
  standard electric pump) as prescribed by Your Physician. We will determine the type of equipment, whether to
  rent or purchase the equipment and the vendor who provides it. Breast pumps can be obtained by calling the
  Customer Contact Center at the phone number on your Health Net ID card
  Preventive Care Services are covered as shown in the "Schedule of Benefits 'and Copayments" Section 2.
  Vision and Hearing Examinations
  Eye and ear examinations to determine the need for correction of vision and hearing are covered. Vision and
  hearing screenings, provided as part of a periodic health evaluation, are covered at no charge. Preventive vision
  and hearing screening are covered as Preventive Care Services.
  Obstetrician and Gynecologist (OB/GYN) Self-Referral
  If you are a female Member you may obtain OB/GYN Physician services without first contacting your Primary
  Care Physician.
  If you need OB/GYN preventive care, are pregnant, or have a gynecology ailment, you may go directly to an
  OB/GYN Specialist or a Physician who provides such services in your Physician Group.
  If such services are not available in your Physician Group, you may go to one of the contracting Physician
  Group's referral Physicians who provides OB/GYN services. (Each contracting Physician Group can identify its
  referral Physicians.)
  The OB/GYN Physician will consult with the Member's Primary Care Physician regarding the Member's condition,
  treatment and any need for Follow-Up Care.
  Copayment requirements may differ depending on the service provided. Refer to "Schedule of Benefits and
  Copayments." Section 3. Preventive Care Services are covered under the "Preventive Care Services" heading as
  shown in this section, and in "Schedule of Benefits and Copayments," Section 3.
  The coverage described above meets the requirements of the Affordable Care Act (ACA), which states:
  You do not need prior authorization from Health Net or from any other person (including a Primary Care
  Physician) in order to obtain access to obstetrical or gynecological care from a health care professional in our
  network who specializes in obstetrics or gynecology. The health care professional, however, may be required to
  comply with certain procedures, including obtaining prior authorization for certain services, following a pre-
  approved treatment plan, or procedures for making referrals. For a list of participating health care professionals
  who specialize in obstetrics or gynecology, contact the Customer Contact Center at the phone number on your
  Health Net ID card.
  Self-Referral for Reproductive and Sexual Health Care Services
  You may obtain reproductive and sexual health care Physician services without first contacting your Primary Care
  Physician. Reproductive and sexual health care services include:
  •   Counseling services;
  •   Prevention or treatment of pregnancy;
  •   Diagnosis or treatment of condition and medical evidence regarding an alleged rape or sexual assault; and
  •   HIV testing.
  If you need reproductive or sexual health care services, you may go directly to a reproductive and sexual health
  care Specialist or a Physician who provides such services in your Physician Group.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 84 of 167 Page ID #:91


  Section 5                                     Covered Services and S11pplies                                     Page23


  If such services are not available in your Physician Group, you may go to one of the contracting Physician
  Group's referral Physicians who provides reproductive and sexual health care services. (Each contracting
  Physician Group can identify its referral Physicians.)
  The reproductive and sexual health care Physician will consult with the Member's Primary Care Physician
  regarding the Member's condition, treatment and any need for Follow-Up Care.
  Prenatal care, longer-term services, fertility services, and other sexual or reproductive services beyond the scope
  of the above listed services are not eligible for self-referral except as noted in the "Obstetrician and Gynecologist
  (08/GYN) Self-Referral" provision above.                                                                   ·
  Copayment requirements may differ depending on the service provided. Refer to nschedule of Benefits and
  Copayments, n Section 200. Preventive Care Services are covered under the "Preventive Care Services" heading
  as shown in this section, and in "Schedule of Benefits and Copayments," Section 200.
  Immunizations and Injections
  This Plan covers immunizations and injections (including infusion therapy when administered by a health care
  professional in the office setting), professional services to inject the medications and the medications that are
  injected. This includes allergy serum. Preventive Care Services are covered under the gPreventive Care Services"
  heading as shown in this section, and in "Schedule of Benefits and Copayments," Section 2.
  In addition, injectable medications approved by the FDA to be administered by a health care professional in the
  office setting are covered.
  You·win be charged the appropriate Copayment as shown in "Schedule of Benefits and Copayments," Section 3.
  Surgical Services
  Services by a surgeon, assistant surgeon, anesthetist or anesthesiologist are covered.
  Surgically Implanted Drugs
  Surgically implanted drugs are covered under the medical benefit when Medically Necessary, and may be
  provided in an inpatient or outpatient setting.
  Gender Reassignment Surgery
  Medically Necessary gender reassignment services, including, but not limited to, psychotherapy, pre-surgical and
  post-surgical hormone therapy, and surgical services (such as, genital surgery and mastectomy), for the
  treatment of gender dysphoria or gender identity disorder are covered. Services not Medically Necessary for the
  treatment of gender dysphoria or gender identity disorder are not covered. Surgical services must be performed
  by a qualified provider in conjunction with gender reassignment surgery or a documented gender reassignment
  surgery treatment plan.
  Reasonable travel, lodging and meal costs, as determined by Health Net, for a Covered Person to undergo an
  authorized gender reassignment surgery are covered. Travel and lodging are only available for the patient
  (companion not covered).
  If you live 50 miles or more from the nearest authorized gender reassignment surgery facility, you are eligible to
  receive travel expense reimbursement, including clinical work-up, diagnostic testing and preparatory procedures,
  when necessary for the safety of the Member and for the prior approved gender reassignment surgery. All
  requests for travel expense reimbursement must be prior approved by Health Net.
  Approved travel-related expenses will be reimbursed as follows:
  •   Transportation for the Member to and from the gender reassignment surgery facility up to $130 per trip for a
      maximum of four (4) trips (pre-'surgical work-up visit, one pre-surgical visit, the initial surgery and one follow-
      up visit).
  •   Hotel accommodations for the Member not to exceed $100 per day for the pre-surgical work-up, pre-surgical
      visit and the follow-up visit, up to two (2) days per trip or as Medically Necessary. Limited to one room, double
      occupancy.
  •   Other reasonable expenses not to exceed $25 per day, up to two (2) days per trip for the pre-surgical work-
      up, pre-surgical visit and follow-up visit and up to four (4) days for the surgery visit.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 85 of 167 Page ID #:92


  Section 5                                     Covered Services and Supplies                                        PageZ4

  The following items are specifically excluded and will not be reimbursed:
  •    Expenses for tobacco, alcohol, telephone, television, and recreation are specifically excluded.
  Submission of adequate documentation including receipts is required to receive travel expense reimbursement
  from Health Net.
  Laboratory and Diagnostic Imaging (including X-ray) Services
  Laboratory and diagnostic imaging (including x-ray) services and materials are covered.
  Home Visit
  Visits by a Member Physician to a Member's home are covered at the Physician's discretion in accordance with
  the rules and criteria set by Health Net, and if the Physician concludes that the visit is medically and otherwise
  reasonably indicated.
  Rehabilitation Therapy
  Rehabilitation therapy services (physical, speech, and occupational therapy) are covered when Medically
  Necessary, except as stated in "Exclusions and Limitations,D Section 6.
  Cardiac Rehabilitation Therapy
  Rehabilitation therapy services provided in connection with the treatment of heart disease is covered when
  Medically Necessary.
  Clinical Trials
  Routine patient care costs for items and services furnished in connection with participating in an approved clinical
  trial are covered when Medically Necessary, authorized by Health Net. and either the Member's treating Physician
  has recommended participation in the trial or Member has provided medical and scientific information establishing
  eligibility for the clinical trial. Clinical trial services performed by non-participating providers are covered only when
  the protocol for the trial is not available through a participating provider. Services rendered as part of a clinical trial
  may be provided by a non-Participating or Participating Provider subject to the reimbursement guidelines as
  specified in the law.
  The following definitions apply to the terms mentioned in the above provision only.
  "Approved clinical triaiD means a phase I, phase II, phase Ill, or phase IV clinical trial that is conducted in relation
  to the prevention, detection, or treatment of cancer or other life threatening disease or condition. The treatment
  shall be provided in a clinical trial that involves either a drug that is exempt from federal regulation in relation to a
  new drug application, or is approved by one of the following:
  •   The National Institutes of Health, the Centers for Disease Control and Prevention, the Agency for Health Care
      Research and Quality, the Centers for Medicare & Medicaid Services, the United States Department of
      Defense, or the United States Department of Veterans Affairs;
  •   A cooperative group or center of any of the entities described above; or
  •   The FDA as an Investigational new drug application;
  "Life threatening condition" means any disease or condition from which the likelihood of death is probably unless
  the course of the disease or condition is interrupted.
  DRoutine patient care costs" are the costs associated with the requirements of Health Net, including drugs, items,
  devices, and services that would normally be covered under this Evidence of Coverage, if they were not provided
  in connection with a clinical trials program.
  Please refer to the "All Services and Suppliesn portion of the Exclusions and Limitations
  section for more information.
  Pulmonary Rehabilitation Therapy
                                  ir:- connection with the
  Rehabilitation therapy services provided                           treatment of chronic respiratory impairment is
  covered when Medically Necessary.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 86 of 167 Page ID #:93


  Section 5                                    Covered Sen•ices a11d Supplies                                     Page25


  Pregnancy
  Hospital and professional services for conditions of pregnancy are covered, including prenatal and postnatal care,
  delivery and newborn care. In cases of identified high-risk pregnancy, prenatal diagnostic procedures, alpha-
  fetoprotein testing and genetic testing of the fetus are also covered. Please refer to "Schedule of Benefits and
  Copayments," Section 3, for Copayment requirements.
  As an alternative to a Hospital setting, birthing center services are covered when authorized by your Physician
  Group. A birthing center is a homelike facility accredited by the Commission for Accreditation of Birth Centers
  (CABC) that is equipped, staffed and operated to provide maternity-related care, including prenatal, labor, delivery
  and postpartum care. Services provided by other than a CABC-accredited designated center will not be covered.
  Preventive services for pregnancy, as listed in the U.S. Preventive Services Task Force A&B recommendations
  and Health Resources and Services Administration's (aHRSA") Women's Preventive Service are covered as
  Preventive Care Services.
  When you give birth to a child in a Hospital, you are entitled to coverage of at least 48 hours of care following a
  vaginal delivery, or at least 96 hours following a cesarean section delivery.
  Your Physician will not be required to obtain authorization for a Hospital stay that is equal to or less than 48 hours
  following vaginal delivery or 96 hours following cesarean section. Longer stays in the Hospital will require
  authorization. Also the performance of cesarean sections must be authorized.
  You may be discharged earlier only if you and your Physician agree to it.
  If you are discharged earlier, your Physician may decide, at his or her discretion, that you should be seen at home
  or in the office within 48 hours of the discharge by a licensed health care provider whose scope of practice
  includes postpartum care and newborn care. Your Physician will not be required to obtain authorization for this
  visit.
  The coverage described above meets requirements for Hospital length of stay under the Newborns' and
  Mothers' Health Protection Act of 1996, which states:
  Group health plans and health insurance issuers generally may not, under Federal law, restrict benefits for any
  Hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours following
  a vaginal delivery, or less than 96 hours following a cesarean section. However, Federal law generally does not
  prohibit the mother's or newborn's attending provider, after consulting with the mother, from discharging the
  mother or her newborn earlier than 48 hours (or 96 hours as applicable). In any case, plans and issuers may not,
  under Federal law, require that a provider obtain authorization from the plan or the insurance issuer for
  prescribing a length of stay not in excess of 48 hours (or 96 hours).
  Family Planning
  This Plan covers counseling and planning for contraception or problems of fertility, fitting examination for a vaginal
  contraceptive device (diaphragm and cervical cap) and insertion or removal of an intrauterine device {IUD).
  Sterilization of females and women's contraception methods and counseling, as supported by the Health
  Resources and Services Administration (HRSA) guidelines are covered as Preventive Care Services.
  Contraceptives that are covered under the medical benefit include intrauterine devices {IUDs), injectable and
  implantable contraceptives. Prescribed contraceptives for women are covered as described in the "Prescription
  Drugs" portion of this "Covered Services and Supplies" section of this Evidence of Coverage.
  Infertility services (including artificial insemination procedures, office visits, follicle ultrasounds and sperm
  washing) gamete intrafallopian transfer {GIFT) and supplies are also covered as shown under "Infertility Services"
  in the Schedule of Benefits and Copayments," Section 2, but there are significant exclusions. Please refer to the
  "Conception by Medical Procedures" portion of "Exclusions and Limitations," Section 6 for more information.
  This Plan also covers Medically Necessary services and supplies for established fertility preservation treatments,
  when treatment for cancer or gender dysphoria may directly or indirectly cause iatrogenic Infertility. Iatrogenic
  Infertility is Infertility that is caused by a medical intervention, including reactions from prescribed drugs or from
  medical or surgical procedures. This benefit is subject to the applicable Copayments shown in "Schedule of
  Benefits and Copayments," Section 3, as would be required for covered services to treat any illness or condition
  under this Plan.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 87 of 167 Page ID #:94


  Section 5                                    Covered Services and Supplies                                       Page26


  Medical Social Services
  Hospital discharge planning and social service counseling are covered. In some instances, a medical social
  service worker may refer you to other providers for additional services. These services are covered only when
  authorized by your Physician Group and not otherwise excluded under this Plan.
  Patient Education
  Patient education programs on how to prevent illness or injury and how to maintain good health, including
  diabetes management programs and asthma management programs are covered. Your Physician Group will
  coordinate access to these services.
  Home Health Care Services
  The services of a Home Health Care Agency in the Member's home are covered when provided by a registered
  nurse or licensed vocational nurse and /or licensed physical, occupational, speech therapist or respiratory
  therapist. These services are in the form of visits that may include, but are not limited to, skilled nursing services,
  medical social services, rehabilitation therapy (including physical, speech and occupational), pulmonary
  rehabilitation therapy and cardiac rehabilitation therapy.
  Home Health Care Services must be ordered by your Physician, approved by your Physician Group or Health
  Plan and provided under a treatment plan describing the length, type and frequency of the visits to be provided.
  The following conditions must be met in order to receive Home Health Care Services:
   •    The skilled nursing care is appropriate for the medical treatment of a condition, illness, disease or injury;
   •    The Member is home bound because of illness or injury (this means that the Member is normally unable to
        leave home unassisted, and, when the Member does leave home, it must be to obtain medical care, or for
        short, infrequent non-medical reasons such as a trip to get a haircut, or to attend religious services or adult
        day care);
   •    The Home Health Care Services are part-time and intermittent in nature; a visit lasts up to 4 hours in
        duration in every 24 hours; and
   •    The services are in place of a continued hospitalization, confinement in a Skilled Nursing Facility, or
        outpatient services provided outside of the Member's home.
  Additionally, Home Infusion Therapy is also covered. A provider of infusion therapy must be a licensed pharmacy.
  Home nursing services are also provided to ensure proper patient education, training, and monitoring of the
  administration of prescribed home treatments. Home treatments may be provided directly by infusion pharmacy
  nursing staff or by a qualified home health agency. The patient does not need to be homebound to be eligible to
  receive Home Infusion Therapy. See "Definitions," Section 9. Note: Diabetic supplies covered under medical
  supplies include blood glucose monitors and insulin pumps.
  Custodial Care services and Private Duty Nursing, as described in "Definitions," Section 9 and any other types of
  services primarily for the comfort or convenience of the Member, are not covered even if they are available
  through a Home Health Care Agency. Home Health Care Services do not include Private Duty Nursing or shift
  care. Private Duty Nursing (or shift care, including any portion of shift care services) is not a covered benefit
  under this Plan even if it is available through a Home Health Care Agency or is determined to be Medically
  Necessary. See uoefinitions," Section 9.
  Ambulance Services
  All air and ground ambulance, and ambulance transport services provided as a result of a "911" emergency
  response system request for assistance will be covered, if the criteria for Emergency Care, as defined in this
  Evidence of Coverage, have been met.
  The contracting Physician Group may order the ambulance themselves when they know of your need in advance.
  If circumstances result in you or others ordering an ambulance, your Physician Group must still be contacted as
  soon as possible and they must authorize the services.
  Please refer to the "Ambulance Services" provision of "Exclusions and Limitations," Section 6 for additional
  information.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 88 of 167 Page ID #:95


  Section5                                     Covered Services and Supplies                                    Page27


  Hospice Care
  Hospice care is available for Members diagnosed as terminally ill by a Member Physician and the contracting
  Physician Group. To be considered terminally ill, a Member must have been given a medical prognosis of one
  year or less to live.
  Hospice care includes Physician services, counseling, medications, other necessary services and supplies, and
  homemaker services. The Member Physician will develop a plan of care for a Member who elects Hospice care.
  In addition, up to five consecutive days of inpatient care for the Member may be authorized to provide relief for
  relatives or others caring for the Member.


  Durable Medical Equipment
  Durable Medical Equipment, which includes but is not limited to wheelchairs, crutches, bracing, supports, casts,
  nebulizers (including face masks and tubing) and Hospital beds, is covered: Durable Medical Equipment also
  includes Orthotics (such as bracing, supports and casts) that are custom made for the Member.
  Corrective Footwear (including specialized shoes, arch supports, and inserts) is covered when as Medically
  Necessary and custom made for the Member.
  Corrective Footwear for the management and treatment of diabetes related medical conditions is covered under
  the "Diabetic Equipment" benefit as Medically Necessary.
  Covered Durable Medical Equipment will be repaired or replaced when necessary. However, repair or
  replacement for loss or misuse is not covered. Health Net will decide whether to repair or replace an item. Health
  Net applies nationally recognized Durable Medical Equipment coverage guidelines as defined by the Medicare
  Durable Medical Equipment Regional Administrative Contracts {DME MAC), Healthcare Common Procedure
  Coding System (HCPCS) Tier 2 and Medicare National Coverage Determinations (NCO) in assessing Medical
  Necessity for coverage.
  Some Durable Medical Equipment may have specific quantity limits or may not be covered as they are considered
  primarily for non-medical use. Nebulizers {including face masks and tubing), inhaler spacers, peak flow meters
  and Orthotics are not subject to such quantity limits.
  Coverage for Durable Medicare Equipment is subject to the limitations described in the "Durable Medical
  Equipment" portion of "Exclusions and Umitations," Section 6. Please refer to "Schedule of Benefits and
  Copayments," Section 2 for the applicable Copayment.
  Breastfeeding devices and supplies, as supported by HRSA guidelines, are covered as Preventive Care Services.
  For additional information, please refer to the "Preventive Care Services" provision in this ~covered Services and
  Supplies" section.
  Diabetic Equipment
  Equipment and supplies for the management and treatment of diabetes are covered, as Medically Necessary,
  including:
  •   Insulin pumps and all related necessary supplies
  •   Corrective Footwear to prevent or treat diabetes-related complications
  •   Specific brands of blood glucose monitors and blood glucose testing strips•
  •   Blood glucose monitors designed to assist the visually impaired
  •   Ketone urine testing strips*
  •   Lancets and lancet puncture devices•
  •   Specific brands of pen delivery systems for the administration of insulin, including pen needles•
  •   Specific brands of insulin syringes••

  *These items (as well as insulin and Prescription Drugs for the treatment and management of diabetes) are
  covered under the Prescription Drug benefits. Please refer to the "Prescription Drugs" portion of this section for
  additional information.                                                                                      -

  Additionally, the following supplies are covered under the medical benefit as specified:
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 89 of 167 Page ID #:96
                                                                               )

      Section5                                     Covered Services and Supplies                                     Page28


      •   Visual aids (excluding eyewear) to assist the visually impaired with proper dosing of insulin are provided
          through the prostheses benefit (see the ~Prostheses" portion of this section).
  •       Glucagon is provided through the self-injectables benefit (see the "Immunization and Injections" portion of this
          section).
  •       Self-management training, education and medical nutrition therapy will be covered, only when provided by
          licensed health care professionals with expertise in the management or treatment of diabetes. Please refer to
          the "Patient Education" portion of this section for more information.

  Hearing Aids
  Standard hearing devices (analog or digital), which typically fit in or behind the outer ear, used to restore
  adequate hearing to the Member and determined to be Medically Necessary are covered. This includes repair
  and maintenance (but not replacement batteries). Please refer to ..Schedule of Benefits and Copayments,"
  Section 3 for more information.
  Bariatric (Weight Loss) Surgery
  Bariatric surgery provided for the treatment of morbid obesity is covered when Medically Necessary, authorized
  by Health Net and performed at a Health Net Bariatric Surgery Performance Center by a Health Net Bariatric
  Surgery Performance Center network surgeon who is affiliated with the Health Net Bariatric Surgery Performance
  Center..                                                             ·
  Health Net has a specific network of facilities and surgeons, which are designated as Bariatric Surgery
  Performance Centers to perform weight loss surgery. Your Member Physician can provide you with information
  about this network. You will be directed to a Health Net Bariatric Surgery Performance Center at the time
  authorization is obtained. All clinical work-up, diagnostic testing and preparatory procedures must be acquired
  through a Health Net Bariatric Surgery Performance Center by a Health Net Bariatric Surgery Performance
  Center network surgeon.
  If you live 50 miles or more from the nearest Health Net Bariatric Surgery Performance Center, you are eligible to
  receive travel expense reimbursement, including clinical work-up, diagnostic testing and preparatory procedures,
  when necessary for the safety of the Member and for the prior approved Bariatric weight loss surgery. All requests
  for travel expense reimbursement must be prior approved by Health Net.
  Approved travel-related expenses will be reimbursed as follows:
  •       Transportation for the Member to and from the Bariatric Surgery Performance Center up to $130 per trip for a
          maximum offour (4) trips (pre-surgical work-up visit, one pre-surgical visit; the initial surgery and one follow-
          up visit).
  •       Transportation for one companion (whether or not an enrolled Member) to and from the Barlatric Surgery
          Performance Center up to $130 per trip for a maximum of three (3) trips (work-up visit, the initial surgery and
          one follow-up visit).
  •       Hotel accommodations for the Member not to exceed $100 per day for the pre-surgical work-up, pre-surgical
          visit and the follow-up visit, up to two (2) days per trip or as Medically Necessary. Limited to one room, double
          occupancy.                                                                                                       '
  •       Hotel accommodations for one companion (whether or not an enrolled Member) not to exceed $100 per day,
          up to four (4) days for the Member's pre-surgical work-up and initial surgery stay and up to two {2) days for
          the follow-up visit. Limited to one room, double occupancy.
  •       Other reasonable expenses not to exceed $25 per day, up to two (2) days per trip for the pre-surgical work-
          up, pre-surgical visit and follow-up visit and up to four (4) days for the surgery visit.
  The following items are specifically excluded and will not be reimbursed:
  •       Expenses for tobacco, alcohol, telephone, television, and recreation are specifically excluded.
  Submission of adequate documentation including receipts is required to receive travel expense reimbursement
  from Health Net.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 90 of 167 Page ID #:97


  Section5                                    Covered Services and Supplies                                      Page29


  Organ, Tissue, and Stem Cell Transplants
  Organ, tissue, and stem cell transplants that are not Experimental or Investigational are covered if the transplant
  is authorized by Health Net and performed at a Health Net Transplant Performance Center.
  Health Net has a specific network of designated Transplant Performance Centers to perform organ, tissue and
  stem cell transplants. Your Member Physician can provide you with information about our Transplant
  Performance Centers. You will be directed to a designated Health Net Transplant Performance Center at the time
  authorization is obtained.
  Medically Necessary services, in connection with an organ, tissue or stem cell transplant are covered as follows:
  •   For the enrolled Member who receives the transplant; and
  •   For the donor (whether or not an enrolled Member). Benefits are reduced by any amounts paid or payable by
      the donor's own coverage. Only Medically Necessary services related to the organ donation are covered.
  Evaluation of potential candidates is subject to prior authorization. More than one evaluation (including tests) at
  more than one transplant center will not be authorized unless it is Medically Necessary.
  Organ donation extends and enhances lives and is an option that you may want to consider. For more information
  on organ donation, including how to elect to be an organ donor, please contact the Customer Contact Center at
  the telephone number on your Health Net 10 Card, or visit the Department of Health and Human Services organ
  donation website at www.organdonor.gov.
  Travel expenses and hotel accommodations associated with organ, tissue and stem cell transplants are not
  covered.
  Renal Dialysis
  Renal dialysis services in your home service area are covered. Dialysis services for Members with end-stage-
  renal disease (ESRD) who are traveling within the United States are also covered. Outpatient dialysis services
  within the United States but outside of your home service area must be arranged and authorized by your
  Physician Group or Health Net in order to be performed by providers in your temporary location. Outpatient
  dialysis received out of the United States is not a covered service.
  Prostheses
  Internal and external prostheses required to replace a body part are covered. Examples are artificial legs,
  surgically implanted hip joints, devices to restore speaking after a laryngectomy and visual aids (excluding
  Eyewear) to assist the visually impaired with proper dosing of insulin.
  Also covered are internally implanted devices such as heart pacemakers.
  Prostheses to restore symmetry after a Medically Necessary mastectomy (including lumpectomy), and prostheses
  to restore symmetry and treat complications, including lymphedema are covered. Lymphedema wraps and
  garments are covered, as well as up to three brassieres in a 12 month period to hold a prostheses.
  In addition, enteral formula for members who require tube feeding is covered in accordance with Medicare
  guidelines.
  Health Net or the Member's Physician Group will select the provider or vendor for the items. If two or more types
  of medically appropriate devices or appliances are available, Health Net or the Physician Group will determine
  which device or appliance will be covered. The device must be among those that the Food and Drug
  Administration has approved for general use.
  Prostheses will be replaced when no longer functional. However, repair or replacement for loss or misuse is not
  covered. Health Net will decide whether to replace or repair an item.
  Prostheses are covered as shown under gMedical Supplies" in "Schedule of Benefits and Copayments, n Section
  2.
  Blood
  Blood transfusions, including blood processing, the cost of blood, unreplaced blood, and blood products, are
  covered. However, self-donated (autologous) blood transfusions are covered only for a surgery that the
  contracting Physician Group has authorized and scheduled.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 91 of 167 Page ID #:98


  Section 5                                    Covered Services and Supplies                                     Page30


  Inpatient Hospital Confinement
  Covered services include:
  •   Accommodations as an inpatient in a room of two or more beds, at the Hospital's most common semi-private
      room rate with customary furnishings and equipment (including special diets as Medically Necessary);
  •   Services in Special Care Units;
  •   Private rooms, when Medically Necessary
  •   Physician services
  •   Specialized and critical care
  •   General nursing care
  •   Special duty nursing as Medically Necessary);
  •   Operating, delivery and special treatment rooms;
  •   Supplies and ancillary services including laboratory, cardiology, pathology, radiology and any professional
      component of these services;
  •   Physical, speech, occupational and respiratory therapy;
  •   Radiation therapy, chemotherapy and renal dialysis treatment;
  •   Other diagnostic, therapeutic and rehabilitative services, as appropriate;
  •   Biologicals and radioactive materials;
  •   Anesthesia and oxygen services,
  •   Durable Medical Equipment and supplies;
  •   Medical social services
  •   Drugs and medicines approved for general use by the Food and Drug Administration which are supplied by
      the Hospital for use during Your stay;
  •   Blood transfusions, including blood processing, the cost of blood and unreplaced blood and Blood Products
      are covered. Self-donated (autologous) blood transfusions are covered only for a scheduled surgery that has
      been certified; and
  •   Coordinated discharge planning including the planning of such continuing care as may be necessary, both
      medically and as a means of preventing possible early re-hospitalization.


  Outpatient Hospital Services
  Professional services, outpatient Hospital facility services and outpatient surgery performed in a Hospital or
  Outpatient Surgical Center are covered.
  Professional services performed in the outpatient department of a Hospital (including but not limited to a visit to a
  Physician, rehabilitation ther~py including physical, occupational, and speech therapy, pulmonary rehabilitation
  therapy, cardiac rehabilitation therapy, laboratory tests, x-ray, radiation therapy and chemotherapy) are subject to
  the same Copayment which is required when these services are performed at your Physician Group.
  Copayments for surgery performed in a Hospital or outpatient surgery center may be different than Copayments
  for professional or outpatient Hospital facility services. Please refer to "Outpatient Hospital Services" in "Schedule
  of Benefits and Copayments," Section 3, of this Evidence of Coverage for more information.
  Reconstructive Surgery
  Reconstructive surgery to restore and achieve symmetry including surgery performed to correct or repair
  abnormal structures of the body caused by congenital defects, developmental abnormalities, trauma, infection,
  tumors or disease, to do either of the following:
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 92 of 167 Page ID #:99


  Section 5                                    Covered Services and Supplies                                    Page31


       •   Improve function; or
       •   Create a normal appearance to the extent possible, unless the surgery offers only a minimal improvement
           in the appearance of the Member.

  This does not include cosmetic surgery that is performed to alter or reshape normal structures of the body in order
  to improve appearance or dental services or supplies or treatment for disorders of the jaw except as set out under
  "Dental Services" and "Disorders of the Jaw" portions of "Exclusions and Limitations," Section 6. Reconstructive
  surgery includes Medically Necessary dental or orthodontic services that are an integral part of reconstructive
  surgery for cleft palate procedures. Cleft palate includes cleft palate, cleft lip or other craniofacial anomalies
  associated with cleft palate.
  Health Net and the contracting Physician Group determine the feasibility and extent of these services, except that,
  the length of Hospital stays related to mastectomies (including lumpectomies) and lymph node dissections will be
  determined solely by the Physician and no Prior Authorization for determining the length of stay is required.
  This includes reconstructive surgery to restore and achieve symmetry incident to mastectomy.

  The coverage described above in relation to a Medically Necessary mastectomy complies with requirements
  under the Women's Health and Cancer Rights Act of 1998. In compliance with the Women :S Health Cancer
  Rights Act of 1998, this Plan provides benefits for mastectomy-related services, including all stages of
  reconstruction and surgery to achieve symmetry between the breasts, prostheses, and complications resulting
  from a mastectomy, including lymphedema. See a/so "Prostheses" in this ucovered Services and Supplies"
  section for a description of coverage for prostheses.


  Skilled Nursing Facility
  Care in a room of two or more is covered. Benefits for a private room are limited to the Hospital's most common
  charge for a two-bed room, unless a private room is Medically Necessary.
  A Member does not have to have been hospitalized to be eligible for Skilled Nursing Facility care.
  Benefits are limited to the number of days of care stated in "Schedule of Benefits and Copayments," Section 3.
  Phenylketonuria (PKU)
  Coverage for testing and treatment of phenylketonuria (PKU) i~cludes formulas and special food products that are
  part of a diet prescribed by a Physician and managed by a licensed health care professional in consultation with a
  Physician who specializes in the treatment of metabolic disease. The diet must be deemed Medically Necessary to
  prevent the development of serious physical or mental disabilities or to promote normal development or function.
  Coverage is provided only for those costs, which exceed the cost of a normal diet.
  "Formula" is an enteral product for use at home that is prescribed by a Physician.
  "Special food product" is a food product that is prescribed by a Physician for treatment of PKU and used in place of
  normal food products, such as grocery store foods. It does not include a food that is naturally low in protein.
  Other specialized formulas and nutritional supplements are not covered.
  Second Opinion by a Physician
  You have the right to request a second opinion when:
  •   Your Primary Care Physician or a referral Physician gives a diagnosis or recommends a treatment plan that
      you are not satisfied with;
  • You are not satisfied with the result of treatment you have received;
  •   You are diagnosed with, or a treatment plan is recommended for, a condition that threatens loss of life, limb, or
      bodily function, or a substantial impairment, including but not limited to a Serious Chronic Condition; or
  •   Your Primary Care Physician or a referral Physician is unable to diagnose your condition, or test results are
      conflicting.
  To request an authorization for a second opinion, contact your Primary Care Physician or the Customer Contact
  Center at the telephone number on your Health Net ID card. Physicians at your Physician Group or Health Net will
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 93 of 167 Page ID #:100


      Section 5                                    Covered Services and Supplies                                     Page32

   review your request in accordance with Health Net's procedures and timelines as stated in the second opinion
   policy. When you request a second opinion, you will be responsible for any applicable Copayments. You may
   obtain a copy of this policy from the Customer Contact Center.
   All authorized second opinions must be provided by a Physician who has training and expertise in the illness,
   disease or condition associated with the request.


   Mental Health and Substance Abuse Services
   University of California has independently contracted with Optum • a specialized health care service plan,
   to provide Mental Health and Substance Abuse Services. Covered Services may be obtained by receiving
   a referral through Optum at 1-888-440-UCAL {8225). Care must be provided by an Optum participating
   provider and approved by Optum. Special provisions apply in the event of an emergency, and are
   described in detail in the Optum Evidence of Coverage (EOC).
   Additional Benefits are provided for those Members having a diagnosis categorized as Severe Mental Illness.
   Please contact Optum at 1-888-440-UCAL (8225) for a complete schedule of your Mental Health and Substance
   Abuse Services.


   Prescription Drugs
   Please read tile "Prescripti011 Drugs" portion of "Exclusions a11d Limitations," Section 6.

   Covered Drugs and Supplies
   Prescription Drugs must be dispensed for a condition, illness or injury that is covered by this Plan. Refer to the
   "Exclusion and Limitations" Section 6, to find out if a particular condition is not covered.
   Tier 1 Drugs (Primarily Generic) and Tier 2 Drugs (Primarily Brand)
   Tier 1 and Tier 2 Drugs listed in the Health Net Commercial Fonnulary (also referred to as "the List") are covered,
   when dispensed by Participating Phannacies and prescribed by a Physician from your selected Physician Group,
   an authorized referral Specialist or an emergent or urgent care Physician. Some Tier 1 and Tier 2 Drugs require
   Prior Authorization from Health Net in order to be covered. The fact that a drug is listed in the Commercial
   Fonnulary does not guarantee that your Physician will prescribe it for you for a particular medical condition.
   Tier3 Drugs
   Level Ill Drugs are Prescription Drugs that may be Generic Drugs or Brand Name Drugs, and are either:
         •    Specifically listed as Tier 3 on the Commercial Fonnulary; or
         •    Not listed in the Health Net Commercial Formulary and are not excluded or limited from coverage.
   Some Tier 3 Drugs require Prior Authorization from Health Net in order to be covered.
   Please refer to the acommercial Fonnulary" portion of this section for more details.
   Generic Equivalents to Brand Name Drugs
  Generic Drugs will be dispensed when a Generic Drug equivalent is available, unless a Brand Name Drug
  is specifically requested by the Physician or the Member, subject to the Copayment requirements
  described in the "Prescription Drugs" portion of aSchedule of Benefits and Copayments.~ Section 2.
  Off-Label Drugs
  A Prescription Drug prescribed for a use that is not stated in the indications and usage infonnation published by
  the manufacturer is covered only if the drug meets all of the following coverage criteria:
  •      The drug is approved by the Food and Drug Administration AND
  •      The drug meets one of the following conditions:
         1.   The drug is prescribed by a participating licensed health care professional for the treatment of: a life-
              threatening condition; OR
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 94 of 167 Page ID #:101


   Sectio11 5                                   Covered Sen•ices and Supplies                                     Page33


       2.   The drug is prescribed by a participating licensed health care professional for the treatment of a chronic
            and seriously debilitating condition, the drug is Medically Necessary to treat such condition and the drug
            is either on the Commercial Formulary or Prior Authorization by Health Net has been obtained; AND
   •   The drug is recognized for treatment of the life-threatening or chronic and seriously debilitating condition by
       one of the following:
       A. The American Hospital Formulary Service Drug Information; OR
       B. One of the following compendia, if recognized by the federal Centers for Medicare and Medicaid Services
          as part of an anticancer therapeutic regimen:
            i.    The Elsevier Gold Standard's Clinical Pharmacology.
            ii.   The National Comprehensive Cancer Network Drug and Biologics Compendium.
            iii. The Thomson Micromedex DrugOex; OR
       C. Two articles from major peer reviewed medical journals that present data supporting the proposed off-
          label use or uses as generally safe and effective unless there is clear and convincing contradictory
          evidence presented in a major peer reviewed medical journal.
   The following definitions apply to the terms mentioned in this provision only.
  ·"Life-threatening," means either or both of the following:
   • . Diseases or conditions where the likelihood of death is high unless the course of the disease is interrupted;
   •   Diseases or conditions with potentially fatal outcomes, where the end point of clinical intervention is survival.
   "Chronic and seriously debilitatingn refers to diseases or conditions that require ongoing treatment to maintain
   remission or prevent deterioration and cause significant long-term morbidity.
   Diabetic Drugs and Supplies
   Prescription Drugs for the treatment of diabetes (including insulin) are covered as stated in the Commercial
   Formulary. Diabetic supplies are also covered including but not limited to specific brands of pen delivery systems,
   specific brands of disposable insulin needles and syringes, disposable insulin pen needles, specific brands of
   blood glucose monitors and testing strips, Ketone test strips, lancet puncture devices and lancets when used in
   monitoring blood glucose levels. Additional supplies are covered under the medical benefit. Please refer to
   "Medical Services and Suppliesn portion of this Section under "Diabetic Equipment, "for additional information.
   Refer to nschedule of Benefits and Copayments,n Section 3, for details about the supply amounts that are
   covered and the applicable Copayment.
  Drugs and Equipment for the Treatment of Asthma
  Prescription Drugs for the treatment of asthma are covered as stated in the Commercial Formulary. Inhaler
  spacers and peak flow meters used for the management and treatment of asthma are covered when Medically
  Necessary. Nebulizers (including face masks and tubing) are covered under the medical benefit. Please refer to
  the "Medical Services and Suppliesn portion of this section under uourable Medical Equipmenr for additional
  information.
   Smoking Cessation Coverage
  Drugs for the relief of nicotine withdrawal symptoms require a prescription from the treating Physician. For
  information regarding smoking cessation behavioral modification support programs available through Health Net,
  contact the Customer Contact Center at the telephone number on your Health Net ID Card or visit the Health Net
  website at www.healthnet.com/uc.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 95 of 167 Page ID #:102


   Section 5                                    Covered Services a11d Supplies                                      Page34

   Sexual Dysfunction Drugs
   Drugs that establish, maintain or enhance sexual functioning are covered for sexual dysfunction when Medically
   Necessary. These Prescription Drugs are covered for up to the number of doses or tablets specified in Health
   Net's Commercial Formulary. For information about Health Net's Commercial Formulary, please call the
   Customer Contact Center at the telephone number on your ID card. Drugs (including injectable medications)
   prescribed for treatment of sexual dysfunction are not available through mail order or under the 90-day
   Maintenance Drug Benefit
   Specialty Drugs
   Specialty Drugs are specific Prescription Drugs used to treat complex or chronic conditions and usually
   require close monitoring. These drugs may have limited pharmacy availability or distribution and may be
   self-administered orally, topically, by inhalation, or by injection (either subcutaneously, intramuscularly or
   intravenously). Specialty Drugs are identified in the Health Net Commercial Formulary with "SP". Refer to,
   Health Net's Commercial Formulary on our website at healthnet.com for the Specialty Drugs listing. You
   can also call the Customer Contact Center telephone number listed on your Health Net ID card.
   All Specialty Drugs require Prior Authorization from Health Net and may be required to be dispensed
   through the specialty pharmacy vendor to be covered. Specialty Drugs are not available through mail
   order.
   Self-injectable drugs (other than insulin), including drugs for the treatment of hemophilia, and needles and
   syringes used with these self-injectable drugs are included under Specialty Drugs, which are subject to Prior
   Authorization and must be obtained through Health Net's contracted specialty pharmacy vendor. Your PCP or
   treating Physician will coordinate the authorization and upon approval the specialty pharmacy vendor will arrange
   for the dispensing of the drugs, needles and syringes. The specialty pharmacy vendor may contact you directly to
   coordinate the delivery of your medications.
   Preventive Drugs and Women's Contraceptives:
   Preventive drugs, including smoking cessation drugs, and women's contraceptives are covered at no cost to the
   Member. Covered preventive drugs are over-the-counter drugs or Prescription Drugs that are used for preventive
   health purposes per the U.S. Preventive Services Task Force A and B recommendations.
   Drugs for the relief of nicotine withdrawal symptoms require a prescription from the treating Physician. For
   information regarding smoking cessation behavioral modification support programs available through Health Net,
   contact the Customer Contact Center at the telephone number on your Health Net ID Card or visit the Health Net
   website at www.healthnet.com/uc.
  Covered contraceptives are FDA-approved contraceptives for women that are either available over-the-counter or
  are only available with a Prescription Drug Order. Women's contraceptives that are covered under this
  Prescription Drug benefit include vaginal, oral, transdermal and emergency contraceptives. For a complete list of
  contraceptive products covered under the Prescription Drug benefit, please refer to the Commercial Formulary.
  Over-the-counter preventive drugs and women's contraceptives that are covered under this Plan require a
  Prescription Drug Order. You must present the Prescription Drug Order at a Health Net Participating Pharmacy to
  obtain such drugs or contraceptives.
  Intrauterine devices (IUDs), injectable and implantable contraceptives are covered as a medical benefit when
  administered by a Physician. Please refer to the "Medical Services and Supplies" portion of this section, under the
  headings "Preventive Care Services" and "Family Planning" for information regarding contraceptives covered
  under the medical benefit.
  For the purpose of coverage provided under this provision, "emergency contraceptives" means FDA-approved
  drugs taken after intercourse to prevent pregnancy. Emergency contraceptives required in conjunction with
  Emergency Care, as defined under "Definitions", Section 9, will be covered when obtained from any licensed
  pharmacy, but must be obtained from a Plan contracted pharmacy if not required in conjunction with Emergency
  Care as defined                           •
  Appetite Suppressants or Drugs for Body Weight Reduction
  Drugs that require a prescription in order to be dispensed for the treatment of obesity are covered when Medically
  Necessary for the treatment of morbid obesity. The prescribing Physician must request and obtain Prior
  Authorization for coverage.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 96 of 167 Page ID #:103


   Sectioll5                                    Covered Services a11d Supplies                                    Page35


   The Commercial Formulary
   What Is the Health Net Commercial Formulary?
   Health Net developed the Commercial Formulary to identify the safest and most effective medications for Health
   Net Members while attempting to maintain affordable pharmacy benefits. We specifically suggest to all Health Net
   contracting Physicians and Specialists that they refer to this list when choosing drugs for patients who are Health
   Net Members. When your Physician prescribes medications listed in the Commercial Formulary, it is ensured that
   you are receiving a high quality and high value prescription medication. In addition, the Commercial Formulary
   identifies whether a Generic version of a Brand Name Drug exists, and whether the drug requires Prior
   Authorization. If the Generic version exists, it will be dispensed instead of the Brand Name version.
   You may call the Customer Contact Center at the telephone number on your Health Net ID Card to find out if a
   particular drug is listed in the Commercial Formulary. You may also request a copy of the current List, and it will
   be mailed to you. The current list is also available on the Health Net website at www.healthnet.com/uc.
   How Are Drugs Chosen for the Health Net Commercial Formulary?
   The List is created and maintained by the Health Net Pharmacy and Therapeutics Committee. Before deciding
   whether to include a drug on the List, the Committee reviews medical and scientific publications, relevant
   utilization experience and Physician recommendations to assess the drug for its:
   •   Safety
   •   Effectiveness
   •   Cost-effectiveness (when there is a choice between two drugs having the same effect, the less costly drug will
       be listed}
   •   Side effect profile
   •   Therapeutic outcome
   This Committee has quarterly meetings to review medications and to establish policies and procedures for drugs
   included in the List. The Commercial Formulary is updated as new clinical information and medications are
   approved by the FDA.
   Who Is on the Health Net Pharmacy and Therapeutic Committee and How Are Decisions Made?
   The Committee is made up of actively practicing Physicians of various medical specialties from Health Net
   Physician Groups, as well as clinical pharmacists. Voting members are recruited from contracting Physician
   Groups throughout California based on their experience, knowledge and expertise. In addition, the Pharmacy and
   Therapeutics Committee frequently consults with other medical experts to provide additional input to the
   Committee. A vote is taken before a drug is added to the Commercial Formulary. The voting members are not
   employees of Health Net. This ensures that decisions are unbiased and without conflict of interest.
   Prior Authorization Process for Prescription Drugs
   Prior Authorization status is included in the Commercial Formulary - The Commercial Formulary identifies
   which drugs require Prior Authorization. A Physician must get approval from Health Net before writing a
   Prescription Drug Order for a drug that is listed as requiring Prior Authorization, in order for the drug to be covered
   by Health Net You may obtain a list of drugs requiring Prior Authorization by visiting our website at
   www.healthnetluc.com or call the Customer Contact Center at the telephone number on your Health Net ID card.
   If a drug is not on the Commercial Formulary, your Physician should call Health Net to determine if the drug
   requires Prior Authorizatio~.
   Health Net may approve a drug not on the Commercial Formulary if Medical Necessity is demonstrated by the
   prescribing Physician as follows:
   " Drugs on the Commercial Formulary have already been tried and were not effective;
   " The medication being considered meets Health Net's usage guidelines; and
   " The medication is not excluded from the Member's Plan.
   Your Physician should call Health Net to request Prior Authorization for drugs not on the Commercial Formulary.
   Requests for Prior Authorization may be submitted by telephone or facsimile. Urgent requests from Physicians for
   authorization are processed as soon as possible, not to exceed 24 hours after Health Net's receipt of the request
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 97 of 167 Page ID #:104


      Section 5                                   Covered Services and Supplies                                 Page36

   and any additional information requested by Health Net that is reasonably necessary to make the determination.
   Routine requests from Physicians are processed in a timely fashion, not to exceed 72 hours, as appropriate and
   Medically Necessary, for the nature of the Member's condition after Health Net's receipt of the information
   reasonably necessary and requested by Health Net to make the determination.
   Health Net will evaluate the submitted information upon receiving your Physician's request for Prior Authorization
   and make a determination based on established clinical criteria for the particular medication. The criteria used for
   Prior Authorization are developed and based on input from the Health Net Pharmacy and Therapeutics
   Committee as well as Physician experts. Your Physician may contact Health Net to obtain the usage guidelines
   for specific medications.
   Once a medication is approved, its authorization becomes effective immediately.
   If you are denied Prior Authorization, please refer to the "Grievance, Appeals, Independent Medical Review and
   Arbitration" portion of the "General Provisions" section of this Evidence of Coverage.


   Retail Pharmacies and the Mail Order Program
   Purchase Drugs at Participating Pharmacies
   Except as described below under "Nonparticipating Pharmacies and Emergencies" and "Drugs Only Dispensed
   by Mail Order", you must purchase covered drugs at a Participating Pharmacy.
   Health Net is contracted with many major pharmacies, supermarket-based pharmacies and privately owned
   pharmacies in California. To find a conveniently located Participating Pharmacy please visit our website at
   www.healthnet.com/uc or call the Customer Contact Center at the telephone number on your Health Net ID card.
   Present the Health Net ID Card and pay the appropriate Copayment when the drug is dispensed.
  Up to a 30-consecutive-calendar-day supply is covered for each Prescription Drug Order. In some cases, a
  30-consecutive-calendar-day supply of medication may not be an appropriate drug treatment plan according to
  the Food and Drug Administration (FDA) or Health Net's usage guidelines. Medications taken on an "as-needed"
  basis may have a Copayment based on a specific quantity, standard package, vial, ampoule, tube, or other
  standard units. In such a case, the amount of medication dispensed may be less than a 30-consecutive-calendar
  day supply. If Medically Necessary, your Physician may request a larger quantity from Health Net.
  If refills are stipulated on the Prescription Drug Order, a Participating Pharmacy may dispense up to a 30-
  consecutive-calendar-day supply for each Prescription Drug Order or for each refill at the appropriate time
  interval. If the Health Net ID Card is not available or eligibility cannot be determined:
  •      Pay the entire cost of the drug; and
  •      Submit a claim for possible reimbursement.
  Health Net will reimburse you for the cost of the Prescription Drug, less any required Copayment shown in the
  "Schedule of Benefits and Copayments," Section 3.
  Except as described below in "Nonparticipating Pharmacies and Emergencies, a for new Members and emergent
  care, if you elect to pay out-of-pocket and submit a prescription claim directly to Health Net instead of having the
  contracted pharmacy submit the claim directly to Health Net, you will be reimbursed based on the lesser of Health
  Net's contracted pharmacy rate or the pharmacy's retail price, less any applicable Copayment or Deductible.
  You may obtain maintenance drugs on the Health Net Maintenance Drug List up to a 90-consecutive calendar
  day supply from a CVS retail pharmacy, a UC walk-up pharmacy or through Mail Order and pay your mail order
  co payment.
  Nonparticipating Pharmacies and Emergencies
  During the first 30 days of your coverage, Prescription Drugs will be covered if dispensed by a Nonparticipating
  Pharmacy, but only if you are a new Member and have not yet received your Health Net ID Card. After 30 days,
  Prescription Drugs dispensed by a Non-Participating Pharmacy will be covered only for Emergency Care or
  Urgently Needed Care, as defined in "Definitions," Section 9.
  If the above situations apply to you:
  •      Pay the full cost of the Prescription Drug that is dispensed; and
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 98 of 167 Page ID #:105


   Section 5                                  Covered Services and Supplies                                   Page37


   •   Submit a claim to Health Net for possible reimbursement.
   Health Net will reimburse you Prescription Drug covered expenses, less any required Copayment shown in
   "Schedule of Benefits and Copayments," Section 3.
   If you present a Prescription Order for a Brand Name Drug, the pharmacist will offer a Generic Drug equivalent if
   commercially available. In cases of Emergency or Urgently Needed Care, you should advise the treating
   Physician of any drug allergies or reactions, including to any Generic Drugs.
   There are no benefits through Nonparticipating Pharmacies after 30 days of coverage or if the Prescription Drug
   was not purchased for Emergency or Urgently Needed Care.
   Note: The "Prescription Drug" portion of "Exclusions and Limitations," Section 6, of this Evidence of Coverage
   and the requirements of the Commercial Formulary described above still apply when Prescription Drugs are
   dispensed by a Nonparticipating Pharmacy.
   Claim forms will be provided by Health Net upon request or may be obtained from the Health Net website at
   www.healthnet.com/uc.
   Drugs Dispensed by Mail Order or Walk-up Service
   If your prescription is for a Maintenance Drug and your doctor has written a prescription for a 90-days supply,
   you may have the option of filling it through our convenient mail order program, at a CVS Retail Pharmacy, or
   at a UC Walk·up pharmacy. Maintenance Drugs are Prescription Drugs taken continuously to manage chronic or
   long term conditions where Members respond positively to a drug treatment plan with a specific medication at a
   constant dosage requirement.
   You may call the Customer Contact Center at the telephone number on your Health Net ID Card to find out if a
   particular drug is a Maintenance Drug that is listed on the Health Net Maintenance Drug List. You may also
   request a copy of Health Net's Maintenance Drug List (MDL) and it will be mailed to you. The MDL is also
   available on the Health Net website at www.healthnet.com/uc.
   To receive Prescription Drugs by mail send the following to the designated mail order administrator.
   •   The completed Prescription Mail Order Form;
   •   The original Prescription Drug Order (not a copy) written for up to a 90-consecutive-calendar-day-supply of a
       Maintenance Drug, when appropriate; and
   •   The appropriate Copayment.
   You may obtain a Prescription Mail Order Form and further information by contacting the Customer Contact
   Center at the telephone number on your Health Net ID Card.
   The mail order administrator may dispense up to a 90-consecutive-calendar-day supply of a covered Maintenance
   Drug and each refill allowed by that order. The required Copayment applies each time a drug is dispensed. In
   some cases, a 90.consecutive-calendar~ay supply of medication may not be an appropriate drug treatment plan.
   according to Food and Drug Administration (FDA) or Health Net's usage guidelines. If this is the case, the mail
   order may be less than a 90.consecutive-calendar-day supply.
   UC members can also obtain their mail order prescriptions at a designated UC Medical Center pharmacy. To
   locate a UC Medical Center pharmacy, a listing is provided on the HR/Benefits website or contact Health Net
   customer service.
   Schedule II Narcotic Drugs
   Specialty Drugs and Schedule II narcotic drugs are not covered through our mail order or under the 90-day
   Maintenance Drug Benefit program. Refer to the "Prescription Drug" portion of the "Exclusions and Limitations"
   section for more information.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 99 of 167 Page ID #:106


   Secrion5                                     Covered Sen•ices a11d Supplies                                    Page38

   Chiropractic Services and Supplies

   Please read "Chiropractic Services und Supplies" portion of"Exclusiolls aud Limitations," Sectiou 6.
   Chiropractic Services are covered up to the maximum number of visits shown in "Schedule of Benefits and
   Copayments," Section 2.
   American Specialty Health Plans of California, Inc. (ASH Plans) will arrange covered Chiropractic Services for
   you. You may access any Contracted Chiropractor without a referral from a Physician or your Primary Care
   Physician.
   You may receive covered Chiropractic Services from any Contracted Chiropractor at any time and you are not
   required to pre.odesignate the Contracted Chiropractor prior to your visit from whom you will receive covered
   Chiropractic Services. You must receive covered Chiropractic Services from a Contracted Chiropractor, except
   that:
   •    You may receive Emergency Chiropractic Services from any chiropractor, including a non-Contracted
        Chiropractor; and
   •    If covered Chiropractic Services are not available and accessible to you in the county in which you Jive, you
        may obtain covered Chiropractic Services from a non-Contracted Chiropractor who is available and
        accessible to you in a neighboring county only upon referral by ASH Plans.
   All covered Chiropractic Services require pre-approval by ASH Plans except:
   •    A new patient examination by a Contracted Chiropractor and the provision or commencement, in the new
        patient examination, of Medically Necessary services th!)t are covered Chiropractic Services, to the extent
        consistent with professionally recognized standards of practice; and
   •    Emergency Chiropractic Services including, without limitation, any referral for x-ray services, radiological
        consultations, or laboratory services.


   The following benefits are provided for Chiropractic Services:
   Office Visits
   •    A new patient exam or an established patient exam is perfonned by a Contracted Chiropractor for the initial
        evaluation of a patient with a new condition or new episode to detennine the appropriateness of Chiropractic
        Services. A new patient is· one who has not received any professional services from the provider, or another
        provider of the same specialty who belongs to the same group practice, within the past three years. An
        established patient is one who has received professional services from the provider, or another provider of the
        same specialty who belongs to the same group practice, within the past three years.
        Established patient exams are performed by a Contracted Chiropractor to assess the need to initiate,
        continue, extend, or change a course of treatment. The established patient exam is only covered when used
        to detennine the appropriateness of Chiropractic Services. The established patient exam must be Medically
        Necessary.
  •      Subsequent office visits, as set forth in a treatment plan approved by ASH Plans, may involve an adjustment,
       · a re-examination and other services, in various combinations. A Copayment will be required for each visit to
         the office.
  •     Adjunctive modalities and procedures such as rehabilitative exercise, traction, ultrasound, electrical muscle
        stimulation, and other therapies are covered only when provided during the same course of treatment and in
        conjunction with chiropractic manipulation of the spine, joints, and/or musculoskeletal soft tissue.
  Second Opinion
  If you would like a second opinion with regard to covered services provided by a Contracted Chiropractor, you will
  have direct access to any other Contracted Chiropractor. Your visit to a Contracted Chiropractor for purposes of
  obtaining a second opinion will count as one visit, for purposes of any maximum benefit and you must pay any
  Copayment that applies for that visit on the same tenns and conditions as a visit to any other Contracted
  Chiropractor.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 100 of 167 Page ID
                                   #:107

 Section 5                                   Covered Services and Supplies                                     Page39


 However, a visit to a second Contracted Chiropractor to obtain a second opinion will not count as a visit, for
 purposes of any maximum benefit, if you were referred to the second Contracted Chiropractor by another
 Contracted Chiropractor (the first Contracted Chiropractor). The visit to the first Contracted Chiropractor will count
 toward any maximum benefit.
 X-ray and Laboratory Tests
 X-rays and laboratory tests are payable when prescribed by a Contracted Chiropractor and approved by ASH
 Plans. Radiological consultations are a covered benefit when approved by ASH Plans as Medically Necessary
 Chiropractic Services and provided by a licensed chiropractic radiologist, medical radiologist, radiology group or
 Hospital which has contracted with ASH Plans to provide those services. A Copayment is not required.
 X-ray second opinions are covered only when perfonned by a radiologist to verify suspected tumors or fractures.
 Chiropractic Appliances
 Chiropractic Appliances are payable when prescribed by a Contracted Chiropractor and approved by ASH Plans
 for up to the maximum benefit shown in "Schedule of Benefits and Copayments," Section 2.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 101 of 167 Page ID
                                   #:108

    Section5                                   Covered Sen 1ices and Supplies                                 Page40


 Acupuncture Services
 Please read "Acupuncture Services" portion of "Exclusions and Limitations," Section 6.
 Acupuncture Services are covered up to the maximum number of visits shown in "Schedule of Benefits and
 Copayments," Section 2.
 American Specialty Health Plans of California, Inc. (ASH Plans) will arrange covered Acupuncture Services for
 you. You may access any Contracted Acupuncturist without a referral from a Physician or your Primary Care
 Physician.
 You may receive covered Acupuncture Services from any Contracted Acupuncturist, and you are not required to
 pre-designate a Contracted Acupuncturist prior to your visit from whom you will receive covered Acupuncture
 Services. You must receive covered Acupuncture Services from a Contracted Acupuncturist except that:
 •     You may receive Emergency Acupuncture Services from any acupuncturist, including a non-Contracted
       Acupuncturist; and
 •     If covered Acupuncture Services are not available and accessible to you in the county in which you live, you
       may obtain covered Acupuncture Services from a non-Contracted Acupuncturist who is available and
       accessible to you in a neighboring county only upon referral by ASH Plans.
All covered Acupuncture Services require pre-approval by ASH Plans except:
 •     A new patient examination by a Contracted Acupuncturist and the provision or commencement, in the new
       patient examination, of Medically Necessary services that are covered Acupuncture Services, to the extent
       consistent with professionally recognized standards of practice; and
•      Emergency Acupuncture Services.
The following benefits are provided for Acupuncture Services:
Office Visits
•      A new patient exam or an established patient exam is performed by a Contracted Acupuncturist for the initial
       evaluation of a patient with a new condition or new episode to determine the appropriateness of Acupuncture
       Services. A new patient is one who has not received any professional services from the provider, or another
       provider of the same specialty who belongs to the same group practice, within the past three years. An
       established patient is one who has received professional services from the provider, or another provider of the
       same specialty who belongs to the same group practice, within the past three years.
       Established patient exams are performed by a Contracted Acupuncturist to assess the need to initiate,
       continue, extend, or change a course of treatment. The established patient exam is only covered when used
       to determine the appropriateness of Acupuncture Services. The established patient exam must be Medically
       Necessary.
•      Subsequent office visits, as set forth in a treatment plan approved by ASH Plans, may involve acupuncture
       treatment, a re-examination and other services, in various combinations. A Copayment will be required for
       each visit to the office.
•      Adjunctive therapy may include therapies such as acupressure, cupping, moxibustion, or breathing
       techniques. Adjunctive therapy is only covered when provided during the same course of treatment and in
       conjunction with acupuncture.
•      Only the treatment of Pain, Nausea or Neuromusculoskeletal Disorders is covered, provided that the condition
       may be appropriately treated by a Contracted Acupuncturist in accordance with professionally recognized
       standards of practice. Covered Pain includes low back Pain, post-operative Pain and post-operative dental
       Pain. Nausea includes adult post-ope~tive Nausea and vomiting, chemotherapy Nausea and vomiting and
       Nausea of pregnancy. Neuromusculoskeletal Disorders include musculoskeletal conditions such as
       fibromyalgia and myofascial Pain. Other conditions for which covered services also are available, if Medically
       Necessary, include carpal tunnel syndrome, headaches, menstrual cramps, osteoarthritis, stroke rehabilitation
       and tennis elbow.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 102 of 167 Page ID
                                   #:109

 Section 5                                 Covered Services and Supplies                                  Page41


 Second Opinion
 If you would like a second opinion with regard to covered services provided by a Contracted Acupuncturist, you
 will have direct access to any other Contracted Acupuncturist. Your visit to a Contracted Acupuncturist for
 purposes of obtaining a second opinion will count as one visit, for purposes of any maximum benefit and you must
 pay any Copayment that applies for that visit on the same terms and conditions as a visit to any other Contracted
 Acupuncturist. However, a visit to a second Contracted Acupuncturist to obtain a second opinion will not count as
 a visit, for purposes of any maximum benefit, if you were referred to the second Contracted Acupuncturist by
 another Contracted Acupuncturist (the first Contracted Acupuncturist). The visit to the first Contracted
 Acupuncturist will count toward any maximum benefit.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 103 of 167 Page ID
                                   #:110

 Section 6                                     Exclusions and Limitatio11s                                     Page42


 6. EXCLUSIONS AND LIMITATIONS
 It is extremely important to read this section before you obtain services in order to know what Health Net
 will and will not cover.
 Health Net does not cover the services or supplies listed below. Also, services or supplies that are
 excluded from coverage in the Evidence of Coverage exceed Evidence of Coverage limitations or are
 Follow-Up Care (or related to Follow-Up Care) to Evidence of Coverage exclusions or limitations will not
 be covered. However, the Plan does cover Medically Necessary services for medical conditions directly
 related to non-covered services when complications exceed routine Follow-Up Care (such as life-
 threatening complications of cosmetic surgery).
 Please note that an exception may apply to the exclusions and limitations listed below, to the extent a
 requested service is either a basic Health Care Service under applicable law, or is required to be covered
 by other state or federal law, and is Medically Necessary as defined in "Definitions," Section 9.
 Notwithstanding any exclusions or limitations described in this Evidence of Coverage, all Medically
 Necessary services for treatment of Severe Mental Illness or Serious Emotional Disturbance of a Child
 mental health conditions shall be covered.


 General Exclusions and Limitations
The exclusions and limitations in this subsection apply to any category or classification of services and supplies
described throughout this Evidence of Coverage.
Ambulance Services
Air and ground ambulance and ambulance transport services are covered as shown in the "Ambulance Services"
provision of "Covered Services and Supplies," Section 5.
Paramedic, ambulance, or ambulance transport services are not covered in the following situations:
•   If Health Net determines that the ambulance or ambulance transport services were never performed; or
•   If Health Net determines that the criteria for Emergency Care were not met, unless authorized by your
    Physician Group, as discussed in the "Ambulance Services" provision of "Covered Services and Supplies,"
    Section 5; or
•   Upon findings of fraud, incorrect billings, that the provision of services that were not covered under the plan,
    or that membership was invalid at the time services were delivered for the pending emergency claim.
Clinical Trials
Although routine patient care costs for clinical trials are covered, as described in the "Medical Services and
Supplies" portion of "Covered Services and Supplies," Section 5, coverage for clinical trials does not include the
following items:
•   Drugs or devices that are not approved by the FDA;
•   Services other than health care services, including but not limited to cost of travel, or costs of other non-
    clinical expenses;
•   Services provided to satisfy data collection and analysis needs which are not used for clinical management;
•   Health care services that are specifically excluded from coverage under this Evidence of Coverage; and
•   Items and services provided free of charge by the research sponsors to Members in the trial.
Custodial or Domiciliary Care
This Plan does not cover services and supplies that are provided primarily to assist with the activities of daily
living, regardless of where performed.
Custodial Care is not covered even when the patient is under the care of a supervising or attending Physician and
services are being ordered and prescribed to support and generally maintain the patient's condition, or provide for
the patient's comforts, or ensure the manageability of the patient. Furthermore, Custodial Care is not covered
even if ordered and prescribed services and supplies are being provided by a registered nurse, a licensed
vocational nurse, a licensed practical nurse, a Physician Assistant or physical, speech or occupational therapist or
other licensed health care provider.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 104 of 167 Page ID
                                   #:111

 Section 6                                      Exclusions and Limitations                                     Page43

 Please see the "Hospice Care" provisions in the "Covered Services and Suppliese and "Definitions" sections for
 services that are provided as part of that care, when authorized by the Plan or the Member's contracted Physician
 Group..
 Disposable Supplies for Home Use
 This Plan does not cover disposable supplies for home use.
 Experimental or Investigational Services
 Experimental or Investigational drugs, devices, procedures or other therapies are only covered except when:
 •     Independent review deems them appropriate, please refer to the "Independent Medical Review of
       Investigational or Experimental Therapies" portion of "General Provisions," Section 7 for more information; or
       Clinical trials for patients with cancer or life-threatening diseases or conditions are deemed appropriate
       according to the "Clinical Trials" provision in the "Medical Services and Supplies" portion of "Covered Services
       and Supplies," Section 5.
 In addition, benefits will also be provided for services and supplies to treat medical complications caused by
 Experimental or Investigational services or supplies.
 l:iome Birth
 A birth which takes place at home will be covered only when the criteria for Emergency Care, as defined in this
 Evidence of Coverage, have been met.
 Ineligible Status
 This Plan does not cover services or supplies provided before the Effective Date of coverage. Services or
 supplies provided after midnight on the effective date of cancellation of coverage through this Plan are not
 covered, except as specified in the "Extension of Benefits" portion of "Eligibility, Enrollment and Termination,"
 Section 1.
A service is considered provided on the day it is performed. A supply is considered provided on the day it is
dispensed.
 No-Charge Items
This Plan does not cover reimbursement to the Member for services or supplies for which the Member is not
legally required to pay the provider or for which the provider pays no charge.
 Personal or Comfort Items
This Plan does not cover personal or comfort items.
 Unlisted Services
Thi~Plan only covers services or supplies that are specified as covered services or supplies in this Evidence of
Coverage, unless coverage is required by state or federal law.

Services and Supplies
In addition to the exclusions and limitations shown in the "General Exclusions and Limitationsn portion of this
section, the following exclusions and limitations apply to services and supplies under the medical benefits and the
Mental Disorders and Chemical Dependency benefits:
Aversion Therapy
Therapy intended to change behavior by inducing a dislike for the behavior through association with a noxious
stimulus is not covered.
Biofeedback
Coverage for biofeedback therapy is limited to Medically Necessary treatment of certain physical disorders such
as incontinence and chronic Pain, and as otherwise preauthorized by the Plan.
Blood
Blood transfusions, including blood processing, the cost of blood, unreplaced blood, and blood products, are
covered. Self-donated (autologous) blood transfusions are covered only for a surgery that the contracting
Physician Group or Health Net has authorized and scheduled.
This Plan does not cover treatments which use umbilical cord blood, cord blood stem cells or adult stem cells (nor
their collection, preservation and storage) as such treatments are considered to be Experimental or
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 105 of 167 Page ID
                                   #:112

Sectio116                                       Exclusions and Limitations                                         Page44

Investigational in nature. See "General Provisions," Section 7, for the procedure to request an Independent
Medical Review of a Plan denial of coverage on the basis that it is considered Experimental or Investigational.
Conception by Medical Procedures
Artificial insemination and gamete intrafallopian transfer (GIFT) are covered when a Member and/or the Member's
partner is infertile (refer to Infertility in "Definitions" Section 9), but the services will only be covered for a Member.
The collection, storage or purchase of sperm is not covered.
Other services or supplies that are intended to impregnate a woman are not covered. Excluded procedures
include, but are not limited to:
•   In-vitro fertilization (IVF), zygote intrafallopian transfer (ZIFT), or any process that involves harvesting,
    transplanting, or manipulating a human ovum. Also not covered are services or supplies (including injections
    and injectable medications) which prepare the Member to receive these services.
•   Collection, storage or purchase of sperm or ova.
•   Injections for Infertility when not provided in connection with services that are covered by this Plan.
Cosmetic Services and Supplies
Cosmetic surgery or services and supplies performed to alter or reshape normal structures of the body solely to
improve the physical appearance of a Member are not covered. However, the Plan does cover Medically
Necessary services and supplies for complications, which exceed routine Follow-Up Care that is directly related to
cosmetic surgery (such as life-threatening complications). In addition, hair analysis, hairpieces and wigs,
cranial/hair prostheses chemical face peels, abrasive procedures of the skin or epilation are not covered.
However, when reconstructive surgery is performed to correct or repair abnormal structures of the body caused
by, congenital defects, developmental abnormalities, trauma, infection, tumors, or disease, and such surgery does
either of the following:
    •   Improve function:
    •   Create a normal appearance to the extent possible,
    Then, the following are covered
    •   Surgery to remove or change the size (or appearance) of any part of the body;
    •   Surgery to reform or reshape skin or bone;
    •   Surgery to remove or reduce skin or tissue, or
    •   Medically Necessary dental or orthodontic services that are an integral part of reconstructive surgery for
        cleft palate procedures. Cleft palate includes cleft palate, cleft lip or other craniofacial anomalies
        associated with cleft palate.                ,
In addition, when a Medically Necessary mastectomy (including lumpectomy) has been performed, the following
are covered:
    •   Breast reconstruction surgery; and
    •   Surgery performed on either breast to restore or achieve symmetry (balanced proportions) in the breasts.
Health Net and the contracting Physician Group determine the feasibility and extent of these services, except that,
the length of Hospital stays related to mastectomies and lymph node dissections will be determined solely by the
Physician and no Prior Authorization for determining the length of stay is required.
The coverage described above in relation to a Medically Necessary mastectomy complies with requirements
under the Women's Health and Cancer Rights Act of 1998.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 106 of 167 Page ID
                                   #:113

    Sectio11 6                                     Exclusions and Limitatio11s                                     Page45

    Dental Services
    Dental services or supplies are limited to the following situations:
    •   When immediate Emergency Care to sound natural teeth as a result of an accidental injury is required.
        Please refer to the uEmergency and Urgently Needed Care" portion of Section 2, "Introduction to Health Net,n
        for more information.
    •   General anesthesia and associated facility services are covered when the clinical status or underlying medical
        condition of the Member requires that an ordinarily non-covered dental service which would normally be
        treated in a dentist's office and without general anesthesia must instead be treated in a Hospital or Outpatient
        Surgical Center. The general anesthesia and associated facility services must be Medically Necessary are
        subject to the other exclusions and limitations of this Evidence of Coverage, and will only be covered under
        the following circumstances (a) Members who are under seven years of age or, (b) Members who are
        developmentally disabled or (c) Members whose health is compromised and general anesthesia is Medically
        Necessary.
 •      When dental examinations and treatment of the gingival tissues (gums) are performed for the diagnosis or
        treatment of a tumor.
 •      Medically Necessary dental or orthodontic services that are an integral part of reconstructive surgery for cleft
        palate procedures. Cleft palate includes cleft palate, cleft lip or other craniofacial anomalies associated with
        cleft palate.                                                                                   ·
 The following services are not covered under any circumstances except as described above for Medically
 Necessary dental or orthodontic services that are an integral part of reconstructive surgery for cleft palate
 procedures.
•       Routine care or treatment of teeth and gums including but not limited to dental abscesses, inflamed tissue or
        extraction of teeth.
•       Spot grinding, restorative or mechanical devices, orthodontics, inlays or onlays, crowns, bridgework, dental
        splints or Orthotics (whether custom fit or not) or other dental appliances, and related surgeries to treat dental
        conditions, including conditions related to temporomandibular (jaw) joint (TMDfTMJ) disorders. However,
        custom made oral appliances (intra-oral splint or occlusal splint) and surgical procedures to correct TMDfTMJ
        disorders are covered if they are Medically Necessary, as described in the uDisorders of the JaW' provision of
        this section.
•       Dental implants (materials implanted into or on bone or soft tissue) and any surgery to prepare the jaw for
        implants.
•       Follow-up treatment of an injury to sound natural teeth as a result of an accidental injury regardless of reason
        for such services.
Dietary or Nutritional Supplements
Dietary, nutritional supplements and specialized formulas are not covered except when prescribed for the
treatment of Phenylketonuria (PKU) (see the "Phenylketonuria" portion of "Covered Services and Supplies,"
Section 5).
Disorders of the Jaw
Treatment for disorders of the jaw is limited to the following situations:
•       Surgical procedures to correct abnormally positioned or improperly developed bones of the upper or lower jaw
        are covered when such procedures are Medically Necessary. However, spot grinding, restorative or
        mechanical devices; orthodontics, inlays or onlays, crowns, bridgework, dental splints {whether custom fit or
        not), dental implants or other dental appliances, and related surgeries to treat dental conditions are not
        covered under any circumstances.
•       Custom made oral appliances (intra~ral splint or occlusal splint) and surgical procedures to correct disorders
        of the temporomandibular (jaw) joint (also known as TMD or TMJ disorders) are covered if they are Medically
        Necessary. However, spot grinding, restorative or mechanical devices, orthodontics inlays, or onlays, crowns,
        bridgework, dental splints, dental implants or other dental appliances to treat dental conditions related to
        TMOfTMJ disorders are not covered, as stated in the "Dental Services" provision of this section.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 107 of 167 Page ID
                                   #:114

 Section 6                                     Excl11sions and Limitations                                    Page46

     TMD is generally caused when the chewing muscles and jaw joint do not work together correctly, and may
     cause headaches, tenderness in the jaw muscles, tinnitus or facial Pain.
 Durable Medical Equipment
 Although this Plan covers Durable Medical Equipment, it does not cover the following items:
 •   Exercise equipment
 •   Hygienic equipment and supplies (to achieve cleanliness even when related to other covered medical
     services)
 •   Surgical dressings other than primary dressings that are applied by your Physician Group or a Hospital to
     lesions of the skin or surgical incisions.
 •   Jacuzzis and whirlpools
 •   Orthodontic appliances to treat dental conditions related to disorders of the temporomandibular (jaw) joint
     (also known as TMD or TMJ disorders).
 •   Support appliances such as stockings, except as described in the uProstheses" provision of "Covered
     Services and Supplies," Section 5. and over the counter support devices or Orthotics.
 •   Devices or Orthotics for improving athletic performance or sports-related activities.
 •   Orthotics and Corrective Footwear, except as described in the "Durable Medical Equipment" and "Diabetic
     Equipment" provisions of "Covered Services and Supplies," Section 5.
 •   Other Orthotics, including Corrective Footwear, not mentioned above, that are not Medically Necessary and
     custom made for the Member. Corrective Footwear must also be permanently attached to an Orthotic device
     meeting coverage requirements under this Plan.
Eyeglasses and Contact Lenses
This Plan does not cover Eyeglasses or Contact Lenses. However, this exclusion does not apply to an implanted
lens that replaces the organic eye lens.
Fertility Preservation
Fertility preservation treatments are covered as shown in the ~Family Planning" provision in PCovered Services
and Supplies,n Section 5. However, the following services and supplies are not covered:
•    Gamete or embryo storage
•    Use of frozen gametes or embryos to achieve future conception
•    Pre-implantation genetic diagnosis
•    Donor eggs, sperm or embryos
•    Gestational carriers (surrogates)
Genetic Testing and Diagnostic Procedures
Genetic testing is covered when determined by Health Net to be Medically Necessary. The prescribing Physician
must request Prior Authorization for coverage. Genetic testing will not be covered for non-medical reasons or
when a Member has no medical indication or family history· of a genetic abnormality.
Mental Health and Substance Abuse Benefits
University of California has independently contracted with Optum , a specialized health care service plan,
to provide Mental Health and Substance Abuse services. Services, treatments and supplies that are not
Covered Services under the Optum Plan are described in detail in the Optum Evidence of Coverage
(EOC).
Methadone Treatment
Methadone maintenance for the purpose of long term opiate craving reduction is not covered.
Noneligible Institutions
This Plan only covers Medically Necessary services or supplies provided by a licensed Hospital, Medicare-
approved Skilled Nursing Facility, Residential Treatment Center or other properly licensed medical facility
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 108 of 167 Page ID
                                   #:115

 Section 6                                     Exclusions and Limitations                                     Page47

 specified as covered in this Evidence of Coverage. Any institution that is not licensed to provide medical services
 and supplies, regardless of how it is designated, is not an eligible institution.
 Nonprescription (Over-the-Counter) Drugs, Equipment and Supplies
 Medical equipment and supplies (including insulin), that are available without a prescription, are covered only
 when prescribed by a Physician for the management and treatment of diabetes or for preventive purposes in
 accordance with the U.S. Preventive Services Task Force A and B recommendations.
 Any other nonprescription or over-the-counter drugs, medical equipment or supplies that can be purchased
 without a Prescription drug order is not covered even if a Physician writes a Prescription drug order for such drug,
 equipment or supply unless listed in the Commercial Formulary. However, if a higher dosage form of a
 nonprescription drug or over-the-counter drug is only available by prescription, that higher dosage drug may be
 covered when Medically Necessary.
 Nonstandard Therapies
 Services that do not meet national standards for professional medical or mental health practice, including, but not
 limited to, Erhard/The Forum, primal therapy, bioenergetic therapy, hypnotherapy and crystal healing therapy are
 not covered.
 For information regarding requesting an Independent Medical Review of a denial of coverage see the
 "Independent Medical Review of Investigational or Experimental Therapies" portion of the "General Provisions,"
 Section 7.
 Physician Self-Treatment
 This Plan does not cover Physician self-treatment rendered in a non-emergency (including, but not limited to,
 prescribed services, supplies and drugs). Physician self-treatment occurs when Physicians provide their own
 medical services, including prescribing their own medication, ordering their own laboratory test and self-referring
 for their own services. Claims for emergency self-treatment are subject to review by Health Net.
 Prescribed Drugs and Medications
 This Plan only covers outpatient Prescription Drugs or medications as described in the "Prescription Drug
 Benefits" portion of "Covered Services and Supplies," Section 5.
 Private Duty Nursing
This Plan does not cover Private Duty Nursing in the home or for registered bed patients in a Hospital or
long-term care facility. Shift care and any portion of shift care services are also not covered.
Psychological Testing
Psychological testing except as conducted by a licensed psychologist for assistance in treatment planning,
including medication management or diagnostic clarification. Also excluded is coverage for scoring of automated
computer based reports, unless the scoring is performed by a provider qualified to perform it.
Refractive Eye Surgery
This Plan does not cover eye surgery performed to correct refractive defects of the eye, such as
near-sightedness (myopia), far-sightedness (hyperopia), or astigmatism, unless Medically Necessary,
recommended by the Member's treating Physician and authorized by Health Net.
Rehabilitation Therapy
Coverage for rehabilitation therapy is limited to Medically Necessary services provided by a Plan contracted
Physician, licensed physical, speech or occupational therapist or other contracted provider, acting within the
scope of his or her license subject to any required authorization from the Plan or the Member's Physician Group.
The services must be based on a treatment plan authorized, as required by the Plan or the Member's Physician
Group. Such services are not covered when medical documentation does not support the Medical Necessity
because of the Member's inability to progress toward the treatment plan goals or when a Member has already
met the treatment plan goals. See uGeneral Provisions" Section 7, for the procedure to request Independent
Medical Review of a Plan denial of coverage on the basis of Medical Necessity.
Residential Treatment Center
Admission to a Residential Treatment Center that is not Medically Necessary is excluded. Admissions that are not
considered Medically Necessary and are not covered include, but are not limited to admissions for Custodial
Care, for a situational or environmental change only; or as an alternative to placement in a foster home or halfway
house.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 109 of 167 Page ID
                                   #:116

 Section 6                                     E:'Cc/usions and Limitations                                      Page48

 Routine Foot Care
 This Plan does not cover services for treatment of corns, calluses and cutting of nails, unless prescribed for the
 treatment of diabetes.
 Reversal of Surgical Sterilization
 This Plan does not cover services to reverse voluntary, surgically induced sterility.
 Routine Physical Examinations
This Plan does not cover routine physical examinations (including psychological examinations or drug screening)
for insurance, licensing, employment, school, camp, or other nonpreventive purposes. A routine examination is
one that is not otherwise medically indicated or Physician-directed and is obtained for the purposes of checking a
Member's general health in the absence of symptoms or other nonpreventive purpose. Examples include
examinations taken to obtain employment, or examinations administered at the request of a third party, such as a
school, camp or sports organization. See "Health Evaluations Preventive Care Services" in qCovered Services
and Supplies" Section 5, for infonnation about coverage of examinations that are for preventive health purposes.
Services for Educational or Training Purposes
Except for services related to behavioral health treatment for pervasive development disorder or autism are
covered as shown in "Covered Services and Supplies," Section 5, all other services related to or consisting of
education or training, including for employment or professional purposes, are not covered, even if provided by an
individual licensed as a health care provider by the state of California. Examples of excluded services include
education and training for non-medical purposes such as:
•   Gaining academic knowledge for educational advancement to help students achieve passing marks and
    advance from grade to grade. For example: The Plan does not cover tutoring, special educationnnstruction
    required to assist a child to make academic progress; academic coaching; teaching members how to read;
    educational testing or academic education during residential treatment.
•   Developing employment skills for employment counseling or training, investigations required for employment,
    education for obtaining or maintaining employment or for professional certification or vocational rehabilitation, or
    education for personal or professional growth.
•   Teaching manners or etiquette appropriate to social activities.
•   Behavioral skills for individuals on how to interact appropriately when engaged in the usual activities of daily
    living, such as eating or working, except for behavioral health treatment as indicated above in conjunction with
    the diagnosis of pervasive development disorder or autism.
Services Not Related To Covered Condition, Dlness Or Injury
Any services or supplies not related to the diagnosis or treatment of a covered condition, illness or injury. However,
the Plan does cover Medically Necessary services or supplies for medical conditions directly related to non-covered
services when complications exceed routine Follow-Up Care (such as life-threatening complications of cosmetic
surgery).                 ·
Sports Activities
Sports activities, including, but not limited to, yoga, rock climbing, hiking and swimming, are not covered.
State Hospital Treatment
Services in a state Hospital are limited to treatment or confinement as the result of an Emergency or Urgently
Needed Care as defined in "Definitions," Section 9.
Surrogate Pregnancy
This Plan covers services for a surrogate pregnancy when the surrogate is a Health Net Member. When
compensation is obtained for the surrogacy, the Plan shall have a lien on such compensation to recover its
medical expense. A surrogate pregnancy is one in which a woman has agreed to become pregnant with the
intention of surrendering custody of the child to another person. The benefits that are payable under this provision
are subject to the Plan's right to recovery as described in "Recovery of Benefits Paid by Health Net Under A
Surrogate Parenting Agreemenr in the "Specific Provisions" section of this Evidence of Coverage.
Treatment by Immediate Family Members
This Plan does not cover routine or ongoing treatment, consultation or provider referrals (including, but not limited
to, prescribed services, supplies and drugs) provided by the Member's parent, spouse, Domestic Partner, child,
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 110 of 167 Page ID
                                   #:117

 Section 6                                    Exclusio11S and Limitations                                     Page49


 stepchild or sibling. Members who receive routine or ongoing care from a member of their immediate family will be
 reassigned to another Physician at the contracting Physician Group (medical).
 Treatment of Obesity
 Treatment or surgery for obesity, weight reduction or weight control is limited to the treatment of morbid obesity.
 Certain services may be covered as Preventive Care Services; refer to the "Preventive Care Services" provision in
 "Covered Services and Supplies," Section 5.


 Treatment Related to Judicial       or Administrative Proceedings
 Medical, mental health care or Chemical Dependency services as a condition of parole or probation, and court-
 ordered testing are limited to Medically Necessary covered services.
 Unauthorized Services and Supplies
 This Plan only covers services or supplies that are authorized by Health Net or the Physician Group according to
 Health Net's procedures, except for emergency services.
 Services or supplies that are rendered by a non-contracting provider or facility are only covered when authorized
 by your Physician Group (medical) or when you require Emergency or Urgently Needed Care.
 Vision Therapy, Eyeglasses and Contact Lenses
 This Plan does not cover vision therapy, Eyeglasses or Contact lenses. However, this exclusion does not apply
 to an implanted lens that replaces the organic eye lens.


Prescription Drugs
The exclusions and limitations in the "General Exclusions and Limitations " and "Services and
Supplies"' portions of this section also apply to the coverage of Prescription Drugs.
Note: Services or supplies excluded under the Prescription Drug benefits may be covered
under your medical benefits portion of this Evidence of Coverage. Please refer to the "Medical
Services and Supplies" portion of "Covered Services and Supplies," Section 5, for more
information.
Additional exclusions and limitations:
Allergy Serum
Products to lessen or end allergic reactions are not covered. Allergy serum is covered as a medical benefit. See
the "Allergy, Immunizations and Injections" portion of the "Schedule of Benefits and Copayments" Section 3 and
the "Immunizations and Injections" portion of "Covered Services and Supplies" section.
Appetite Suppressants or Drugs for Body Weight Reduction
Drugs prescribed for the treatment of obesity are covered, when Medically Necessary for the treatment of morbid
obesity. In such cases the drug will be subject to Prior Authorization from Health Net.
Compounded Drugs
Compounded Drugs are prescription orders that have at least one ingredient that is Federal legend or state
restricted in a therapeutic amount as Medically Necessary and are combined or manufactured by the pharmacist
and placed in an ointment, capsule, tablet, solution, suppository, cream or other form and require a prescription
order for dispensing. Compounded Drugs (that use FDA approved drugs for an FDA approved indication) are
covered. Coverage for Compounded Drugs is subject to Prior Authorization by the Plan and Medical Necessity.
Refer to the "Off-label Drugs" provision in the "Prescription Drugs" portion of "Covered Services and Supplies,"
section 5, for information about FDA approved drugs for off-label use. Coverage for Compounded Drugs requires
the Tier 3 Drug Copayment and is subject to Prior Authorization by the Plan and Medical Necessity.
Devices
Coverage is limited to vaginal contraceptive devices, peak flow meters, spacer inhalers and those devices listed
under the "Diabetic Drugs and Supplies" provisions of the "Prescription Drugs" portion of "Covered Services and
Supplies" Section 5. No other devices are covered even if prescribed by a Member Physician.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 111 of 167 Page ID
                                   #:118

 Section 6                                     Exclusions and Limitatio11s                                  Page 50


 Diagnostic Drugs
 Drugs used for diagnostic purposes are not covered. Diagnostic drugs are covered under the medical benefit
 when Medically Necessary.
 Dietary or Nutritional Supplements
 Drugs used as dietary or nutritional supplements, including vitamins and herbal remedies, including when in
 combination with a Prescription Drug product are limited to drugs that are listed in the Commercial Formulary.
 Phenylketonuria (PKU) treatment is covered under the medical benefit (see the "Phenylketonuria" portion of
 "Covered Services and Supplies," Section 5.
 Drugs Prescribed for the Common Cold
 Drugs when prescribed to shorten the duration of the common cold are not covered.
 Drugs Prescribed by a Dentist
 Drugs prescribed for routine dental treatment are not covered.
Drugs Prescribed for Cosmetic or Enhancement Purposes
Drugs that are prescribed for the following non·medical conditions are not covered: hair loss, sexual performance,
athletic performance, cosmetic purposes, anti-aging for cosmetic purposes and mental performance. Examples of
drugs that are excluded when prescribed for such conditions include, but are not limited to, latisse, Renova, Retin-
A, Vaniqua, Propecia, or Lustra. This exclusion does not exclude coverage for drugs when pre-authorized as
Medically Necessary to treat a diagnosed medical condition affecting memory, including but not limited to,
Alzheimer's dementia.
Food and Drug Administration (FDA)
Supply amounts for prescriptions that exceed the FDA's or Health Net's indicated usage'recommendation are not
covered unless Medically Necessary and Prior Authorization is obtained from Health Net. Drugs that are not
approved by the FDA are not covered, except as described under the "Clinical Trials" provision in the "Medical
Services and Supplies" portion of ucovered Services and Supplies," Section 500, and the "Experimental or
Investigational Services" provision of this "Exclusions and Limitations" section.
Hypodermic Syringes and Needles
Hypodermic syringes and needles are limited to disposable insulin needles and syringes and specific brands of
pen devices. Needles and syringes required to administer self-injected medications (other than insulin) will be
provided when obtained through Health Net's specialty pharmacy vendor under the Medical benefit (see the
"Immunizations and Injections" portion of "Covered Services and Supplies," Section 5). All other syringes, devices
and needles are not covered.
Self-Injectable Drugs
Self-injectable drugs obtained through a prescription are limited to insulin and sexual dysfunction drugs when
prescribed by a Physician. Other self-injectable medications are covered under the medical benefit (see the
"Immunizations and Injections" portion of the "Covered Services and Supplies" Section 5). Surgically implanted
drugs are covered under the medical benefit (see the "Surgically Implanted Drugs" portion of "Covered Services
and Supplies, • Section 5.
Irrigation Solutions
Irrigation solutions and saline solutions are not covered.
Lost, Stolen or Damaged Drugs
Drugs that are not approved by the FDA are not covered. lost, stolen or damaged are not covered. You will have
to pay the retail price for replacing them.
Nonapproved Uses
Drugs prescribed for indications approved by the Food and Drug Administration are covered. Off-label use of
drugs is only covered when prescribed or administered by a licensed health care professional for the treatment of
a life-threatening or chronic and seriously debilitating condition as described herein (see the "Off-Label Drugs"
provision in the "Prescription Drugs" portion of "Covered Services and Supplies," Section 5)
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 112 of 167 Page ID
                                   #:119

 Sectio11 6                                   Exclusio11s a11d Limitatio11s                                 Page 51

 Noncovered Services
 Drugs prescribed for a condition or treatment that is not covered by this Plan are not covered. However, the Plan
 does cover Medically Necessary drugs for medical conditions directly related to noncovered services when
 complications exceed routine Follow-Up Care (such as life-threatening complications of cosmetic surgery).
 Nonparticipating Pharmacies
 Drugs dispensed by Nonparticipating Pharmacies are not covered, except as specified in the "Nonparticipating
 Pharmacy and Emergencies" provision of "Covered Services and Supplies," Section 5.
Nonprescription (Over-the-Counter) Drugs, Equipment and Supplies
Medical equipment and supplies (including insulin), that are availa~le without a prescription, are covered only
when prescribed by a Physician for the management and treatment of diabetes.
Any other nonprescription or over-the-counter drugs, medical equipment or supplies that can be purchased
without a Prescription Drug Order is not covered even if a Physician writes a Prescription Drug Order for such
drug, equipment or supply unless it is listed in the Commercial Formulary. However, if a higher dosage form of a
nonprescription drug or over-the-counter drug is only available by prescription, that higher dosage drug will be
covered when Medically Necessary.
Physician Is Not a Member Physician
Drugs prescribed by a Physician who is not a Member Physician or an authorized Specialist are not covered,
except when the Physician's services have been authorized because of a medical Emergency condition, inness,
or injury, or as specifically stated.
Unit Dose or "Bubble" Packaging
Individual doses of medication dispensed in plastic, unit dose or foil packages and dosage forms used for
convenience as determined by Health Net, are only covered when Medically Necessary or when the medication is
only available in that form.
Quantity Limitation
Some drugs are subject to specific quantity limitations per Copayment based on recommendations for use by the
FDA or Health Net's usage guidelines. Medications taken on an uas-neededb basis may have a Copayment based
on a specific quantity, standard package, vial, ampoule, tube, or other standard unit. In such a case, the amount
of medication dispensed may be less than a 30-consecutive-calendar-day supply. If Medically Necessary, your
Physician may request a larger quantity from Health Net.


Chiropractic Services and Supplies
The exclusions and limitations in the "General Exclusions and Limitations" and "Services and
Supplies" portions of this section apply to Chiropractic Services.
Note: Services or supplies excluded under the chiropractic benefits may be covered under your
medical benefits portion of this Evidence of Coverage. Please refer to the "Medical Services and
Supplies" portion of "Covered Services and Supplies," Section 5, for more information.
Services, laboratory tests and x-rays and other treatment not approved by ASH Plans and documented as
Medically/Clinically Necessary as appropriate or classified as Experimental, and/or being in the research stage,
as detennined in accordance with professionally recognized standards of practice are not covered. If you have a
life threatening or seriously debilitating condition and ASH plans denies coverage based on the determination that
the therapy is Experimental, you may be able to request an independent medical review of ASH Plans'
determination. You should contact ASH Plans at.1-800-678-9133 for more information.
Additional exclusions and limitations include, but are not limited to, the following:
Anesthesia
Charges for anesthesia are not covered.
Diagnostic Radiology
Coverage is limited to X-rays. No other diagnostic radiology (including magnetic resonance imaging or MRI) is
covered.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 113 of 167 Page ID
                                   #:120

 Section 6                                     Exclusiom and Limitations                                       Page 52


 Drugs
 Prescription drugs and over-the-counter drugs are not covered.
 Durable Medical Equipment
 Durable Medical Equipment is not covered.
 Educational Programs
 Educational programs, nonmedical self-care, self-help training and related diagnostic testing are not covered.
 Experimental or Investigational Chiropractic Services
 Chiropractic care that is (a) investigatory; or (b) an unproven chiropractic service that does not meet generally
 accepted and professionally recognized standards of practice in the chiropractic provider community is not
 covered. ASH Plans will determine what will be considered Experimental or Investigational.
 Hospital Charges
Charges for Hospital confinement and related services are not covered.
Hypnotherapy
 Hypnotherapy, behavior training, sleep therapy and weight programs are not covered.
Non-Contracted Providers
Services or treatment rendered by chiropractors who do not contract with ASH Plans are not covered, except with
regard to Emergency Chiropractic Services or upon a referral by ASH Plans.
Nonchiropractic Examinations
Examinations or treatments for conditions unrelated to neuromusculoskeletal Disorders are not covered. This
means that physical therapy not associated with spinal, muscle and joint manipulation, is not covered.
Out-of-State Services
Services provided by a chiropractor practicing outside California are not covered, except with regard to
Emergency Chiropractic Services.
Services Not Within License
Services that are not within the scope of license of a licensed chiropractor in California.
Thermography
The diagnostic measuring and recording of body heat variations (thermography) are not covered.
Transportation Costs
Transportation costs are not covered, including local ambulance charges.
Medically/Clinically Unnecessary Services
Only Chiropractic Services that are necessary, appropriate, safe, effective and that are rendered in accordance
with professionally recognized, valid, evidence-based standards of practice are covered.
Vitamins
Vitamins, minerals, nutritional supplements or other similar products, including when in combination with a
prescription product, are not covered.


Acupuncture Services
The exclusions and limitations in the "General Exclusions and Limitations" and "Services and
Supplies" portions of this section also apply to Acupuncture Services.
Note: Services or supplies excluded under the acupuncture benefits may be covered under your
medical benefits portion of this Evidence of Coverage. Please refer to the "Medical Services and
Supplies" portion of ".Covered Services and Supplies," Section 5, for more information.
Services, laboratory tests, x-rays and other treatment not approved by ASH Plans and documented as
Medically/Clinically Necessary as appropriate or classified as Experimental, and/or being in the research stage,
as determined in accordance with professionally recognized standards of practice are not covered. If you have a
life threatening or seriously debilitating condition and ASH plans denies coverage based on the determination that
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 114 of 167 Page ID
                                   #:121

 Section 6                                     Exclusions and Limitations                                       Page 53


 the therapy is Experimental, you may be able to request an independent medical review of ASH Plans'
 determination. You should contact ASH Plans at 1-800-678-9133 for more information.
 Additional exclusions and limitations include, but are not limited to, the following:
 Auxiliary Aids
 Auxiliary aids and services are not covered. This includes but is not limited to interpreters, transcription services,
 written materials, telecommunications devices, telephone handset amplifiers, television decoders and telephones
 compatible with hearing aids.
 Diagnostic Radiology
 Coverage is limited to X-rays if approved by ASH Plans and documented as Medically/Clinically Necessary. No
 other diagnostic radiology (including magnetic resonance imaging or MRI) is covered.
 Drugs
 Prescription drugs and over-the-counter drugs are not covered.
 Durable Medical Equipment
 Durable Medical Equipment is not covered.
 Educational Programs
 Educational programs, nonmedical self-care, self-help training and related diagnostic testing are not covered.
 Experimental or Investigational Acupuncture Services
Acupuncture ca~e that is (a) investigatory; or (b) an unproven Acupuncture Service that does not meet generally
accepted and professionally recognized standards of practice in the acupuncture provider community is not
covered. ASH Plans will determine what will be considered Experimental or Investigational.
Hospital Charg~s
Charges for Hospital confinement and related services are not covered.
Anesthesia
Charges for anesthesia are not covered.
Hypnotherapy
Hypnotherapy, sleep therapy, behavior training and weight programs are not covered.
Non-Contracted Providers
Services or treatment rendered by acupuncturists who do not contract with ASH Plans are not covered, except
with regard to Emergency Acupuncture Services or upon referral by ASH Plans.
Acupuncture Services Not Listed under Acupuncture Services
Only Acupuncture Services that are listed under "Acupuncture Services" are covered. Unlisted services, which
include, without limitation, services to treat asthma and services to treat any addiction, including treatment for
smoking cessation, are not covered.
Out-of-State Services
Services provided by an acupuncturist practicing outside California are not covered, except with regard to
Emergency Acupuncture Services.
Thermography
The diagnostic measuring and recording of body heat variations (thermography) are not covered.
Transportation Costs
Transportation costs are not covered, including local ambulance charges.
Medically/Clinically Unnecessary Services
Only Acupuncture Services that are necessary, appropriate, safe, effective and that are rendered in accordance
with professionally recognized, valid, evidence-b~sed standards of practice are covered.
Services Not Witbin License
Only services that are within the scope of licensure of a licensed acupuncturist in California are covered. Other
services, including, without limitation, ear coning and Tui Na are not covered. Ear coning, also sometimes called
"ear candling," involves the insertion of one end of a long, flammable cone ("ear cone") into the ear canal. The
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 115 of 167 Page ID
                                   #:122

 Section 6                                    Exclusio11s and Limitatiom                                     Page 54

 other end is ignited and allowed to bum for several minutes. The ear cone is designed to cause smoke from the
 burning cone to enter the ear canal to cause the removal of earwax and other materials. Tui Na, also sometimes
 called "Oriental Bodywork" or "Chinese Bodywork Therapy," utilizes the traditional Chinese medical theory of Qi
 but is taught as a separate but equal field of study in the major traditional Chinese medical colleges and does not
 constitute acupuncture.
 Vitamins
 Vitamins, minerals, nutritional supplements or other similar products are not covered.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 116 of 167 Page ID
                                   #:123

 Section 7                                          Ge11eral Provisions                                           Page 55


 7. GENERAL PROVISIONS

 When the Plan Ends
 The UC Standardized Contract specifies how long this Plan remains in effect.
 If you are totally disabled on the date that the UC Standardized Contract is terminated, benefits will continue
 according to the "Extension of Benefits" portion of "Eligibility, Enrollment, and Termination, " Section 1.

 When the Plan Changes
 Subject to notification and according to the terms of the UC Standardized Contract, the Group has the right to
 terminate this Plan or to replace it with another plan with different terms. This may include, but is not limited to,
 changes or termination of specific benefits, exclusions, and eligibility provisions.
 Health Net has the right to modify this Plan, including the right to change subscription charges according to the
 terms of the UC Standardized Contract. Notice of modification will be sent to the Group. Except as required under
 "Eligibility, Enrollment and Termination" Section 1, Subsection D, 'When Coverage Ends" regarding termination
 for non-payment, Health Net will not provide notice of such changes to plan Subscribers unless it is required to do
 so by law. The Group may have obligations under state or federal law to provide notification of these changes to
 plan Subscribers.
 If you are confined in a Hospital when the UC Standardized Contract is modified, benefits will continue as if the
 Plan had not been modified, until you are discharged from the Hospital.
 Form or Content of the Plan: No agent or employee of Health Net is authorized to change the form or content of
 this Plan. Any changes can be made only through an endorsement authorized and signed by an officer of
 Health Net.

 Customer Contact Center Interpreter Services
Health Net's Customer Contact Center has bilingual staff and interpreter services for additional languages to
handle Member language needs. Examples of interpretive services provided include explaining benefits, filing a
grievance and answering questions related to your health plan in your preferred language. Also, our Customer
Contact Center staff can help you find a health care provider who speaks your language. Call the Customer
Contact Center number on your Health Net ID card for this free service. Health Net discourages the use of family
members and friends as interpreters and strongly discourages the use of minors as interpreters at all medical
points of contact where a covered benefit or service is received. Language assistance is available at all medical
points of contact where a covered benefit or service is accessed. You do not have to use family members or
friends as interpreters. If you cannot locate a health care provider who meets your language needs, you can
request to have an interpreter available at no charge.

Members' Rights and Responsibilities Statement
Health Net is committed to treating Members in a manner that respects their rights, recognizes their specific
needs and maintains a mutually respectful relationship. In order to communicate this commitment, Health Net has
adopted these Members' rights and responsibilities. These rights and responsibilities apply to Members'
relationships with Health Net, its contracting practitioners and providers, and all other health care professionals
providing care to its Members.
Members have the right to:
•   Receive information about Health Net, its services, its practitioners and providers and Members' rights and
    responsibilities;
•    Be treated with respect and recognition of their dignity and right to privacy;
•    Participate with practitioners in making decisions about their health care;
•   A candid discussion of appropriate or Medically Necessary treatment options for their conditions, regardless
    of cost or benefit coverage;
•   Request an interpreter at no charge to you;
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 117 of 167 Page ID
                                   #:124

 Section 7                                           General Provisiom;                                         Page 56

 •   Use interpreters who are not your family members or friends;
 •   File a grievance in your preferred language by using the interpreter service or by completing the translated
     grievance form that is available on www.healthnet.com/uc;
 •   File a complaint if your language needs are not met;
 •   Voice complaints or appeals about the organization or the care it provides; and
 •   Make recommendations regarding Health Net's Member rights and responsibilities policies.
 Members have the responsibility to:
 •   Supply information {to the extent possible} that the organization and its practitioners and providers need in
     order to provide care;
 •   Follow plans and instructions for care that they have agreed~upon on with their practitioners; and
 •   Be aware of their health problems and participate in developing mutually agreed-upon treatment goals to the
     degree possible.


 Grievance, Appeals, Independent Medical Review and Arbitration
 Grievance Procedures
 Appeal. complaint or grievance means any dissatisfaction expressed by you or your representative concerning a
 problem with Health Net, a medical provider or your coverage under this EOC, including an adverse benefit
 determination as set forth under the Affordable Care Act (ACA}. An adverse benefit determination means a
 decision by Health Net to deny, reduce, terminate or fail to pay for all or part of a benefit that is based on:
 •   Determination of an individual's eligibility to participate in this Health Net plan; or
 •   Determination that a benefit is not covered; or
 •   Determination that a benefit is Experimental, Investigational, or not Medically Necessary or appropriate.
 If you are not satisfied with efforts to solve a problem with Health Net or your Physician Group, you must first file a
 grievance or appeal against Health Net by calling the Customer Contact Center at 1-800~539-4072 or by
 submitting a Member Grievance Form through the Health Net website at www.healthnet.com/uc. You may also
 file your complaint in writing by sending information to:
         Health Net
         Appeals and Grievance Department
         P.O. Box 10348
         Van Nuys, CA 91410-0348

 If your concern involves the Mental Health and Substance Abuse, please call OPTUM) at 1-888-440-8225.

 You may write to:

         OPTUM
         Appeals & Grievances
         P.O Box 32040
         Oakland, CA 94604

If your concem involves the chiropractic program, call the Health Net Customer Contact Center at 1~800-539-
4072 or write to:
             Health Net
             Appeals and Grievance Department
             P.O. Box 10348
             Van Nuys, CA 91410-0348
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 118 of 167 Page ID
                                   #:125

 Section 7                                         General Provisions                                         Page 57


 If your concern involves the acupuncture program, call the Health Net Customer Contact Center at 1-800-539-
 4072 or write to:
              Health Net
              Appeals and Grievance Department
              P.O. Box 10348
              Van Nuys, CA 91410-0348

You must file your grievance or appeal with Health Net within 365 calendar days following the date of the incident
or action that caused your grievance. Please include all information from your Health Net Identification Card and
the details of the concern or problem.
We will:
•    Confirm in writing within five calendar days that we received your request.
•    Review your complaint and inform you of our decision in writing within 30 days from the receipt of the
     Grievance. For conditions where there is an immediate and serious threat to your health, including severe
     Pain, or the potential for loss of life, limb or major bodily function exists, Health Net must notify you of the
     status of your grievance no later than three days from receipt of the grievance. For urgent grievances, Health
     Net will immediately notify you of the right to contact the Department of Managed Health Care. There is no
     requirement that you participate in Health Net's grievance or appeals process before requesting IMR for
     denials based on the Investigational or Experimental nature of the therapy. In such cases you may
     immediately contact the Department of Managed Health Care to request an IMR of the denial.
If you continue to be dissatisfied after the grievance procedure has been completed, you may contact the
Department of Managed Health Care for assistance or to request an independent medical review or you may
initiate binding arbitration, as described below. Binding arbitration is the final process for the resolution of
disputes.

Independent Medical Review of Grievances Involving a Disputed Health Care Service
You may request an independent medical review (IMR) of disputed health care services from the Department of
Managed Health Care (Department) if you believe that health care services eligible for coverage and payment
under your Health Net Plan have been improperly denied, modified or delayed by Health Net or one of its
contracting providers. A "Disputed Health Care Service" is any Health Care Service eligible for coverage and
payment under your Health Net Plan that has been denied, modified or delayed by Health Net or one of its
contracting providers. in whole or in part because the service is not Medically Necessary.
The IMR process is in addition to any other procedures or remedies that may be available to you. You pay no
application or processing fees of any kind for IMR. You have the right to provide information in support of the
request for IMR. Health Net will provide you with an IMR application form and Health Net's grievance response
letter that states its position on the Disputed Health Care Service. A decision not to participate in the IMR process
may cause you to forfeit any statutory right to pursue legal action against Health Net regarding the Disputed
Health Care Service.
Eligibility
Your application for IMR will be reviewed by the Department to confirm that it meets all the eligibility requirements
of the law for IMR, which are set out below:
1. (A) Your provider has recommended a Health Care Service as Medically Necessary; or
    (B) You have received urgent or Emergency Care that a provider determined to have been Medically
        Necessary;
    (C) In the absence of the provider recommendation described in 1. (A) above, you have been seen by a
        Health Net Member Physician for the diagnosis or treatment of the medical condition for which you seek
        IMR:
2. The Disputed Health Care Service has been denied, modified, or delayed by Health Net or one of its
   contracting providers, based in whole or in part on a decision that the Health Care Service is not Medically
   Necessary; and
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 119 of 167 Page ID
                                   #:126

 Section 7                                         General Provisio11s                                          Page 58


 3. You have filed a grievance with Health Net and the disputed decision is upheld by Health Net or the grievance
    remains unresolved after 30 days. Within the next six months, you may apply to the Department for IMR, or
    later, if the Department agrees to extend the application deadline. If your grievance requires expedited review
    you may bring it immediately to the Department's attention. The Department may waive the requirement that
    you follow Health Net's grievance process in extraordinary and compelling cases.
If your case is eligible for IMR, the dispute will be submitted to a medical Specialist who will make an independent
determination of whether or not the care is Medically Necessary. You will receive a copy of the assessment made
in your case from the IMR. If the IMR determines the service is Medically Necessary, Health Net will provide the
Disputed Health Care Service. If your case is not eligible for IMR, the Department will advise you of your
alternatives.
For non-urgent cases·; the IMR organization designated by the Department must provide its determination within
30 days of receipt of the application for review and the supporting documents. For urgent cases involving
imminent and serious threat to your health, including, but not limited to, serious Pain, the potential loss of life,
limb, or major bodily function, or the immediate and serious deterioration of your health, the IMR organization
must provide its determination within three business days.
For more information regarding the IMR process, or to request an application form, please call the Customer
Contact Center at 1-{800)·539-4072 the telephone number on your Health Net ID card.

Independent Medical Review of Investigational or Experimental Therapies
Health Net does not cover Experimental or Investigational drugs, devices, procedures or therapies. However, if
Health Net denies or delays coverage for your requested treatment on the basis that it is Experimental or
Investigational and you meet the eligibility criteria set out below, you may request an independent medical review
(UIMR") of Health Net's decision from the Department of Managed Health Care. The Department does not require
you to participate in Health Net's grievance system or appeals process before requesting IMR of denials based on
the Investigational or Experimental nature of the therapy. In such cases you may immediately contact the
Department to request an IMR of this denial.
Eligibility
1.   You must have a life-threatening or seriously debilitating condition.
2.   Your Physician must certify to Health Net that you have a life-threatening or seriously debilitating condition for
     which standard therapies have not been effective in improving your condition or are otherwise medically
     inappropriate, and there is no more beneficial therapy covered by Health Net.
3.   Your Physician must certify that the proposed Experimental or Investigational therapy is likely to be more
     beneficial than available standard therapies or as an alternative, you submit a request for a therapy that,
     based on documentation you present from the medical and scientific evidence, is likely to be more beneficial
     than available standard therapies.
4.   You have been denied coverage by Health Net for the recommended or requested therapy.
5.   If not for Health Net's determination that the recommended or requested treatment is Experimental or
     Investigational, it would be covered.
If Health Net denies coverage of the recommended or requested therapy and you meet the eligibility
requirements, Health Net will notify you within five business days of its decision and your opportunity to request
external review of Health Net's decision through IMR. Health Net will provide you with an application form to
request an IMR of Health Net's decision. The IMR process is in addition to any other procedures or remedies that
may be available to you. You pay no application or processing fees of any kind for IMR. You have the right to
provide information in support of your request for IMR. If your Physician determines that the proposed therapy
should begin promptly, you may request expedited review and the experts on the IMR panel will render a decision
within seven days of your request. If the IMR panel recommends that Health Net cover the recommended or
requested therapy, coverage for the services will be subject to the terms and conditions generally applicable to
other benefits to which you are entitled. A decision not to participate in the IMR process may cause you to forfeit
any statutory right to pursue legal action against Health Net regarding the denial of the recommended or
requested therapy. For more information, please call the Customer Contact Center at 1-800·539-4072 the
telephone number on your Health Net ID card.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 120 of 167 Page ID
                                   #:127

 Section 7                                         General Provisions                                           Page 59


 Department of Managed Health Care
 The California Department of Managed Health Care is responsible for regulating health care
 service plans. (Health Net is a health care service plan.)
 If you have a grievance against Health Net, you should first telephone Health Net at 1-800-
 539-4072 and use our grievance process before contacting the Department. Utilizing this
 grievance procedure does not prohibit any potential legal rights or remedies that may be
 available to you.
If you need help with a grievance involving an Emergency, a grievance that has not been
satisfactorily resolved by Health Net, or a grievance that has remained unresolved for more
than 30 days, then you may call the Department for assistance.
You may also be eligible for an Independent Medical Review (IMR). If you are eligible for IMR,
the IMR process will provide an impartial review of medical decisions made by a health plan
related to the Medical Necessity of a proposed service or treatment, coverage decisions for
treatments that are Experimental or Investigational in nature and payment disputes for
emergency or urgent medical services. The Department's also has a toll-free telephone
number (1-888-HM0-2219) and a TOO line (1-877-688-9891) for the hearing and speech
impaired.
The Department's Internet Web site http://www.hmohelp.ca.gov has complaint forms, IMR
application forms and instructions online.
Binding Arbitration
Sometimes disputes or disagreements may arise between you (including your enrolled Family Members, heirs or
personal representatives) and Health Net regarding the construction, interpretation, performance or breach of this
Evidence of Coverage or regarding other matters relating to or arising out of your Health Net membership.
Typically such disputes are handled and resolved through the Health Net Grievance, Appeal and Independent
Medical Review process described above. However, in the event that a dispute is not resolved in that process,
Health Net uses binding arbitration as the final method for resolving all such disputes, whether stated in tort,
contract or otherwise and whether or not other parties such as employer groups, health care providers or their
agents or employees, are also involved. In addition, disputes with Health Net involving alleged professional
liability or medical malpractice (that is, whether any medical services rendered were unnecessary or unauthorized
or were improperly, negligently or incompetently rendered) also must be submitted to binding arbitration.
As a condition to becoming a Health Net Member, you agree to submit all disputes you may have with Health Net,
except those described below, to final and binding arbitration. Likewise, Health Net agrees to arbitrate all such
disputes. This mutual agreement to arbitrate disputes means that both you and Health Net are bound to use
binding arbitration as the final means of resolving disputes that may arise between the parties, and thereby the
parties agree to forego any right they may have to a jury trial on such disputes. However, no remedies that
otherwise would be available to either party in a court of law will be forfeited by virtue of this agreement to use
and be bound by Health Net's binding arbitration process. This agreement to arbitrate shall be enforced even if a
party to the arbitration is also involved in another action or proceeding with a third party arising out of the same
matter.
Health Net's binding arbitration process is conducted by mutually acceptable arbitrator(s) selected by the parties.
The Federal Arbitration Act, 9 U.S.C. § 1, et seq., will govern arbitration's under this process. In the event that the
total amount of damages claimed is $200,000 or less, the parties shall, within 30 days of submission of the
demand for Arbitration to Health Net, appoint a mutually acceptable single neutral arbitrator who shall hear and
decide the case and have no jurisdiction to award more than $200,000. In the event that total amount of damages
is over $200,000, the parties shall, within 30 days of submission of the demand for arbitration to Health Net,
appoint a mutually acceptable panel of three neutral arbitrators (unless the parties mutually agree to one
arbitrator), who shall hear and decide the case.
If the parties fail to reach an agreement during this time frame, then either party may apply to a Court of
Competent Jurisdiction for appointment of the arbitrator(s) to hear and decide the matter.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 121 of 167 Page ID
                                   #:128

 Section 7                                         General Provisions                                            Page60

 Arbitration can be initiated by submitting a demand for arbitration to Health Net at the address provided below.
 The demand must have a clear statement of the facts, the relief sought and a dollar amount.
                 Health Net of California
                 Attention: Litigation Administrator
                 PO Box4504
                 Woodland Hills, CA 91365-4505
The arbitrator is required to follow applicable state or federal law. The arbitrator may interpret this Evidence of
Coverage, but will not have any power to change, modify or refuse to enforce any of its terms. nor will the
arbitrator have the authority to make any award that would not be available in a court of law. At the conclusion of
the arbitration, the arbitrator will issue a written opinion and award setting forth findings of fact and conclusions of
law. The award will be final and binding on all parties except to the extent that state or federal law provides for
judicial review of arbitration proceedings.
The parties will share equally the arbitrator's fees and expenses of administration involved in the arbitration. Each
party also will be responsible for their own attorneys' fees. In cases of extreme hardship to a Member, Health Net
may assume all or a portion of a Member's share of the fees and expenses of the arbitration. Upon written notice ·
by the Member requesting a hardship application, Health Net will forward the request to an independent
professional dispute resolution organization for a determination. Such request for hardship should be submitted to
the litigation Administrator at the address provided above.
Involuntary Transfer to Another Primary Care Physician or Contrading Physician Group
Health Net has the right to transfer you to another Primary Care Physician or contracting Physician Group under
certain circumstances. The following are examples of circumstances that may result in involuntary transfer:
•   Refusal to Follow Treatment: You may be involuntarily transferred to an alternate Primary Care Physician or
    Physician Group if you continually refuse to follow recommended treatment or established procedures of
    Health Net, the Primary Care Physician, or the contracting Physician Group.
    Health Net will offer you the opportunity to develop an acceptable relationship with another Primary Care
    Physician at the contracting Physician Group, or at another contracting Physician Group, if available. A
    transfer to another Physician Group will be at Health Net's discretion.
•   Disruptive or Threatening Behavior: You may be involuntarily transferred to an alternate Primary Care
    Physician or Physician Group if you repeatedly disrupt the operations of the Physician Group or Health Net to
    the extent that the normal operations of either the Physician's office, the contracting Physician Group or
    Health Net are adversely impacted.
•   Abusive Behavior: You may be involuntarily transferred to an alternate Primary Care Physician or Physician
    Group if you exhibit behavior that is abusive or threatening in nature toward the health care provider, his or
    her office staff, the contracting Physician Group or Health Net personnel.
•   Inadequate Geographic Access to Care: You may be involuntarily transferred to an alternate Primary Care
    Physician or contracting Physician Group if it is determined that neither your residence nor place of work are
    within reasonable access to your current Primary Care Physician.
Other circumstances may exist where the treating Physician or Physicians have detennined that there is an
inability to continue to provide you care because the patient-physician relationship has been compromised to the
extent that mutual trust and respect have been impacted. In the U.S. the treating Physicians and contracting
Physician Group must always work within the code of ethics established through the American Medical
Association (AMA). (For infonnation on the AMA code of ethics, please refer to the American Medical Association
website at bttp://www.ama-assn.org). Under the code of ethics, the Physician will provide you with notice prior to
discontinuing as your treating Physician that will enable you to contact Health Net and make alternate care
arrangements.
Health Net will conduct a fair investigation of the facts before any involuntary transfer for any of the above
reasons is carried out.

Technology Assessment
New technologies are those procedures, drugs or devices that have recently been developed for the treatment of
specific diseases or conditions or are new applications of existing procedures, drugs or devices. New
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 122 of 167 Page ID
                                   #:129

    Section 7                                         General Provisions                                      Page61

    technologies are considered Investigational or Experimental during various stages of clinical study as safety and
    effectiveness are evaluated and the technology achieves acceptance into the medical standard of care. The
    technologies may continue to be considered Investigational or Experimental if clinical study has not shown safety
    or effectiveness or if they are not considered standard care by the appropriate medical specialty. Approved
    technologies are integrated into Health Net benefits.

 Health Net determines whether new technologies should be considered medically appropriate, or Investigational
 or Experimental, following extensive review of medical research by appropriately specialized Physicians. Health
 Net requests review of new technologies by an independent, expert medical reviewer in order to determine
 medical appropriateness or Investigational or Experimental status of a technology or procedure.

 The expert medical reviewer also advises Health Net when patients require quick determinations of coverage,
 when there is no guiding principle for certain technologies or when the complexity of a patient's medical condition
 requires expert evaluation. If Health Net denies, modifies or delays coverage for your requested treatment on the
 basis that it is Experimental or Investigational, you may request an independent medical review (IMR) of Health
 Net's decision from the Department of Managed Health Care. Please refer to the alndependent Medical Review of
 Grievances Involving a Disputed Health Care Service" above in this "General Provisions" section for additional
 details.                                                                                         ·

 Medical Malpractice Disputes
 Health Net and the health care providers that provide services to you through this Plan are each responsible for
their own acts or omissions and are ordinarily not liable for the acts or omissions or costs of defending others.
Recovery of Benefits Paid by Health Net
WHEN YOU ARE INJURED
If you are ever injured through the actions of another person or yourself (responsible party), Health Net will
provide benefits for all covered services that you receive through this Plan. However, if you receive money or are
entitled to receive money because of your injuries, whether through a settlement, judgment or any other payment
associated with your injuries, Health Net or the medical providers retain the right to recover for the value of any
services provided to you through this Plan.
As used throughout this provision, the term responsible party means any party actually or potentially responsible
for making any payment to a Member due to a Member's injury, illness or condition. The term responsible party
includes the liability insurer of such party or any insurance coverage.
Some examples of how you could be injured through the actions responsible party are:
•      You are in a car accident; or
•      You slip and fall in a store.

Health Net's rights of recovery apply to any and all recoveries made by you or on your behalf from the following
sources, including but not limited to:
•      Payments made by a third party or any insurance company on behalf of a third party;
•      Uninsured or underinsured motorist coverage;
•      Personal injury protection, no fault or any other first party coverage;
•      Workers Compensation or Disability award or settlement;
•      Medical payments coverage under any automobile policy, premises or homeowners' insurance coverage,
       umbrella coverage; and
•      Any other payments from any other source received as compensation for the responsible party's actions.
By accepting benefits under this Plan, you acknowledge that Health Net has a right of reimbursement that
attaches when this Plan has paid for health care benefits for expenses incurred due to the actions of a
responsible party and you or your representative recovers or is entitled to recover any amounts from a
responsible party.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 123 of 167 Page ID
                                   #:130

 Section 7                                            General Provisions                                           Page 62


    Under California law, Health Net's legal right to reimbursement creates a health care lien on any recovery.
 By accepting benefits under this plan, you also grant Health Net an assignment of your right to recover medical
 expenses from any medical payment coverage available to the extent of the full cost of all covered services
 provided by the Plan and you specifically direct such medical payments carriers to directly reimburse the Plan on
 your behalf.
 STEPS YOU MUST TAKE
 If you are injured because of a responsible party, you must cooperate with Health Net's and the medical
 providers' efforts to obtain reimbursement, including:
 •     Telling Health Net and the medical providers the name and address of the responsible party, if you know it,
       the name and address of your lawyer, if you are using a lawyer, the name and address of any insurance
       company involved with your injuries and describing how the injuries were caused;
•      Completing any paperwork that Health Net or the medical providers may reasonably require to assist in
       enforcing the lien;
•      Promptly responding to inquiries from the lienholders about the status of the case and any settlement
       discussions:
•      Notifying the lienholders immediately upon you or your lawyer receiving any money from the third parties any
       insurance companies; or any other sources;
•      Pay the health care lien from any recovery, settlement or judgment, or other source of compensation and all
       reimbursement due Health Net for the full cost of benefits paid under the Plan that are associated with injuries
       through a responsible party regardless of whether specifically identified as recovery for medical expenses and
       regardless of whether you are made whole or fully compensated for your loss:
•      Do nothing to prejudice Health Net's rights as set forth above. This includes, but is not limited to, refraining
       from any attempts to reduce or exclude from settlement or recovery the full cost of all benefits paid by the
       Plan; and
•      Hold any money that you or your lawyer receive from the responsible parties or from any other sources, in
       trust and reimbursing Health Net and the medical providers for the amount of the lien as soon as you are
       paid.
HOW THE AMOUNT OF YOUR REIMBURSEMENT IS DETERMINED
The following section is not applicable to Workers' Compensation liens and may not apply to certain ERISA plans,
Hospital liens, Medicare plans and certain other programs and may be modified by written agreement.*
Your reimbursement to Health Net or the medical provider under this lien is based on the value of the services
you receive and the costs of perfecting this lien. For purposes of determining the lien amount, the value of the
services depends on how the provider was paid and will be determined as permitted by law. Unless the money
that you receive came from a Workers' Compensation claim, the following applies:
•      The amount of the reimbursement that you owe Health Net or the Physician Group will be reduced by the
       percentage that your recovery is reduced if a judge, jury or arbitrator determines that you were responsible for
       some portion of your injuries.
•      The amount of the reimbursement that you owe Health Net or the Physician Group will also be reduced a
       prorated share for any legal fees or costs that you paid from the money you received.
•      The amount that you will be required to reimburse Health Net or the Physician Group for services you receive
       under this Plan will not exceed one-third of the money that you receive if you do engage a lawyer, or one-half
       of the money you receive if you do not engage a lawyer.
* Reimbursement related to Workers' Compensation benefits, ERISA plans, Hospital liens, Medicare and other
programs not covered by California Civil Code, Section 3040 will be determined in accordance with the provisions
of this Certificate and applicable law.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 124 of 167 Page ID
                                   #:131

 Section 7                                        General Provisions                                          Page63


 Surrogacy Arrangements
 A Surrogacy Arrangement is an arrangement in which a woman agrees to become pregnant and to carry the child
 for another person or persons who intend to raise the child.

 Your Responsibility for Payment to Health Net
If you enter into a surrogacy arrangement, you must pay us for covered services and supplies you receive related
to conception, pregnancy, or delivery in connection with that arrangement ("Surrogacy Health Services"), except
that the amount you must pay will not exceed the payments you and/or any of your family members are entitled to
receive under the surrogacy arrangement. You also agree to pay us for the covered services and supplies that
any child bam pursuant to the surrogacy arrangement receives at the time of birth or in the initial Hospital stay,
except that if you provide proof of valid insurance coverage for the child in advance of delivery or if the intended
parents make payment arrangements acceptable to Health Net in advance of delivery, you will not be responsible
for the payment of the child's medical expenses.

Assignment of Your Surrogacy Payments
By accepting Surrogacy Health Services, you automatically assign to us your right to receive payments that are
payable to you or your chosen payee under the surrogacy arrangement, regardless of whether those payments
are characterized as being for medical expenses. To secure our rights, we will also have a lien on those
payments and/or any escrow account or trust established to hold those payments. Those payments shall first be
applied to satisfy our lien. The assignment and our lien will not exceed the total amount of your obligation to us
under the preceding paragraph.

Duty to Cooperate
Within 30 days after entering into a surrogacy arrangement, you must send written notice of the arrangement,
including the names and addresses of the other parties to the arrangement to include any escrow agent or
trustee, and a copy of any contracts or other documents explaining the arrangement as well as the account
number for any escrow account or trust, to:
        Surrogacy Third Party Liability -Product Support
        The Rawlings Company
        One Eden Parkway
        LaGrange, KY 40031-8100
You must complete and send us all consents, releases, authorizations, lien forms, and other documents that are
reasonably necessary for us to determine the existence of any rights we may have under this usurrogacy
Arrangements" provision and/or to determine the existence of (or accounting for funds contained in) any escrow
account or trust established pursuant to your surrogacy arrangement and to satisfy Health Net's rights.
You must do nothing to prejudice the health plan's recovery rights.
You must also provide us the contact and insurance information for the persons who intend to raise the child and
whose insurance will cover the child at birth.
You may not agree to waive, release, or reduce our rights under this provision without our prior, written consent. If
your estate, parent, guardian, or conservator asserts a claim against a third party based on the surrogacy
arrangement, your estate, parent, guardian, or conservator and any settlement or judgment recovered by the
estate, parent, guardian, or conservator shall be subject to our liens and other rights to the same extent as if you
had asserted the claim against the third party. We may assign our rights to enforce our liens and other rights.

Relationship of Parties
Contracting Physician Groups, Member Physicians, Hospitals, and other health care providers are not agents or
employees of Health Net.
Health Net and its employees are not the agents or employees of any Physician Group, Member Physician,
Hospital, or other health care provider.
All of the parties are independent contractors and contract with each other to provide you the covered services or
supplies of this Plan.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 125 of 167 Page ID
                                   #:132

 Section 7                                         General Provisions                                           Page64

 The Group and the Members are not liable for any acts or omissions of Health Net, its agents or employees, or of
 Physician Groups, any Physician or Hospital, or any other person or organization with which Health Net has
 arranged or will arrange to provide the covered services and supplies of this Plan.
 Provider/Patient Relationship
 Member Physicians maintain a doctor-patient relationship with the Member and are solely responsible for
 providing professional medical services. Hospitals maintain a Hospital-patient relationship with the Member and
 are solely responsible for providi.ng Hospital services.
 Liability for Charges
While it is not likely, it is possible that Health Net may be unable to pay a Health Net provider. If this happens, the
provider has contractually agreed not to seek payment from the Member.
However, this provision only applies to providers who have contracted with Health Net. You may be held liable for
the cost of services or supplies received from a noncontracting provider if Health Net does not pay that provider.
This provision does not affect your obligation to pay any required Copayment or to pay for services and supplies
that this Plan does not cover.              ·
Prescription Drug Liability
Health Net will not be liable for any claim or demand as a result of damages connected with the manufacturing,
compounding, dispensing, or use of any Prescription Drug this Plan covers.
Continuity of Care Upon Termination of Provider Contract
If Health Net's contract with a Physician Group or other provider is terminated, Health Net will transfer any
affected Members to another contracting Physician Group or provider and make every effort to ensure continuity
of care. At least 60-days prior to termination of a contract with a Physician Group or acute care Hospital to which
Members are assigned for services, Health Net will provide a written notice to affected Members. For all other
Hospitals that terminate their contract with Health Net, a written notice will be provided to affected Members within
5 days after the Effective Date of the contract termination.
In addition, a Member may request continued care from a provider whose contract is terminated if at the time of
termination the Member was receiving care from such a provider for:
•   An Acute Condition;
•   A Serious Chronic Condition not to exceed twelve months from the contract termination date;
•   A pregnancy (including the duration of the pregnancy and immediate postpartum care);
•   A newborn up to 36 months of age, not to exceed twelve months from the contract termination date;
•   A Terminal Illness (for the duration of the Terminal Illness); or
•   A surgery or other procedure that has been authorized by Health Net as part of a documented course of
    treatment.
For definitions of Acute Condition, Serious Chronic Condition and Terminal Illness see "Definitions," Section 9, of
this Evidence of Coverage.
Health Net may provide coverage for completion of services from a provider whose contract has been terminated,
subject to applicable Copayments and any other exclusions and limitations of this Plan and if such provider is
willing to accept the same contract terms applicable to the provider prior to the provider's contract termination.
You must request continued care within 30 days of the provider's date of termination unless you can show that it
was not reasonably possible to make the request within 30 days of the provider's date of termination and you
make the request as soon as reasonably possible.
To request continued care, you will need to complete a Continuity of Care Assistance Request Form. If you would
like more information on how to request continued care or request a copy of the Continuity of Care Assistance
Request Form or of our continuity of care_policy, please contact the Customer Contact Center at the telephone
number on your Health Net 10 Card.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 126 of 167 Page ID
                                   #:133

 Section 7                                        General Provisions                                          Page65


 Contracting Administrators
 Health Net may designate or replace any contracting administrator that provides the covered services and
 supplies of this Plan. If Health Net designates or replaces any administrator and as a result procedures change,
 Health Net will inform you.
 Any administrator designated by Health Net is an independent contractor and not an employee or agent of
 Health Net, unless otherwise specified in this Evidence of Coverage.
 Decision-Making Authority
 Health Net has discretionary authority to interpret the benefits of this Plan and to determine when services are
 covered by the Plan.

 Coordination of Benefits
 The Member's coverage is subject to the same limitations, exclusions and ather terms of this Evidence of
 Coverage whether Health Net is the Primary Plan or the Secondary Plan.
 Coordination of benefits (COB) is a process, regulated by law, that determines financial responsibility for payment
 of allowable expenses between two or more group health Plans.
 Allowable expenses are generally the cost or value of medical services that are covered by two or more group
 health plans, including two Health Net plans.
The objective of COB is to ensure that all group health plans that provide coverage to an individual will pay no
more than 100% of the allowable expense for services that are received. This payment will not exceed total
expenses incurred or the reasonable cash value of those services and supplies when the group health plan
provides benefits in the form of services rather than cash payments.
Health Nets COB activities will not inteifere with your medical care.
Coordination of benefits is a bookkeeping activity that occurs between the two HMOs or insurers. However, you
may occasionally be asked to provide information about your other coverage.
This coordination of benefits {COB) provision applies when a Member has health care coverage under more than
one plan. "Plan" is defined below.
The order of benefit determination rules below determine which plan will pay as the primary plan. The primary
plan that pays first pays without regard to the possibility that another plan may cover some expenses. A
Secondary Plan pays after the Primary Plan and may reduce the benefits it pays so that payment from all group
plans do not exceed 100% of the total allowable expense. "Allowable Expensed is defined below.
Definitions
The following definitions apply to the coverage provided under this Subsection only.
A. Plan-A "Pian 6 is any of the following that provides benefits or services for medical or dental care or treatment.
   However, if separate contracts are used to provide coordinated coverage for members of a group, the
   separate contracts are considered parts of the same Plan and there is no COB among those separate
   contracts.
    (1) "Plan" includes group insurance, closed panel (HMO, PPO or EPO) coverage or other forms of group or
        group-type coverage (whether insured or uninsured); Hospital indemnity benefits in excess of $200 per
        day; medical care components of group long-term care contracts, such as skilled nursing care.
        (Medicare is not included as a "Plan" with which Health Net engages in COB. We do, however, reduce
        benefits of this Plan by the amount paid by Medicare. For Medicare coordination of benefits please refer
        to UGov~rnment Coverage" portion of this "General Provisions, n Section 7.)
    (2) "Plan" does not include non group coverage of any type, amounts of hospital indemnity insurance of
        $200 or Jess per day, school accident-type coverage, benefits for nonmedical components of group long-
        term care policies, Medicare supplement policies, a state plan under Medicaid or a governmental plan
        that, by law, provides benefits that are in excess of those of any private insurance plan or other non-
        governmental plan.
   Each contract for coverage under ( 1) and (2) above is a separate Plan. If a Plan has two parts and COB rules
   apply only to one of the two, each of the parts is treated as a separate Plan.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 127 of 167 Page ID
                                   #:134

Sec/ion 7                                        General Provisions                                         Page66

B. Primary Plan or Secondary Plan--The order of benefit determination rules determine whether this Plan is a
   "Primary Plan" or "Secondary Plan" when compared to another Plan covering the person.
   When this Plan is primary, its benefits are determined before those of any other Plan and without considering
   any other Plan's benefits. When this Plan is secondary, its benefits are determined after those of another Plan
   and may be reduced because of the primary Plan's benefits.
C. Allowable Expense-This concept means a Health Care Service or expense, including Deductibles and
   Copayments, that is covered at least in part by any of the plans covering the person. When a Plan provides
   benefits in the form of services, (for example an HMO) the reasonable cash value of each service will be
   considered an Allowable Expense and a benefit paid. An expense or service that is not covered by any of the
   Plans is not an Allowable Expense.
   The following are examples of expenses or services that are not Allowable Expense:
    (1) If a covered person is confined in a private room, the difference between the cost of a semi-private room
        in the Hospital and the private room, is not an Allowable Expense.
        Exception:
        If the patient's stay in a private Hospital room is Medically Necessary in terms of generally accepted
        medical practice, or one of the Plans routinely provides coverage for Hospital private rooms, the expense
        or service is an Allowable Expense.
    {2) If a person is covered by two or more Plans that compute their benefit payments on the basis of usual
        and customary fees, any amount in excess of the highest of the usual and customary fees for a specific
        benefit is not an Allowable Expense.
    (3) If a person is covered by two or more Plans that provide benefits or services on the basis of negotiated
        fees, an amount in excess of the highest of the negotiated fees is not an Allowable Expense.
    (4) If a person is covered by one Plan that calculates its benefits or services on the basis of usual and
        customary fees and another Plan that provides its benefits or services on the basis of negotiated fees, the
        Primary Plan's payment arrangements shall be the Allowable Expense for all Plans.
    (5) The amount a benefit is reduced by the Primary Plan because of a covered person does not comply with
        the plan provisions is not an Allowable Expense.
        Examples of these provisions are second surgical opinions, precertification of admissions and preferred
        provider arrangements.
D. Claim Determination Period-This is the Calendar Year or that part of the Calendar Year during which a
   person is covered by this Plan.
E. Closed Panel Plan-This is a Plan that provides health benefits to covered persons primarily in the form of
   services through a panel of providers that have contracted with or are employed by the Plan, and that limits or
   excludes benefits for services provided by other providers, except in cases of emergency or referral by a panel
   member.
F. Custodial Parent-This is a parent who has been awarded custody of a child by a court decree. In the
   absence of a court decree, it is the parent with whom the child resided more than half of the Calendar Year
   without regard to any temporary visitation.
Order of Benefit Determination Rules
If the Member is covered by another group health Plan, responsibility for payment of benefits is determined by the
following rules. These rules indicate the order of payment responsibility among Health Net and other applicable
group health Plans by establishing which Plan is primary, secondary and so on.
A. Primary or Secondary Plan-The Primary Plan pays or provides its benefits as if the Secondary Plan or Plans
   did not exist.
B. No COB Provision-A Plan that does not contain a coordination of benefits provision is always primary.
   There is one exception: coverage that is obtained by virtue of membership in a group that is designed to
   supplement a part of a basic package of benefits may provide that the supplementary coverage shall be
   excess to any other parts of the Plan provided by the contract holder. Examples of these types of situations
   are major medical coverages that are superimposed over base plan Hospital and surgical benefits and
   insurance-type coverages that are written in connection with a closed Panel Plan to provide out-of-network
   benefits.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 128 of 167 Page ID
                                   #:135

Section 7                                            General Provisions                                            Page67

 C. Secondary Plan Performs COB-A Plan may consider the benefits paid or provided by another Plan in
    determining its benefits only when it is secondary to that other Plan.
 D. Order of Payment Rules-The first of the following rules that describes which Plan pays its benefits before
    another Plan is the rule that will apply.
     1. Subscriber (Non-Dependent) vs. Dependent-The Plan that covers the person other than as a
         dependent. for example as an employee, Subscriber, or retiree, is primary, and the Plan that covers the
        person as a dependent is secondary.
    2. Child Covered By More Than One Plan-The order of payment when a child is covered by more than one
         Plan is:
         a. Birthday Rule-The Primary Plan is the Plan of the parent whose birthday is earlier in the year if:
              • The parents are married;
              • The parents are not separated (whether or not they ever have been married); or
              • A court decree awards joint custody without specifying that one party has the responsibility to provide
                 health care coverage.
              If both parents have the same birthday, the plan that covered either of the parents longer is primary.
         b. Court Ordered Responsible Parent-If the terms of a court decree state that one of the parents is
             responsible for the child's health care expenses or health care coverage and the Plan of that parent has
              actual knowledge of those terms, that Plan is primary. This rule applies to claim determination periods or
             plan years commencing after the Plan is given notice of the court decree.
         c. Parents Not Married, Divorced, or Separated-If the parents are not married, or are separated
             (whether or not they ever have been married) or are divorced, the order of benefits is:
              • The Plan of the Custodial Parent.
              • The Plan of the spouse of the Custodial Parent.
             • The Plan of the noncustodial parent.
             • The Plan of the spouse of the noncustodial parent.
    3. Active vs. Inactive Employee-The Plan that covers a person as an employee who is neither laid off nor
        retired (or his or her dependent), is primary in relation to a Plan that covers the person as a laid off or retired
        employee (or his or her dependent). When the person has the same status under both Plans, the Plan
        provided by active employment is first to pay.
        If the other plan does not have this rule and if, as a result, the Plans do not agree on the order of benefits,
        this rule is ignored.
        Coverage provided an individual by one Plan as a retired worker and by another Plan as a dependent of an
        actively working spouse will be determined under the rule labeled D (1) above.
    4. COBRA Continuation Coverage-If a person whose coverage is provided under a right of continuation
        provided by federal {COBRA) or state law (similar to COBRA) also is covered under another Plan, the Plan
        covering the person as an employee or retiree (or as that person's dependent) is primary, and the
        continuation coverage is secondary. If the other Plan does not have this rule, and if, as a result, the Plans
        do not agree on the order of benefits, this rule is ignored.
    5. Longer or Shorter Length of Coverage-If the preceding rules do not determine the order or payment, the
        Plan that covers the Subscriber (non-dependent), retiree or dependent of either for the longer period is
        primary.
         a. Two Plans Treated As One-To determine the length of time a person has been covered under a Plan,
             two Plans shall be treated as one if the covered person was eligible under the second within twenty-four
             hours after the first ended.
         b. New Plan Does Not Include-The start of a new Plan does not include:
             (i) A change in the amount or scope of a Plan's benefits.
             (ii) A change in the entity that pays, provides or administers the Plan's benefits.
             (iii)A change from one type of Plan to another (such as from a single employer Plan to that of a multiple
                  employer Plan).
         c. Measurement of Time Covered-The person's length of time covered under a Plan is measured from
             the person's first date of coverage under that Plan. If that date is not readily available for a group Plan,
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 129 of 167 Page ID
                                   #:136

 Section 7                                        General Provisions                                         Page68

           the date the person first became a Member of the Group shall be used as the date from which to
           determine the length of time the person's coverage under the present Plan has been in force.
    6. Equal Sharing-If none of the preceding rules determines the primary plan, the Allowable Expenses shall
       be shared equally between the plans.
 Effect on the Benefits of This Plan
 A. Secondary Plan Reduces Benefits-When this Plan is secondary, it may reduce its benefits so that the total
    benefits paid or provided by all plans during a claim determination period are not more than 100% of total
    Allowable Expenses.
 B. Coverage by Two Closed Panel Plans--If a covered person is enrolled in two or more closed panel plans
    and if, for any reason, including the person's having received services from a non-panel provider, benefits are
    not covered by one closed panel plan, COB shall not apply between that plan and other closed panel plans.
    But, if services received from a non-panel provider are due to an emergency and would be covered by both
    Plans, then both Plans will provide coverage according to COB rules.
 Right to Receive and Release Information
Certain facts about health care coverage and services are needed to apply these COB rules and to determine
benefits payable under this Plan and other plans.
Health Net may obtain the facts it needs from or give them to other organizations or persons for the purpose of
applying these rules and determining benefits payable under this Plan and other plans covering the person
claiming benefits.
Health Net need not tell or obtain the consent of any person to do this. Each person claiming benefits under this
Plan must give Health Net any facts it needs to apply those rules and determine benefits payable.
Health Net's Right to Pay Others
A "payment made" under another Plan may include an amount that should have been paid under this Plan. If this
happens, Health Net may pay that amount to the organization that made the payment. That amount will then be
treated as though it were a benefit paid under this Plan. Health Net will not have to pay that amount again.
The term "payment made" includes providing benefits in the form of services, in which case "payment made"
means the reasonable cash value of the benefits provided in the form of services.
Recovery of Excessive Payments by Health Net
If "amount of the payment made" by Health Net is more than it should have paid under this COB provision,
Health Net may recover the excess from one or more of the persons it has paid, or for whom it has paid or for any
other person or organization that may be responsible for the benefits or services provided for the covered person.
"Amount of the payments made" includes the reasonable cash value of any benefits provided in the form of
services.

Government Coverage
Medicare Coordination of Benefits (COB)
When you reach age 65, you may become eligible for Medicare based on age. You may also become eligible for
Medicare before reaching age 65 due to disability or end stage renal disease. We will solely determine whether
we are the primary plan or the secondary plan with regard to services to a Member enrolled in Medicare in
accordance with the Medicare Secondary Payer rules established under the provisions of Title XVIII of the Social
Security Act and its implementing regulations. Generally, those rules provide that:
If you are enrolled in Medicare Parts A and Part B, and are not an active employee or your employer group has
less than twenty employees, then this Plan coordinate with Medicare and will be the secondary plan. . This Plan
also coordinates with Medicare if you are an active employee participating in a Trust through a small employer, in
accordance with Medicare Secondary Payer rules. (If you are not enrolled in Medicare Part A and Part B. Health
Net will provide coverage for Medically Necessary Covered Services without coordination with Medicare.)
For services and supplies covered under Medicare Part A and Part 8, claims are first submitted by your provider
or by you to the Medicare administrative contractor for determination and payment of allowable amounts. The
Medicare administrative contractor then sends your medical care provider a Medicare Summary Notice (MSN),
{formerly an Explanation of Medicare Benefits (EOMB). In most cases, the MSN will indicate that the Medicare
administrative contractor has forwarded the 'claim to Health Net for secondary coverage consideration. Health Net
will process secondary claims received from the Medicare administrative contractor. Secondary claims not
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 130 of 167 Page ID
                                   #:137

Section 7                                          General Provisions                                          Page69

received from the Medicare administrative contractor must be submitted to Health Net by you or the provider of
service, and must include a copy of the MSN. Health Net and/or your medical provider is responsible for paying
the difference between the Medicare paid amount and the amount allowed under this plan for the Covered
Services described in this Evidence of Coverage, subject to any limits established by Medicare COB law. This
Plan will cover benefits as a secondary payer only to the extent services are coordinated by your Primary Care
Physician and authorized by Health Net. as required under this Evidence of Coverage
If either you or your spouse is over the age of 65 and you are actively employed, neither you nor your spouse is
eligible for Medicare Coordination of benefits, unless you are employed by a small employer and pertinent
Medicare requirements are met.
For answers to questions regarding Medicare, contact:
•   Your local Social Security Administration office or caii1·BOD-772-1213;
•   The Medicare Program at 1-800-MEDICARE (1-800-633-4227);
•   The official Medicare website at www.medicare.gov;
•   The Health Insurance Counseling and Advocacy Program (HICAP) at 1-800-434-0222, which offers health
    insurance counseling for California seniors; or
Write to:
    Medicare Publications
    Department of Health and Human Services
    Centers for Medicare and Medicaid Services
    6325 Security Blvd.
    Baltimore, MD 21207

Medi-Cal
Medi-Cal is last to pay in all instances. Health Net will not attempt to obtain reimbursement from Medi-Cal.
Veterans' Administration
Health Net will not attempt to obtain reimbursement from the Department of Veterans' Affairs (VA) for
service-connected or nonservice-connected medical care.

Workers' Compensation
This Plan does not replace Workers' Compensation Insurance. Your Group will have separate insurance
coverage that will satisfy Worf<ers' Compensation laws.
If you require covered services or supplies, and the injury or illness is work-related and benefits are available as a
requirement of any Workers' Compensation or Occupational Disease Law, your Physician Group will provide
services, and Health Net will then obtain reimbursement from the Workers' Compensation carrier liable for the
cost of medical treatment related to your illness or injury.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 131 of 167 Page ID
                                   #:138

 Section 8                                        Miscellaneous Provisions                                      Page 70


 8. MISCELLANEOUS PROVISIONS
Cash Benefits
Health Net, in its role as a health maintenance organization, generally provides all covered services and supplies
through a network of contracting Physician Groups. Your Physician Group perfonns or authorizes all care, and
you will not have to file claims.
There is an exception when you receive covered Emergency Care or Urgently Needed Care from a provider who
does not have a contract with Health Net.
When cash benefits are due, Health Net will reimburse you for the amount you paid for services or supplies, less
any applicable Copayment. If you signed an assignment of benefits and the provider presents it to us, we will
send the payment to the provider. You must provide proof of any amounts that you have paid.
If a parent who has custody of a child submits a claim for cash benefits on behalf of the child who is subject to a
Medical Child Support Order, Health Net will send the payment to the Custodial Parent.
Benefits Not Transferable
No person other than a properly enrolled Member is entitled to receive the benefits of this Plan. Your right to
benefits is not transferable to any other person or entity.
Ifyou use benefits fraudulently, your coverage will be canceled. Health Net has the right to take appropriate legal
action.
Notice of Claim
In most instances, you will not need to file a claim to receive benefits this Plan provides. However, if you need to
file a claim (for example, for Emergency or Urgently Needed Care from a non-Health Net provider), you must do
so within one year from the date you receive the services or supplies. Any claim filed more than one year from the
date the expense was incurred will not be paid unless it is shown that it was not reasonably possible to file within
that time limit, and that you have filed as soon as was reasonably possible.
Call the Customer Contact Center at the telephone number shown on your Health Net ID Card to obtain claim
forms.
If you need to file a claim for emergency services or for services authorized by your Physician Group or PCP with
Health Net, please send a completed claim fonn to:
          Health Net Commercial Claims
          P.O. Box 9040
          Farmington, MO 63640-9040

If you need to file   a claim for outpatient Prescription Drugs, please send a completed Pre~cription Drug claim form
to:
          Health Net
          C/0 Caremark
          P.O. Box 52136
          Phoenix, AZ. 85072

Please call Health Net Customer Contact Center at 1-800-539-4072 or visit our website at www.healthnet.com/uc
to obtain a Prescription Drug claim fonn.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 132 of 167 Page ID
                                   #:139

 Section 8                                      .Miscellaneous Provisions                                       Pagel]

 If you need to file a claim for Emergency Chiropractic Services or Emergency Acupuncture Services or for other
 covered Chiropractic Services or covered Acupuncture Services provided upon referral by American Specialty
 Health Plans of California, Inc. (ASH Plans), you must file the claim with ASH Plans within one year after
 receiving those services. You must use ASH Plans' forms in filing the claim and you should send the claim to ASH
 Plans at the address listed in the claim form or to ASH Plans at:
             American Specialty Health Plans of California, Inc.
             Attention: Customer Contact Center
             P.O. Box 509002
             San Diego, CA 92150-9002

 ASH Plans will give you claim forms on request. For more information regarding claims for covered Chiropractic
 Services or covered Acupuncture Services, you may call ASH Plans at 1-800-678-9133 or you may write ASH
 Plans at the address given immediately above.
 Health Care Plan Fraud
Health care plan fraud is defined as a deception or misrepresentation by a provider, Member, employer or any
person acting on their behalf. It is a felony that can be prosecuted. Any person who willfully and knowingly
engages in an activity intended to defraud the health care plan by filing a claim that contains a false or deceptive
statement is guilty of insurance fraud.
If you are concerned about any of the charges that appear on a bill or Explanation of Benefits form, or if you know
of or suspect any illegal activity, call Health Net's toll-free Fraud Hotline at 1-800-977-3565. The Fraud Hotline
operates 24 hours a day, seven days a week. All calls are stricUy confidential.
Disruption of Care
Circumstances beyond Health Net's control may disrupt care; for example, a natural disaster, war, riot, civil
insurrection, epidemic, complete or partial destruction of facilities, atomic explosion or other release of nuclear
energy, disability of significant contracting Physician Group personnel, or a similar event.
If circumstances beyond Health Net's control result in your not being able to obtain the Medically Necessary
covered services or supplies of this Plan, Health Net will make a good faith effort to provide or arrange for those
services or supplies within the remaining availability of its facilities or personnel. In the case of an emergency, go
to the nearest doctor or Hospital. See the "Emergency and Urgently Needed Caren section under urntroduction to
Health Netn Section 2.
Sending and Receiving Notices
Any notice that Health Net is required to make will be mailed to the Group at the current address shown in
Health Net's files. The Evidence of Coverage, however, will be posted electronically on Health Net's website at
www.healthnet.com/uc. The Group can opt for the Subscribers to receive the Evidence of Coverage online. By
registering and logging on to Health Net's website, Subscribers can access, download and print the Evidence of
Coverage, or can choose to receive it by U.S. mail, in which case Health Net will mail the Evidence of Coverage
to each Subscriber's address on record.
If the Subscriber or the Group is required to provide notice, the notice should be mailed to the Health Net office at
the address listed on the back cover of this Evidence of Coverage Confidentiality of Medical Records.
Transfer of Medical Records
A health care provider may charge a reasonable fee for the preparation, copying, postage or delivery costs for the
transfer of your medical records. Any fees associated with the transfer of medical records are the Member's
responsibility. State law limits the fee that the providers can charge for copying records to be no more than
twenty-five cents ($0.25) per page, or fifty cents ($0.50) per page for records that are copied from microfilm and
any additional reasonable clerical costs incurred in making the records available. There may be additional costs
for copies of x-rays or other diagnostic imaging materials.
Confidentiality of Medical Records
A STATEMENT DESCRIBING HEALTH NErS POLICIES AND PROCEDURES FOR PRESERVING THE
CONFIDENTIALITY OF MEDICAL RECORDS IS AVAILABLE AND WILL BE FURNISHED TO YOU UPON
REQUEST.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 133 of 167 Page ID
                                   #:140

 Section 8                                     Miscellaneous Provisions                                         Page 72


 Financial Information Privacy Notice
 THIS NOTICE DESCRIBES HOW FINANCIAL INFORMATION ABOUT YOU MAY BE USED AND
 DISCLOSED AND HOW YOU CAN GET ACCESS TO THIS INFORMATION. PLEASE REVIEW IT
 CAREFULLY.

 We are committed to maintaining the confidentiality of your personal financial information. For the purposes
 of this notice, "personal financial information" means information about an enrollee or an applicant for health
 care coverage that identifies the individual, is not generally publicly available, and is collected from the
 individual or is obtained in connection with providing health care coverage to the individual.




 Information We Collect
We collect personal financial information about you from the following sources:

•   Information we receive from you on applications or other forms, such as name, address, age, medical
    information and Social Security number;

•   Information about your transactions with us, our affiliates or others, such as premium payment and claims
    history; and

•   Information from consumer reports.


Disclosure of Information
We do not disclose personal financial information about our enrollees or former enrollees to any third party,
except as required or permitted by law. For example, in the course of our general business practices, we
may, as permitted by law, disclose any of the personal financial information that we collect about you,
without your authorization, to the following types of institutions:

•   To our corporate affiliates such as other insurers;

•   To nonaffiliated companies for our everyday business purposes, such as to process your transactions,
    maintain your account(s), or respond to court orders and legal investigations; and

•   To nonaffiliated companies that perform services for us, including sending promotional communications on
    our behalf.


Confidentiality and Security
We maintain physical, electronic and procedural safeguards, in accordance with applicable state and federal
standards, to protect your personal financial information against risks such as loss, destruction or misuse.
These measures include computer safeguards, secured files and buildings, and restrictions on who may
access your personal financial information.

Questions About this Notice
If you have any questions about this notice, please call the toll-free phone number on the back of your ID
card or' contact Health Net at 1·800-539-4072.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 134 of 167 Page ID
                                   #:141

 Section 8                                       Miscella11eous Provisions                                        Page 73


 Notice of Privacy Practices
 THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT YOU MAY BE USED AND
 DISCLOSEDAND HOW YOU CAN GET ACCESS TO THIS INFORMATION. PLEASE REVIEW IT
 CAREFULLY.
 This Notice tells you about the ways in which Health Net (referred to as "we" or "the Plan") may collect, use and
 disclose your protected health information and your rights concerning your protected health information.
 "Protected health information" is information about you, including demographic information, that can reasonably
 be used to identify you and that relates to your past, present or future physical or mental health or condition, the
 provision of health care to you or the payment for that care.
We are required by federal and state laws to provide you with this Notice about your rights and our legal duties
and privacy practices with respect to your protected health information and notify you in the event of a breach of
your unsecured protected health information. We must follow the terms of this Notice while it is in effect. We
reserve the right to change this Notice. We reserve the right to make the revised or changed Notice effective for
your protected health information we already have as well as any of your protected health information we receive
in the future. We will promptly revise and distribute this Notice whenever there is a material change to the uses or
disclosures, your rights, our legal duties, or other privacy practices stated in the Notice. This will include, but may
not be limited to updating the Notice on our web site. Some of the uses and disclosures described in this Notice
may be limited in certain cases by applicable state laws that are more stringent than the federal standards.
How We May Use And Disclose Your Protected Health Information
We may use and disclose your protected.health information for different purposes. The examples below are
provided to illustrate the types of uses and disclosures we may make without your authorization for payment,
health care operations and treatment.
•    Payment. We use and disclose your protected health information in order to pay for your covered health
     expenses. For example, we may use your protected health information to process claims, to be reimbursed by
     another insurer that may be responsible for payment or for premium billing.
•   Health Care Operations. We use and disclose your protected health information in order to perform our plan
    activities, such as quality assessment activities or administrative activities, including data management or
    customer service.
•   Treatment. We may use and disclose your protected health information to assist your health care providers
    (doctors, pharmacies, hospitals and others) in your diagnosis and treatment. For example, we may disclose
    your protected health information to providers to provide information about alternative treatments.
•   Plan Sponsor. We may disclose your protected health information to a sponsor of the group health plan,
    such as an employer or other entity that is providing a health care program to you, if the sponsor has agreed
    to certain restrictions on how it will use or disclose the protected health information (such as agreeing not to
    use the protected health information for employment-related actions or decisions).
    Person(s) Involved in Your Care or Payment for Your Care. We may also disclose protected health
    information to a person, such as a family member, relative, or close personal friend, who is involved with your
    care or payment. We may disclose the relevant protected health information to these persons if you do not
    object or we can reasonably infer from the circumstances that you do not object to the disclosure; however,
    when you are not present or are incapacitated, we can make the disclosure if, in the exercise of professional
    judgment, we believe the disclosure is in your best interest.
Other Permitted or Required Disclosures
•   As Required by Law. We must disclose protected health information about you when required to do so by
    law.
•   Public Health Activities. We may disclose protected health information to public health agencies for reasons
    such as preventing or controlling disease, injury or disability.
•   Victims of Abuse, Neglect or Domestic Violence. We may disclose protected health information to
    government agencies about abuse, neglect or domestic violence.
~his Notice of Privacy Practices also applies to enrollees in any of tbe following: Health Net of Arizona, Inc., Health
Net of California, Health Net Life Insurance Company, Health Net Health Plan of Oregon, Inc., Managed Health Network,
Health Net Community Solutions, Inc.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 135 of 167 Page ID
                                   #:142

 Section 8                                          Miscella11eous Provisions                                       Page 74


    •   Health Oversight Activities. We may disclose protected health information to government oversight
        agencies {e.g., California Department of Health Services) for activities authorized by law.
 •      Judicial and Administrative Proceedings. We may disclose protected health information in response to a
        court or administrative order. We may also disclose protected health information about you in certain cases in
        response to a subpoena, discovery request or other lawful process.
 •      Law Enforcement. We may disclose protected health information under limited circumstances to a law
        enforcement official in response to a warrant or similar process; to identify or locate a suspect; or to provide
        information about the victim of a crime.
 •      Coroners, Funeral Directors, Organ Donation. We may release protected health information to coroners or
        funeral directors as necessary to allow them to carry out their duties. We may also disclose protected health
        information in connection with organ or tissue donation.
•       Research. Under certain circumstances, we may disclose protected health information about you for research
        purposes, provided certain measures have been taken to protect your privacy.
•       To Avert a Serious Threat to Health or Safety. We may disclose protected health information about you,
        with some limitations, when necessary to prevent a serious threat to your health and safety or the health and
        safety of the public or another person.
•       Special Government Functions. We may disclose information as required by military authorities or to
        authorized federal officials for national security and intelligence activities.
•       Workers' Compensation. We may disclose protected health information to the extent necessary to comply
        with state law for workers' compensation programs.
•       Fund raising Activities. We may use or disclose your protected health information for fundraising activities,
        such as raising money for a charitable foundation or similar entity to help finance its activities. If we do contact
        you for fundraising activities, we will give you the opportunity to opt-out, or stop, receiving such
        communications in the future.

Other Uses or Disclosures that Require Your Written Authorization

We are required to obtain your written authorization to use or disclose your protected health information, with
limited exceptions, for the following reasons:
• Marketing. We will request your written authorization to use or disclose your protected health information for
     marketing purposes with limited exceptions, such as when we have face-to-face marketing communications
     with you or when we provide promotional gifts of nominal value.
•       Sale of Protected Health Information. We will request your written authorization before we make any
        disclosure that is deemed a sale of your protected health information, meaning that we are receiving
        compensation for disclosing the protected health information in this manner.
•       Psychotherapy Notes - We will request your written authorization to use or disclose any of your
        psychotherapy notes that we may have on file with limited exception, such as for certain treatment, payment
        or health care operation functions.
•       Other Uses or Disclosures. All other uses or disclosures of your protected health information not described
        in this Notice will be made only with your written authorization, unless otherwise permitted or required by law.
•       Revocation of an Authorization. You may revoke an authorization at any time in writing, except to the
        extent that we have already taken action on the information disclosed or if we are permitted by law to use the
        information to contest a claim or coverage under the Plan.




*This Notice of Privacy Practices also applies to enrollees in any of the following: Health Net of Arizona, Inc., Health
Net of California, Health Net Life Insurance Company, Health Net Health Plan of Oregon, Inc., Managed Health Network,
Health Net Community Solutions, Inc.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 136 of 167 Page ID
                                   #:143

 Section 8                                        Miscellaneous Provisions                                         Page 75

 Your Rights Regarding Your Protected Health Information
 You have certain rights regarding protected health information that the Plan maintains about you.
•    Right to Access Your Protected Health Information. You have the right to review or obtain copies of your
     protected health information contained in a designated record set, with some limited exceptions. You may
     request that we provide copies of this protected health information in a format other than photocopies, such
     as providing them to you electronically, if it is readily producible in such form and format. Usually the
     protected health information contained in a designated record set includes enrollment, billing, claims payment
     and case or medical management records. Your request to review and/or obtain a copy of this protected
     health information must be made in writing. We may charge a fee for the costs of producing, copying and
     mailing or sending electronically your requested information, but we will tell you the cost in advance. If we
     deny your request for access, we will provide you a written explanation and will tell you if the reasons for the
     denial can be reviewed and how to ask for such a review or if the denial cannot be reviewed.                ·
•   Right to Amend Your Protected Health Information. If you feel that protected health information
    maintained by the Plan is incorrect or incomplete, you may request that we amend, or change, the
    information. Your request must be made in writing and must include the reason you are seeking a change.
    We may deny your request if, for example, you ask us to amend information that was not created by the Plan,
    as is often the case for health information in our records, or you ask to amend a record that is already
    accurate and complete.
    If we deny your request to amend, we will notify you in writing. You then have the right to submit to us a
    written statement of disagreement with our decision and we have the right to rebut that statement.
•   Right to an Accounting of Disclosures by the Plan. You have the right to request an accounting of certain
    disclosures we have made of your protected health information. The list will not include our disclosures
    related to your treatment, our payment or health care operations, or disclosures made to you or with your
    authorization. The list may also exclude certain other disclosures, such as for national security purposes.
    Your request for an accounting of disclosures must be made in writing and must state a time period for which
    you want an accounting. This time period may not be longer than six years and may not include dates before
    April14, 2003. Your request should indicate in what form you want the list (for example, on paper or
    electronically). The first accounting that you request within a 12-month period will be free. For additional lists
    within the same time period, we may charge for providing the accounting, but we will tell you the cost in
    advance.
•   Right to Request Restrictions on the Use and Disclosure of Your Protected Health Information. You
    have the right to request that we restrict or limit how we use or disclose your protected health information for
    treatment. payment or health care operations. We may not agree to your request. If we do agree, we will
    comply with your request unless the information is needed for an emergency. Your request for a restriction
    must be made in writing. In your request, you must tell us (1) what information you want to limit; (2) whether
    you want to limit how we use or disclose your information, or both; and (3) to whom you want the restrictions
    to apply.                                                                                '
•   Right to Receive Confidential Communications. You have the right to request that we use a certain
    method to communicate with you about the Plan or that we send Plan information to a certain location if the
    communication could endanger you. Your request to receive confidential communications must be made in
    writing. Your request must clearly state that all or part of the communication from us could endanger you. We
    will accommodate all reasonable requests. Your request must specify how or where you wish to be contacted.
•   Right to a Notice in the Event of a Breach. You have a right to receive a notice of a breach involving your
    protected health information (PHI) should one occur.
•   Right to a Paper Copy of This Notice. You have a right at any time to request a paper copy of this Notice,
    even if you had previously agreed to receive an electronic copy.
•   Contact Information for Exercising Your Rights. You may exercise any of the rights described above by
    contacting our Privacy Office. See the end of this Notice for the contact information.


*This Notice of Privacy Practices also applies to enrollees in any of tbe following: Health Net of Arizona, Inc., Health
Net of California, Health Net Life Insurance Company, Health Net Health Plan of Oregon, Inc., Managed Health Network,
Health Net Community Solutions, Inc.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 137 of 167 Page ID
                                   #:144

Section 8                                        Miscellaneous Provisio11s                                         Page 76


Health Information Security
Health Net requires its employees to follow the Health Net security policies and procedures that limit access to
health information about Members to those employees who need it to perform their job responsibilities. In
addition, Health Net maintains physical, administrative and technical security measures to safeguard your
protected health information.
Changes to This Notice
We reserve the right to change the terms of this Notice at any time, effective for protected health information that
we already have about you as well as any information that we receive in the future. We will provide you with a
copy of the new Notice whenever we make a material change to the privacy practices described in this Notice.
We also post a copy of our current Notice on our website at www.healthnet.com/uc. Any time we make a material
change to this Notice, we will promptly revise and issue the new Notice with the new effective date.
Privacy Complaints
If you believe that your privacy rights have been violated, you may file a complaint with us and/or with the
Secretary of the U.S. Department of Health and Human Services Office for Civil Rights by sending a letter to 200
Independence Avenue, S.W., Washington, D.C. 20201, calling 1·87.7-696-6775, or visiting
www.hhs.gov/ocr/privacy/hipaa/complaints. All complaints to the Plan must be made in writing and sent to the
Privacy Office listed at the next section.
We support your right to protect the privacy of your protected health information. We will not retaliate against you
or penalize you for filing a complaint.
Contact the Plan
If you have any questions about this Notice or you want to submit a written request to the Plan as required in any
of the previous sections of this Notice, please contact:

Address:          Health Net Privacy Office
                  Attention: Privacy Officer
                  P.O. Box 9103
                  Van Nuys, CA 91409

You may also contact us at:
Telephone:       1-800-539-4072
Fax:             1-818-676-8981
Email:           Privacy@healthnet.com




*This Notice of Privacy Practices also applies to enrollees in any of the following: Health Net of Arizona, Inc., Health
Net of California, Health Net Life Insurance Company, Health Net Health Plan of Oregon, Inc., Managed Health Network,
Health Net Community Solutions, Inc.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 138 of 167 Page ID
                                   #:145

 Section 900                                            Definitions                                               Page 77


 9. DEFINITIONS
 This section defines words that will help you understand your Plan. These words appear throughout this Evidence
 of Coverage with the initial letter of the word in capital letters.
 Acupuncture Services are services rendered or made available to a Member by an acupuncturist for
 treatment or diagnosis of Neuromusculoskeletal Disorders, Nausea and Pain. Acupuncture Services include
 services rendered by an acupuncturist for the treatment of carpal tunnel syndrome, headaches, menstrual
 cramps, osteoarthritis, stroke rehabilitation and tennis elbow. Acupuncture Services do not include any other
 services, including, without limitation, services for treatment of asthma or addiction (including, but not limited to,
 smoking cessation).
Acute Condition is a medical condition that involves a sudden onset of symptoms due to an illness, injury, or
other medical problem that requires prompt medical attention and that has a limited duration. Completion of
covered services shall be provided for the duration of the Acute Condition.

American Specialty Health Plans of California, lnc. (ASH Plans) is a specialized health care service
plan contracting with Health Net to arrange the delivery of Chiropractic and Acupuncture Services through a
network of Contracted Chiropractors and Contracted Acupuncturist.
Bariatric Surgery Performance Center is a provider in Health Net's designated network of California
bariatric surgical centers and surgeons that perform weight loss surgery.
Brand Name Drug is a Prescription Drug or medicine that has been registered under a brand or trade name by
its manufacturer and is advertised and sold under that name, and indicated as a brand in the Medi-Span or similar
third party national Database used by Health Net.
Calendar Year is the twelve-month period that begins at 12:01 a.m. Pacific Time on January 1 of each year.
Chiropractic Appliances are support type devices prescribed by a Contracted Chiropractor specifically for the
treatment of a Neuromusculoskeletal Disorder. The devices this Plan covers are limited to elbow supports, back
(thoracic) supports, cervical collars, cervical pillows, heel lifts, hot or cold packs, lumbar supports, lumbar
cushions, Orthotics, wrist supports, rib belts, and home traction units (cervical or lumbar), ankle braces, knee
braces, rib supports and wrist braces.
Chiropractic Services are chiropractic manipulation services provided by a Contracted Chiropractor {or in
case of Emergency Services, by a non-Contracted Chiropractor) for treatment or diagnosis of
Neuromusculoskeletal Disorders and Pain syndromes. These services are limited to the management of
Neuromusculoskeletal Disorders and Pain syndromes primarily through chiropractic manipulation of the spine,
joints, and/or musculoskeletal soft tissue. This includes: (1) differential diagnostic examinations and related
diagnostic X-rays, radiological consultations, and clinical laboratory studies when used to determine the
appropriateness of Chiropractic Services; (2) the follow-up office visits which during the course of treatment must
include the provision of chiropractic manipulation of the spine, joints, and/or musculoskeletal soft tissue. In
addition, it may include such services as adjunctive physiotherapy modalities and procedures provided during the
same course of treatment and in conjunction with chiropractic manipulation of the spine, joints, and/or
musculoskeletal soft tissue.
Commercial Formulary is a list of the Prescription Drugs that are covered by this Plan. It is prepared and
updated by Health Net and distributed to Members, Member Physicians and Participating Pharmacies and posted
on the Health Net website at www.healthnet.com/uc. The Commercial Formulary is also referred to as
"Recommended Drug List". Some Drugs in the Commercial Formulary require Prior Authorization from Health Net
in order to be covered.
Contracted Acupuncturist means an acupuncturist who is duly licensed to practice acupuncture in California
and who has entered into an agreement with American Specialty Health Plans of California, Inc. (ASH Plans) to
provide covered Acupuncture services to Members.
Contracted Chiropractor means a chiropractor who is duly licensed to practice chiropractic in California and
who has entered into an agreement with American Specialty Health Plans of California, Inc. (ASH Plans) to
provide covered Chiropractic services to Members.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 139 of 167 Page ID
                                   #:146

 Section 900                                           Definitions                                              Page 78


Copayment is a fee charged to you for covered services when you receive them and can either be a fixed dollar
amount or a percentage of Health Net's cost for the service or supply, agreed to in advance by Health Net and the
contracted provider. The fixed dollar Copayment is due and payable to the provider. of care at the time the service
is received. The percentage Copayment is usually billed after the service is received. The Copayment for each
covered service is shown in "Schedule of Benefits and Copayments,a Section 3.
Corrective Footwear includes specialized shoes, arch supports and inserts and is custom made for Members
who suffer from foot disfigurement. Foot disfigurement includes, but is not limited to, disfigurement from cerebral
palsy, arthritis, polio, spina bifida, diabetes, and foot disfigurement caused by accident or developmental
disability.
Custodial Care is care that is rendered to a patient to assist in support of the essentials of daily Jiving such as
help in walking, getting in and out of bed, bathing, dressing, feeding, preparation of special diets, and supervision
of medications which are ordinarily self-administered, and for which the patient:
•    Is disabled mentally or physically and such disability is expected to continue and be prolonged;
•    Requires a protected, monitored, or controlled environment whether in an institution or in the home; and
          .
•   Is not under active and specific medical, surgical or psychiatric treatment that will reduce the disability to the
    extent necessary to enable the patient to function outside the protected, monitored or controlled environment.
Defined Disease is any deviation from or interruption of the normal structure or function of any part, organ, or
system (or combination thereof) of the body that is manifested by a characteristic set of symptoms and signs and
whose etiology, pathology and prognosis are known.
Domestic Partner is, for the purposes of this Evidence of Coverage, the Subscriber's same-sex spouse if the
Subscriber and spouse are a couple who meet all of the requirements of Section 308(c} of the California Family
Code, or the Subscriber's registered domestic partner who meets all the requirements of Sections 297 or 299.2 of
the California Family Code. Your Group allows enrollment of same-sex and opposite-sex domestic partners who
do not meet all of the requirements of Sections 297 or 299.2 of the California Family Code, so the term "Domestic
Partne,a also includes your domestic partner who meets your Group's eligibility requirements.
Durable Medical Equipment
•   Serves a medical purpose (its reason for existing is to fulfill a medical need, and it is not useful to anyone in
    the absence of illness or injury).
•   Fulfills basic medical needs, as opposed to satisfying personal preferences regarding style and range of
    capabilities.
•   Withstands repeated use.
•   Is appropriate for use in a home setting.
Effective Date is the date on which the Employee or Family Member becomes covered or entitled to benefits
under this Evidence of Coverage. Call your local Payroll or Benefits Office to confirm your Effective Date. Enrolled
Family Members may have a different Effective Date than the Subscriber if they are added later to the plan.
Emergency Acupuncture Services are covered services that are Acupuncture Services provided for the
sudden and unexpected onset of an injury or condition affecting the neuromusculoskeletal system, or causing
Pain or Nausea which manifests itself by acute symptoms or sufficient severity such that aperson could
reasonably expect that a delay of immediate Acupuncture Services could result in (1) placing the health of the
individual (or with respect to a pregnant woman, the health of the woman or her unborn child) in serious jeopardy;
(2} serious impairment to bodily functions; (3) serious dysfunction of any bodily organ or part; or (4) decreasing
the likelihood of maximum recovery. ASH Plans shall determine whether Acupuncture Services constitute
Emergency Acupuncture Services. ASH Plans' determination shall be subject to ASH Plans' grievance
procedures and the Department of Managed Health Care's independent medical review process.
•   Emergency Care includes medical screening, examination and evaluation by a Physician (or other
    personnel to the extent permitted by applicable law and within the scope of his or her license and privileges}
    to determine if an Emergency Medical Condition or active labor exists and, if it does, the care, treatment, and
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 140 of 167 Page ID
                                   #:147

 Section 900                                             Definitions                                            Page 79


     surgery, if within the scope of that person's license, necessary to relieve or eliminate the Emergency Medical
     Condition, within the capability of the facility.
 Emergency Care will also include additional screening, examination, and evaluation by a Physician (or other
 personnel to the extent permitted by applicable law and within the scope of his or her license and privileges) to
 determine if a Psychiatric Emergency Medical Condition exists and the care and treatment necessary to relieve or
 eliminate, the Psychiatric Emergency Medical Condition, either within the capability of the facility or by transferring
 the Member to a psychiatric unit within a general acute Hospital or to an acute psychiatric Hospital as Medically
 Necessary.
 Emergency Care includes air and ground ambulance and ambulance transport services provided through the
 "911 n emergency response system.
 Health Net will make any final decisions about Emergency Care. See "Independent Medical Review of Grievances
 Involving a DisP.uted Health Care Service" under "General Provisions" for the procedure to request Independent
 Medical Review of a Plan denial of coverage for Emergency Care.
Emergency Chiropractic Services are covered services that are Chiropractic Services provided for the
sudden and unexpected onset of an injury or condition affecting the neuromusculoskeletal system which
manifests itself by acute symptoms of sufficient severity, including severe Pain such thatperson could reasonably
expect that a delay of immediate Chiropractic Services could result in (1) placing the health of the individual (or
with respect to a pregnant woman, the health of the woman or her unborn child) in serious jeopardy; (2) serious
impairment to bodily functions; (3} serious dysfunction of any bodily organ or part; or {4} decreasing the likelihood
of maximum recovery. ASH Plans shall determine whether Chiropractic Services constitute Emergency
Chiropractic Services. ASH Plans' determination shall be subject to ASH Plans' grievance procedures and the
Department of Managed Health Care's independent medical review process.
Emergency Medical Condition is a medical condition manifesting itself by acute symptoms of sufficient
severity (including severe pain} such that the absence of immediate medical attention could reasonably be
expected to result in any of the following:
•    Placing the patient's health in serious jeopardy.
•   Serious impairment to bodily functions.
•   Serious dysfunction of any bodily organ or part.
Active labor is considered an Emergency Medical Condition. uActive labor" means labor at the time that either of
the following could reasonably be expected to occur: ( 1} There is inadequate time to effect safe transfer to
another Hospital prior to delivery; or (2) a transfer poses a threat to the health and safety of the Member or
unbomchild.
Evidence of Coverage (EOC) is the booklet that Health Net has issued to the enrolled Subscriber, describing
the coverage to which you are entitled.
Experimental is any procedure, treatment, therapy, drug, biological product, equipment, device or supply which
Health Net has not determined to have been demonstrated as safe, effective or medically appropriate and which
the United States Food and Drug Administration {FDA) or Department of Health and Human Services (HHS) has
determined to be Experimental or Investigational or is the subject of a clinical trial.
Please refer to "Independent Medical Review of Investigational or Experimental Therapies," "General Provisions,"
Section 7. for additional information.
Family Members are dependents of the Subscriber, who meet the eligibility requirements for coverage under
this Plan and have been enrolled by the Subscriber.
Follow-Up Care is the care provided after Emergency Care or Urgently Needed Care when the Member's
condition, illness, or injury has been stabilized and no longer requires Emergency Care or Urgently Needed Care.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 141 of 167 Page ID
                                   #:148

 Section 900                                         Definitions                                             Page80


 Generic Drug is the pharmaceutical equivalent of a Brand Name Drug whose patent has expired and is
 available from multiple manufacturers as set out in the Medi-Span or similar third party database used by Health
 Net. The Food and Drug Administration must approve the Generic Drug as meeting the same standards of
 safety, purity, strength, and effectiveness as the Brand Name Drug.
 Group is the business organization (usually an employer or trust) to which Health Net has issued the
 UC Standardized Contract to provide the benefits of this Plan.
 Health Net of California, Inc. (herein referred to as Health Net) is a federally qualified health
 maintenance organization (HMO) and a California licensed health care service plan.
Health Net Service Area is the geographic area in California where Health Net has been authorized by the
California Department of Managed Health Care to contract with providers, mai'Ket products, enroll Members, and
provide benefits through approved health plans.
Home Health Care Agency is an organization licensed by the state of California and certified as a Medicare
participating provider or accredited by the Joint Commission on Accreditation of Healthcare Organizations •
(JCAHO).
Home Health Care Services are services, including skilled nursing services, provided by a licensed Home
Health Care Agency to a Member in his or her place of residence that is prescribed by the Member's attending
Physician as part of a written plan. Home Health Care Services are covered if the Member is homebound, under
the care of a contracting Physician, and requires Medically Necessary skilled nursing services, physical, speech,
occupational therapy, or respiratory therapy or medical social services. Only Intermittent Skilled Nursing Services,
(not to exceed 4 hours a day), are covered benefits under this plan. Private Duty Nursing or shift care (including
any portion of shift care services) is not covered under this Plan. See also "Intermittent Skilled Nursing Services"
                           0
and "Private Duty Nursing.
Home Infusion Therapy is infusion therapy that involves the administration of medications, nutrients, or other
solutions through intravenous, subcutaneously by pump, enterally or epidural route (into the bloodstream, under
the skin, into the digestive system, or into the membranes surrounding the spinal cord) to a patient who can be
safely treated at home. Home Infusion Therapy always originates with a prescription from a qualified Physician
who oversees patient care and is designed to achieve Physician-defined therapeutic end points.
Hospice is a facility or program that provides a caring environment for meeting the physical and emotional needs
of the terminally ill. The Hospice and its employees must be licensed according to applicable state and local laws
and certified by Medicare.
Hospital is a legally operated facility licensed by the state as an acute care Hospital and approved either by the
Joint Commission on Accreditation of Healthcare Organizations (JCAHO) or by Medicare.
Infertility exists when any of the following apply to a Member, when the Member or the Member's partner has
not yet gone through menopause:
•   The Physician has diagnosed a medical condition that prevents conception or live birth; or
•   The Member has had coitus relations on a recurring basis for one year or more without use of contraception
    or other birth control methods which has not resulted in a pregnancy, or when a pregnancy did occur, a live
    birth was not achieved; or
•   The Member has been unable to achieve conception after six cycles of artificial insemination.
lntermittent Skilled Nursing Services are services requiring the skilled services of a registered nurse or
LVN, which do not exceed 4 hours in every 24 hours.
Investigational approaches to treatment are those that have progressed to limited use on humans but are not
widely accepted as proven and effective procedures within the organized medical community. Health Net will
decide whether a service or supply is Investigational.
With regard to Chiropractic Services and Acupuncture Services, "Investigational" services are chiropractic care or
acupuncture care that is investigatory.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 142 of 167 Page ID
                                   #:149

Section 900                                              Definitions                                              Poge81

Tier 1 Drugs include most Generic Drugs and some low-cost preferred Brand Name Drugs when listed in the
Commercial Formulary.
Tier 2 Drugs include non-preferred Generic Drugs, preferred Brand Name Drugs, insulin and diabetic supplies
and certain Brand Name Drugs with a generic equivalent when listed in the Commercial Formulary.
Tier 3 Drugs include non-preferred Brand Name Drugs, Brand Name Drugs with a generic equivalent (when
Medically Necessary), drug·s listed as Level Ill in the Commercial Formulary, drugs indicated as ~NF", if
approved,or Drugs not listed in the Commercial Formulary.
Maintenance Drugs are Prescription Drugs taken continuously to manage chronic or long term conditions
where Members respond positively to a drug treatment plan with a specific medication at a constant dosage
requirement.
Maximum Allowable Cost for any Prescription Drug is the maximum charge Health Net will allow for Generic
Drugs or Brand Name Drugs which have a generic equivalent. A list of Maximum Allowable Cost is maintained
and may be revised periodically by Health Net.
Medical Child Support Order is a court judgment or order that, according to state or federal law, requires
employer health plans that are affected by that law to provide coverage to your child or children who are the
subject of such an order. Health Net will honor such orders.
Medically Necessary (or Medical Necessity) means health care services that a Physician, exercising
prudent clinical judgment, would provide to a patient for the purpose of preventing, evaluating, diagnosing or
treating an illness, injury, disease or its symptoms, and that are:
    1. In accordance with generally accepted standards of medical practice;
    2. Clinically appropriate, in terms of type, frequency, extent, site and duration, and considered effective for
         the patient's illness, injury or disease; and
    3.   Not primarily for the convenience of the patient, Physician, or other health care provider, and not more
         cosUy than an alternative service or sequence of services at least as likely to produce equivalent
         therapeutic or diagnostic results as to the diagnosis or treatment of that patient's illness, injury or disease.
For these purposes, "generally accepted standards of medical practice" means standards that are based on
credible scientific evidence published in peer-reviewed medical literature generally recognized by the relevant
medical community, Physician Specialty Society recommendations, the views of Physicians practicing in relevant
clinical areas and any other relevant factors.
With regard to Chiropractic and Acupuncture Services, "Medically Necessary" services are Chiropractic and
Acupuncture Services which are necessary, appropriate, safe, effective and rendered in accordance with
professionally recognized, valid, evidence-based standards of practice.
Medicare is the Health Insurance Benefits for the Aged and Disabled Act, cited in Public Law 89-97, as
amended.
Member is the Subscriber or an enrolled Family Member.
Member Physician is a Physician who practices medicine as an associate of a contracting Physician Group.
Nonparticipating Pharmacy is a pharmacy that does not have an agreement with Health Net to provide
Prescription Drugs to Members.
Nausea means an unpleasant sensation in the abdominal region associated with the desire to vomit that may be
appropriately treated by a Contracted Acupuncturist in accordance with professionally recognized standards of
practice.
Neuromusculoskeletal Disorders are conditions with associated signs and symptoms related to the
nervous, muscular and/or skeletal systems. Neuromusculoskeletal Disorders are conditions typically categorized
as structural, degenerative or inflammatory disorders, or biomechanical dysfunction of the joints of the body
and/or related components of the motor unit (muscles, tendons, fascia, nerves, ligaments/capsules, discs and
synovial structures) and related neurological manifestations or conditions.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 143 of 167 Page ID
                                   #:150

Section 900                                          Definitions                                            Page82


Nurse Practitioner (NP) is a registered nurse certified as a Nurse Practitioner by the California Board of
Registered Nursing. The NP, through consultation and collaboration with Physicians and other health providers,
may provide and make decisions about, health care.
Open Enrollment Period is a period of time each Plan year, during which individuals who are eligible for
coverage in this Plan may enroll for the first time, or. Subscribers, who were enrolled previously, may add their
eligible dependents. Enrolled Members can also change Physician Groups at this time. The University may hold
Special Open Enrollment Periods in addition to the annual period in exceptional circumstances. For example:
Financial insolvency of other carriers currently used by the University or loss of providers in the University's
service areas.
The Group decides the exact dates for the Open Enrollment Period.
Changes requested during the Open Enrollment Period become effective on the first day of the calendar month
following the date the request is submitted, or on any date approved by Health Net.
Orthotics {such as bracing, supports and casts) are rigid or semi-rigid devices that are externally affixed to the
body and designed to be used as a support or brace to assist the Member with the following:
• To restore function; or
• To support, align, prevent, or correct a defect or function of an injured or diseased body part; or
• To improve natural function; or
•   To restrict motion.
Out-of-Pocket Maximum is the maximum amount of Copayments you must pay for Covered Services for each
Calendar Year. It is your responsibility to inform Health Net when you have satisfied the Out-of-Pocket Maximum,
so it is important to keep all receipts for Copayments that were actually paid. Deductibles and Copayments, which
are paid toward certain covered services, are not applicable to your Out-of-Pocket Maximum and these
exceptions are specified in "Out-of-Pocket Maximum,n Section 4.
Outpatient Surgical Center is a facility other than a medical or dental office, whose main function is
performing surgical procedures on an outpatient basis. It must be licensed as an outpatient clinic according to
state and local laws and must meet all requirements of an outpatient clinic providing surgical services.
Pain means a sensation of hurting or strong discomfort in some part of the body caused by an injury, illness,
disease, functional disorder, or condition. Pain includes low back Pain, post-operative Pain and post-operative
dental Pain.
Participating Pharmacy is a licensed pharmacy that has a contract with Health Net to provide Prescription
Drugs to Members of this Plan.
Period of Initial Eligibility (PIE) is the period during which an Employee or Family Member may enroll without
furnishing proof of insurability. The PIE begins the day the Employee or Family Member becomes eligible and
                                                                                                 51
ends 31 calendar days from the first date of eligibility (or the preceding business day if the 31 day is on a
weekend or a holiday).
Physician is a doctor of medicine {M.D.) or a doctor of osteopathy (D.O.) who is licensed to practice medicine or
osteopathy where the care is provided.
Physician Assistant is a health care professional certified by the state as a Physician Assistant and authorized
to provide medical care when supervised by a Physician.
Physician Group is a group of Physicians, who are organized as a legal entity, that has an agreement in effect
with Health Net to provide medical care to Health Net Members. They are sometimes referred to as a "contracting
Physician Group~ or "Participating Physician Group (PPGr. Another common term is "a medical group." An
individual practice association may also be a Physician Group.
Plan is the health benefits purchased by the Group and described in the UC Standardized Contract and this
Evidence of Coverage.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 144 of 167 Page ID
                                   #:151

 Section 900                                           Definitions                                             Page83

Prescription Drug is a drug or medicine that can be obtained only by a Prescription Drug Order. All
Prescription Drugs are required to be labeled "Caution, Federal law Prohibits Dispensing Without a Prescription.n
An exception is insulin and other diabetic supplies, which are considered to be a covered Prescription Drug.
Prescription Drug Order is a written or verbal order or refill notice for a specific drug, strength and dosage
form (such as a tablet, liquid, syrup or capsule issued by a Member Physician.
Preventive Care Services are services and supplies that are covered under the UPreventive Care Services"
heading as shown in USchedule of Benefits and Copayments.n Section 2, and "Covered Services and Supplies,"
Section 5. These services and supplies are provided to individuals who do not have the symptom of disease or
illness, and generally do one or more of the following:
•   maintain good health
•   prevent or lower the risk of diseases or illnesses
•   detect disease or illness in early stages before symptoms develop
•   Monitor the physical and mental development in children
Primary Care Physician is a Member Physician who coordinates and controls the delivery of covered services
and supplies to the Member. Primary Care Physicians include general and family practitioners, internists,
pediatricians, and obstetricians/gynecologists. Under certain circumstances, a clinic that is staffed by these health
care Specialists must be designated as the Primary Care Physician.
Prior Authorization is the approval process for certain services and supplies. To obtain a copy of Health Net's
Prior Authorization requirements, call the Customer Contact Center telephone number listed on your Health Net
ID card. See "Prior Authorization Process for Prescription Drugs" in the "Prescription Drugs" portion of "Covered
Services and Supplies" for details regarding the prior authorization process relating to prescription drugs.
Private Duty Nursing means continuous nursing services provided by a licensed nurse (RN, LVN or LPN} for a
patient who requires more care than is normally available during a home health care visit or is normally and
routinely provided by the nursing staff of a Hospital or Skilled Nursing Facility. Private Duty Nursing includes
nursing services {including intermittent services separated in time, such as 2 hours in the morning and 2 hours in
the evening) that exceeds a total of four hours in any 24-hour period. Private Duty Nursing may be provided in an
inpatient or outpatient setting, or in a non-institutional setting, such as at home or at school. Private Duty Nursing
may also be referred to as "shift care" and includes any portion of shift care services.
Psychiatric Emergency Medical Condition means a mental disorder that manifests itself by acute
symptoms of sufficient severity that it renders the patient as being either of the following:
•   An immediate danger to himself or herself or to others.
•   Immediately unable to provide for, or utilize, food, shelter, or clothing, due to the mental disorder.
Residential Treatment Center is a twenty-four hour, structured and supervised group living environment for
children, adolescents or adults where psychiatric, medical and psychosocial evaluation can take place, and
distinct and individualized psychotherapeutic interventions can be offered to improve their level of functioning in
the community. Health Net requires that all Residential Treatment Centers must be appropriately licensed by their
state in order to provide residential treatment services.
Skilled Nursing Facility is an institution that is licensed by the appropriate state and local authorities to
provide skilled nursing services. In addition, Medicare must approve the facility as a participating Skilled Nursing
Facility.
Special Care Units are special areas of a Hospital which have highly skilled personnel and special equipment
for the care of inpatients with Acute Conditions that require constant treatment and monitoring including, but not
limited to, an intensive care, cardiac intensive care, and cardiac surgery intensive care unit, and a neonatal
intensive or intermediate care newborn nursery.
Specialist is a Member Physician who delivers specialized services and supplies to the Member. Any Physician
other than an obstetrician/gynecologist acting as a Primary Care Physician, general or family practitioner, internist
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 145 of 167 Page ID
                                   #:152

 Section 900                                           Definitions                                            Page84

 or pediatrician is considered a Specialist. With the exception of well-woman visits to an obstetrician/gynecologist,
 all Specialist visits must be referred by your Primary Care Physician to be covered.
 Specialty Drugs are identified in the Health Net Commercial Formulary because they have at least one of the
 following features:
 •   Treatment of a chronic or complex disease
 •   Require high level of patient QlOnitoring, or support
·•   Require specialty handling, administration, unique inventory storage, management and/or distribution
 •   Require specialized patient training
 •   Are subject to limited distribution
 Specialty Drugs may be given orally, topically, by inhalation, or by self-injection (either subcutaneously,
 intramuscular1y or intravenously). A Jist of Specialty Drugs can be found in the Health Net Commercial Formulary
 on our website at healthnet.com/uc or by calling the Customer Contact Center telephone number listed on your
 Health Net 10 card.
 Subscriber is the principal eligible, enrolled Member. The Subscriber must meet the eligibility requirements
 established by the Group and agreed to by Health Net as well as those described in this Evidence of Coverage.
 An eligible employee (who becomes a Subscriber upon enrollment} may enroll members of his or her family who
 meet the eligibility requirements of the Group and Health Net
 Terminal Illness is an incurable or irreversible condition that has a high probability of causing death within one
 year or less. Completion of covered services shall be provided for the duration of a Terminal Illness.  ·
 Transplant Performance Center is a provider in Health Net's designated networ1c in California for solid
 organ, tissue and stem cell transplants and transplant-related services, including evaluation and Follow-Up Care.
 For purposes of determining coverage for transplants and transplant-related services, Health Net's network of
 Transplant Perfonnance Centers includes any providers in Health Net's designated supplemental resource
 network.
 UC Standardized Contract is the contract Health Net has issued to the Group, in order to provide the benefits
 of this Plan.
Urgently Needed Care includes otherwise covered medical service person would seek for treatment of an
injury, unexpected illness or complication of an existing condition, including pregnancy, to prevent the serious
deterioration of his or her health, but which does not qualify as Emergency Care, as defined in this section. This
may include services for which a person should have known an emergency did not exist.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 146 of 167 Page ID
                                   #:153

 Sectio11 10                                                 Notice o(Lammage Services                                                         Page86



 NOTICE OF LANGUAGE SERVICES
   English
   No Cost Language Seni.ces. You can get au interpreter. You can get documents read to you and some sent to you
   in your language. For help, callus at the nmnber listed on your ID card orcalll-800-522-00SS (ITY: 711).
   H you bought CO\'erage through th~ California marketplace call 1-888-926-4988 (TTY: 711). For more help:
   If you are emolled in a PPO or EPO insurance policy from Health Net Life h1surauce Company, call tbe
   CA Depr. of Tn<inrnnr,~;". :~t 1-800-927-4357. If you are enrolled in an HMO or HSP plan from Health Net of
   Califomia,lnc., call rhe DMHC Helpline at 1-SSS-HM0-2219.
   Arabic:
                  o~WI.):. u,........U ...!l.lo~J_,i.. ~,.J :)t. J,...._,..!t ..oi'S.;J .t;J~ ~_;... ;)=. J,.._!l ~ .4;",_.. ~~ ..::..~
    .):. U. J.,.:UI
        ''A~~;.} .(TTY: 711) 1-800-522-0088 ;,r:i :~.;~1 ~·.n jS_;- .)=. tJ,...:.::-1 ,i ~,..11 ~                        > .:..?._,..!' ri)'
      _,.i ~ ..:.lS Jb._,.i :~t....JI;.);. J~J {TTY: 711) 1-888-926-4988 ,-i)l;)=. ~ •'-:!';.*'ISJJoO;)<~I
        Health Net Life o~l .,.It- ~;;.oil!'~;:,.:;... EPO ~-~' o.:_,}JI UW1 Ji PPO ~~ 0-lJj.JI U:.:W1 ~i:l~,:
        ~ .,.i ~ ..:.:.s J'"" .,.i .1-SOD-927-4357 ,J)• ..,1:- \#.J.fo.l'.S ~ U:!-'b!l t--i> J.,.wt • Insurance Company
    bt.....ll ~ .)=. J...c.;! ,.Health Net of California, Inc~.;:. .J-> HSP ~~ J:!i.#' ~ Jl HMO :t........l!.> Uiil.a..JI
                                                             .1-888-HMD-2219 ,-i)l.):. DMHC i_;l~l ~~ ~-tc)l ~ .,.i

   Armenian
  Ul~t{~wp thqqruqwb bumtu]D'Ll~]DLhhbp: 'l-n1.p lJtUJUlit lip pwlmnJ.np pnupqtftubp~ umusbmt:
  cr>wuwwp1tphpn qruJllUl lib lJ.ruJUltUL O.hq bwdwp: Oqlmt.I~)tUb hmdmJl qwhqwhwphp illiq O.htt
  ID pwpm}l tJ.pru h2qwb hhnwlunuwhwtfwpmt_ qwd qwb.qwbwphp 1-800-522-0088 (TTY: 711)
  hhtlmll-wuwhunfmJmt.f: bph tuUituhmJ.wqp.nLtf hp qb.lit lttutlt!!JnJlbptujp 2Ut.qtujwljwb bjllUl'lWJHnqp
  upfngntl, qmbqtuhrutthp 1-888-926-4988 (TTY: 711) hlimulunuwbmtftn{Ultl; l.ptugnt.g}l.~
  oqbntpJtUb hmtfwp. hph wlu}wtfwqpqwb hp Healrh Net Life Insurance Company-)t PPO 'IJ.tuti EPO
  muptlhnqwqJIDLJ~Jmhn. qtubqwhwphp 'tfutJll!pnpb}ltnJp Untruhnqmqpm.pJlnlt pmdpb'
  1-800-927-4357 hhuwiuuuwhwtfwJUltl: bJ.~h wlu}uniwqJlqwb hp Health Net of California, lnc.-p HMO
  qtmr HSP bJIW<lJl!Jb, qwbqmbwphp DMHC oqbnt.pjwb qpb' 1-888-HM0-2219 hhmultmutuhunhn]tntl;

  Chinese
  ~~~~~m·~~~mo~A·~~~A~m~~~g~~~~@~~~·~~~~~~~
  M}gJifi*~ml1tX{!f~~!& • !-l!H~~W:J · rt/~1U0::~.t'l-F.J::.ffiYgtt~utffi!iwtm5!ti!~irl~::3 • ~~'til
   I-800-522-0088 (TIY: 711) • ~!JH.1HiH~»:i1JD#Iimmf~:SC~ifilJ}I!1ft}17](~ • ~i!i?lt
   1-888-9:!6-4988 ( TIY : 711 ) o !4IWS:illl-~UIJ : ~mf~J:ilil§ Health Net Life Insurance Company m:Gf-
  PPO !PG EPO f}iUI! • ~'i<1li 1-800-927-4357 fi!:1JDJt!Bf.~fui@~tr3 •:tm:tf!f~~l§ Health Net ofCalifomia, Inc.
  :i!ti* HMO~ HSP ~·itt · ili!J~?l! DMHC 'tfi£WJW~!J! 1-888-HM0-2219 •
  Hindi
  ~ ~ cm;fi mtrr mmr1 JrrQ' tmi ~ 1;:1'111' em'~~·~ c:"h'tlcl:it 'Q1: em'~
  ~ ~ ~~ ~ ~ ~. JfTQ$ lJ$T q;rg lR ~ mr ~ ikcR tR fal                                q;t, 'liT             m
  1-800-522-0088 (TTY: 711) tR q;'f(;J cfft'l ~ ~ Clil¥!4i~Ghn ~ t<lttr ~ ~ ~ ~
  ~~err 1-888·926-4988 (TTY: 711) lR Cli'tciJ mt1 ~ ~ ~ ft:rtr: ~ 3n'tf Health Net
  Life Insurance Company Qttft;;U PPO 'liT ~,ID EPO rftm tiffc:m't # CJICRifillrt ~. ciT a;~q;)fihn
  rftm f<.r:m;r fliT 1-800-927·4357 Ql' ~ Clit1 ~ 3fTtf Health Net of California, Inc. ~ ~m
  HMO 'liT QilQ'Aci'l HSP ~ # CIICRifaid ~.                    err
                                                :flt:!CRQil'fft DMHC t;t"QAI~CJ ~ 1-888-HM0-2219
  Q"{iifu;r~l
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 147 of 167 Page ID
                                   #:154

 Section /0                                        Notice ofLanguage Sen>ices                                          Page87



   Hmong
   Kev Pab Txbais Lus Dawb. Koj xav tau neeg txhais Ius los tau. Koj xav tau ueeg nyeem cov ntanb ntau'V kom
   yog koj homlus los tau. Kev pab, hn mn peb ntawm tus xov tooj teev nyob ran bauv koj daim ID card los yog
   hu rnu 1-800-522-0088 (ITY: 711). Yog tias koj yuav kev pov hwm nta\\m California marketplace hu
   1-888-926-4988 (ITY: 711). Xav tao kev pab ntxiv: Yog koj tau tsab nta\\'V hmv pov hwm PPO los yog EPO
   los utawm Health Net Life Insurance Company, humus rau CA Dept. oflnsurnnce ntawm 1-S00-927-4-357.
   Yog koj tau txoj kev pab kbo mob HMO los yog HSP los ntawm Health Net of California, Inc., hu mus rau
   DMHC tus xov tooj pab Helpliue ntawm 1-888-Hivi0-2219.

   Japanese
   1ff!l'i5.0)ttflt~- t:"Ao iifilm~ ~;ftJJfH• 'fctclt*To          13 *lilf1:Jt1lt~:tdiWI:.7J. L;* To   tJlljfj;l)t&~·~f.t#l
   ?.tl-j;, ID7J- t:"h:'il"r.~~n-cll'~='ilf{}*-e:tomtmv'tr.tc< n"', I-800-S22-oo8s, (TIY: 711>                  *-e:am
   Ir.S< tf.~IJ'o :/J !J 7;;t;v.=.7ffl(J)-v-~~ t-::fv-1' 7- (f:'f.~.AiT-1' f-.) ~ii!it"Cf:'f.~f.ri!W.A~tL
                                                             <
   tc./il;:t. 1-888-926-4988 (ITY: 711) "5: ~:tofl!H5 t{. ~ t. 'a ~ b J:.fAlWJ»t~~Z,~~Hlit :Health Net Life
   htSurance Company(J)PP0"5: tcliEPOf:t".~~ !J 'l-f;:1JJJ.Aan "Clt'o/Jii, 7J !J 7 ;;tJv.:::.7~if~JtR!.Q
   1-800-927-4357     *   ~ttt~~:ton.,tt '~b-tt <tc ~II\ Health Net of California, Inc. {I) HMO* t;: 1-j:HSPl~
   1JD.A~.h"t"li'o1Hi. DMHC"'-Jv::f7..{ :Y 1-888-HM0-2219 '*1:'ll1~1:':toPR,v'1:tbit( tc~IJ'o

  Khmer
  tnmmnnt~wrin~mfJ"1 ijriH1us~rumat:fnUFiiLuf11nnnii"1 ijnH1ut\,PtnRffiStlnnnt~ijf'i"1
  run:nutl~ru flJHS'lfist.m.Utl~mmtu:trua~Jrugitlnrtr~sts1ulimnruwru~amruijFi y mfistlts1a
   w.JtJCVUU9mfi9stlmriilgn~lsmml}s                 1-800-522-0088 (ITY: 711 }"1     turu"sijnmS9Q)mtmmnm
  tlmmw: st!Jlstsr~mfiitDs@ flJli~iru~ts'ftrua 1·888-926-4988 (TTY: 711)'1 rutmuiJ~wui~a i
  rutUSijFiffiSQ:Uty):rJtlimrumtnfltnmntntl PPO y EPO fltfjUtijStnmfUJttltrffi
  Health Net Life lnsura~ce Company flja9'lfi9tmrfmtufig'~Smmiitntl CA i'n'l:nw: ~ifUfJUU3
  1-800-927-4357"1 tUNSijnmsq:trl!fl:gtlitiStili HMO y HSP filfjatijs Health Net of California, Inc.
  'D          ei.Jh        t                     ••

 · lSt~mruUJi(!Jl flJHS'lti9tlUU3~ifUQt:ifiW DMHC i               1-888-HM0-2219"1

  Korean
   ¥-.5.   ~GJ .J-iH]C: . .g.~ '-'l~lc~ ~~         4=-   ~l:Q-Lir::~. ~"'~ '-J-~ J.i~lc.~ ~E..~~ ~~Litl.£%o1
  ~.9.:6}Al\1 ~~ ID 7}E.oJ] "T~~ 'ti~~ ~~is}Al.r:Jt.}l-S00-522-008S(TTY:7ll)~E..~ ;@~~
  Ej=-1}Al..£.. 7&2.)!f4o} 9' a}-~: ej)o]c_~ %c5ll Ji!.~~ -T 0J"6}~E..\11-888-926-498S (ITY: 711)
  Jti.Q..£ ~~'811 ?11"1..2.. .tf>.il· £%ol ~AS}-Al\1, HealthNetLifelnsuranceCompruly~l PPO !E.~
  EPO J!it)ofl 7}~s;JoJ ~2-"l~ ;;o!a}!!yo} 9- ~~~oJll-800·927-4357l8E..£ ~~ij}] 9-"iJ"l..£..
  HealthNetofCalifomia,Inc.~l HMO !E.~ HSP ~~oJl 7t~5:loJ ~E..Al\1 DMHC :S:.{}~~oJ]
   l-888-HM0-2219~E..~         7,1)l}gfl ""f-t)A]..£..

  Na,•ajo
  Saad Bee Aka E'eyeed T'aa Jffk'e. Ata' halne'igH h61Q. T'aa h6 hazaad k'ehjl naaltsoos hach'l' w61tah,
  Shika a'doowoJ nfnizlngo naaltsoos bee m!iho'dolzinfgff blkaa'gl beesh bee hane'l blkaa' aaj['
  hodfflnlh el doodall' 1-800-522-0088 (TTY: 711). California marketplace hoolyehijf beeso ach'~~h
  naanllf ats'rrs baa aMy~ blnllye nahinilnll'go ef koj[' holne' 1-888-926-4988 (ITY: 711). Shfka
  anaa'doowol jlnfzlngo: PPO el doodail' EPOQjf Health Net Ufe Insurance Company wolyehfjf beeso
  ach'~~h naa'nll blnllye hwe'ilna• blk'e'estl'go ei CA Dept. of Insurance blch1' hojllnlh 1-800-927-4357.
  HMO ef doodall' HSPQjf Health Net of California, Inc.Qjl beeso ach'~~h naa'nll blnllye hats'Us
  blk'e'estl'go ei kojl' hojllnlh DMHC Helpline 1-888-HM0-2219.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 148 of 167 Page ID
                                   #:155

Section /0                                                     Notice o(Language Services                                                                            Page88



  Persian (Farsi)
               .~~ ~1.} W~ly. .!U...:I o\S ~~I_?_;.: ';~lji U"" .~~~l.i.::~fo ~ .;;.ilyU"" .1)~1; .J~ ~,j~j r.:.-t...:.:..
                  ,_'I!JJ'\:
                  .._,     •V
                                     ·.c .... t...• t....!.:
                             . ..:W .rw~                     -.t · ....w ~>..l! l.:,,
                                                     ....,~a.-                  "='J~ t..:-~:\...:.\.l:; ..:..JI.S. .•
                                                                                                                    ~1
                                                                                                                       ;...S ,a!
                                                                                                                             -   ~JW'Ut...
                                                                                                                                       •             L>~t;l!..:it..,..,ri..:7~
                                                                                                                                           t...., ••~-               ~-·1"'
               4.;~   4 ~.ft. t.U'~Y.. ~,;i:ll.S ~'S.;Ij'.: ~.;l:. jl tJ~ ~Y. .J.t -~~-.;-w (TTY: 711) 1-800-522-QOSS
             r.S~ jl EPO 1.: PPO ""'\3 ~ ;J .}.1 :~ u-:~1.; t.::!!\,!J:l ~~.>! .~~ I.J--w (TTY: 711) 1-888-926-4988
   t.."'W 1-800-927-4357 "'.J'...::: ~ CA Dept. of Insurance~ •.;:;ll ~r:=Health Net Life Insurance Company ,
             ~~~I; .h=. ~ •.l::;l.! ~~ .Health Net of California, Inc                                          .s_,_. jl HSP y HMO ~\.Jy, .;J ..}.1 .~..JI..:
                                                                                                   .~~ "'"w 1-888-HM0-2219 "'Jt...:.. "-! DMHC

  Panjabi (Punjabi)
  ftrot fcrH waT3' 3 B'W ~I~ ff!cr ~ 1flS Cia~ -a1 ~a•g €H3'~d ~ STW fr!iJ
  tq ~ ~ HT ~'dOl MC€' Hi!t, ~ ~ ~ 3 ~ ~ '3 wfj 'a'5                          Hi~~                                             a-a
  1-aoo-s22-oo8s (TTY: 711) '::l~ora1 it~J81sladlfJfi~~ea'Cffiftw~~
  ~? 1-888-926-4988 (TTY: 711) ''3~ c:;ra, ~>ree mft: H ~Health Net Life Insurance
  Company ~ PPO Hi -et§it EPO ~ ~ RftJ ~ ~' 3' d8lflan1¥ 'EftHr ~ ~
  1·800-927-4357 ''3 Cii"H ~I H ?Jff Healh Net of California, Inc. "3 firer~ HMO Hi~
  HSP lffio ~ ~ ~ 3i ~ DMHC ~?;                             ;;
                                                               1-888-HM0-2219 '3 'a'5 c:;ral

  Russian
   Sccnmi'I'H:t}l IIOMOJJ~h nepcnon•n1Kon. 81>1 MmKCTC nony•nrrb no~tOII\b yCTuOJ'O nepeBO/t'mKa.
   Bmt MOI)"I' npo•mTttTJ. no~yMCIITI>I. 3a no~tOll.lhiO o6pam.nrtrecL K ua.\t no TeJJec~ony, npunenetmo:..ty ua
  uameii •m.eHTitrfnnmu,JIOmloii a.::ap·ro•IKC y•tac-nun::a mrnna. KpoMc Toro. n~o~ MOjKe'l·c noJsOtllt1'b n
   1-800-522-0088 (TIY: 711). Ecmt ctmJo (.Tpaxom.::y llbl npuoGpemt na eromoM cm"i'l'e no npOAajKe
  MCIU11UIIICKIIX C'lpaxonos.: B 1111':\'I'C Ka'lu<f>opuml. 'lll0JIIl1'C no 'l'C1JC<jmny 1-888-926-4988 (TIY: 711).
  JlonomurrenLIIIDI uOMOUtb: Ecnu Uht utm!O•tellw IJ uomtc PPO unu EPO o·r C'rpaxouoi'l KoMnatnm Health Net
  Life Insurance Company, 3nomrre o JJ,cnaJ)'r:tlllcm· crpaxooamut m·raTU Krum¢opmtH (CA Dept. of Insurance),
  ·re.neq,ou 1-800-927-4357. Ecnn n1.1 m.::JUO'ICIIM o mHUJ HMO IL'IJJ HSP OT ctp:txono•"i Ko111namm Health Net of
  Califomia, Inc., 3DOtruTe no Kotrr.u.."ntoil n•tmm Acnap'l':lliiCtrra ynpaii!UICMOI'O MCAIIItlrHCKoro oUcJJ)'jKUDamut
  DMHC, TCJtecfmnl-88S-ffi,.10-2219.

  Spanish
  SeiVicios de idiomas sin costo. Puede solicitar un interprete. Puede obtener el servicio de lectura de
  docnrnenros y recibir algunos en su idioma. Para obtener ayuda,llamenos al mimero que figura en su
  tarjeta de identificaci6n o commliquese con el Centro de Comunicaci6n Comercial de Health Net, al
  1-800-522-0088 (ITY: 711). Si adquiri6 1a coberrura a rraves del mercado de California,llame al
  1-888-926-4988 (TTY: 711). Para obtener mas ayuda, haga lo siguieute: Siesta inscrito en una p6liza de
  seguro PPO o EPO de Health Net Life Insurance Company.llame al Departamento de Seguros de California,
  al 1-800-927-4357. Siesta inscrito en \rn plan HMO o HSP de Health Net of California, lnc.,llame ala linea
  de ayuda del Departamento de Atenci6n Medica Administrada, all-888-HM0-2219.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 149 of 167 Page ID
                                   #:156

Section 10                                        No#ce o(Lommage Services                                                Page89


  Tagalog
  Walang Bayad na Mga Serbisyo sa Wika. Makakaknha kayo ng isang interpreter. Makakakuha kayo ng mga
  dokmnento na babasahin sa inyo. Para sa ntlong, tawagan kami sa nakalistang nmncro sa inyong ID card
  o tawagan ang 1-800-522-0088 (TTY: 711). Kung bwnili kayo ng pagsakop sa pamamagitan ng California
  marketplace tawagan ang 1-888-926-4988 ('ITY: 711). Para sa higit pang tulong: Kung nakatala kayo sa
  insurance policy ng PPO o EPO mula sa Health Net Life Insurance Company. tawagan ang CA Dept. of
  Insurance sa 1-800-927-4357. Kung nakatala kayo sa HMO o HSP na plan mula sa Health Net of California,
  Inc., 1awaga11 ang Helpline ng DMHC sa 1-888-ITh·I0-2219.

  Thai
 'biiithu~m"i~1Uil1H1 ~ma-un"inl'limu'!ii' flmtnm"irtl\fthtmmR11ll;~lft' Lhwium1mhml\iia 1wnmTlil1JJ
                               •
                                       .             •
                                                       .                                                            .
 1-nnuul'll.fil""l-fuuu'il"itl"i::'ihii'Tn<hlflm "~a ln'il\1~m.iilflliitnil1mn1"il·n"LLa~ 1-800-522-0088 (ITY: 711) 1-nnmt~
 -i'ufi11Uft'mt"ia-1thmrn Callfomla marketplace lm 1-888-926-4988 (TTY: 711) thwi'uf1nu·1hvmiim~miiu ,,n
            •
 ~nttUJfl'imn"nn.i'i1JJ:tl1trnultl PPO \\~tl EPO rltJ Hea!Ut Net life Insurance COmpany lmmn'i1Jn1'iU'i:muiufi!
 llAOwaiiiiv,~i11-800-927-4357 \\1mUIUUJA"illNU HMO \.\~tl HSP nu HeaiUl Net of Callfomla, Inc. ln'i\'\1R1mibU
                                                •
 t111llibfJl\\~tl'Dtlil DMHC l~fl1-888-HM0-2219.

 Vietnamese
 Cac Djcb VI} Ngon Ngii :Mi~u Phi. Qny vi c6 thec6 m9t ph.ien dich vieo. Quy vj co tbeyeu ~a1 dtrg·c dc;x:
 cho ughe tai li~u. Denb~ trq- giup. hay gQi cho chtiug t6i theo s5 dlf(}C li~t ke tren the ID cua quy vj ho~c
 gQi 1-800-522-0088 (ITY: 711). Ne'u quy vi nma khoan bao tra thOng qua thj tnr&ng California
 1-888-926-4988 (ITY: 711). De'uhijn them frQ' giup: Neu qu)• vj d11ng J..j hQ'P datg bt\o hiem PPO ho4c
 EPO tli Health Net Life Insurance Company, vui long gQi S& Y TeCA tbeo sC:fl-800-927-~357. Ne\1 quy
 'i d~ng ky vito ch\101lg trluh HMO ho~c HSP til Health Net of California, Inc., vui long gQi DuO'Ilg Day
 Tn;r Giup D~rnc theo so 1-888-HM0-2219.




 CA Conunercial On a11d Off-Exchange Member Notice of Language Assistance
                                                                                               FLY007785EHOO (06/16)
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 150 of 167 Page ID
                                   #:157



 NOTICE OF NONDISCRIMINATION
 In addition to the State of California nondiscrimination requirements (as described in benefit
 coverage documents), Health Net complies with applicable federal civil rights laws and does
 not discriminate on the basis of race, color, national origin, age, disability, or sex. Health Net
 does not exclude people or treat them differently because of race, color, national origin, age,
 disability, or sex.

 Health Net:

 •   Provides free aids and services to people with disabilities to communicate effectively with
     us, such as qualified sign language interpreters and written information in other formats
     (large print, accessible electronic formats, other formats).
 •   Provides free language services to people whose primary language is not English, such as
     qualified interpreters and information written in other languages.
 If you need these services, contact Health Net's Customer Contact Center at: 1-888-926-4988
 (TrY: 711)

 If you believe that Health Net has failed to provide these services or discriminated in another
 way on the basis of race, color, national origin, age, disability, or sex, you can file a grievance
 by calling the numbers above and telling them you need help filing a grievance; Health Net
 Customer Contact Center is available to help you. You can also file a grievance by mail, fax or
 online:

  Health Net
  P.O. Box 10348
· Van Nuys, CA 91410-0348

 Fax: 1-877-831-6019

 Online: healthnet.com


 You can also file a civil rights complaint with the U.S. Department of Health and Human
 Services, Office for Civil Rights, electronically through the Office for Civil Rights Complaint
 Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at: U.S.
 Department of Health and Human Services, 200 Independence Avenue SW., Room 509F,
 HHH Building, Washington, DC 20201, 1-800--368-1019, (TDD: 1-800--537-7697).

 co'mplaint forms are available at http://www.hhs.gov/ocrloffice/file/index.html.
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 151 of 167 Page ID
                                   #:158

Section 11                                          Index                                                Page92


 INDEX

                                                            Diaphragms, 11, 12, 28
 A                                                          Dietary, 35, 40
Abortions, 8, 18                                            Domestic Partner, 64
Acupuncture, 33                                             Domiciliary Care, 32
Allergy, 8, 16, 40                                          Durable Medical Equipment, 10, 20, 27, 36, 64
Ambulance, 6, 10, 19
Appeal, 44, 4 7                                               E
Appetite Suppressants, 1 J, 28, 40                          Education, 10, 19,21
Appointment, I, 47                                          Effective Date, D, 1, 33, 52, 63, 65
Arbitration, 44, 45, 47, 48                                 Eligibility, 2, 30, 33, 43, 45, 46, 65, 68, 69
Authorization, 5, 21, 22, 25, 26, 29, 30, 60, 61,           Emergency, 1,2,3,4,5,6, 7, 11, 13, 19,26,28,
 62,69                                                        30,35,37,39,41,45,47,54,56,58,59,62,
                                                              65, 70
 B                                                          Enrollment, C, 1, 2, 33, 43, 62, 67, 70
Behavioral Health, 7, 13, 26, 37                            Sexual Dysfunction, 11, 13, 28,41
Blood, 10, 12, 13, 19,21,23,27,34                           Experimental or Investigational, 22, 33, 34, 46,
Blood Glucose Monitoring Test Strips, 12                      47,65
Brand Name Drugs, 26, 66                                    Extension of Benefits, 33,43
                                                            External Independent Review, 44
 c
                                                             F
Calendar Year, 7, 11, 13, 14, 28, 42, 54, 64, 68
Cervical Caps, 11, 12, 28                                   Family Planning, 1, 9, 18, 28
Cesarean, 8, 18                                             Financial Responsibility, 3, 12, 53
Chemotherapy, 10                                            Food and Drug Administration (FDA), 16, 17,
Chiropractic Services, 34                                     23,26,29,30,31,32,40,41,42,65
Circumcision, 8                                             Fraud, 59
COBRA, 55
Contraceptive Devices, 9, 11, 12                             G
Contraceptives, 9, 28                                       Gamete Intrafallopian Transfer (GIFT), 34
Coordination ofBenefits (COB), 53, 54, 55, 56               Generic Drugs, 26, 30, 66
Cosmetic Services, 34                                       Genetic Testing, 8, 18, 37
Counseling, 19, 20, 57                                      Grievance, 44, 45, 46, 47
Covered Services and Supplies, 7, 12, 15, 32,
  33,35,39,40,41,52,53,58,68                                 H
Custodial Care, 19, 32, 64                                  Health Evaluation, 7, 15, 16
                                                            Health Evaluation (includes annual preventive
 D
                                                             physical examinations), 7
Dental Services, 24, 35                                     Hearing Aids, 10, 21
Department of Managed Health Care, 45, 46,                  Horne Health, 10, 19, 66, 69
 47,66                                                      Hospice, 10, 20, 66
Dependents, 65, 67                                          Hospital, D, I, 5, 6, 7, 8, 9, 11, 18, 19, 20, 23,
Devices, 9                                                   24, 27, 35, 36, 37, 38, 43, 51, 52, 53, 54, 59,
Diabetic Supplies, 10, 12, 13, 19, 27                        65, 66,69
Diagnostic Procedure, 18, 3 7
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 152 of 167 Page ID
                                   #:159

 Seclion II                                            Index                                               Page93


                                                               Prescription Drugs, 6, 12, 21, 26, 27, 28, 30, 31,
 Immunizations, 8, 16, 40, 41                                    37,39,40,41,58,66,67,68,69
 Independent Review, 33                                        Primary care physician, 3
                                                               Primary Care Physician, 2, 5, 15, 16, 25, 48, 57,
 Infertility, 1, 9, 11, 18, 34, 66
 Injections, 10, 16, 21, 34, 40,41                               68,69
 Inpatient, 7, 8, 9, 11, 20, 23, 25, 69                        Prior Authorization, 13, 24, 26, 27, 28, 29, 30,
 Insulin, 8, 11, 12, 17, 19, 21, 22, 27, 37, 40, 41,             35,37,40,41,42,66,67,69
                                                               Prostheses, 10, 21, 22,23
   68
 In-Vitro Fertilization (IVF), 34                              Prosthesis, I 0

  L                                                             R

Laboratory, 10, 11, 17, 24, 37                                 Commercial Formulary, 6, 11, 12, 26, 27, 28,
Lancets, 11, 12, 13, 21,27                                       29,31,37,40,41,42,66,67,69
                                                               Reconstructive Surgery, 24, 34
  M                                                            Referral, 2, 7, 13, 16, 25, 26, 54
                                                               Rehabilitation Therapy, 8, 17, 19, 24, 38
Mail Order, 12, 13, 30, 31                                     Renal Diaiysis, 22
Maintenance Drugs, 12, 13, 67                                  Residential Treatment, 69
Malpractice, 47,49                                             Retail, II, 30
Mastectomy, 10, 22, 24, 34, 35                                 Retiree, 55
Medi-Cal, 57
Medical Child Support Order, 58, 67                             s
Medicare, 37, 53, 56, 57, 66, 67, 69
                                                               Second Opinion, 25
  N                                                            Self lnjectible, 8
                                                               Semiprivate Room, 11
Needles, 12, 13, 17, 21, 27, 33,40                             Service Area, 2, 22, 66, 67
Norplant, 9                                                    Skilled Nursing Facility, 8, 11, 19, 24, 37,69
Notice of Language Services, 71                                Smoking Cessation, It, 13, 27, 42
Nuclear Medicine, 10                                           Specialist, 2, 7, 16, 26, 41, 46, 69
                                                               Sterilization, 1, 9, 38
  0                                                            Subscriber, 2, 55, 59, 64, 65, 67, 69
Occupational Therapy, 8, 17, 66                                Surgery, 9, 10, 21, 24, 25, 34, 35, 38
Orthotic, 67                                                   Surgical, 10, 11, 17, 18, 22, 35, 36, 38, 54, 64,
Out-of-Pocket Maximum (OOPM), 14                                 68
Outpatient, 8, 9, 11, 22, 24, 35, 68                           Surrogate Pregnancy, 39
                                                               Syringes, 12, 13, 17, 21, 27,40
  p
                                                                T
Period of Initial Eligibility, 68
Phannacies, 12, 26, 30, 41, 66, 69                             Terminally Ill, 20, 66
Phannacy, 6, 11, 12, 14, 17, 19, 28, 29, 30, 31,               Termination, 2, 33, 43, 52
  40,41,67,68                                                  Therapeutic Committee, 29
Physical Therapy, 8, 11                                        Totally Disabled, 43
Physician Visit, 7, 8                                          Transplant, 22
Pregnancy, D, 1, 6, 8, 18, 39, 52, 70
Premium, 60                                                     u
Prenatal and Postnatal, 18                                     Unauthorized Services, 39
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 153 of 167 Page ID
                                   #:160

Section 11                           Index                              Page94


Urgent Care, 2, 7, 26                        Visit to Physician, 7
Usual and Customary Fees, 54
                                              X
  v                                          X-ray, 10, 11,17,24
Vision, 7, 16, 39
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 154 of 167 Page ID
                                   #:161




                Contact us
                Health Net
                Post Office Box 9103
                Van Nuyst California 91409-9103

                Customer Contact Center
                1-800-539-4072 or www.healthnet.com/uc

                1-800-331-1777 (Spanish)
                1-877-891-9053 (Mandarin)
                1-877-891-9050 (Cantonese)
                1-877-339-8596 (Korean)
                1-877-891-9051 (Tagalog)
                1-877-339-86~1 (Vietnamese)


               Telecommunications Device for
               tbe Hearing and Speech Impaired
                1-800-995-0852




       Health Net ofColifomia. Inc. is o subsidiary of Health Net, Inc.
       Hcolth Net® is o registered service llUilk ofHenlth Net, Inc. All rights reserved.
                 Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 155 of 167 Page ID
                                                    #:162



                                                                        SERVICE CIST

                          2                              Barkan v. Health Net of California, Inc., et al.
                                                                    Case No.: BC71l987 ~·
                          3

                          4   CT Corporation Syst~m                               Registered Agent for Service of Process 9f:
                            . 8'18 W. Seventll. Stre~t, Ninth Fl.
                          5 Los Angeles, CA ·900 17                               Health Net qf California;· Inc.;
                                                                                  Health Nei Life Instir~ce Company;
                          6                                                       M:maged Health Network, Iri_£.; '\·~'· ·
                                                                                  Health Net, Inc.; ~d              · ..,
                          7                                                       Ceritene Corooration

                          8

                          9

                         10

                         11
           0:
           0             12
zw.   z.,
      ou..
           0
                 :::;;
-   f= X         ... o
<( <('"'         "o n
..J 0: z         ;;:
lD.   r;:0: z•   __,
                 "'"'
                 ....
~ 8~             _z   14
z . ;( "'0 "'"'
           -x    •• <(
<(    z"'  w_,
      oo:
I     Vi,..      Z->
                 O<      15
<(    :n
       ~
..J u. ..,
                 xu
                 ~;i
..J ~        ... ;.:
           6 ::'3:   16
<( a. ..
()    <(   ~
                         17

                         18

                         19

                         20

                         21

                         22
                         23

                         24

                         25
                         26

                         27

                         28

                                                                             - 2-
                                                                       Proof of Service
                 Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 156 of 167 Page ID
                                                    #:163




                               CALLAHAN & BLAINE, APLC
                               Daniel J. Callah~ (Bar No. 91490)
                           2   Edward Susolik (Bar No. 151081)
                               RichardT. Collins (Bar.No. 166577)
                           3   Damon D. E~senbrey (BarNo. 215927)
                               3 Hutton Centre Drive, Ninth Floor
                           4   Santa Ana, Caiifomia 92707
                               Telephone: (714) 241 A444
                           5   Facsimile: (714)_241-4445

                           6   Attorneys for Plaintiff Ohad Barkan,
                               individually and on behalf of all others similarly si~ated
                           7

                           8                                 SUPERJOR COURT OF CALIFORNIA

                           9                                       COUNTY OF LOS ANGELES

                          10

                          11   OHAD BARKAN, individually and on behalf             CASE NO.         BC711987
            0:                 of all others similarly situated, ·
            0
£.IJ     5:; ...          12                                                       Assigried to:
-<
Z ;::"-o,.
  ~~:::;~~
.....l
         o:z:"'vo·
         0.-<,!. .        13
                                                      Plaintiff,                   Hon. Kenneth Freeman
                                                                                   Dept. 14
t:O a:'!!z ... ;::                    v.
         8WQ:~:5
o<!! ;::~~:!Z:            14
         :5~~~~                HEALTH NET OF CALIFORNIA, INC., a                   NOTICE OF INITIAL STATUS
~   :;!wou.;j
    :i!!«•Z..J
;r: ol-<o«                15   California corporation;                             CONfEllliNCE
-<       (jj~~ii:~             HEALTH NET LIFE INSURANCE
         ::Jo;.; w ~
....J
......:1 u..z .._ ....1
         oozw             16   COMPANY, a California corporation;                  Date: October 5, 2018
u<       a: ..........
         Q.l-(1)
         «=>                   MANAGED HEALTH NETWORK, INC., a                     Time: 10:00 a.m.
            z
                          17   Delaware corporation; ·                             Dept: 14     ··
            "'                 HEALTH NET, INC., a Delaware
                          18   corporation;            ·                           Complaint Filed:       June 29,2018
                               CENTENE CORPORATION, a Delaware                     Trial Date: .          None Set
                          19   corporation; and
                               DOES I through 100, inclusive, ·
                          20
                                                     Defendants.
                          21

                          22
                                      PLEASE TAKE NOTICE that the Court has set an Initial Status Conference for October
                          23
                               6, 2018 at 10:00 a.m., in Department 14 located in the Spring Street Courthouse, at United States
                          24
                               District Court, at 312 N. Spring Street, Los Angeles, California· 90012.
                          25
                                      Attached to this Notice are the Court's Minute Order and Initial Status Conference Order.
                          26

                          27

                          28


                                                               Notice oflnitial Status Conference
               Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 157 of 167 Page ID
                                                  #:164




                                                                c~."'
                               Dated: July 17,2018
                          2

                          3
                                                                 By:                                .
                          4                                              Daniel J. Callanan .     .         ·
                                                                       . Edward Susolik ·
                          5                                              Richard T.· Collins
                                                                       . Damon D. Eisenbrey
                          6                                              Attorneys for.Plaintiff Ohad Barkan,
                                                                         individmilly ~d on behalf of all others similarly
                          7                                              situated       ·

                          8
                          9.

                         10
                         11
W
         "'0
       ;o:O              12
z
~
       g~~ ~
       <:J:~"f'~
~     ~~"'::8
...:I o.-< • .           13
a:! o:z;z;3:
· · 8wo:N:5
c(! ;!:==~~%             14
    5~~!:::.~
Z      -'wo """
<
::r:   ~"' -~:::l
       0~;20<            15
"'( iiiw..:.'::~
...:I SJ<.>..:w3:
......) u..z ... ...1~
        oozU1            16
u< ...... (/)
       0::,_<( ...

       <(=>
        ·X
                         17
          "'
                         18
                         19

                         20

                         21

                         22

                         23

                         24
                         25

                         26
                         27

                         28

                                                                    - 2-
                                                     Notice oflnitial Status Conference
        Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 158 of 167 Page ID
                                           #:165
                                                     .                      .
              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   07/11/18                                                                                  DEPT.   SS14
HONORABLE   KENNETH R. FREEMAN                      JUDGE       R. ARRAIGA                     DEPUTY CLERK


HONORABLE                              JUDGE PROTEM                                       ELECTRONIC RECORDING MONITOR
Add-On #1
        T. LEWIS, C.A.                       Deputy. s.heriff   NONE                                  Reporter


             BC711987                                           Plaintiff
                                                                Counsel
             OHAD BARKAN                                                     NO AP,PEARANCES
             VS                                                 Defendant
             HEALTH NET OF CALIFORNIA INC ET                    Counsei



             Complex- 7-11-2018

             NATURE OF PROCEEDINGS:

             COURT ORDER REGARDING NEWLY FILED CLASS ACTION

             By this order, the Court determines this case to
             be Complex according to Rule 3.. 400 of th~ California ..
             Ru+es of Court. The Clerk's Office has randomly
             assigned this case to this department for all
             purposes..
             By this order, the Court stays the case, except
             for service of the Summons and Complaint. The stay
             continues at least until the Initial Status ·
             Conf~rence. rnitial Status Conference· is set for
             O~tobe~ 5, 2018, at ~0:00a.m., in this department.
             At least lO days piior to the Initial Status
             Conference, counsel for all parties ·must discuss .
             the issues set forth in the Initial Status Conference
             Order·. issued this date .. The Initial Status Conference
             Order is to help the Court and the parties .manage this
             complex case by developing an orderly schedule for
             briefing, discovery, and court hearings. The parties
             are informally encouraged to exchange documents and
             information as may be useful for case evaluation.

              Respo"nsive pleadings shall not be filed until further
              Order of the Court. Pa~ties must file a Notice of
            . Appearance in lieu of an Answer or other responsive
              pleading. The filing of a Notice of Appearance shall
              not constitute a· waiver of any substantive or
              procedural challenge to the Complaint. Nothing in this
              order stays the time for filing ~n Affidavit of
                                                                                               MINUTES ENTERED
                                      Page          1 of         3          DEPT. SS14         07/11/18
                                                                                               COUNTY CLERK
        Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 159 of 167 Page ID
                                           #:166

              ·SUPERIOR COURT OF CALIFORNIA, COUNTY OF .LOS ANGELES

DATE:   07/11/18                                                                                DEPT. SS14

HONORABLE    KENNETH R. FREEMAN                        JUDGE   R. A.RR.AIGA                  DEPUTY CLERK


HONORABLE.                              JUDGE PROTEM                                    ELECTRONIC RECORDING MONITOR
Add·-On #l
         T.     LEWI~,   C·.A.                Deputy Sheriff   NONE                                · Reporter


              BC711987                                         Plaintiff
                                                               Counsel
              OHAD BARKAN                                                   NO APPEARANCES
             VS ·                                              Defendant
             HEALTH NET OF CALIFORNIA INC ET                   Counsel



             Complex- .7-11-2018

             NATURE' OF PROCEEDINGS:

             Prejudice pursuant ·to Code of c.{vil Procedure Section
             170'. 6.

             Counsel are directed ~o access the. following. link for
             information on procedures in the Complex Litigation
             Program courtrooms:

             .http: I /www .lacour't. org/divisio~/civil/CI0037. aspx

             According t'o Government Code section 70616
             sUbdivisions {a) and (b)   each p'art-y shall pay a fee'·
                                               1   •

             of $1,.000.00 to the Los Angeles· Superior Court within
             10 calendar days from thi~ date.         ·

             The Plaintiff must serve a copy of this Minute Order
             and the attached Initial Status·Conference Order.
             on all· parties forthwith and file .a Proof of Service
             in this department within seven days of service.

                         CLERK 1 S CERTIFICATE: OF .. MAILING


             I, the'below-named Executive Officer/Clerk of the
             above-entitled court, do hereby c~rtify that I am
             not a party to the cause herein, and that·on this
             date I served this Minute Order and.the
             Initial Status Conference Order
             upon each party or counsel named below by placing
             the document for collection and mailing so as to.
             cause it to. be deposited.in the United States mail
                                                                                             MINUTES ENTERED
                                       Page            2 of     3          DEPT. SS14        07/11/18
                                                                                             COUNTY CLERK
         Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 160 of 167 Page ID
              :<.,.    • f.,';.:    .....
                                            #:167
                 :
                      ...      .;




                SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   07/11/18                                                                                                  DEPT. SS14

HONORABLE   KENNETH R . FREEMAN                                       JUDGE      R. ARRAIGA                    DEPUTY CLERK

HONORABLE                                                JUDGE PROTEM                                     ELECTRONiC RECORDING MONITOR
                                                                                                                        ..i
Add-On #1
        T. LEWIS, C.A.                                         o·epucy Sheriff   NONE                                 Reporter


             BC711987                                                            Plainriff
                                                                                 Counsel
             OHAD . BARKAN                                                                    NO APPEARANCES
             VS                                                                  Defendanl
             HEALTH NET OF CALIFORNIA INC ET                                     Counsel



             Comp~ex-                       7-11-2018

             NATURE OF PROCEEDINGS:

              at ·the courthouse in Los Angeles,
              Cal-ifornia, one··copy of the original filed/entered
              herein in a s_eparate sealed envelope to each address
              as shown below with the postage thereon fully prepaid,
            . in.accordance with ·standard court pr~ctices. ·       ·


            Dated: July 11, 2018

            Sherri R. Carter, Executive Officer/Clerk                                             .'


            By: R. ARRAIGA, Deputy Clerk



            Richard Collins
            CALLAHAN & BLAINE, APLC
            3 Hutton C~nter Drive, .Ninth-Floor
            Santa Ana, CA ! 92707.
                                                                                                                              ........ :.




                                                                                                             MINUTES ENTERED
                                                        Page         3 of         3          DEPT. SS14      07/11/18
                                                                                                           . COUNTY CLERK
     Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 161 of 167 Page ID
                                        #:168
.I




         1
         2
         3
                                                                     s;~l-·
                                                                          Jut·!~r 1   gam
         4
         5
         6
         7                         SUPERIOR COURT OF .THE STATE OF CALIFORNIA

         8.                                      COUNTY OF LOS ANGELES

         9                                          . CENTRAL DISTRICT

        10                                                          Case No. BC711987

        11                                                          INITIAL STATUS CONFERENCE ORDER
              OHAD BARKAN, et al.,
                                                                    (COMPLEX LITIGATION PROGRAM)
        12             Plaintiff, .
                   vs.
                                                                    Case Assigned for Ali·Purposes to
        13                                                          Judge;Kenneth R. Freeman
           HEALTH NET OF CALIFORNIA, INC.: et
        14 al., ·
                                                                    Department: 14
                            Defendants ..                           Date:      October 5, 2018
        15                                                          Time:·      10:00 a.m. ·
        16
                     This case has been assigned for a11 purposes to Judge Kenneth R. Freemari in the Complex
        17
        18 Litigation Program. An Initial Status Conferen~e is set for October 5, 2018, at 10:00 a.m.; in

        19 Department 14 located in the Spring Street Courthouse, at United States District Court, at 312

        20 N: SpringStreet, Los Angeles, California 90012. Counsel fOJ." all the parties are 9rdered to attend.
        21           The Court· orders counsel to prepare for the Initial Status Conference by identifying and
        22
              discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to
        23

                                                                I
              agree, as possible, on a case management plan. To this end, counsel must file a Joint Initial Status
        25
        26 Conference Class Action Response Statement ten (1 0) court days (September 21, 2018 and

        27 provide a conformed courtesy copy DIRECTLY in Department 14) before the Initial Status

        28
                                              INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 162 of 167 Page ID
                                   #:169




        Conference. The Joint Response Statement must be filed on line-numbered pleading paper and

    2 must specifically answer each of the below-numbered questions. Do not the use the.Judicial

    3 Council Form CM-1 10 (Cas.e Management Statement).for this purpose:

    4          1. PARTIES AND COUNSEL: Please list all presently:named class representatives and
    5                                                                              .                   .
        presently-named defendants, together with all counsel of record, includin·g coun·sel's contact and
    6
        email information.· ·
    7
                2. POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently intend to add
    8
        more class representatives? If so, and if known, by what date and by what i1a.!J1e? Does any
    9
   10 plaintiff presently intend to name more defendants? If so, and if known, by what date and by

   11   what name? Does any appearing defendant presently intend to file a cross-complaint? If so, who
                                                                                                                   '··
   12 will be named.
   13          3. IMPROPERLY NAMED DEFENDANT(S): Ifthe complaint names the wro.ng
   14
        person or entity, please explain:
   15
              · 4. ADEQUACY OF PROPOSED CLASS. REPRESENJ'ATIVE(S): If any party
   16
        believes one or more named plaintiffs might not be an adequate class representative, please
   17
  ·L8   explain. No prejudice will attach to these responses. .

   19           5. ESTIMATED CLASS SIZE: Ple.ase discuss and indicate the estimated class size.

   20           6. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: PleaSe list
   21   other cases with overlapping class definitiqns. ·Please identify the court, the short caption title, the
   22
        docket number, and the case status.
   23
                7. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION
   24
   2 WAIVER CLAUSES: Please include a sample of any clause of this sort. Opposing parties must
    5
   26 summarize their vie.ws on this issue.

   27           8. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel are to identifY and

   28
                                                          -2-
                                        INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 163 of 167 Page ID
                                   #:170




            describe the significantcore issues in the case. Counsel then are to identify efficient ways to
        1
    2       resolve those issues. ·The vehicles include:

     3           II    Early motions ·in limine,

    4            II    Early motions about particular jury instructions,
    5           II    Demurrers,
    6
                II    Motions to strike;
    7
               ·II    Motions for judgment on the pleadings, and
    8
                ·II   Motions for   s~mmary judgment   and summary adjudication.
    9
   10                 . 9. CLASS CONTACT INFORMATION: Does plaintiff ne~d class ·c~htact information

   11 from the defendant's records? If so, do the p~ies consent _to an "opt-out" notice process (as

   12 :approved-in-Belaire-WestLandscap~; Inc. v. Superior Court (2007) 1-49 CaLApp.11h 554, 5~1) to
   13                               . .            .
            precede defense delivery of this information to plaintiff's counsel? Ifthe parties agree on the
   14
            notice process, wh~ should pay for it? Should there be a third-party administrator?
   15
                      10. PRorECTIVE ORDERS: Parties consiqering an order to protect confidential                )
   16
   17 information from general disclosure should begin with the model protecti.ve orders found on the

   18 Los Angeles Superior Court Website under "Civil Tools for Litigators."
   19                 ll. DISCOVERY:· Please discuss discovery. Do the parties agree on a plan? If not, can·
   20 the parties negotiate a compromise? At minirimm, please summarize each side's views on
   21
            discovery. The Court: generally allows discovery on matters relevant to cJass certification, which
   22
            (depe~ding    on circumstances) may include factual issues also touching the merits. The Court
   23
            generally does not permit extensive or expensive discovery relevant only to the merits (for
  24
  25 example, detailed damages discovery) unless a persuasive showing establishes early need. If any

  26 party seeks discovery from absent class members, please estimate how many, and also state the



                                                              -3-
                                             INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 164 of 167 Page ID
                                   #:171




         kind of discovery·you propose 1 .

    2             12. INSURANCE COVERAGE: Please state ifthere is insurance for indemnity or

    3 reimbursement.
    4             13. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each

    5 party's position about it. If pertinent, how can the Court hel~ identify the correct neutral and
    6
         prepare the case for a successful settlement negotiation? ·
    7
                  ·14. TIMELINE FOR CASE MANAGEMENT: Pleasenbconimend dates and times for
    8·
         the following:
    9
   10        B    The next status conference,

             B    A schedule for al_temative dispute resolution, if it is relevant,

             • A filing deadline forth~ motion for class~ certification, and

             • Filing deadlines and descriptions for other anticipated non-discovery motions.

                  15. ELECTRONIC SERVICE OF PAPERS: For efficiency the complex program




             The parties are not required to select Case Anywhere, but may choseinstead.either
   21        B File:& Serve Xpress (https://secure.fileandservexpress.com) or
   22
             B    CaseHorriePage (http://www.casehomepage.com).
   23
                  Please agree on one and ·submit the parties' choice when filing the Joint Initial Status
   24
         Conference Class Action Response Statement. If there is agreement, plea.Se identify the vendor. If
   25
  '26
   27'       1   See California Rule of Court, Rule 3.768.
   28
                                                             -4-
                                           INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 165 of 167 Page ID
                                   #:172




         parties cannot agree, the Court will select the vendor at the Initial Status Conference. Electronic

    2 service is not the same as electronic filing. Only tr~ditional methods of filing by physical delivery
    3 of original papers or by fax filing are presently ilCCeptable.
    4             Reminder When Seeking To Dismiss Or To              Obta~   Settlement"Approva.l:
    5            "A dismissal of an entire class action, or of any party or cause of action in a class action,
    6
        requires Court approval . . . Requests for dismissal must be accompanied by a declaration setting
    7
        forth·the facts on ~hich the party relies.·The declaration must cleariy·state whether consideration,
    8
        direct or indirect, is being given for the dismissal ~d must describe the consideration in de_tail."~ ·
    9
   10 If the parties have settled the class action, that too will require judicial approval qased on a noticed

   11 .motion (although it may be possible to shorten time by consent for good cause shown).

   12            Pending fu~er order ofthis.Court, and.except_as otherwise provided in this Initial Status
   13
        Conference Order, these proceedings are stayed in their entirety. This stay shall preclude the
   14
        filing of any ans~er, demurrer, motion ·to strike,. or motions challenging the jurisdiction of the
   15
        Court. However, any defendant may file a Notice of Appearancy for purposes of identification of
   16
   I?   counsel and preparation of a service list. The filing of such a Notice of Appearan~e shall be

  18 without prejudice to any challenge to the jurisdiction of the Cmu_t, substantive or procequral

  19 challenges to the Complaint, without prejudice to any affirmative defense, and without prejudice
                                                           ,.
  20 to the filing of any cross-complaint in this action. This stay is issued to assist the Court and the
  21
        parties in manag1ng this "complex" case through the development of an orderly schedule_ tor
  22
        briefing and hearings on procedural and substantive challenges to the complaint and other issues         ~·
  23
        that may assist in the ordefly management of these cases. This stay shall not preclude the parties
 . 24
  25 from informally exchanging documents that may assist in their initial evaluation of the issues
  26
  27       2   California Rule of Court, Rule 3.770(a) ·
  28
                                                                -5-
                                        fNITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 166 of 167 Page ID
                                   #:173
.·.



                                                       .                      .
            presented in this case, however shall stay all outstanding discovery requests.
        1
       2           Plaintiffs counsel.is directed to serve a copy oft]lis Initial Status Conference Order on

       3- counsel for all parties, or if counsel has not been identified, on ~ll parties, within five (5) days. of

       4 · service of this order. If any defendant has not been served in this action, service is to be completed

       5 within twenty (20) days ofthe date of this order.
       6
                   Dated: July 11, 2018
       7
       8                                                     KENNETH It FREEMAN .
       9                                                     Judge Kenneth R. Freeman.
      10
      11
      ·12
      13
      .14
      15
      16
      17
      18
      19
      20
      21·
      22
      23
      24
      25
      26
      27
      28
                                                             -6-
                                            fN1TlAL STATUS CONFERENCE ORDER
Case 2:18-cv-06691-MWF-AS Document 1-1 Filed 08/03/18 Page 167 of 167 Page ID
                                   #:174




                                               PROOF OF SERVICE

    2                                     (CODE CIV. PROC. § 1013A(3))

    3                          STATE OF CALIFORNIA, COUNTY OF ORANGE

    4          I am employed in the County of Orange, State of California. I iun over the age of 18 years
        and am not a party to the within aCtion; my b~siness address is 3 Hutto~ Centre Drive, Ninth
    5   Floor, Santa Ana, California 92707.

    6           On July 18,2018, I served the following document(s) described as
    7                           NOTICE OF INJTIAL STATUS CONFERENCE

    8 on the interested parties in this action by placing: 0 the· original D a true copy thereof enclosed
        in a.sealed eqvelope addressed as follows:
    9
                                        Please see attached "Service List."
   10
          00    BY MAIL: I deposited such eiwelope in the mail in Santa Ana, California. The envelope
   11           was mailed with postage thereon fully prepaid. I am "readily familiar" with the firm's
                practice of collection and processing corresponqence for mailing. It is deposited with the
                United States Postal Service on th?t same day in the ordinary course of business. I am
                awl¥e that on motion of party served, service is prestpne~ invalid if postal cancell.ation
                date or postage meter date is more than one (1) qay after date of deposit for mailfug in
                affidavit.                  ·                                       ·          ·

          0     BY PERSONAL SERVICE: I caused such envelope to be hari.d delivered by Nationwide
                Legal to the addressees below, ·        ·                  ·     ·

          D     BY FEDERAL EXPRESS: I deposited such envelopes in Santa Ana, California for
                collection and delivery by Federal Express with delivery fees paid or provided for in
                accorqance With ordinary business practices. I am "readily fa.miliar" with the firm's
                practice of collection and processing packages for' o,vernight delivery by Federal Express.
                They are deposited with a facility regularly maintained by Federal Express for receipt on
                the same day in the ordinary course of business.

         0      BY FAX TRANSMISSION: I transmitted the foregoing dqcwnent by facsimile to the
   20           party(s) identified above by using the facsimile nwnber(s) indicated. Sai~ transmission(s)
                were verified as complete and without error.          ·
   21
         0      BY EMAiL: I transmitted the foregoing docwnents by electr~nic mail to the party(s)
   22           identified on the attached service list by using the electronic mail as indicated. Said
                electronic mail was verified as complete and without error.
   23

   24             I declare that I am employed in the office of a member of the bar of this court at whose
        direction the service was made. I declare under penalty of perjury under the laws of the Unit~d
   25   s.tates· of America and the State of California that the foregoing is true and correct.

   26          Executed on July 18, 2018, in Santa Ana, California.

   27

   28                                                  Jeannie Kirwin


                                                 Proof of Service
